              Case 2:20-cv-01530-JWH-SHK                                Document 1                  Filed 02/14/20               Page 1 of 532 Page ID
                                                                               #:1
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      [v.~~[E
                                                                                                    ~.                   FILED
                                                                                                          CLERK, U.S. DISTRICT

      P RISON IDENTIF[CATIO~/BOO[:ING NO.
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     .ADDRESSOR PL.~CE OF CONFI\E\1E\Z'
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                                                                                                         8Y ~
      Note:     It is pour responsibilih• to notih' d~c Gerk of Court in ~~~riting of an}~
                change of address. If rzpresented by an attorney, pro~•i~r his or hzr                                                                      ~' A ~I
                name, address, telephone and faaimile numbers, and e-mail addrzss.                                                                          ~~ v~


                                                          UNITED STATES DISTRICT COURT
                                                         CEi~'TRAL DISTRICT OF CALIFORNIA



         ~ C„     ~~                 ~~~~
                                                                                                ~~CV20- 1530 — S~ s~
                                                                                                         To he supplied by the Clerk of the United Statzs District
    FULL Na\[E (Irich~de Hanle und~~ wliidi i~ou here corrnict~d j                                                                                                   Co rt
                                                                           Petitioner,

                                             v.
                                                                                                          u                                    AMEiVDED

                                                                                                   PETITIOti FOR WRIT OF HABEAS CORPUS
     1liall'c~~ ~iC1.                   IC~ ~~                                                         BY A PERSON Iti' STATE CUSTODY
   NADfE OF WARDEv,SUPEP.INTENDE~T, J~ILOI:, OR AUTHORIZED                                                      23 U.S.C. 4 2254
   PERSON H.aVING CUSTODY OF PETITIONER
                                                                       Respondent.            PL,~ICE;COU~TY'OF COVVICTiOV      1~0 ~`   ~nq~~`J                             C.~
                                                                                              PREVIOUSL:' FILCD. RELATED C:~SES IN THIS DISTRIC
                                                                                                                                                COURT
                                                                                             (Li>! by ~a_;~' nun tbc'r )
                                                                                             cv      ~~ '-i`1 ~-~ 8\ - o ~
                                                                                             C`r


                                              INSTRUCTIONS -PLEASE READ CAREFULLY
        1. To use this form, you must be a person who either is currently seizing a sentence under
                                                                                                           a judgment against you in a California
 state court, or ~vlll be serving a sentence in the future under a judgment against you in a Californi
                                                                                                           a state court. You are asking for relief
from the conviction and/or the sentence. Tills form is your petition for relief.
       2. In this petition, you may challenge tl~e judgment entered by only one California state
                                                                                                        court. If you cyan[ to challenge
 judgments entered by more than one California state court, you must file a separatz pztition
                                                                                                     for each court.
      3. Make sure the form is typed or neatly handwritten. You must tell the truth
                                                                                            and sign the form. IFyou make a false statement
 oEa material tact, you may be prosecuted for perjury.
      4. Answer all the questions. You do not need to cite case law, but you do need
                                                                                             to state the federal legal theory and operative facts
 in support of each ground. ~'ou may submit additional paves if necessary. IFyou do not fill out
                                                                                                         the Eorm properly, you will be asked to
submit additional or correct inforn~ation. If you want to suUmit a legal brief or arjumznts,
                                                                                                    you may attach a separate memorandum.
      S. You must include in this petition all the grounds Eor relief from the conviction and/or
                                                                                                        sentence that you challenge. You must
also state the facts that support each ground. If you fail to set forth all the grounds in this
                                                                                                  petition, you may be barred from presenting
additional grounds at a later date.
     6. You must pay a fee of ~>.00. If the fee is paid, your petition will be filed. If you cannot
                                                                                                         afford the fee, you may ask to proceed
iiiforrnn pauperis(as a poor person). To do that, you must fill out and sign the dedaratio
                                                                                                 il of the last t~vo pages of the form. Also,~ou
must have an authorized officer at the penal institution complete the certificate as to the
                                                                                                amount of money and securities on             si to
your credit in any account at the institution. If your prison account exceeds ~2~.U0, ~~ou must
                                                                                                       pay the filing fee.                 v~
     7. When you have completed the form, send the original and two
                                                                              copies to the following address:            ~Q~~G~GO
                              Clerk of the United States District Coiu-t for the Central District of Calif              uS•~
                              United States Courthouse                                                   ~      (~-E~          \ ~ ~~(~a
                              ATTN: Intake/Docket Section
                              255 East Temple Street, Suite TS-134
                                                                                                                        F~~                ~AL~F~~
                              Los Angeles, California 90012
                                                                                                                             ~;.~.,;~,; ~~


  -69(05/lb)                           Y FOR 1VRIT OE HABEAS CORPUS B~',1 PEASO\ fN S"f~1"fE
                                                                                                                CUSTOL)1'(2~
                                                                                                                                                                             Ut
       Case 2:20-cv-01530-JWH-SHK                            Document 1               Filed 02/14/20                 Page 2 of 532 Page ID
                                                                    #:2
    PLEASE CO~tiIPLETE THE FOLLOWING (check npproprinte number):

       This~p ition concerns:
       1. !Q a conviction and/or sentence.
       2. ❑prison discipline.
       3. ❑ a paro]e problem.
       4. ❑other.

                                                                       PETITION

               Venue
               a. Place of detention ~p~~,m 5~;~ ~~15~ ~,
                                                                  G-~tyC `~SO~ ~c~ur~ Cl~. yS7 ~ ~
               b. Place of conviction and sentence ~,; ~a;~,~,~~ a~
                                                                    C \'i~~n~  ~-u ~ z~~ ~1. ~,~ 103

       2.    COIIV1Ct10Il 011 WI11C}1 t}le Pet1t10II 1S I~dSed (a separntepe
                                                                             tition must befiledfor each conviction being attacked).

             a. Nature of offenses involved ~+»~r~,de au ~ou„r5J : ~i> ~~y
                                                                                       n ~ ~C \~~1 ~0.~ oZ~ ~~c~r~~ ~`1ut'e~,~
                  C~~ C~,,`C ~~,c. ~ ~c7 1-2. ~b~~~ ~r~~r,a~c~,m ~`Z
             b. Penal or other code section or sections:




            c. Case number: ~k yy ~.~ ~ \ _ ~,
            d. Date of conviction: ~~ _ ~~ _ ~~ ~ ~
            e. Date of sentence:            o;Z - ~3- ~a ~ ~~,
            f.    Length of sentence on each count: ~~
                                                                     v,~'T      L 1~         ~~ ~~`                               u~e~4,~ = 1•J~           5"~~~~

            g,    Plea (checkane):

                 ,I~ Not guilty
                  ❑ Guilty
                  ❑ Nolo contendere
            h. Kind of trial ~~he~k o,~e)
                 JQJury
                 ❑ Judge only


     3. Did you appeal to the California Court of Appeal from the judgment of convict
                                                                                                                 ion?        ~es ❑No
         If so, give the following information for your appeal (a„d arr,~~h a ropy ojthe Court
                                                                                                           ofAppeal decision if available):
         a. Case number: ~- Cc.r~= ~ ~-8~'-1~~
                                                                        Jfti ~~~n~~~~5 1C-~ ~~F~~'~as~s f ~r~~~ C'~~Ed ~~n
                                                                                                                                                            c+au~! ..
         b. Grounds raised ~~~5r ea~ti~

                  1)~4.. ~.,c~ of ~P4.cl-~ o mi~, Mcl~~
                                                        ~1c~"S ~rn ~~~S ~~d~                                                ~rn`e.h~ cSs `~h~ ~~.
                 (2)~a.rvt~. ~-o :~~~'cvc~- ~n~ sv:,~ o~ ~~4s a..~-3rc
                                                                                                          ~~. h~a~ o~ R~S,~n . oro,~~~~:d~. 3~
vo~~n}~t y ma~n5~c~~~E1' C~4v.t~~..~ ~'~v_~~ o~ C.arr~A
CV-69 (0/18)                                                                              ~i~\\S m.~;c~4.f ~+~v`•c~io~. ,
                           PETI ION FOR W IT OF HABEAS CORPUS BY A PERSON ~I STATE CUSTOD
                                                                                                              Y (28 U.S.C. 4 2254)             Page 2 of
        Case 2:20-cv-01530-JWH-SHK                                    Document 1                 Filed 02/14/20                  Page 3 of 532 Page ID
                                                                             #:3

                      (3)
                     (4)
                     (5)
                     (6)

              c.      llate of decision:               ~ - ~~ _ ~
              d. Result ~i ,s C'~.i'~ ~.F f~,.,,~a~                                       ~           'J




        4. If you did appeal, did you also file a Petition for Review with the California Supreme Court of the
                                                                                                                                                      Court of Appeal
              decision?              Yes       ❑ No
             IE 50, give the following information <<~n,~ Arra~h ~op«S of the Petilionfor Reriew and the Supreme Court
                                                                                                                                    ruling if uvniluble):
             a.      Ca;
             b. Gri
                    (1)
                     ~Z)

                     ~3)
                    (4)
                    (5)
                   (6)
            c. Date of deasion:                      ~• ~ • d~c.~ ~7
            d. Result           ~~ ~4.~~~~iv~ ~or ~b~c~;~J ~~'~ c~tie.i~c~




      5. If you did not appeal:
            a.      State your reasons




            b. Did you seek permission to file a late appeal?                            ❑Yes "~No


     6. Have you previously filed any habeas petitions in any state court with respect to this judgment
                                                                                                                                                of conviction?
           O Yes            ❑ No
           If SO, give the following information for each such petition ~u5e Q~t~;r;o„Qip4se5, if necessary, and attach
                                                                                                                                           copies ofthepetitions and the
           rulings on the petitions if available):

           a. (1) Name of court:                                  ~j I
                  (2) Case number:

                  (3) Date Fled for rf mailed, the date the petition ivas turned over to ffie prison authoritiesfor niailins):
CV-69 (O5/ I S)                 PETITION FOR WRIT OF H:~BEAS CORPUS BY A PERSON IN STATE CUSTODY
                                                                                                                          (28 U.S.C. 4 2254)                 Page 3 of I 1
           Case 2:20-cv-01530-JWH-SHK                                     Document 1                  Filed 02/14/20                     Page 4 of 532 Page ID
                       (~) Grounds raised;h>; ~„d~;:                             #:4
                                                                                 ~v'
                                 ~1~

                               (b)
                               (c)
                              (d)
                              (~)
                              (t)
                     (5) Date of decision:
                    (6) Result


                    (7) Vas an evidentiary hearing held?                            ❑Yes ~I~,~o


                 b. (1) Name of court:
                   (2) Case number:
                   (3) Date tiled ~~~ ~i,~~,,ried, the d~~te the petition iv~u turnrd oi•er to [he prison autAoriuc; ~J~' 7Nd1IIll`>J:
                   (~) Grounds raised ~~r~r 2~~~~,J:
                            (a)
                            (b)
                           (c)
                           (d)
                           (e)

                            ~~
                  (5) Date of decision:
                  (6) Result


                  (7) 4Vas an evidentiary hearing held?                           ❑Yes ~-~To


            c. (1) Name of court:
                  (2) Case number:
                 (3) Date filed ~o~ rj„~,,~~~~t, thr d~~t~ lh~ p~[itian w~is turned oi~er to Nor priion nuN~orilies ~i~r mailing):
                 (4) Grounds raised~~;~rr~~~~,):
                         (a)
                         (b)
                         (c)
                         (d)
                         (~)
                        (f~


CV'-69 (OS/I~)                 PETITION FOR ~4'KIT OF HABE~IS CORPI'S B1".-~ PER50N [\' tiT.a"fE
                                                                                                                   CUS"f011Y (23 L`.S.C. ~ 2~S~1)         Page ~ of
                 Case 2:20-cv-01530-JWH-SHK                         Document 1             Filed 02/14/20             Page 5 of 532 Page ID
                                                                           #:5
                             (~) Date of decision:
                            (6) Rzsult



                            (7) Vas an evidentiary hearing held?             ❑Yes {~,\o


               7.        Did you file a petition for certiorari in the United States Supreme Court?                           ❑ Yes            ~ No
                                 If yes, answer the following:

                                (1) Docket or case number (if y-ou kao~v):

                                (2) Result:



                                (3) Date of result (if you l:~io~v):

                                (4) Citation to the case (ify-ou know):



             8. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
                    laws, or treaties of the United States. attach additional pages if you have more than five grounds. Summarize
                    briefly the facts supporting each ground. For example, if you are claiming ineffective assistance of counsel, you
                    must state facts specifically setting forth what }'our attorney did or failed to do.
                    CAUTION:             Exhne~stion Rec~uirerr~ent: In order to proceed in federal court, you must ordinarily first e~chaust
                                         your state court remedies with respect to each ground on which you are requesting relief from the
                                         federal court. This means that, prior to seeking relief from the federal co~u~t, you first must
                                         present all of your grounds to the California Supreme Court.

                    a.     Ground one: ~t`c.~~~c\~~ ~n+S~r~ ~,nc~,. ~~;~ J` ~`e ~X~~~i ~                                           ~     \ ~~i~~~ ~d~ ~~v:~i:~►11


                          (1) Supporting FACTS: C                            - ~a~,`            a       ~~ ~                       ~ a~-       c~oCtc~c'~~ ~~,~t
                                                                                                                                          t~   ~n     ~n~ a            nioYt

~,                       mot- m~bzrn yn3.b~~-~ ~.                ~r sr v\ ~~c~                      c. .     1~,~'       b ~n`'~           O~i
                                                                                                                                            l~~f'       `~4'   ~ tl4_Il~
3~~'~        1~:,c~r, ~, 1~~ i~-„s               ~       ~ ~c~n t       5   ~. r       `~o.7s       r,~c~,        b~~~             d4.     ~     r..~<.k.        ~~
.~O'~J ~~~~a7--\ a        ~~L ~\iV                        Ql        L       ~['~
                                           ~         f                               \^                 ~\ V   ~ L~\\~~~ ~~ ~~~aL~ \                        ~~ S7~ 7    ~~

                          (2) Did you raise this claim on direct appeal to the California Court of appeal?                                 Yes        ❑ No
                         (3) Did you raise this claim in a Petition for Review to the California Supreme Court?                            Yes         ❑ No
                         (~) Did you raise this claim in a habeas petition to the California Supreme Court?                                Yes        ❑ No


                 b.       Ground two: ~,~          ~~      ~~.o ~~c.. V~.~ ~ ~a-~ ~ `~`I Ca~.'~'' S3~(. ~1~ ~'c'~ ~ cov:`~
 '
 '       \             c ~ ~'~ `~n5~~ve~ ~n~'v                 on C.ki.                   c7 ar~c~`~~ ~              t      e~~►~ r~~ eb          e~ ~ i~.
                         (1) Supporting FACTS: ~.+~ ~:,;~-`1 ~~" ~~ tC4d~;
                                                                           a t~5~u) cv\ti ''~aE                                        a ~~~~. cpv~~ nt,~
~t '~ shvc~ a ` v;                cn bvc~4,n ~,1~.cc4.` ~n~C.a~ c~                 _ ~ 5~~s~          ~c~c~:or.              \ .~~\~~~'           mZz~b~i:x~n~c

'^~ 3 ~                       r1~ ~~~~E~S ~~ ac~~ ~~n 3~\~- c~~~5ti. ~~~a~ ~vC~' ~ '~ ~.o:ji;~,d ~n ins
     C V -69 (0~/Ib)              PETIT[O~ COR ~~ ItIT OF H~BE,1S COILPLS
                                                                                                                                                                      ~`~
                                                                             61 ,1 PERSO\ I\ Sl,~ I L CI,~S fOD1 (2S C'.S.C. 9 22~ {)                 P~~e ~ of I 1
               Case 2:20-cv-01530-JWH-SHK                        Document 1                Filed 02/14/20        Page 6 of 532 Page ID
                                                                        #:6
 '~n~ ' ;~ ';, ~n`L\                  ~3       of C~l-~.~ m 5`1c~ . 1~:h~~nti ~: Yw~ ~fr_ .04.1~:,5`z t                               u ~S~~c1 or mob• ~-

 ~ •.~. Ins ~ c~:5~~~ c~,,.~~~~~                   ~y-~'
                                                           Ib~,~~`~ `'l~,h~ ~ d~~ ~.~c~~5 ~,:as .,~:~~~, ~~.~ ~
                                                                                                              ,~;~~c~
 S,a-S   ~~~
           '.Cg-n~ ~o ~` ~Prprt q~.~`,~c~ ~,c~~rn                          c7 a.rv~. r4.ov~r4S ;~v4~-sa.1 0~                X115 t~►.~rc~~.t cccr,`~'ca{~
                                 J

                           (2) Did you raise this claim on direct appeal to the C3liforni~~ Court of ~ppzal?                ~1"es             ❑ No
                        (3) Did you raise t11i5 claim in a Pztition for Revie~~~ to t11e California Supremz Court?              Yes           ❑ No
                       (=4) Did you raise this claim in a habeas petition to the California Supreme Court?                  ,   Yes           ❑ No

                 c.     Ground three: ~~Qb~~ ~~,5 c\fir►~Lc` of
                                                                                      h~ b~' I~mt,,r~mi~T ~~~nT ~o ~n~- ~.~c~i~,~.
                                                            ~i                                                         s
~~`i~b~arX~ C~ cov:1S~\ ~~~U~'.~C._ C~ -J~1~~\ fa.~~~ ~n c'~~~S~C 3r~ ~~notcvt~e.~                                  c~ ~w~t~5 ~~~~ic~.Z~ri
                        (1) Supporting FACTS: k, «~rn;na~ c~~b~ii'3 c~t~~~~'v~G~a~ t`►a~n`~ ~c ~n~ d,SS~S~n~=L.:,~
                                                                                                                                                          cc.,,,5~\
c. ,n!-~ O~.~n.5            t~C~~~ \~n't (l \'l~ ~ SLR           1`L a.S~~i~ -
                                                                 '                           ~ ~r~ ~ C _rt5~1 a~:~ ~tn~~iv°Z 1D~ RC i~,ir1                    ~;

   a~eS~ ~- rno~+~~~ Vie? v4S~~c~ e~F Uti.-e.~,'in ~ ~ 5 ~s v'~ti;                                ~ a ~i~~ ~~ n5~ev cE:~~ ~U ~..SS ~S~ ~ti ~ v,              ' ~n
                                                   e~
:~~~y7~r~ur ~~<~nt~SS ~4b~mcr~                          ~ ~'+~~
                                                              ~~        z` . tu~'ti 1~~LS~              ~S~ l~c~c`~~~~5
                                                                                                            /           ~~i       ~   ~~ b1,~h~a.~c~
     ~`t~~           ~ n     ~ ~~~r ~c7 cat '~.4~          c\c-4.       '~+4.. r tti.S `~~.-. •l~J o J\c~ na~ ~k1~ `~~ cd                \ «.~ll•r ~..~

                       (2 Did you raise this claim on direct appeal to the California Court of Appeal?                     ,    Yes           ❑ No
                      (3) Did you raise this claim in a Pztition for Revie~~~ to the California Suprzme Court?             ,,rJY'es         ❑No
                      (~) Did you raise this claim in a habeas petition to the California Supreme Court?                    ~es             ❑No


                d. Ground four: ~~               '~ ` ccxa;t €s'c'4_c~ ~~~            ~~.~~r, ~    ~ L.C.~~    37~- ~irntr~ -~n~ c~.c~-~c~ b~ia,~c~
~S3~ci u ~x~"f        ~~:it~~~. o~ F,► ah~~ 3~ni\ '~h~ ~~c~~cn ~ cal ~~ C~-C{~-rr1 3~1. ~-S ~n~hvch.,c~3` ~^co--
                       (1)Supporting FACTS: ~ ~~~;n                       ~ ' ,,; iaC cs»ic~ cc,~n,i~~s                    ~\~\ 5 ~\; ~~ a~
.o,~+~c~cu~i~~-SS o~ qu`~`~ 1~7~,~.'~ ~►4.~~ ~1-S ~nSJ .                             \G4J~~       ~~~~~~nc.~. c~ ~~a~cr't ~~.SS`J1~~~ ~~n~
                      J
               o~ 5 1qa;~~r• c~ pc-f.:uT an~ v+c;~~ ~rr~~4~~ 5 ~. ~~                                          n~ `~~ ~51~`mSf'           \l~ tin      . ~~

               ;~~s4.Y,c ti.. ~.~ b ~ ckl-c~s-r~ 37~- ~~o                                         C~.,,~~~~5 ~,--a~ anti ~
               ►1ot~ ~              4.,,dt1~J Q 4r,~n            ri~                 ~S    ~.- ~ib~ .
                      (2) Did you raise this claim on dir ct appeal to the California Court of Appeal?                      ~es             ❑ No
                      (3) Did you raise this claim in a Petition for Review to the California Supreme Court?                ~es             ❑ No
                      (4) Did yuu raise this claim in a habeas petition to the California Supreme Court?                        Yes         ❑ No


               e.     Ground five: ~~~~~„~~~                                                                                          ~~.+~.1~ lirS to n b~~
~tian~ r~ `YitS ~ b~~                svc4~SS ~~c
                                                                    _      .~                       m
                      (1) Supporting FACTS: ~,ti                                                                                        V~c      a,        ~r14S
,~~~ do5:~a 3c~.:~r~n~k ~ir,r r~boli;                                                                                                   d     ~4.rn

                      ~it~U C.cr~GoVSd~~-S c~ qa~ ~~~ 'wi~'~. ~~R~ ~4n c~~7~ 3 ~~~ G~oSif~d
                                                            ~~                  '%                      ~


                      ~4.r c~bu a~ a~v~~,-~ acr.~~-d~ ~t,~ ~si.w~,or. aY, ~~~ ~.,a„~a~                                                      ~~~ ~
                      (2) Did you raise this claim on direct appeal to the California Court oEAppeal~                           Yes         ❑ No
                      `v~ \ ~ i ~pt,+l~,►~1 ~~i~\ ~ti~`cI~ . lJc1c.4~ ~C - ~~
    CV -69 (OS/lS)             PETI [ON FO ~V "C OF HABEAS COR ~L ' BY PE1tS0\ [` 5'rATE CUS"COD1' (29 U.S.C. ~ 225-1)                      ~:~gr 6 cif
           Case 2:20-cv-01530-JWH-SHK                                       Document 1                  Filed 02/14/20                      Page 7 of 532 Page ID
                                                                          #:7 to the Calit~>rnia Supreme Court?
                        (3) Did you raise this claim in a Petition for Fe~~ie~r
                                                                                                                                                                 ~I`es                 ❑~Io
                       (~) Did }•ou rsise CI115 CI:11111 111 a I1~lhz:15 ~1ZCICIOf1 CO C~l~ C~ilitorni.l Supreme Coui-t?
                                                                                                                                                                  fa'~es               ❑\'o


          9. If and• of the grounds listed in paragraph S t.ere not preciously presented to the Californi
                                                                                                          a                                                 Supreme Court, state
                 briefly «-hich grounds s~-zce not przsented, and Qi~~e ~-our rzason;:                                         tJ ~~--




          10. Have you previously' Yi1ed any habeas petitions in any federal court with respect to this
                                                                                                                                                      judgment of conviction?
                 ❑ Yes         ~o
                 It S0, give the following information for each such petition ~~~~~• ~~~;,Irtio~!~~I pn
                                                                                                                                rs, it n~~~s~~ri s, acid attadi capi~•; of the petitiur~; ~~nd

                 the ruli~igs on [he prlition; i% ~iittil~rGleJ:

                 a. (1) Name of court:                      N1~-
                      (2) Case number:
                       ~3~ ~3t~ t11~C1 (or iJ niail~'cl, dtc date Yh~' pcfi(io~t ivas turned orcr to d~~ prison dulhorili~>
                                                                                                                              Jnr n~~~ili~iyj:

                     (4) Grounds raised~~;~rz~z~i~1:
                               (a)
                               (b)
                              (c)
                              (d)
                              (e)
                              (r)
                   (5) Date of decision:
                   (6) Res~ilt


                   (7) Was an evidentiary hearing held?                             ❑Yes ❑ I~'o


            b. (1) Name ofcourt:                         ~`~
                  (2) Case number:
                  (3) Date filed for rJ mai(cd, the d~~re nc~ periria, «•~u l~inicd n~~er to the Fri~on aufhorifies /~~r m,iilin~):
                  (4) Grounds raised (~,sr ~n~~~J:
                            (a)
                            (b)
                            (c)
                           (d)
                           (e)
                           (t)
                 (5) Date of decision:
C~'-69 (OS/I~j                    PETITION FOIL WRIT OF H~1BE.a5 CORYL'S I31' ~1 PERSO\" i\' S"CaTE CUSTODl"
                                                                                                            (25 U.S.C. ~ 2251)                                                     Pale 7 of
           Case 2:20-cv-01530-JWH-SHK                                        Document 1                    Filed 02/14/20                   Page 8 of 532 Page ID
                     (6) Fest~lt                                                    #:8


                     (7) ~~"as an evidentiary hzaring held?                              ❑ ~'es ❑ ~o


         1 1. Do you have and' petitions no~v pending (i.e., fllzl~ hL1C ri0C }'2C ~~~ci~iea) in an~~ state or federal
                                                                                                                                                              court ~~~ith respect to
                this judgment of com-iction?                           ❑ Y'es              ~ io
                Ir SO, ~1~'Z tl1Z t01j05vin~ information ~ntid aLac!i a coF,~ o~ d;~ p~titiun i;;ivarL+l~(~i:

                    (1) Name of court:
                    (2) Case number:
                     ~3~ Date fll~d (or it uiaile,~. th~~ date diz p~~titiai tiv~i; tun~~~~ or~~r to th~~ prison autf~oririrs /i~r m,rili~i~l:

                   (-4) Grounds raised ~i~~r <<,d,J:

                              ~~)
                            (b)
                            (c)
                            (d)
                            (e)
                            (t)


       12. Are you presently represented by counsel?                                  ❑Yes              ~ To
            If so, provide name, address and telephone number:




       WHEREFORE, petitioner prays that the Court grant petitioner all relief to which he ma}~ be entitled in
                                                                                                                                                                   this proceeding.




                                                                                                      Si~riaterre of .~[torrtey (if nriy)




      I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.




     Executed on             '~O ~ ~.G~~
                             ~
                                Dnte




CV -69(OS/IS}                  PE"I'["C[ON FOR ~VR[T OF H~16EAS CORPC`5 BY ~ PFRtiO\ i\ S"1',~"fE C~~STOD1'(2~
                                                                                                                                            L.S.C. 9 22~ I)               Page 8 or 1 1
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                                                                                 SUPRE!~1r COURT'



        Court oCAppeal, Second :'lppel(ate District, Division tour - ~+'a. I3?884?8 SEP 2 5 2019
                                                                               Jorge ~iavarrete Cle.r~
                                        5257230

                                                                                      De~~ty
         IN THE SUPREME COURT ~F CALIFORNIA
                                        En Banc


                        THL PEOPLE, Plaintiff and R.~spond~nt,

                                            v.

                   MICHAEL CAMPQELL, Defendant ai d Appellant.


       The petition for review is denied.




                                                          CANTIL-SAKAUYE
                                                             Chief,Ic.cstice
  Case 2:20-cv-01530-JWH-SHK         Document 1 Filed 02/14/20              Page 11 of 532 Page ID
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                                          GAIL HARPER
                                            ATTORNEY AT LAW
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                                                               94133
                                             (4l5) 291-8469

    Michael Campbell BF6189                 FAX (415) 433-2230


    Folsom State Prison
    P. O. Box 715071
    Represa, CA 95671

    Re:    People v. Campbell
           B2$8428

   Dear Mr. Campbell:

          Enclosed please find a few cop             r
                                          ies of the California Supreme=
  _denying review,-dated Septembe                                        Court`s order ~
                                    r 25,2019.You will need the or
   to attach to any pleadings you                                   der denying review
                                   file in the federal courts to de
  exhausted your remedies in the                                    monstrate that you
                                   California courts.

         If you wish to appeal to the Un
                                              ited States Supreme Court, yo
  pro per, or hire other counsel to                                            u may do so in
                                      file a petition for certiorari. Yo
  Erom the date of the filing of the                                     u will have 90 days
                                       California Supreme Court's orde
 (September 25,-2019)to file a petiti                                      r denying review
                                          on for certiorari. You should contac
 1 -1st Street, NE Washington, DC                                              t that court at:
                                          20543, tel: (202)479-3000. I sugg
 want to file a petition for certiorar                                        est that,if you
                                       i, you contact the U.S.Supreme
 and obtain a copy of the rules go                                       Court clerk's office
                                       verning actions in that court.

       Good luck to you.

                                                                       Yours very truly,

                                                                               .~


                                                                   GAIL HARPER
GH/gh
Encl: Order denying review
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                                                                           `- ~   ~ _ ._   -




         IN THE SUPREME COURT OF THE STATE OF CALIFORNIA




        PEOPLE OF THE STATE OF CALIFORNIA,              ) No.

             Plaintiff and Despondent,                  ) 2 Crim. B288~25

              vs.                                       )
                                                          Los Angeles Countti~
        MICHAEL CAMPBELL,                               ) Superior Court
                                                          I~,~o. BA442781
             Defendant and Appellant.                   )




                        PETITION FOR REVIE`'~'

                                         GAIL HARPER
                                         Attorney at Law
                                         P. O. Box X30057
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                                         attorney for Appellant
                                         ~~y appointment of the Court of
                                         A~~pzal
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                                                                     FORNIA
           I'_~` THE SUPRE?vIE COURT OF THE STATE OF CALI



                                                           ) No.
     PEOPLE OF THE STATE OF CALIFORNIA,

          Pidliiiiti c~1T'~u il~S'~0:~'.~P:1t~
                                                           1 2 Crim. B~bcg-~~~


           ~'S.
                                                             Los Angeles County
                                                           ) Superior Court
     MICHAEL CAMPBELL,
                                                             No. BA442781
           Defendant and Appellant.                        )




                                 PETITION FOR REVIEW
                                                             THE
             TO THE HONORABLE CHIEF JUSTICE AND
                                                   ENTE COtiRT OF
         HONORt1BLE ASSOCIATE JUSTICES OF THE SUPR
         CALIFORNIA:

                                                                                 this
                  Appellant MICHAEL CAMPBELL, respect+ully petitions
                                                               of Appeal, Second
         Court for review following the order of the Court
                                                                the opinion of the
         District, Division Four, filed July 3, 2019. A copy of
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         Court of Appeal is attached hereto as Exhibit A.i

                               QUESTIONS PRESENTED
                1)Did this Courtin People v. Moye(2009)47 Ca1.4th 537,establish

         a corroboration requirement as a condition precedent to giving

         instructions on sudden quarrel or heat of passion where a defendant

         testifies to acting in sel:-defense?

               2) Are soli-defense and heat or passion mutually exclusive

         defenses?

               3) Is defense counsel ineffective under the Sixth Amendment of

        the United States Constitution ~n%here he fails to request an "ear~vitness"

        :?entification jury instraction ~~-hen the identity of a speaker is a crucial

        to the defense?

                              NECESSITY FOR REVIEW
               A grant of review and resolution of the first t`ti-o issues are

        necessary to secure uniformity of decision and to settle important

        questions of la~v, pursuant to California Rules of Court, rule 8.500,

        subdivision (b)(1). The third issue is presented to exhaust

        Campbell's state remedies under Rule 8.508.

               Relying upon People v. Move, supra, ~7 Cal.4th X37, the Court of

        Appeal held Campbell was not entitled to a jury instruction on

        sudden quarrel, heat of passion, provocation or manslaughter

        because Campbell testified he acted in self-defense, and no other

        witness corroborated testimony that could ha~~e resulted in a


        ~ Mr. Campbell's petition for rehelrin; was denied on July 2-~, 2019.
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                                                  . ~c~,i.~                                                   i ,
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                                                       ARGUMENT

        1.          PROCEDURAL HISTORY AND FACTS
                    In an unpublished opinion filed July 3, 2019, the Caurt of
                                                                                                 d degree
        Appeal aftirme~~ y1r. Campbell's conviction for secon

        murder.
                                                                                                            bell
                    For the purpose of this petition for review only, Camp
                                                                and facts in
        generally adopts the statements of procedural history
                                                                      al, noting
        pages 3 through 13 of the slip opinion of the Court of :'appe
                                                                                                 patory facts
        the opinion misstates or misemphasizes certain incul
                                                                                                          much less
        while omitting other pertinent facts which make this case
                                                                                               antial; the latter
        egregious and Campbell's defense much more subst
                                                               ring and
        category of facts are in Campbell's petition for rehea
                                                                                                    on.
         detailed throughout the argument section of this petiti

         II.         MISREADING PEOPLE V. MOYE {2009) 47 Cal.4th 537,
                     THE COURT OF APPEAL CREATED A NEW RULE
                     THAT A TRIAL COURT NEED NOT INSTRUCT A JURY
                     ON SUDDEN QUARREL, HEAT OF PASSION,
                     PROVOCATION, AND VOLUNTARY MANSLAUGHTER
                     WHERE A DEFENDANT TESTIFIES HE ACTED IN
                     SELF-DEFENSE

                     The Court of Appeal held that the trial court did not err by
                                                                                                            on,
         tailing to instruct the jury on sudden quarrel, heat of passi
                                                                                                         prejudice if
         pro vocation and voluntary manslaughter, and found no
                                                                                                        al erred.
         there wras error.(Opinion pp. 13-20.) The Court of Appe

                                                                   3
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                                                                            7                               t~',1- '~`'
          Illl ri~s~~ .~,.. ~. .t~       '~; ~~~        ~3      r~,~`< <I       ~i~~ „I~. ~ _ 'L:


                                             ~"-,              - I    -7 1~. }., .~       Y      7 i'l~}lnr    ~i .~   yc_     _z r~~r
                                                                                                                                   _. _
                      -~ ,-, - i- ,., -';                                             ~. ~,.~ _.            ~._, ~ _           ~
          f ,-    ~
        ,Y~L V C ~liC i~ t;~ti. ~l~l:l~]~.   ~..i~ :.. li'..~ r~~..i.Lt ~ _,.~',.                  _. _ _ _


                                                                                                                          rd
        the instruction - btit then file court referred tip an of~-~h~-reco
                                                                       7T1StTl1Ct1(ltl t0 ~i15t:ii' T10t ~'_~"12~~ I~.
        i~1SCLiSSIOT'i av'v~L'.~ s~1"'.t~?:iT:~~~.'1T?~ t~1E'


        The Court of Appeal simply ignored the general rule "'that a trial
                                                                                                                               cable
        court is presumed to ha~-e been a~n~are of and followed the appli

        laiv. (Citations.]" (Propl~ z~. l!~losle:~ (1997) ~~ Cal.App.~th X89;

        X96-~97; see, e.~., Peo~l~ ~~. TurrTe~~ (2002) 96 CaLapp.-nth 1409,
                                                                                                                       1;
        141-141 , f~. 2; P,~cple z'. ~~lartirie~ (1998) 6,~ Ca1.App.4t11151
                                                                                                                                at
        1517.)" (People u. Sto<<~ell (2003) 31 Cal.~kth 1107, at n. 1ll4.) Thu,,
                                                                                                                             ction,
        the time the trial court agreed to give the heat of passion instru

        the trial court was presumed to have follo~~Ted the law, which

        requires the instruction be given only where the evidence

        supporting the instruction was substantial. Thus, on this silent
                                                                                                                                No.
        record, because the trial court initially agreed to give CALCRI~2

        570, a reviewring Court must presume the trial court made the

        finding that substantial evidence supported gi~~nlg the sudden

        quarrel heat of passion instruction. (Ibicl.)
                   The Court of Appeal substantially failed to address the fact
                                                                                                                         not
        that the People forfeited the argument that the evidence was
                                                                     se the
        substantial enough to support bi~~inb CALCPIM Igo. 570 becau
                                                                                                                         p. 19.)
        People did not object to the instruction at trial. (See Opinion

        According to this Court, the rules of forfeiture apply to both parties

        in criminal cases. Where a district attorney acts as an agent and
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                A.     Background and the People's Forfeiture of the
                       Issue

                The trial court agreed to instruct the jury in the language of

         CALCRIM No. 570, and the People did not object to giving that

         instruction.(4RT 392.) The Court of Appeal agreed that even had

         defense counsel objected to the court giving CALCRIM I~To. 570, the

         trial court vas bound, suc~ sporite, to give the instruction if evidence

         w as substantial - in other words, if the evidence was "strong enough

         to persuade a reasonable jury." (Opinion p. 1~, citing People v. Moye,

         supra, ~7 Ca1.4t11537, 541.)

               Despite the fact that the trial court necessatiiti found mere u>cis

         substantial enough evidence of the lesser offense to merit

         consideration by the jury when the trial court agreed to give

         CALCRIM No. 570, the Court of Appeal held there was not.

        (Opinion pp. 1~-19.) The Court of Appeal attempted to circumvent

         the facts (1) that the trial court impliedly found substantial evidence

         to support the instruction, and (2) the People did not object to the

        instruction.

               Citing no authority the Court of Appeal held:"We will not
        presume that the trial court made a finding inconsistent with its

        actions. The court made no finding of substantial evidence, and there

        was none."(Opinion p. 19.) The Court of Appeal failed to explain

        how the trial court's finding of substantial evidence for giving the

        heat of passion instruction in the circumstances of this case was



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         representative of the state under the authority of the Attorney

         General, the People are ordinarily bound by any stipulations,

         concessions or representations, regardless of whether counsel was

         the Attorney General or the district attorney.(See Pitts z~. County of

         Kern (1996) 17 Ca1.4th 340, 360; Bach v. County of Butte (1983) 147

         Ca1.App.3d 55~, 570.) For example, where a prosecutor failed to

         object to a trial court's omission of a drug program fee, the appellate

         Court Eound he waived the state's claim of error on appeal, and the

         trial court was presumed, on a silent record, to have made such a

         finding.(People z~. T~{r~zer, supra, 96 Cal.App.4th 1409, 1413.) The

         prosecutor did not object on the ground the Court of Appeal relied

         upon, and the trial court was presumed, on a silent record, to have

        found substantial evidence to support the instruction. (Ibid.) The

        People, therefore, forfeited this claim on appeal.

               B.     The Evidence Was Sufficient to Support Giving
                      CALCRIM No. 570; The Court of Appeal Applied
                      the Wrong Standards and Misread This Court's
                      Holdings in Moye in Finding the Evidence
                      InsufiFicient; As a Result, Campbell's Fourteenth
                      Amendment Right to Due Process Was Violated

               The Court of appeal omitted the following rules. Substantial

        evidence is "evidence from which a jury composed of reasonable

        [persons] could... conclude []' "that the lesser offense, but not the

        greater, was committed.(People v. Carr (1972) 8 Ca1.3d 287, 29~;

        People v. Hi.lghes (2002) 27 Cal.~th 287, 36~-367.) In determining

        whether substantial evidence supports a lesser offense, the trial court

                                            s
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         ?111~T IC'~3~''` L~SLi~S ilI i~ ~ 'ill_~j :i~;.ii~ i iit;~

                                                                                  i;:.,. ~~')~)~;~ .~.i
        ~ Y~'l'~'i'i11~,711 (IyN~~ 1`~ l._di.~C~"t dt ~~, ii)" L~~' f~~~~ ~


        CaLApp.4th 60~, 615}, and doubts as to the ~ufticiency~ of the

        evidence to warrant instructions should be resol~~e:~ ir, fa~-or of

        defendant (People z~. Flanf~el (1979) 25 CaL3d 668, 685; People ~~. Wilso~z

        (1967)66 Ca1.2d 749, 763). Evidence must be viewed in the light most

        favorable to defendant (People v. Turk (2008) 16~ Cal.App.~th 1361,

        1368, fn. 5).
                 The Court of Appeal adopted the Attorney General's analysis

        of People v. MofP, st{p,~a, 47 Ca1.4tr~ 53%.(Opinion pp. 15-19.) The

        Court found that here, like the defendant in ~1vt/e, Campbell

        "testified that he reacted to successi~~e advances by Denton in a

        manner reflecting judgment" instead of reacting in a manner that

        "bypassed his thought process to such an extent that judgment could

        not and did not intervene," precluding as a matter of law any claim

         that he acted out of heat of passion.(Opinion pp. 1~-16.) The Court

        of Appeal apparently suggests a new rule that a defendant in a
                                                                         of
         murder prosecution can never present both self-defense and heat

         passion defenses to a jury, because they are, according to the Court

         of Appeal, mutually exclusive. The Court did not address

         Campbell's argument that such a rule conflicts kith long-established

         precedent.(See, e.g., People z~. Wickersham (1952)32 Cal.3d 307, 327-

         328, and People v. Flccnriel(1979) 25 Ca1.3d 668, 677-67~; People v.

         Mitc1ie11 (1939) 14 Cal.2d 237; People ~~. Si~iciczir(198)6~ Ca1.App.4th
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         101?, 1016-101;;People z~. Chacon (1968) 69 Cal.2d 76~ [this Court

         noted a logical connection between self defense and heat of passion,

         in a prosecution under Penal Code section 4500, and noted the heat

         of passion instruction supplemented the self-defense instruction -

         "Thus, in a prosecution for murder even tho~h the defense of

         selt-defense_failsLas it might for excessive retaliation_b~,_the
         defendant the fury_ m~ht still find_ the on ~inal attack_sufficient_ to

         constitute,~rovocation~ which would ~reclude_a findi~of malice

         aforethou~ht.anc3_reduce the crime to mansla~hter_"]; People v. St.

         Martin (1910) 1 Ca1.3d 5?4, 529-532 [reversible error for the trial court

         to rail to instruct on pro~-ocation ~ti~here the appellant had also

        claimed self-defense].)

               The Court of Appeal also ignored the rule that, in a murder

        prosecution, the duty to instruct includes the,obli anon to instruct

        on ez~eri su~~ortable_theor~of the lesser included offense of

        voluntary manslaughter,_ not merelk the theory or theories that_have

        the strongest evidentia~~ support, or upon ~~hich the defendant has

        o~enl~relied.(People t~. Brevermaf2, supra, 19 Cal.~th 1~2, 1~5.) Rather,

        the Court of Appeal emphasized -contrary to la~v -the fact that "the

       'thrust' of the defendant's testimony was self-defense" and defense

        counsel relied solely upon self-defense on closing argument, as

        justification for finding omission of the heat of passion instruction

        not to be error in this case.(Opinion pp. 10, 17-19.)

              In Brez~er~~~arl, s~~pr~cz, 19 Cal.~th 1~2, this Court made clear that
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        h E'~1T Ot ~dSS;0I1 — dT'2 11i)L llt'Cc~tidl'ii`v

                                                                                                   the jury
        be given in the same case. (Id. at pp. 159-160.) In Bre~~e~r~~nan,
                                                                                                    of
        was ir~srru cted on unreasonable pelf defense but not on heat
                                                                                                    instruct
        passion. This court found that there ti-as a s~~~a spof~te duty to

        on both theories. (Brever~nan, supra, 19 Cal.4t1~ at ~1~8-1~9.)
                 The Court of Appeal asserts: "Despite testifying repeated?y
                                                                          ng,
        that he panicked upon realizing Denton was dead the next morni
                                                                        ion
        jCam~bel~ never testified he panicked_ duringthe tight." (Opin
                                                                            at
        pp. 16-17.) Panic is not the only emotion that could support the_he
                                                                                               that" n10
        of passion instruction. The_Court sim~ly ignored the.rule
                                                                                                         ed
        s~ecitic t~~~e of pro~ocation_is required, and'the passion arous
                                                                                                      e,
        ,need not be anger or ra e, but can be anv "'"(violent, intens
                                                                 than
         high-wrought or enthusiastic emotion"'"[citations other

         revenge.'"(People v. Lasko (2000)23 Ca1.4th 101, 108.)
                 The Court of Appeal omitted all of Campbell's testimony that
                                                                                                     that
         would support a heat of passion defense. Campbell te5titied
                                                                                                            and
         when he fought back against Denton he was "scared"(3RT 341),

         that he was "surprised" and "terrified" that Denton was not
                                                                                                              ied
         deterred by his efforts to fight him off.(3RT 334.) Campbell testif

         that when he hit Denton with the iron, he felt he had no other
                                                                     By
         options because he felt he was about to die.(3RT 347, 3~6.)
                                                                      instru                               cted,
         rejecting the two forms of self-defense upon ~ti~hich it was
                                                                                                      that he
         the jury concluded that Campbell did not ha~~e an actual fear


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          vas in imminent danger of death or great bodily injury.(See People

         v. Humphrey (2013) 13 CaL~th 935, 1082.) But substantial e~~idence

         ~Tas presented a on which the jug could nonetheless have found

        „that Cam,~bell was acting under the actual influence of extrerrte

         emotion sufficient to reduce his conviction to manslaughter. This

         evidence included Campbell's testimony that Denton had acted

         belligerently once Campbell confronted him about his missing cell

         phones; Campbell's testimony that Denton was the one who

         escalated the fight and would not let Campbell out of the room;

         Campbell's testimony that Denton, who ~~as much younger than

         Ca~-npbell, pinched i~in1, and tiv°lien Campbeii told nim ne was going

         to call the police, he could not get his phone away from Denton.

        (3RT 328.) Aster Denton blocked the door and charged Campbell,

         bear-hugging him and slamming him to the ground, Denton vas

        throwing body punches.(3RT 328-330.) Campbell testified he was

        surprised and terrified that Denton was not deterred by being

        stapled.(3RT 334.) Denton repeatedly threatened to kill Campbell.

        (3RT 334-335.) Although the jury vas entitled to disbelieve

        Campbell's stated reasons for bludgeoning Denton, it was also

        entitled to rely on the other evidence in the record to find that

        Campbell killed Denton spontaneously and under the influence of

        extreme emotion.(Brez~erman, supra, 19 Ca1.4th at p. 163, fn. 10.) The

        Court of Appeal ignored Campbell's citation to People z~. Logan (1917)

        1i5 Cal. 4:~, 46-47, ~0 [defendant entitled to heat-ot-passion


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                                                                                        '- ".'   —   ",      ~_`~-
        i~ .ti~iUl.ii)[i ,~LIC I'` t      LLiL.i~.~_i'L._a.i~. .~~,.~t: .... .... ,..



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        J ~.~.~)t'rll~'L~.LV   c~i~~ llCLttl~i?aY'ltJ A~tl~Qi ~~ta~                                                  J




        to a second 1lumiliating beating" at victim's hands].

                   The Court ~f Appeal attempted to dist~ng,zish P~~~~X~ie ~~.

        Anderson (?006) 141 Cal.App.4th 430, 443, 4~6--4~7[evidence that

        "fatal choxehold was motivated by rage at the ~~ic±im's unprovoked
                                                                                                                         on
        attack" sufficient to require heat-of-passion instruction;), based

        the fact that "the defendant's own testimony described each of his

        react~~ns to the provoca±ion as deliberate acts of self-defense.
                                                                                                                           ad
        (Opinion pp. 18-19.) Campbell believes the Court of Appeal rlisre

        ~Vloye as precluding a heat of passion defense in any case where the

        defendant testifies to having defended himself against an attack by~

        the deceased.
                   There was also substantial evidence presented to support the
                                                                                                                              "'
        obiective component of heat of passion. To satisfy this component,

        "the accused's heat of passion must be due to 'sufficient
                                                                           must
        ~ro~~ocation.'"'"(Hoye, sispra, 47 CaL~tl~ at p. ~~9.) Tl1e victim
                                                                                                                         that
        cause the provocation or the defendant must reasonably believe
                                                                                                                         ct
        the victim caused it. (Icy. at pp. 549-550.)"The provocative condu

        by the victim may be physical or verbal, but the conduct must be
                                                                       n of
        sufficiently provocative that it would cause an ordinary perso
         average disposition to act rashly or without due deliberation and
                                                                                    ~t
        reflection." (I~. at p. 550; see People z~. Beltra~i (?013) 56 Cal.4th 93~,
                                                                                                                         on
         p. 9~9 [''the provocation must be one that v~~ould cause an emoti
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         so intense that an ordinary person would simply react, without

         reflection" (original italics) ].) As this Court has stated, in

         determining whether the conduct was adequately pro~~ocative, the

         question is whether it would cause an ordinary person of average

         disposition "to react from passion and not from judgment," not

         whether it "would cause an ordinary person of average disposition

         to kill" or attempt to kill. (Beltran, supra, at pp. 938-939, original

         italics.) Campbell described adequate provocation in Demon's

         conduct toward him, described elsewhere in this petition.

               It appears, therefore, that the Court of Appeal incorrectly

         resolved all doubts in favor of the prosecution, instead of the

         defense.(People v. Flannel, supra, 2~ Ca1.3d 668, 68~.) The Court of

         Appeal called into question Campbell's credibility, a determination

         which was the exclusive province of the jury.(People v. Brever~rian,

        supra, 19 Cal.4th at p. 162.)

               The Court of Appeal omitted the rule that the oblation to

        instruct on lesser included offenses a~~lies regardless of_the,_~arties'

        requests or objections~_and thus~revents the strat~v, ignorance,. or

        mistakes_ of either ~arty_from_presenting the jury with an

        unwarranted all-or-nothin,~choice, encourages a verdict no,harsher

        or more lenient than_the evidence merits, and protects the ~ur~'s

        truth-ascertainment function.(People z~. Breverman, supra, 19 Ca1.4th

        142, 154-155.) "Just as the prosecution has no legitimate interest in

        obtaining a conviction of a greater offense than that establishec-1 by


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        evidence is sutricient to establish a ie5~er ir~riu~ie-~i u~e:~-~ ~~."

       (Breverrrta~z, supra, at p. 15~.)
                                                                            ~"e
                 "GereraLly; it is a question of fact for the jury cv~~the:
                                                                                                  ordinarily
        circumstances were sufficient to arouse the passions of the
                                                                                                    h 16~g,
        reasonable person." (P~,o~le v. Fene~zbock (1996) ~6 Ca?.App.~t
                                                                                               it is true
        1705; see Beltran, su}~ra, ~6 Cal.~th at pp. 950-951.) titillile
                                                                       n "the
        that a court may decide the issue of adequate provocatio if
                   on i~ so slibht ... that reasonable jtiror~ cou~d not differ
                                                                                on
        p?'O~'ocat
                                                                                                      pp.~th
        the issue of adequacy-..." (Feneizhock, supra, at p. 17~-i, ~;' CaL~~
                                                                                                      ,are
        1161C), the ~ro~~cation shown here -when. the.omitted facts
                                                                                                     ude, as
        considered,- is not so slight that a reviewi~Court can concl
                                                                                                      e to
        a matter of law, that a reasonable jury would have been unabl
                                                                                                   eat of
        find that Campbell acted upon a sudden quarrel or in the~h

        passion._
                  The Court of appeal failed to address Campbell's argument
                                                                                                      al
        that the jury' could have found adequate provocation in se~~er
                                                                                                       with,
        «-ays.(See AOB pp. 26-31 and reply brief pp. 15-22.) To begin
                                                                                                      of
        the jury could have taund it based on the evidence presented
                                                                                                    e and
        Demon's mistreatment of Campbell. Campbell, Blassingam
                                                                      ent,
        Gibson testified that Campbell and Denton had a serious argum
                                                                bell and
        and that someone was yelling for help. According to Camp
                                                                                                       wall
        his neighbor Rose, during the fight Campbell knocked on the
                                                                                                   3-~7.)
         and screamed Eor Rose to call the police.(3RT 291, 3.8-339;


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                The jury also could have found adequate provocation based

         on Demon's belligerent and threatening behavior, including:

          ~     Campbell's testimony that Denton became aggressive when

                confronted with Campbell's accusation of theft, including

               engaging in a shouting match with Campbell;

         •     Campbell's testimony that Denton was the one who escalated

               the fight;

         •     Campbell's testimony that Denton was strangling Campbell

               immediately before Campbell struck him ~~ith the fatal blows;

         ~     the neighbors' testimony that they intervened before the

               argument ended by calling hotel security.

               In short,_evidence of Demon's menaci~behavior was

         sufficient to permit a ~ury to conclude that a reasonable person in

         Campbell's ~?osition_could have acted in the heat ofpassion. The

         Court of Appeal ignored Cam ybell's citation to_cases with similar

        facts supporting Campbell's osition,_includ~Peo~le t~. Barton

        (199~12_Ca1.4th _186, 190, 201-202.)

               The Court of Appeal attempted to distinguish People v. Thomas

        (2013)218 Cal.App.4th 630, 633, on the basis that the defendant in

        that case "testified that he fired at his victim 'because he was afraid,

        nervous and not thinking clearly"', and that other witnesses testified

        to the defendant being engaged in a"'pretty heated' argument,

        cried, called out for his father, paced, and seemed angry."(Opinion

        p. 18.) The distinction is based upon the Court of Appeal's omission



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                                                                                                      ~~,
        fight, described else~~~1-sere in this petit~un, ai~~~ the ~o~;i~t 5 iy<<,~~

        the testimony of Campbell's neighbor; that Campbell vas engak:;ed

        in a violent argument with Denton and called out fir them tc :al: the

        police.

                Like this case, pr;,secution aild defense witnesses in T'1o;~~~:is

        agreed that a sudden quarrel preceded the killing, and evidence way

        presented that the defendant felt both angered and threatened by the

        ~-ictim. And whereas the defendant in Thomas had some time to "

        `cool off'"while retri~~:ing his gun and speaking wi+h his father

        (Beltrtz~i, supra, ~6 Ca1.4th at p. 9~1), Campbell killed Denton in the

        midst of their argument. Thus, the evidence of provocation in this

        case omitted by the Court of Appeal here is more compelling than it

        tilras in Thonuz~.

                The circumstances here—Denton's disrespectful treatment of

        Campbell, the sudden quarrel between the t~~o men, and Denton's

        threatening behavior during the argument—also distinguish this

        case from decisions holding that insults alone are insufficient to

        constitute adequate provocation.(See, e.g., Peeple v. E~tiraca (2012)53

        Cal.4th 735, 743-7~4, 7~9[gang-related insults]; People v. Avila (2009)

        46 Cal.-nth 680, 706 [same]; People v. Maria~igi~te~ (2005) 37 CaL4th 5~7,

        585-586 [victim repeated?y called defendant a "`mother fucker'"

         and taunted him to use his weapon]; People v. La~cas (1997) ~5

         Cal.App.4th 721, 739—i-~C [smirking, taLulting, and name-capling]; but


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         see People v. N1cCou~an (1986) 182 Ca1.App.3d 1, 1 ~~ [heat-of-passion

         instruction required where defendant confessed that "he became

         enraged" when his ex-wife "made [an] obscene gesture at him" as he

         drove by her home, prompting him to shoot her].) Wile the

         conclusion that a jury could have found adequate provocation might

         be different if Denton had merely cursed or insulted Campbell,

         Campbell's testimony about Demon's statements to him and

         Demon's threatening behavior immediately before the killing were

         sufficient under California law to require the trial court to give a

        heat-of-passion instruction sera spo~~te. The Court of Appeal ignored

        this argument and the authorities cited above.

               Therefore, the Court of Appeal erred by finding the trial court

        was not required to instruct the jury sica spo~~te in the language of

        CALCRIM No. 570 because there was insufficient evidence of heat of

        passion.

               C.    The Error Deprived Campbell of His Fourteenth
                     Amendment Right to Due Process

              The Court of Appeal found no prejudice, based largely on its

        misreading of ~'~~oye, claiming it is not reasonably probable the jury

        would have accepted a heat of passion theory after rejecting

        Campbell's self-defense theories based on the same evidence.

       (Opinion pp. 19-20.) The Court of Appeal substantially failed to

       address Campbell's argument,ignored governing law, and ignored

       all facts ta~~orable to Campbell's position.



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                     ~U~~it~;       -   _        i"r rt)
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        of fact tnu~t coiz~iair ti~~hether a p~~r~on of a~~era7e aur~o
                                                           d 11a~~e                  reacted
        same sitL~ation and knowing, t11e same facts, woul
                                                                              ~I ~Ta. ~~~; Pr~~~
        fro~r~ pass:cr~ ra±her than from j~zdainent. iCALCRI
                                                                          standard
        ~~. Logan; s~~n~~a, 175 Cal =~~, ~9.) Consequently, the objective
                                                                   examination of
        of heat-of-passion voluntary manslaughter compels

        Campbell's situation.
                                                                                                s of
               The evidence indicated that Campbell was under the stres
                                                                                of as a trusted
        ~ei~l~ a~tacked suddenly by ~ person he had thought
                                                                           bell had invited
        friend ur ecen a son.(3RT 322-323, 3;~0, 353.) Camp
                                                           that they cou:d go
        Demon into his room to lend him some clothes so
                                                             bell believed
        out together on I~Tew Years Eve.(3RT 321-323.) Camp
                                                                 cell phones.
        that ~ti~hile Denton was in Campbell's room he stole two
                                                          t takinb his phones
        (3RT 326-328.) Campbell confronted Denton abou
                                                             ectedly, Denton
         and demanded them back.(3RT 327-328, 3~5.) Unexp
                                                                then bear-
        charged Campbell and punched him in the forehead,
                                                                   wing body
        hugged Cair~pbell and slammed him to the ground, thro
                                                                  Campbell
        punches.(ART 327-330.) Denton was angry, s~n-e~ring at
                                                                 (3RT 329-330.j
        and saying he ~n~as going to kick CampbelYs "old ass".
                                                                           get
               Campbell was able to wriggle out from under Denton and
                                                             g Campbell from
        to his feet, but Denton blocked the door, pre~-entin
                                                                                  ged Campbell
        leaving the room.(3RT 330-331, 3i4-375.) Denton char
                                                             (3RT 331-332.1
         again, and Campbell started throwing things at him.
                                                                   hit Denton
         Campbell picked up a closeL~ stapler from the dresser and


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         with it, then opened it and stapled Demon's chest o~~er Demon's tank

         top, but Denton pulled out a staple, laughed demonically, and said

         "Is that all you got old man?"(3RT 332-336, 356.) Campbell was

         surprised and terrified that Denton was not deterred.(3RT 334.) By

         this point they had been fighting almost continuously for about ten

         minutes, while Denton repeatedly threatened to kill Campbell.(3RT

         33=~-335.j According to Campbell and his neighbor Rose, during the

         fight Campbell knocked on the wall and screamed for Rose to call

         the police.(3RT 291, 338-339; 347.)

               Denton rushed Campbell again and put him in a choke hold

        fro~7l behind, cubing ott his air.(3RT 33y, 3~7-3~~5.) Campbell bit

        Denton on his arm and elsewhere repeatedly to break his hold.(3RT

        340, 3~8-360.) Denton then picked up a clothing iron from the

        dresser, wrapped the cord around Campbell's neck, and choked him

        from behind until Campbell was dizzy and breathless.(3RT 3-~0-~41,

        361-362.)

              Campbell had, at most, a fe~v seconds and as little as a fraction

        of a second in which to react after Denton started strangling him.

        Rose heard ~~vhat she believed was Campbell's voice coming from his

        room,saving, "Call the police," in response to her knocking on their

        common wall and asking if he was okay.(2RT 77-78, 81-82, 92.)

        l~Teighbor Wendell heard the sounds of a fight in Campbell's room,

        including a "bang" and someone yelling "help", but he could not tell

        whose voice it was.(2RT 49-50, 53, 56-57.) Demon's blood alcohol
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        ~~_'~'~L ~:Vl~ .~i~ — tiL1~1~0["tlll~ LC1~ iI1Ic1"~c


        that his inhibitions c~~ere gone and nz t~a~ o~.l~ r~ c~,i~tr~i.

                Finally, where "the People's ow-n evidence suggests that the
                                                                                             perceived
        ki?ling may have been pro~•oked or in honest response to
                                                                                                      that
        danger" the People must also "prove beyond reasonable doubt
                                                                                                order to
       [heat of passion and adequate provocation] ~1~ere lacking in
                                                                    u.
        establish the murder element of malice. [Citations.f"(reopie Rios

       (2000) 23 Cal.4th 450, applying Mlsllc~~zey z~. Ltiilbur (1975) X21 U.S.

        63~, i04[Due Process Clause requires the prosecution to pro~-e
                                                                                                   on
        beyond a reasonable doubt the absence of the heat o~ passion
                                                                                              in a
        sudden pro~~ocat-ion ~~hen the issue is properly presented
        homicide case."].) the coroner indicated the bruises and abrasions

        on Denton's hands and wrists could have been offensive or
                                                                                                  the time
        defensive, and that Denton had a high blood-alcohol le~~el at

        he was killed.(2RT 202-203, 308-309.) Photographs taken of
                                                                                                      es
        Campbell's body on the day of his arrest showed bruises, scrap
                                                                                                  -x, 308-
        and scratches on his chest, back, arms and knees.(3RT 293-29

        ~09, 365-370.) Defense expert Dr. Ryan O'Connor determined the

        injuries to Campbell were consistent tivith injuries that v~~ere six days
                                                                                                  n.(3RT
        old —suggesting that they resulted from the fight tivith Dento

        309.)
                 Evidence of intent to kill was lacking here. V1~'hyT would

        Campbell invite Denton to his residential hotel room with the
                                                                             de
        intention of killing hiin? There were people all arotuld, just outsi


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          the door and in the adjacent rooms; discovery of the dead body was

          inevitable; the identity of the person who rented the room was

          known. What motive did Campbell have to kill Denton? The

         prosecutor offered nothing but the insinuation that Campbell had a

         sexual interest in the younger Denton, without any evidence to

         support it. This was a sudden and unexpected fight, and at least one

         of the combatants —Denton —was extremely intoxicated

                The prosecutor could not have disproved sudden quarrel or

         heat of passion here. There was evidence that Denton, a much

         younger man than Campbell, suddenly and violently attacked

         Car~lpbell in His otieil Home,swearing at him, threatening to kill hirn,

         and strangling him to the point of Campbell nearly passing out.

        Under these circumstances, a reasonable jury could infer that

        Campbell was aroused to passion, and his reason was thus obscured,

        by a provocation sufficient to produce such effects in a person of

        average disposition. A rational jury could also find that the intense

        and highly wrought emotions aroused by the initial threat had not

        had time to cool or subside by the time Campbell seized the iron —

        ~vhose cord Denton was strangling Campbell with —then struck

        Denton with it until he stopped strangling Campbell. Finally, a jury

        could disbelieve defendant's self-defense claim, and conclude, from

        all of the evidence, that defendant killed intentionally, but while his

       judgment was obscured due to passion aroused by sufficient

       provocation —fear and terror at being attacked.[See ~ Witkin &



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        CSI. Crimuzal La~v (?d ed. ly8~j ~ X11]; i'c~u~~i~~ :. ~'~vi t

        Ca1,2d 237, 2~2; People v. Logan, supra, lip Cal.-~~, ~9.)
                                                                                    nu a
               On these farts, the prosecutor could not prove be~-o
                                                                                  a sudden
        reasonable doubt that Campbell did not act pursuant to
                                                                    ew i31 order
        quarrel or heat of passion. This Court should grant reti~i
                                                                   ion here.
        to settle the issues raised by the Court of Appeal's decis

        III.    CAMPBELL WAS DEPRIVED OF HIS SIXTH
                                                    E
                AMENDMENT RIGHT TO THE EFFECTIV
                                                    AL
                ASSISTANCE OF COUNSEL BECAUSE TRI
                                                       CTION
                C~L~I~ISEL FAILED TO REQUEST AN INSTRU
                ON "EARWITNESS"IDENTIFICATION

                                                                   jury
                Summarizing an off-the-record discussion regarding
                                                                          I didn't think 315,
        instructions, the trial court stated: "315, I indicated
                                                                           sary oi~ this case
        the eyewitness identification instruction, was neces
                                                                             (4RT 389.)
        because there doesn't seem to be any issue about it."
                                                                              's statement,
        Defense counsel said nothing in response to the court
                                                          n address
        and did not request modification of the instructio to

        "earwitness" identifications.
                                                                                            was
                The Court of appeal disagreed that Campbell's counsel
                                                                               ~ritness"
         ineffective for failing to request an instruction on "ear~
                                                                             "[a]n
         identification because the Court of Appeal found (1)
                                                              of voice
         instruction highlighting the potential unreliability
                                                               the defense than
         identifications would ha`•e been more likely to hurt
                                                                  n not to request
         to help it" —thus, defense counsel had a tactical reaso

                                                  ?1
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         such an instruction, and (2j anv such instruction would ha~~e been

         d uplicative of the instruction the court gave on how to evaluate the

         credibility of witness testimonies.(Opinion pp. 26-29.) The Court of

         Appeal erred.

                A.    The Court of Appeal Omitted Material Facts

                The only percipient witnesses to the killing ~~ere Campbell's

         neighbors, Wendell and Rose. They were not eyewitnesses, but

        "earwitnesses." Both testified to hearing the sounds of a violent fight

         coming from Campbell's room.(2RT 44-49, 51, 53-55, 75-i9, 95-96.)

         Wendell testified he heard a bang and at the same time someone

         yeiiing "help" twice, but he could not tell if it ~n-as Campbell's voice

         yelling for help, or e~~en whether the voice was male or female.(2RT

        49-50, 53, 57.) Rose also heard a voice coming from Campbell's room,

        but she believed it was Campbell's voice saying, "Call the police," in

        response to her knocking on their common wall and asking if he wras

        okay.(2RT 77-78, 81-82, 92.)

               Rose also testified that before the body was identified as

        Denton, she believed the person killed in Campbell's room was

        Campbell himself, and that his girlfriend had killed him.(2RT 89;

        3RT 283.) Rose stated in a recorded police interview that she heard a

        female voice say "Give me some money," and Campbell's ~~oice

        respond "I ain't got no goddamn money." (3RT 280-282.) She also

        reported hearing a female voice saving "Michael, oh, let me go. Let

        me go." She then said she heard Campbell say "No, you let me go."


                                           ~~
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        ~_~~V ~ _~1_-_rl~.) ~ril~ u~ti~.



        ~~olice" t~-vice.( I~ 1 ?~~ 1.~
                                                                                     between hi, upit
                Campbell testified that he banged on the wall
                                                                               po?ice.(ART 3~8-339,
        and Rose's ~~nit and screamed for her to call the

        347.)
                                                                                      tor ~~-as
                Defense counsel argued to the jury that as Der~
                                                              e" and "help".
       attacking Campbell, Campbell ygilled "Call the polic
                                                              for the police
       (4RT 423, 426, 432.) He also argued, "lc~ou don't yell
                                                            police when yoni
        when ~~ou're murdering someone. You ~ell for the
                                                                                    n you need to get
        need hc.~, aid it's your life or someone else's, whe
                                                                             p, call the police."
        out of a situation desperately you will call "Hel
        (4RT 437.)
                                                                                                    police
                 The prosecutor argued Rose believed at the time the
                                                              s of his
        intervietived her that Campbell was dead at the hand
                                                         police was "filtered
        girlfriend, and that everything Rose said to the
                                                           anyone say "help",
        through that belief."(ART 402.} Rose did not hear
                                                                                        ed Roe's
        but Wendell did.(-APT ~k03.) The prosecutor emphasiz
                                                        voice saying
        statement to the police that she heard a female
                                                           say "No, you let
        "Michael, oh, let me go. Let me go," and Campbell

         me go." (4RT 403.)




                                                         ,~
                                                         ~~
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                   B.    Trial Counsel Was Ineffective For Failing to
                         Request a Modified Version of CALCRIM No. 315
                         or Other Appropriate Instruction to Assist the Jury
                         in Evaluating the "Earwitness" Testimony
                         Presented by the Prosecutor

                   A criminal defendant's constitutional right to the assistance of

         counsel for his defense includes the right to effective assistance.

        (U.S. Const., 6th & 14th Amends.; Cal. Const., art. 1, ~~ 7, 15;

         Strickland v. Washingto~z (1984)466 U.S. 668, 685-686; People v. Cuc~jo

        (1993)6 Cal.~th X85, 61.x.)

                  ~n appellant's conviction will be reversed for ineffective

         assistance of counsel whe~~_tl~e trial attorney failed to ~?erform in.

        the manner expected of reasonab~competent counsel actin as_a_

        diligent advocate, and ~2~ there_,is_amreasonabl~robability that a

        more favorable result would have been obtained in the absence of

        counsel's failure (Strickland, szlpra, 466 U.S. at p. 687; Cuc~jo, supra, 6

        Cal.4th 585, at p. 615; see College Hospital, Inc. v. Superior Court (1994)

        8 Ca1.4th 704, 715 [discussing "reasonable probability" under the

        Watson standard]; People z~. Hozrard (1987) 190 Cal.App.3d 41, 47-~8 &

        fn. ~.)

                  The prosecutor presented t~vo witnesses to the events that

        transpired in Campbell's room —neighbors Wendell and Rose.

        Neither saw what happened, but both heard the sounds of a fight

        and someone in Campbell's room yelling for help and to call the

        police. They were, in effect, "earwitnesses".
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                   ~               .,


                                                                   1;`TI1~ll ~~ S i:iti~cy~ d ~~ ~ 1`_~             _
         -'~'L'Pa~ tc~l;~l)T~, tiLll_1l ~l~ 1ZL'c1T'iI1~ 1I71~:7c1
        5~

                                                                                                        and
        deliberate impersonation; speaker distortions from stress
                                                                        its; ~~nc
        anxiety; noise; liste~zer expectations; attertional memory der;=
                                                               on, 1 Psych                                              ol.
        other factors.(Yarmev, Earwitness Speaker Identificati

        Pub. Pol'v & L. 792, 795(1995).) It is_~robable_that listeners
                                                                       ion of
        themselves ma~r,re=.incc~nssteiit in identification as a funct
                                                                       ng.
        chances in their ~~h~~ciolc~pgical state~moticationland traini

       (Hollien, H., 1~1~rv~ ski, W.,& Doherty,_E T ._Perceptual

        Idertific~tion of Voices tinder itiTormal, Stress andNDisguise
                                                                                                             e
                                                                                                  (1982)_) ThT
        Speaking Conditions Journal of Phonetics, 10, 139 1-~8
                                                                                                                  s in
        jurv_in this case needed instruction on these factors, just as furor

        eyewitness identification cases need instruction_on eyewitness

        factors.

                  The Court of Appeal omitted the prosecutor's argument to the
                                                                                                          Denton,
        jury that it was not Campbell who was yelling for help, but
                                                                                                            in a
        and the prosecutor's sugbestion that Campbell had engaged

        species of torture murder.(-ART 4~0.) The defense used the

        earwitness testimony to ar~uein support of self-defense that
                                                                                                         n ~~as
        Campbell was Yelling "held' and "call the police" as Dento
                                                                X37.) Thus,
        attacking,him with deadly force.(4RT 423, ~?6, 432-433,

        the identification of Campbell as the_s~eaker was crucial to the
                                                                                                            making
         defense_case, and the fury needed instructional assistance in

         a determination as to what or whom Rose, in_particula~ herd.


                                                               ~~
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         There could be no satisfactory explanation for failure to request the

         instruction, as Rose's identification of Campbell as the one who was

         yelling "call the police" was at the core of Campbell's defense.

                Trial counsel is ineffective when he fails to request necessary

         jury instructions. (See People v. Loza (2012)207 Ca1.App.4th 332, 348.)

         The court has no st~a sponte duty to give an instruction on eyewitness

         testimony.(People v. Richardson (1978)83 Ca1.App.3d 8~3, 863,

         disapproved on other grounds by People v. Saddler (1979) 24 Ca1.3d

         671, 682.) An instruction relating eyewitness identification to

         reasonable doubt, including any relevant "pinpoint" factors, must be

        liven b~~ the trial court on request ~'[~v]hen an e~~e~~itness

         identification of the defendant is a key element of the prosecution's

        case but is not substantially corroborated by evidence giving it

        independent reliability." (People v. Wright(1988) 45 Cal.3d 1126,

        1143-11~~, quoting People v. McDonald (198-~) 37 Ca1.3d 351, 377,

        overruled on other grounds in People v. Mericlo~a (2000) 23 Ca1.4th

        89ti, 914; Peoyle z~. Fudge (1994) 7 Cal.=nth 1075, 1110; People u. Palmer

        (1984) 15~ Ca1.App.3d 79, 89 [error to refuse defendant's requested

        instruction on eyewitness testimony].)

               Where there is earwitness testimony and a conflict as to the

        identity of the speaker,jurors should be given some guidance on

        ho~v to determine whether a voice identification is reliable. (See

        People z~. V1~'ri~ht, supra, 45 Ca1.3d 1126, 1138-1139.) Citing no

        authority, the Court of Appeal incorrectly asserted an instruction on


                                            ?6
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        ~arw~itrlesti i~~ei~~ ~A~~~ ~i ~ i ~`a~ti . _ ~,~, ~~., _~_ , ,~~~~ ~~~~ ~~.~~.«...~
                                              1C Lj l~'LL~ Lltf.' l..l l.~~!1:.~ ~~il ~r1 ~i~f~_i~V   ~1 ~~~ ~Y':
        ~C1LL1\Il~~~ 1VL). ~~C7~ ~'V I'lii_~i



        e~raluating witness credibil~~y, was gi~-en.(Opinion pp. 27-28.)

        Cainpbeli has been unable to :i^d a singly case holding that, in the

        analogous situation of ~n eyewitness identification instruction,

        CALCRIi~1 No. 315 tivauld be duplicative of CALCRIM l~To. 22h.

                 The Court of Appeal failed to address in this context People z~.

        Felix (2008) 160 Cal.App.4th 849, SAS-859, where the Court found

        CALCRIM No. 31~ and C~LCRI~'I N~. 226 eiti~,anced each other, just

        as an earwitn~ss instructicil— or a modified version of CALCRI~1

        ~~o. 315 — titi-ould have enhanced CALCRIM No. 226.
                 The Court of Appeal ignored the obvious, which is the rule

        that an analogous instruction relating eyezvit~iess identification to

        reasonable doubt(CALCRI~VI I~To. 315), including any relevant

        "pinpoint" factors, must be given by the trial court on request

        "[w]hen an eye~vitness identification of the defendant is a key

        element of the prosecution's case but is not substantially

        corroborated by evidence giving it independent reliability." (People

        v. Wright, supra, ~5 Cal.3d 1126, 1143-1144; P~~o~~le v. Fudge, supra, i

        Cal.4th 1075, 1110; People -v. Pczl»zer, supra, 154 Cal.App.3d 79, 89.)
                  Where there is earwitness testimony and a conflict as to the

        identity of the speaker, jurors should be gi~-en some guidance on

        how to determine whether a voice identification is reliable.(See

        People v. Wright, supra, 4~ Ca1.3d 1126, 1138-1139.)


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                Campbell was prosecuted for murder based in part on the

         earwitness identifications made by Wendell and Rose. Becau
                                                                           se the
         parties disagreed on the identity of the person yelling "call the

         police" and "help" during the fight, it follows that Campbell
                                                                           was
         entitled to an instniction on factors to be considered in evaluating

         the reliability of earwitness identification testimony,just as he
                                                                             would
         have been entitled to a jury instruction on eyewitness identificati
                                                                                on,
         had this case depended on it. It was trial counsel's duty_ to reques
                                                                                t
         such an instruction,~et he failed to do it. Because an "earwifiess"

         instruction would not have been duplicative and Campbell ~ti~as

        entitiedto it, triai_counsel rendered. ineffecti~~e assistance. (Sh~ckla~id

        ~~. ~1/aslzi~zgton, supra, X66 U.S. 668, 687.)

               The Court of Appeal substantially failed to address

        Campbell's prejudice argument. There is a reasonable probability

        that a more favorable result would have been obtained in the

        absence of counsel's failure. (Strickland, supra, X66 U.S. 668, 687.)

              The evidence shows the killing in this case arose out of a

        sudden quarrel and violent altercation between. two men, which vas

        overheard by two earwitnesses. The prosecutor offered no motive

        for Campbell to kill Brian. Brian on the other hand, was extreme

        intoxicated with alcohol, and mad have been high on

        metham~hetamine as well. Even if he was only drunk he was_so

       drunk (.212 BAC)that his impulse control and judgment must have

       been severel~imUaired. It appears that the jury rejected Rose's



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        ~~YI1Cldi trStli11011~' ~i1di C;1CT

                                                           self-detei~5e and unr~asuna~~~
        because the jury' rejected Car.~pbell's
                                                       him of second-degree murder
        self-defense claims and convicted

        instead.
                                                        itne                 ss identification
                Had the j~irors been instructed on earw
                                                            e had some context in which to
        factors, they would, for example, hav
                                                             ught she heard a woman's
        understand why Rose might ha`~e tho
                                                              m stress and anxiety). Instead,
        voice (possible speaker distortions fro
                                                           uld evalua~e her testimon~~.
        They were left to guess how they sho
                                                                         ability that Campbell
                 On these facts there is a reasonable prob
                                                               d of manslaughter had trial
         would have been acquit±ed or convicte
                                                              itness identification
        counsel requested an appropriate earw
                                                             review to settle the question
         instruction. This Court should grant
                                                               instruction should be given
         whether an "earwitness" identification
                                                              esses testified to the identity
         upon request in a case where key witn

         of a voice they heard.
                                                                                  UES TO BE
                STATEMENT OF CONSTITUTIONAL ISS
                               EXHAUSTED

                                                 SIDER
               INSTRUCTING THE JURY IT COULD CON
                                              ESS OF GUILT
            CAMPBELL'S FLIGHT AS CONSCIOUSN
                                            DENCE OF FLIGHT
          W HERE THERE WAS INSUFFICIENT EVI
                                              EN OF PROOF
           LESSENED THE PROSECUTION'S BURD
                                                   D 14th
               AND VIOLATED CAMPBELL'S 5th, 6th AN
                         AMENDMENT RIGHTS

                                                                           ructing the jury on
                  The Court of Appeal disagreed that inst
                                                                  Campbell's federal
          flight as consciousness of guilt violated

                                                        ?9
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          constitutional rights.(Opinion pp. 20-2~.) This issue presents no

          grounds for review under Rules of Court, rule 8.500(b). This issue is

          presented solely to exhaust state remedies for federal habeas corpus

         purposes, pursuant to Rules of Court, rule 8.508.

                A.    Factual Background
               Campbell testified he woke up the morning after the fight and

         remembered the fight with Brian.(3RT 343.) Thinking Brian was

         asleep, Campbell called out to him, telling him to wake up and leave.

        (3RT 3~3-34-x.) When Campbell nudged Brian's leg and disco~~ered

         he vas dead, he panicked and left the building.(3RT 3-~-~, 364.)

         Campbell did not ~nrash up or change clothes.(3RT 364.) He could

         not recall about what he wore, except that he put something on to

         wear outside because it was raining.(3RT 36-x.)

               Campbell ~~-as afraid to call the police, as he was "trying to

         process" what had happened.(3RT 344-345.) He went to his ex-

         girlfriend Angel Dorsey's house and told her he had fought with

        Brian.(3RT 345.) after leaving Dorset/s place, Campbell went out

        and bought drugs and alcohol.(3RT 345, 3~2.) Campbell stayed high

        on meth and drunk continuously for five days until the police picked

        him up.(3RT 3-~6, 352, 364.)

              Video footage confirmed Campbell left his room in the

        residential hotel at 8:13 a.m..(2RT 112-115, 128-129.) He appeared to

        be wearing the same clothing from the night before.(3RT 299.) He

         v as recorded on ~~ideo leaving through the front door.(2RT 112-



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         '~.) ~2 ~!.; i1~`~ :~kUrI1 `C~ tf1~ riltel

                                                                _~~~-        ~ 3~~, i ~-~-1 f~,
                h'hert the police in~ervie~~~ed Dorsey (~ ~ ~ i
                                                                  t early in the morning
        1~9), she said Campbell visited her apartmen
                                                                tment has ic~cated around
        o~ Ja~uar~~ 1, 216.(2I?T 14?-1~?:) Her apar
                                                                        tly across the street
        the comer f,:~m Campbell's apartment and direc
                                                                       ral Police Station.
        from the Los Angeles Police Department's Cent
                                                                       upset.(2RT 142, 1-~6.)
       (2RT 1-~1-142.) Campbell seemed "excited" and
                                                                      had died during a
        Campbell said Brian was in his apartment and
                                                           use               he looked like
        fight.(2P.T 1-~3-145.) Dcrsey let Campbell in beca
                                                                      ed at Dorsev's place for
        he needed help.(2RT 1=~3-144.) Campbell stay

        about four hours.(2RT 146.)
                                                                                ?016.(3RI'
                Campbell was arrested on the night of January 6,
                                                                        bell had bags and a
        175-178, 182-183.) At the time of his arrest, Camp
                                                                      flee.(3RT 179-180,
        backpack with him, but he did not attempt to

        182.)
                                                                               the language
                The court instructed the jury regarding flight in

        of CALCRINZ No. 372:
                If the defendant fled immediately after the crime ~-as
                                                                   aware
                committed, that conduct may show that he was
                                                                       it is
                of his guilt. If you conclude that the defendant fled,
                                                                       that
                up to you to decide the meaning and importance of
                conduct. However, evidence that the defendant fled
                cannot pro`~e guilt by itself.

                                                                          t to the instruction.
        (1CT 148; 4RT 477.) Defense counsel did not objec
                                                                                     left his
                 The prosecutor argued CampUell "fled" because he
                                                                            eds residence
         room and ~ealked around the corner to Angel Dors

                                                  31
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           instead of walking to the police station to report Dento
                                                                           n's death.
          (4RT 405.)

                  B.    CALCRIM 372 Lessened The Prosecution's
                        Burden Of Proof and Violated Appellant's 6th
                        and 14th Amendment Rights

                 "The Due Process Clause of the Fourteenth Amendmen
                                                                                  t
          denies states the power to deprive the accused of libert
                                                                           ~~ unless the
          p
          rosecution proves beeyond a reasonable doubt every eleme
                                                                                nt of the
         charged offense. (Carella v. California (1989) 491 U.S. 263,
                                                                            26~, citing,
         In re Winship, supra, 39i U.S. 358, 364.)

                Instructional error which. relie~~es "the pro~ec~ation ^f the

         burden of proving beyond a reasonable doubt each
                                                                    element of the
         charged offense violates the defendant's rights under
                                                                      both the
         United States and California Constitutions."(People v. Flood
                                                                              (1998) 18
         Cal.~th -~70, 4i9-480; see Crzrella z~. California, supra, 491
                                                                          U.S. at 265.)
               "Mandatory presumptions violate the Due Process Claus
                                                                                  e it
        they relieve the State of the burden of persuasion on an eleme
                                                                                 nt of
        the offense." (Patterson z~. New York (1977) X32 U.S. 19i, 215;

        Sa~Tdstrom z~. /l~lont~~na (1978)4~2 U.S. 510, 520-52~.)
                                                                   By contrast,
        permissive inferences generally do not violate due proce
                                                                           ss because
        the prosecution still bears the burden of persuading the jury
                                                                               that the
        suggested conclusion should be inferred based on the predi
                                                                              cate facts
        proved.(Estelle v. 11~1eGuire (1991).~02 U.S. 62, 78-79, citing
                                                                            Ulster
       County Court v. Allen (1979) 4~2 U.S. 140, 157-163.)

              Nevertheless, a permissive inference violates the Due Proce
                                                                                      ss

                                             J~
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                                   ~ •_,


                                                                      pro~.-en tarts bet~~r~ t ~e~~~r~~.
       cntr~mon verse ju~tifv in 1ig11t of the
                                                                          314-315, citing Ui~tzr ~ot~,~it1~
       (Francis t~. Fra~iklin (1980 47'1 U.S. 30i,

        ~=n~rrt, s~tnr~i, 44'' li.S., at 157-~63.}
                                                                                            CRIM No. 372
                  Thy per:~:ssiti-P inference created by CAL
                                                                              rights. the instruction told
        violated Campbell's federal due process
                                                                            departure from his hotel
        the jury it could infer from Campbell's
                                                                               trated consciousness of
        room that he "fled" the scene and demons
                                                      ~2e~                             ~do~n (2000) 2-~ Cal.~th
        guilt as to file charged offei.se.(People z'.
                                                                              inappropriate because it
        12~, 17u-180.) Thar inrerenc~, which was
                                                                            ened the prosecution's
        eras unsupported by the evidence, less
                                                                                  beyond a reasonable
        burden to prove every element of the case
                                                                                 h and 14th Amendment
        doubt, and violated appellant's Fifth, Sixt
                                                                           (In re Winship; sicpra, 397 U.S.
        rights to trial by jury and clue process.

        at 364.)
                                                                                                       rence," that is, an
                   An instruction that creates a "permissive infe
                                                                                  reject, ~-iolates due process
         inference tl~e jury may choose to creditor
                                                                                 of fact could make the
         w here "there is no rational way" the trier
                                              e."                               (Ulster County Coiert z'.
        "connection permitted by the inferenc
                                                                                 ruction unconstitutionally
         Allen, supra, 442 U.S. at 157.) Such an inst
                                                                               not be Said with
         shifts the burden of proof because it can
                                                 ed                                   fact is more likely than
         "'substantial assurance that the presum
                                                                                      it is made to depend."'(Id.
         not to flow from the proved fact on which
                                                                               es (19b9j 395 U.S. 6, 36.)
          at 166 fn. 28, quoting Learn v, United Stat


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         Specifically, it cannot be said with "substantial assurance" that guilt

         is more likely than not to t7ow from flight.

                          Before the court can instruct a jury it may draw a particular
         inference, evidence must appear in the record which, if believed by

         the jury, will support the suggested inference.(People z~. Valdez (2004)

         32 Ca1.4th 73, 137.) When a court fails to make that preliminary

         factual determination, it errs by passing a question of law to the jury.

        (People z~. Hanr2ofi (1977) 19 Cal.3d X88, X97.)

                         Campbell knew hehae~killed Denton, but he was concerned
         that he was the only witness to what had happened in his.room and

         that he would be unfairly prosecuted fc~r a crime c~-hen the homicide
         _ .~ .__.., ~._.. ..__,_..~.....~.._~..~...~._. ~.~~...~.......~ ~ J....   _         _...   _....,_.,.~._ ~..e...-~ .~....~.~_~...~,......~...~. .... ~.... _. ~ _.........




         ti~-a~ustifiabl_ e.(3RT 129-131.) Therefore~the_tlight instruction

        unf~irl~_suggested Campbell knew he was~~iltX of murder and fled

        to avoid arrest.

                        Campbell's failure to notify the police or to advise his

        girlfriend he intended to call is not evidence of flight. (Id. at p. 869.)

        Campbell's act of locking his door is not e~~idence of flight or even an

        attempt to conceal Denton's bode; the reasonable inference is that

        Campbell locked his door out of habit, as most people lock the doors

        to their homes upon leaving, and it was inevitable that Demon's

        body would be found because the smell of death would evenhially

        tip off the neighbors. Furthermore, tenants and staff at the hotel

        knew Campbell lived in room ~8, where the body was.(2RT 49, 76,

        9~.) It ~~as inevitable that Demon's body would be connected to


                                                                                        3-~
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                                                 ~        7        - --   I .1       J         `
                    ~ ~                                          ~.~u.~~ ~~c+~ _~~s=.,~ :_~i,:<ir ~:,
        ~.d~Tlr b~li L~t'~,_iL,.~E t<<~ :vv~Tl ~e1V11~~,eu ~~~

                                                                                                   ~,,
        nei7hbors he~~rdt~~e ~~1t~ecation b~t~vern Dent~~r~ ar;d ~.a:-~r~';.st! .
                                                                                                        the
        short, Campbell had already been "obser~~ed" in connection with
                                                                                                   nct
        killing, sn _1 eaving his apartment with Denton's body in it c-~u d

        have been for the purpose of avoiding being observed. Campbell's

        panic at realizing Denton vas dead and his desire to get ativay from

        the body also does not support an inference that his purpose in

        leaving his room was to avoid being observed or arrested. As
                                                                          ng
        explained abo~%e, Campbell had already been obser`~ed, so leati~i

        his room tivould not help him in that regard.
                There is also no substantial e~,idence to su                    ort tr~e_inference

        that Cam ~bell darted his room and the hotel to_,a~ oid_~rrest. The

        Court of Appeal failed to address the fact that Campbell walked the

        short distance to his ex-girlfriend's residence around the corner from

        his place and immediately across the street from a police station.

        (2RT 1=~1-1~2; 3RT 14,E-146.) Campbell spent the better part of a week

        after the killing getting drunk and high, but he did not lea~-e h:s

        neighUorhood. (3RT 3-~6, »2,36-x.) The Court of Appeal also

        omitted the fact that the uniformed arresting officer testified

        Campbell "did not attempt to flee"when taken into custody.(3RT

        179-180.) Hant,in~out for fi~~e da~~s, drinkin;and taking drums in the

        immediate vicinity of a police station, in an area where Campbell

         presumabl was kno~ti~n, and,making,no attern~t to flee when

         officers arrested him, does notosu fort an inference that_Cam~b~ll


                                                     35
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                           PROOF OF ELECTROI~IIC SERVICE
                               AND SERVICE BY MAIL

           I am employed in the county of San Francisco, California; I am over
                                                                                 the age
    of eighteen years and not a party of the within entitled cause; my busin
                                                                             ess
    address is P. O. Box 330057, San Francisco, CA 94133.

          Documents submitted electronically are transmitted using the TrueFi
                                                                                  ling
    electronic filing system. Participants who are registered with TrueFiling
                                                                               will be
    served electronically. Participants in this case who are not registered
                                                                            with
    TrueFiling will receive hard copies through the mail via the United
                                                                          States Postal
    Service or a commercial carrier.

         On August 2, ?019, I electronically served the attached APPELLAN
                                                                             T'S
   PETITION FOR REtiIE~ti' in People z~. Campbell (B288428) b~~ transmitting
                                                                             a true
   copy via this Court's TrueFiling system to the Los Angeles County
                                                                       District
   Attorney; the Department of Justice, Ofrice of the Attorney General;
                                                                        the Court of
   Appeal, Second District; and California Appellate Project, Los Angel
                                                                        es.

         On August 2, ?019, I served the same document by mail on:

   1~lichael Campbell BF6189       The Hon. Curtis B. Rappe         Michael Waldinger
   4~'asco State Prison            c/o Clerk, Superior Court        Office of the APD
   P.O. Box ~~00 B-~ ?17-A         111 North Hill Street            210 W Temple Street
   u'asco, CA 93280                Los Angeles, CA 90012           18~' Floor
                                                                   Los Angeles, CA 90012

        I declare under penalty of perjury under the laws of the State of Califo
                                                                                rnia the
  foregoing is true and correct and that this declaration ~-as executed on
                                                                           August 2, 2019, at
  San Francisco, California.



                                         GAIL HARPER
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                     _.                                       ~         ___ ____
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                                                                  G<AIL HARPER
   ~'Iichael Ca~npbe!1                                             ~.-T-,°_~~~-r .=~r ~ a.x
   Atigtist 19, 2019
   Page

      '  ` The Court of Appeal denied your petition for rehearing.
                                                                   t~10 response to
   that petition vas filed. Once the Court of Appeal denied rehearing,
                                                                         I filed your
   petition for review. The Attorney General will not respond to it
                                                                    unless the
  California Supreme Court orders the Attorney General to file a respon
                                                                            se. That
  rarely happens, and I do not expect it to happen in your case. In
                                                                    the unlikely
  e`~ent that the California Supreme Court grants review, then both
                                                                      parties ~tirill file
  briefs in that Court. Again, it is very unlikely the Supreme Court will
                                                                           grant
  review.

           The fact that the Court of Appeal's decision was not published
                                                                               does not
  affect the Supreme Court's ability to grant revie~~-. The California
                                                                          Supreme Court
  has the final sav in vo,_ir case in California; it cam grist or ~e~~~ re~ie~v.
                                                                                 ~~To~t~
  likely- it will simply deny review, and at that point y~oli can.file,a_peti
                                                                              tion for
  certiorari in the United States Supreme CoLirt, and/or you can file a
                                                                            petition for
  habeas corpus in the trial court and move up through the California
                                                                             courts and
 into the federal courts after you have exhausted your remedies in the
                                                                               state courts.
 You may have a problem because you have already filed a petition for
                                                                                writ of
 habeas corpus, since you cannot file successive petitions except under
                                                                                very
 limited circumstances. You will have to seek legal counsel elsewhere if
                                                                                 you need
 it.

       The official jury instructions given in your case are in the Clerk's
 Transcript, and the reporter's transcript contains the part of the procee
                                                                           dings
 where the judge read the instructions to the jury. Your marked up instru
                                                                             ctions
 are not a part of the record on appeal.

       I do not possess your case file, if by "case file" you mean your trial
attorney's file. You will have to write to him and request your file. He is
obligated to send it to you. If he fails to send it, you can report him to the State
Bar of California.

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     ~.S1 ~                                      1 S   ~`     -~ ~_ :: .._ i,~ C `-   i--~;, ~:` ,   ~C `
                                                                                                        : ~~ , \:,-+ 1 ~^~ '-t   1 - _   _. '7   ...   :i 4.:   ~ V ~t

                                                                             5            J'                -~        ~:.
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                                                                      ~I j ~'/ ~,e ~ ~~




          IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

               SECOND APPELLATE DISTRICT, DIVISION FOUR

        PEOPLE OF THE STATE OF CALIFORNIA,              )

             Plaintiff and Respondent,                  ) 2 Crim. B288428

             vs.                                        )
                                                          Los Angeles County
        MICHAEL CAMPBELL,                               ) Superior Court
                                                          No. BA442781
             Defendant and Appellant.                   )


                 APPEAL FROM THE JUDGMENT OF THE
             SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  FOR THE COUNTY OF LOS ANGELES

                   HONORABLE CURTIS B. RAPPE,JUDGE

           APPELLANT'S PETITION FOR REHEARING

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                                         Telephone: (415) 291-8469
                                         State Bar No. 104510

                                         Attorney for Appellant
                                         by appointment of the Court of
                                         Appeal
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              IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                    SECOND APPELLATE DISTRICT, DIVISION FOUR

       PEOPLE OF THE STATE OF CALIFORNIA,                 )

              Plaintiff and Respondent,                   ) 2 Crim. B288428

              vs.                                         )
                                                            (Los Angeles County
       MICHAEL CAMPBELL,                                  ) Superior Court
                                                            No. BA442781)
             Defendant and Appellant.                     )


                     APPEAL FROM THE JUDGMENT OF THE
                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      FOR THE COUNTY OF LOS ANGELES

                            PETITION FOR REHEARING

        TO THE HONORABLE PRESIDING JUSTICE AND THE ASSOCIATE
          JUSTICES OF THE COURT OF APPEAL,SECOND APPELLATE
                        DISTRICT, DIVISION FOUR:

             Appellant, MICHAEL CAMPBELL,hereby petitions this

      Court for rehearing in his case, in which the opinion of this court

      was filed July 3, 2019.

            This petition for rehearing is made on the grounds that the

      Court's opinion substantially fails to address appellant's arguments,
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                                                              misapplies the
        omits or misstates material facts and authority and
                                                      section 6808  1.)
        law.(Cal. Rules of Ct. Rule 8.268; Govt. Code
                                    ARGUMENT
                                                     TS
        I.    THE COURT OF APPEAL OMITS MATERIAL FAC
              FROM ITS STATEMENT OF THE FACTS

              A.     PROSECUTION CASE

                     1.    The Killing
                                                                       heard a lot
              The Court of Appeal omits Wendell's testimony he
                                                          Wendell's wall and
        of banging and slamming(2RT 47, 53), and that

        the mirror hanging on it were shaking.(2RT 48, 53.)
                                                                   she had
              The Court of Appeal omits Rose's testimony that
                                                              ting" coming from
        heard "a bunch of knocking and bammng and figh
                                                           9, 54-55, 75-79, 95.)
        Campbell's room for about 20 minutes.(2RT 48-4
                                                                       imony.
               The Court of Appeal omits all of the following test
                                                                     er Omar
               On January 5, 2016 at 8:24 a.m., hotel security offic
                                                          ng a welfare check
        Hernandez found Denton's body while conducti
                                                         andez opened the
        at Room 58.(2RT 52, 70, 116, 135-136, 144.) Hern
                                                           n he saw the body
        door with a master key, then closed the door whe
                                                           after 8:24 a.m., the
        inside.(2RT 65, 68, 65-66, 68, 135-136.) Sometime
                                                            h and went to
         police received a call regarding a suspicious deat
                                                           Hernandez. (2RT
         Campbell's apartment, where officers met with
                                                          on the floor in
         59-62.) Initially the officers believed the body
                                                              66.) The body's
         Campbell's room was Campbell himself.(2RT 62,
                                                                to the face and
         face was pale and bloodied, and there were injuries

                                            2
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                                                                                        r~
                                                                                        ,;



                                                                                        7'~
        head.(2RT 66-67.)
                                                                                    '1

               The window in the room was closed, but an officer opened it
                                                                                        r~
        and, while waiting for the detectives to arrive, left it open.(2RT

        62-64, 69, 71-72.) The room had a small closet filled with clothes.         Z
                                                                                        r,
       (2RT 63-64.) There was a lot of debris on the floor and throughout               ^,
                                                                                    j
        the room.(2RT 64.)                                                          ~,
              Denton's body was lying supine on the floor of the ten foot by ~`

        twelve foot room that contained a closet, a twin bed, a dresser, two
                                                                                   i~
                                                                                   ,.
                                                                                   ~,
        tables, and a sink.(2RT 62-65, 3RT 329.) The officers did not go

        through Demon's pockets or touch the body at all.(2RT 70-71.)

       Demon's face and head had multiple obvious blunt force injuries.              ~.
                                                                                    c
       (2RT 66.)                                                                    t-
             Investigators observed blood smears and spatter on the
                                                                                   V
       dresser drawers near Demon's head.(3RT 248.) The rug under
                                                                                   c'
       Denton was soaked in blood.(3RT 247-248.) The area of the
                                                                       c.
       bedspread adjacent to Demon's head was also soaked in blood.(3R ~-

       258-259.) A towel and clothing iron with Demon's blood on them          %,
       were on the bed among several items of clothing, boxes and
                                                                               r

       blankets.(3RT 255-256, 260-261, 294-297.) Multiple blood smears         s_
       were on the door and on a bag hanging from the interior door            tl




       handle.(3RT 258.) Blood smears, spatter, and dried blood drips wer '
                                                                          C

      on the side of that same dresser in the area adjacent to the front doo
      (3RT 257-258, 270, 272-276.) Ablood-soaked white tank top was

      wadded up on the floor area under the sink.(3RT 251-252, 254-255,

                                         3
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                                                                 blood on it.              '' ~
       337.) On top of the dresser was a stapler with Denton's
                                                                 in the ashtray
       (3RT 259, 262-263, 294-298.) There were cigarette butts
                                                          (3RT 252-253, 264,
       on a table, one of which had Denton's DNA on it.
                                                                  ed to be
       295, 297.) Denton's blood alcohol level was later determin
                                                            the presence of
       .212.(3RT 196, 239-240.) Presumptive tests showed
                                                            but confirmatory
       MDMA and methamphetamine in Denton's blood,

        testing was negative for those drugs.(3RT 195-196.)
                                                                        in
              Neighbor Rose testified she believed the person killed
                                                              girlfriend had
        Campbell's room was Campbell himself, and that his
                                                                  that she
        killed him.l(2RT 89.) Rose stated in a recorded interview
                                                                   bell's
        heard a female voice say "Give me some money," and Camp
                                                             282.) She also
        voice respond "I ain't got no goddamn money."(3RT
                                                             let me go. Let
        reported hearing a female voice saying "Michael, oh,
                                                                    "No, you
        me go."(3RT 281.) She then said she heard Campbell say
                                                                 's voice say
        let me go."(3RT 281.) She also said she heard Campbell

        "Call the police" twice.(3RT 291.)
                                                                             the
              The cause of Denton's death was blunt force trauma; and
                                                                    en to
        manner of death was homicide.(3RT 184, 197, 225.) Fifte
                                                             224.) The coroner
        seventeen of the blows were potentially fatal.(3RT
                                                                   .(3RT
        found staples and possible bite marks on Denton's body
                                                                   on's wrists
        197-201, 205.) There were bruises and abrasions on Dent



                                                                 drug
        The prosecutor impeached Rose with her two felony
        convictions.(2RT 91.)
                                             4
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        and hands, which could have been either defensive or offensive

        wounds, and abrasions on his flanks.(2RT 202-203, 308-309.) There

        were at least 22 lacerations to Denton's head and face.(3RT 206-214.)

       The coroner could not say definitively which of those injuries were

       inflicted before or after Denton died.(3RT 208-209.) There was a

       fracture to one of Dentons teeth.(3RT 214.) It was difficult to

       determine what some of Demon's injuries were, given the level of

       decomposition.(3RT 213-214.)

               Dr. Miller testified that the injuries he detailed were consistent

       with the shape of the clothing iron found at the scene. He also

       indicated that all of the injuries suffered by Denton were inflicted

       before he died, including the staple and bite wounds.

               The prosecutor presented no evidence of motive.

                     2.     Events Following the Killing

               The Court of Appeal omits the fact that, when Campbell left

       his room at 8:13 a.m. on January 1, 2016, he appeared to be wearing

       the same clothing from the night before.(2RT 112-115, 128-129; 3RT

       299.)

               On January 5, 2016, Brian Denton, Sr., reported to the Los

       Angeles Police that his son was missing.(3RT 279-280.) Based on the

       senior Demon's description of his son's tattoos, the police realized

       that the body they had found in Campbell's room was his son.(3RT

       280.)

               Also on January 5, Detective Pierce conducted a recorded

                                           5
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        interview with Rose Gibson, who told him she heard banging

        coming from room 58 through their common wall.(3RT 280-281.)

        Rose also said she heard a woman's voice saying,"Michael, oh, let

        me go. Let me go."(3RT 281.) T'he woman also said,"Give me some

        money," and Campbell said,"I ain't got no goddamn money."(3RT

        282.) Rose said that on New Year's Eve she stayed up until midnight

        in her room with a friend.(3RT 281-282.) During the course of the

        interview, Rose repeatedly said she believed Campbell was dead

        and Angel Dorsey killed him.(3RT 283.)
              The Court of Appeal omits the fact that Angel Dorsey's

        apartment was located around the comer from Campbell's

        apartment and directly across the street from the Los Angeles Police

        Department's Central Police Station.(2RT 141-142.) The Court omits

        Dorsey's testimony that Campbell seemed "excited" and upset, but

        did not seem inebriated when he came to her apartment on the

        morning of January 1, 2016.(2RT 142, 146.)

              The Court of Appeal omits the fact that at the time of his

        arrest, Campbell did not attempt to flee.(3RT 179-180, 182.)

               Campbell admitted he knew Denton, that he and Denton had

        fought and that Denton was dead.(1CT 128-129.) When pressed for

        details, he said, "I got to be quiet on that."(3RT 128.) He further

        stated, when told he was being arrested for murder, that he was the

        only witness, and also stated that his testimony was crucial.(3RT

        129-131.)
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               The Court of Appeal omits the facts that Demon's body was

        lying supine on the floor of the ten foot by twelve foot room that

        contained a small closet filled with clothes, a twin bed, a dresser, two

        tables, and a sink.(2RT 62-65,3RT 329.) The Court of Appeal omits

        the fact that the blood smear and spatter investigators observed on

        the dresser was on the drawers near Demon's head.(3RT 248.) The

        Court of Appeal omits the fact that the area of the bedspread

        adjacent to Demon's head was also soaked in blood.(3RT 258-259.)

       The Court of Appeal omits the facts that a bloody towel and the

       bloody clothing iron were on the bed among several items of

       clothing, boxes and blankets.(3RT 255-256, 260-261, 294-297.) The

       Court of Appeal omits the facts that multiple blood smears were on

       the door and on a bag hanging from the interior door handle.(3RT

       258.) The Court of Appeal omits the facts that blood smears, spatter,

       and dried blood drips were on the side of that same dresser in the

       area adjacent to the front door.(3RT 257-258, 270, 272-276.) The

       Court of Appeal omits the fact that the stapler was found on top of

       the dresser.(3RT 259, 262-263, 294-298.) The Court of Appeal omits

       the fact that there were cigarette butts in the ashtray on a table, one

      of which had Demon's DNA on it.(3RT 252-253, 264, 295, 297.)

             The Court of Appeal distorts neighbor Rose's testimony she

      believed the person killed in Campbell's room was Campbell




                                          7
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                                                                       stated
       himself, and that his girlfriend had killed him.z(2RT 89.) Rose
                                                                       e me
       in a recorded interview that she heard a female voice say "Giv
                                                          got no goddamn
       some money," and Campbell's voice respond "I ain't
                                                                  saying
       money."(3RT 282.) She also reported hearing a female voice
                                                                   she
       "Michael, oh, let me go. Let me go."(3RT 281.)She then said
                                                                   said she
       heard Campbell say "No, you let me go."(3RT 281.) She also
        heard Campbell's voice say "Call the police" twice.(3RT 291.)
              The Court of Appeal omits the coroner's testimony that there
                                                                 which
        were bruises and abrasions on Denton's wrists and hands,
                                                                        03,
        could have been either defensive or offensive wounds.(2RT 202-2
                                                                      mony
        308-309.) The Court of Appeal also omits the coroner's testi
        that he could not say definitively which of those injuries were
        inflicted before or after Denton died.(3RT 208-209.)
               The Court of Appeal omits the fact that Angel Dorsey's
                                                                     Police
        apartment is directly across the street from the Los Angeles
                                                                       of
        Department's Central Police Station.(2RT 141-142.) The Court
                                                                  let
        Appeal omits Dorsey's statement to the police that Dorsey
                                                                 143-144.)
        Campbell in because he looked like he needed help.(2RT
                                                                    an injury
        The Court of Appeal omits Dorsey's statement that she saw
        to Campbell's forehead.(2RT 147-148.)
              The Court of Appeal omits the fact one of the arresting officers




        'I`he prosecutor impeached Rose with her two felony drug
         convictions.(2RT 91.)
                                                                                         .~ ~r
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        testified that at the time of Campbell's arrest, Campbell did not

       attempt to flee.(3RT 179-180, 182.)

               The Court of Appeal omits the facts that, after receiving his

       Miranda rights, Campbell provided a recorded statement to the

       police.3 (1CT 122-134; 3RT 284-289.) Campbell admitted he knew

       Denton, that he and Denton had fought and that Denton was dead.

      (1CT 128-129.) When pressed for details, he said, "I got to be quiet on

       that."(3RT 128.) He further stated, when told he was being arrested

       for murder, that he was the only witness, and also stated that his

       testimony was crucial.(3RT 129-131.) The video of the interview was

       played for the jury.(3RT 287.)

               The Court of Appeal omits the fact the prosecutor presented

       no evidence of motive.

               B.    DEFENSE CASE
               The Court of Appeal omits Campbell's testimony that he had

       planned to go out alone to neighborhood bars on New Years Eve,

       and that he had been drinking during the day.(3RT 317, 351-352,

       372.)

               The Court of Appeal omits Campbell's testimony that, after he

       bought the items for Denton, Campbell started back to his place and

      Denton asked if he could tag along.(3RT 320-321.) The Court of




      The recording was played for the jury but not reported.(3RT 284-
      289.)

                                          G~
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        Appeal omits Campbell's testimony that, as he and Denton walked                   '"`a"

        back to his place, Campbell told him to slow down on his drinking.

       (3RT 323-324.)
              The Court of Appeal omits Campbell's testimony he had

        known Denton for years and had previously loaned him clothing

        and a DVD player.(3RT 322-323, 350, 353.) Denton never took

        Campbell's things without permission, and always returned them.

       (3RT 323.) The two also drank together.(3RT 350.)
              The Court of Appeal omits Campbell's testimony that he

        ordinarily kept his cell phones on top of his dresser or his stereo.

       (3RT 327.)
              The Court of Appeal omits Campbell's testimony that, after

        Denton punched him and Campbell told him he was going to call

        the police, he could not get his phone away from Denton.(3RT 328.)

        The Court of Appeal omits the fact that —after Denton blocked the

        door and charged Campbell, bear-hugging him and slamming him

        to the ground —Denton was throwing body punches.(3RT 328-330.)

        The Court of Appeal omits Campbell's testimony he was surprised

        and terrified that Denton was not deterred by being stapled.(3RT

        334.) The Court of Appeal also omits Campbell's testimony that by

        this point they had been fighting almost continuously for about ten

        minutes, while Denton repeatedly threatened to kill Campbell.(3RT

        334-335.)
              The Court of Appeal omits Campbell's testimony that, before

                                           10
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        Dentons tank top ripped and came off in Campbell's hand, Denton

        had put on a glove, saying he was going to whoop Campbell's ass

        again, and was pounding on the walls and on Campbell with his

        fists.(3RT 336.) Campbell was desperate.(3RT 337.)

              The Court of Appeal distorts Campbell's testimony about the

        choke hold (opinion pp. S-9). The Court omits Campbell's testimony

       that Dentons choke hold on him made Campbell feel "dizzy' and

       was cutting off his air.(3RT 339, 357-358.) The Court omits

       Campbell's testimony that he also bit Denton at other times during

       the fight, not just while he was being choked, and that he bit Denton

       wherever he could, not just in the shoulder and neck area.(3RT

       359-360.) The Court omits Campbell's testimony that Denton started

       choking him with the cord while Campbell was trying to escape out

       the door, and that Campbell became not only dizzy, but breathless.

      (3RT 340-341, 361-362.) T'he Court omits Campbell's testimony that

       he was scared at that point because he realized that Denton was

       trying to kill him.(3RT 341.) T'he Court omits Campbell's testimony

      that at no time did Campbell strike Denton with the iron while

      facing him, nor did he ever kneel over Denton and hit him with the

      iron while Denton was lying on his back.(3RT 373-374.) The Court

      omits Campbell's testimony that the blood smear by the door

      resulted from Denton blocking the door while wearing a bloody

      shirt, preventing Campbell from escaping.(3RT 374-375.)

            The Court omits the fact that Campbell crawled to the bed

                                       11
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                                                                           es
        with the cord still wrapped around his neck, shoved some cloth
                                                                     T'he Court
        aside, and passed or blacked out.(3RT 343, 361, 363, 377.)
                                                                       d out, he
        also omits Campbell's testimony that before Campbell passe
                                                               (3RT 343.)
        heard Denton mumbling like a drunk person on the floor.
              The Court of Appeal omits Campbell's testimony that, when
                                                                          ked
        he nudged Denton's leg and discovered he was dead, he panic

        and did not wash up or change clothes.(3RT 364.)
              The Court of Appeal omits Campbell's denial that he waited
                                                                        Denton
        for Denton to die before leaving the room, or waiting so that
                                                                             to
        could not get medical treatment.(3RT 376.) Campbell was afraid

        call the police, as he was "tying to process" what had happened.

       (3RT 344-345.)
                                                                                g
              The Court of Appeal omits Campbell's testimony that durin

        his interview with the police Campbell was not himself.(3RT 346.)
                                                                    him in
        He was hallucinating and very upset about Denton attacking

        his home.(3RT 346.) Denton attempted to kill him, and when
                                                                             off
        Denton would not stop attacking him, Campbell tried to get him
                                                                          others
        of him, tried to get him out of his apartment, and tried to get

        to call the police.(3RT 347.) When Campbell hit Denton with the
                                                                           to
        iron, he felt he had no other options because he felt he was about

        die.(3RT 347, 376.)
               C.    REBUTTAL
               While the Court of Appeal notes that the photographs

         Detective Sharman took of the bloody tank top found in Campbell's

                                           12
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        room showed no tears in it (opinion p. 11); the Court omits

        Sharman's testimony that he did not photograph both sides of the

        shirt.(3RT 385.)

              D.    CLOSING ARGUMENTS
                    1.     The Prosecutor's Opening Argument
             'The Court omits the following from the prosecutor's opening
        argument. After discussing the law of homicide(4RT 412-416), the

        prosecutor urged the jury to find first-degree murder because:

       •      Denton had bite marks on the upper part of his body(4RT

             417-418);
        ~    Neighbor Wendell heard noises of a fight going on for 30

             minutes, but when security knocked on the door the room was

             silent(4RT 418)
       •     When Campbell walked out of the hotel the next morning it

             did not look as though he had any blood on him, so the
             prosecutor surmised Campbell had cleaned himself up to hide

             the killing(4RT 418)

      •      Campbell locked the door before leaving Denton's body in his

             room,suggesting consciousness of guilt(4RT 418);
      •      Campbell never returned to his room after that, also

            suggesting consciousness of guilt(4RT 418);
      •     Campbell went to Angel Dorsey's house, suggesting

            consciousness of guilt(4RT 418);

      •     Campbell did not report the killing to the'police, suggesting


                                       13
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              consciousness of guilt(4RT 418); and
                                                                    418.)
       •      Campbell told the police he was the only witness.(4RT

                    2.    Defense Closing Argument
                                                                         ed that
              The Court omits the following. Defense counsel argu
                                                         to the clubs with
        Campbell's testimony he invited Denton to go out
                                                          t for some clothes
        him for New Year's Eve and went through his close
                                                      of      hes found laid
        for Denton to wear was supported by the array clot
                                                          noticed his cell
        out on Campbell's bed.(4RT 421.) When Campbell
                                                              on attacked
        phones were missing, he confronted Denton, and Dent
                                                             w him to the
        him.(4RT 422.) Denton picked Campbell up and thre
                                                               and tried to
        floor.(4RT 422.) Campbell was trapped in his room
                                                              unting for the
        reach the door while struggling with Denton, acco

        blood smear on the door.(4RT 422.)
                                                                         throw
              Campbell grabbed Denton from behind and tried to
                                                               422.) Campbell
        him, ripping Denton's tank top in the process.(4RT
                                                              and that the
        noted that the tank top itself was not in evidence,
                                                                   could not
        prosecutor relied on photographs of the top so the jury
                                                                 422.)
        examine it for the damage Campbell described.(4RT
                                                                  ything he
        Photographs of the room indicated Campbell threw ever
                                                               k.(4RT 422.)
        had at Denton in a desperate attempt to stop the attac
                                                                    bell bit
              When Denton got Campbell into a choke hold, Camp
                                                               with the cord
        him;but Denton taunted him and then strangled him
                                                                 yelled for Rose
         of an electric iron.(4RT 423.) At that point Campbell
                                                                    iron, killing
         to call the police as he swung wildly at Denton with the

                                           14
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        him.(4RT 423-424.)

                After discussing the jury instructions on homicide and burden

        of proof(4RT 424-430), defense counsel asked the jury to examine

        the prosecutor's theory that Campbell invited Denton back to his

        room in order to murder him.(4RT 431.) After 30 minutes of fight

        noises, someone says,"Call the police," but the prosecutor wanted

        the jury to ignore the struggle and all of the other sounds Wendell

        and Rose heard.(4RT 431.) Campbell neither hid the body nor

       attempted to scrub down his room, but instead went to his

       girlfriend's house and stayed there for five or six days.(4RT 431.)

       Defense counsel argued the prosecutor's theory made no sense.(4RT

       431.)

               Both Wendell and Rose testified they heard a fight.(4RT 432.)

       After 20 to 25 minutes of fight noises, Rose heard Campbell's voice

       saying,"Call the police", and she went to Wendell's room and asked

       him to call.(4RT 432.) The prosecutor wanted the jury to believe that

       Campbell murdered Denton and then asked Rose to call the police.

      (4RT 432-433.) Campbell was yelling out of desperation because

       Denton was attacking him.(4RT 433.)

               Defense counsel stated the prosecutor would argue in rebuttal

       about how Denton lived with his grandmother, but the grandmother

       was in Ventura and had not heard from Denton in days, but did not

      file a missing person report.(4RT 433.) Denton went to Los Angeles

      not just because he wanted to visit his father on skid row, but to


                                         15
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                                                                                          ~'
       "hang out" in the neighborhood.(4RT 433.)
                Defense counsel pointed out how sloppy the police were

        when they entered Campbell's room.(4RT 433-434.)
                Defense counsel argued that the wounds on Denton's
                                                               ell, and that
        knuckles were from hitting the walls and hitting Campb
                                                              (4RT 434.)
        there were no defensive wounds on Denton's forearms.
                                                                    (4RT
        Campbell bit Denton in a desperate attempt to fight him off.

        434.)
                                                                             ol
                Defense counsel pointed out that Denton had a blood alcoh
                                                                     mptive
        level of .212 -three times the legal limit.(4RT 434.) A presu
                                                                           sy.
        test indicated Denton was high on methamphetamine and ecsta
                                                                    was    not
       (4RT 434.) Ti he subsequent test that negated those findings

        produced by the prosecutor.(4RT 434-4 35.)
                                            -_.--~
                Defense counsel referred to Detective Sharman's testimony
                                                                        tant
        about the blood in front of the room and argued it was impor
                                                                        to get
        because it confirmed the fact that Campbell was attempting
                                                                        no other
        out, or get Denton out of his room.(4RT 435.) Campbell had
                                                                             and
        choice than to bite and hit Denton, because Denton was in a rage
                                                                          to the
        was trying to choke him to death.(4RT 436.) The injuries were

        front of Denton's head because he was strangling Campbell and
                                                                     the
        could not block the blows:(4RT 436-437.) Campbell yelled for

        police as this was going on.(4RT 437.) If Campbell had been
                                                                          on the
        murdering Denton, he would not have asked anyone to summ

         police.(4RT 437.)

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              The coroner indicated that Campbell had injuries that were

        inflicted six days prior to his arrest.(4RT 437.}

                     3.     The Prosecutor's Rebuttal Argument
              The Court of Appeal omits the following details regarding the

        prosecutor's rebuttal argument.

             The prosecutor began with an argument about circumstantial

       evidence.(4RT 440, 442.)She discussed the jury instruction on

       credibility of witnesses.(4RT 440-441.)

             For the first time, the prosecutor referred to "the physical

       evidence, the photographic evidence, the video evidence".(4RT 441.)

       For the first time, the prosecutor called the jury's attention to

       Campbell's testimony on cross-examination that he did not know

       where the missing cell phone landed "because the lights were out

       and we had the stereo lit up...."(4RT 441.) The prosecutor argued:

                    That little comment that came out just when he's
             talking, and the judge asked him a question that threw
             everything that he said out the window. Never
             mind how the physical evidence didn't match it, but
             wait, the lights were out?

                  You were looking for clothes? For [Denton] to
            wear in the dark?

                   The bottom line is the defendant did not tell the
            truth about that night when he testified. He didn't talk
            about that night in his interview. He had to be quiet on
            that.

     (4RT 442, 445 ["...the defendant was looking in the closet of the

                                          17
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                                                                       es ....),          ~n
                                                                                          '
       room that didn't have any lights on for(Denton) to find cloth
                                                                             it
       450["We talked already about his odd answer on the stand about

       being dark."].)
              The prosecutor returned to her argument about consciousness
                                                                           about
       of guilt and hiding evidence, making more detailed arguments
                                                                           hotel,
        how Campbell must have cleaned himself up before he left the

        and how he left Demon's body to "rot".(4RT 443-444.)
              The prosecutor reserved for "rebuttal" argument all of the
                                                                           first
        details about the injuries Campbell-inflicted on Denton. For the

        time, the prosecutor argued:
                     ... I mean, realistically speaking, never mind the
              fact that if you're hitting somebody across the body
              holding an iron you're only going to be able to hit
              certain portions, certainly not the side of the top of the
              head and all the different areas on both sides, and that
              somebody would actually stay there for it when they
              were getting hit like that if they had the ability to move
              away.

                    And if[Denton] was actually strangling the
              defendant with a cord to the point of dizziness and
              almost passing out, believing his life was going to end,
              How on earth would he be on his side? He would be
              behind him, pulling it tight, and thus not available to be
              struck in such a manner. It just makes sense. There is
              really no other way.

        (4RT 443-444.)
              During rebuttal the prosecutor argued for the first time
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        regarding timing of the killing. She stated that Denton left the room

        twice, not once as Campbell had testified.(4RT 446.) She pointed out

        that Denton went back to Campbell's room the second time at 10:25

        p.m., and that Wendell was awakened by the sounds of a fight

        around 11:30 or 11:40 p.m. —around an hour later —which conflicted

        with Campbell's testimony that he confronted Denton about the

        missing cell phones immediately upon Dentons return.(4RT 446.)

              The prosecutor also argued- for the first time that Campbell's

       testimony regarding how Denton was dressed during the attack did

       not add up, in that Denton was wearing a shirt when he walked into

       Campbell's room the second time, and that suddenly Denton was

       wearing a tank top during the fight.(4RT 447.) The prosecutor also

       argued that —contrary to Campbell's testimony —the tank top was

       not torn, and that she had a photograph to prove it.(4RT 447, 452.)

              The prosecutor argued for the first time —referring to the

       photographs —that the physical evidence found at the scene showed

       that Denton was not wearing the long-sleeved shirt he had been

       wearing when he was in the hallway, and that he had a naked chest

       and bite marks on his arms.(4RT 449.) The prosecutor asked, "If you

      are choking somebody out and your arm is around [sic], how do you

      get a bite mark on your hand?"(4RT 449.) The prosecutor also

      argued for the .first time that if Denton had been wearing the tank

      top, the staples would not have been embedded in his chest.(4RT

      449.)


                                        19
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                                                                               ok
              The prosecutor also urged the jury, for the first time, to "[1]o
                                                                      ing
        at the location of the iron blows on,[Denton's] head in decid

        defendant's story."(4RT 449.) T'he prosecutor argued:
                     All of these pictures are worth thousands of
              words, but none of those thousands of words were
              reflected in the defendant's testimony, because none of
              the evidence was explained appropriately, consistently
              by the defendant where it would actually match up to
              the evidence at the scene that was not preserved
              because he locked the door and left[Denton] to rot.

       (4RT 449.)
              The prosecutor did not mention the cell phones in her
                                                                 , asking the
        opening argument, but in "rebuttal" she harped on them
                                                                 ring to
        jury to consider what happened to the cell phones, refer
                                                                 found in
        Detective Sharman's testimony that no cell phones were

        Campbell's room.(4RT 450.)
               The prosecutor did not discuss the physical evidence in her
                                                               on "rebuttal"
        opening argument, but she devoted significant time
                                                                   She talked
        referring to the photographs of the scene.(4RT 450-454.)
                                                                h up with
        about blood spatter and smear, and how it did not matc
                                                                essed the
        Campbell's account of the fight.(4RT 451-452.)She addr
                                                                   d on
        glove on one of Denton's hands, which she never mentione
                                                                   451.)
        opening, and which defense counsel did not address.(4RT
              The prosecutor argued for the first time that Campbell lied
                                                                        on's
         about falling asleep immediately after the fight because Dent


                                           2O                                             ,.~~F
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        blood was on a cigarette Campbell must have smoked before he fell

        asleep.(4RT 448, 453.)

                  Other than mentioning voluntary manslaughter in passing
       (4RT 412), the prosecutor did not address the substance of the

        manslaughter issue during her opening argument. On rebuttal, she

        attacked any basis for a voluntary manslaughter conviction based

        on imperfect self-defense and heat of passion.(4RT 454-456.)

        II.      FAILURE TO INSTRUCT THE JURY ON SUDDEN
                 QUARREL, HEAT OF PASSION, PROVOCATION, AND
                 VOLUNTARY MANSLAUGHTER REQUIRES
                 REVERSAL OF CAMPBELL'S MURDER CONVICTION

                 The Court of Appeal disagrees that the trial court erred by

       failing to instruct the jury on sudden quarrel, heat of passion,

       provocation and voluntary manslaughter, and finds no prejudice if

       there was error.(Opinion pp. 13-20.)

                 A.    The Court of Appeal Omits or Distorts Material
                       Facts

              ~` The Court of Appeal omits the fact that the trial court agreed_

       to instruct the~ury in the lan~ua~e of CALCRIM No.570.(4RT 3G2.) ~

       Although the Court of Appeal notes that Campbell's "trial counsel

      informed the court ~Campbellj was concerned the court had not

      read the heat of passion instruction' and that the trial "court

      responded it believed the court and parties had taken the

      instruction out"(o inion p. 12-13), there is no record of any


                                           21
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                                                                           that_
        discussion between the parties and the court about removing
                                                             of Appe   al
        instruction from the jury's consideration. The Court
                                                                  February 16
        omits the fact that there were no proceedings between
                                                                     ssion on
        and February 20, which was the period between the discu
                                                                        on the
        jury instructions and the memorialization of that discussion

        record.(1CT 136-137.) ~~
                B.   'the People ForFeited the Argument That the
                     Evidence Was Not Substantial Enough to
                     Support Giving CALCRIM No. 570 Because the
                     People Did Not Object to the Instruction at Trial

                The trial court agreed to instruct the jury in the language of
                                                                    The Court
        CALCRIM No.570 and nobody objected to it.(4RT 392.)
                                                                    to the
        of Appeal agrees that even had defense counsel objected
                                                                    d,sua
        court giving CALCRIM No. 570, the trial court was boun
                                                                   l - in other
        sponte, to giv~the instruction if evidence was substantia
                                                                     reasonable
        words, if the evidence was "strong enough to persuade a
                                                                     th 537,
        jury."(Opinion p. 14, citing People v. Moye(2009)47 Ca1.4

        541.)
                Despite the fact that the trial court necessarily found there
                                                                    merit
        was substantial enough evidence of the lesser offense to
                                                                 give
        consideration by the jury when the trial court agreed to
                                                                      was not.
        CALCRIM N,o. 570, the Court of Appeal now holds there
                                                                  attem         pts
        (Opinion pp. 15-19.) Like respondent, the Court of Appeal
                                                                        d
         to circumvent the facts (1) that the trial court impliedly foun
                                                                      Peopl     e
         substantial evidence to support the instruction, and (2) the
                                            22
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        did not object to the instruction at trial on the basis that there was

        not substantial evidence to support it; in fact, the People did not

        object at all.

               As to the first point, citing no authority the Court of Appeal

        holds:"We will not presume that the trial court made a finding

        inconsistent with its actions. The court made no finding of

        substantial evidence, and there was none."(Opinion p. 19.) First,

        the Court of Appeal fails to explain how the trial court's finding of

        substantial evidence for giving the heat of passion instruction in the

        circumstances of this case was "inconsistent with its actions".

       Initially the trial court was going to give the instruction -thus

       impliedly finding substantial evidence for the instruction -but then

       the court referred to an off-the-record discussion about

       withdrawing the instruction to justify not giving it. Second, the

       Court of Areal simply i pores the general rule "'that a trial court

       is resumed to have been aware of and followed the ap~licable_law.

      [Citations.]"(People v. Mosley (1997)53 Ca1.App.4th 489, 496-497;

       see, e.g., People v. Turner (2002)96 Ca1.App.4th 1409, 1413-1414, fn.

       2;People v. Martinez(1998)65 Ca1.App.4th 1511, 1517.)" (People v.

       Stowell(2003) 31 Cal.4th 1107, at p. 1114.) As the California Supreme

       Court put it:

             This rule derives in part from the presumption of
             Evidence Code section 664 "that official duty has been
             regularly performed." Thus, where a statement of
             reasons is not required and the record is silent, a

                                         23
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              reviewing court will presume the trial court had a
              proper basis for a particular finding or order.(See, e.g.,
              People v. Henson (1991) 231 Cal.App.3d 172, 182, 282
              Ca1.Rptr. 222[presuming on a silent record that the trial
              court properly exercised its discretion in imposing AIDS
              education as a condition of probation].)

        People v. Stowell, supra, at pp. 1114-1115.) Thus, at the time the trial

        court agreed to give the heat of passion instruction, the trial court

        was presumed to have followed the law, which requires the

        instruction be given only where the evidence supporting the

        instruction was substantial.'I`hus, on this silent record, this Court

        must presume the trial court made the finding that substantial
                                                                         )
        evidence supported giving the heat of passion instruction.(Ibid.
               The Court of Appeal substantially fails to address the second

        point —that the People forfeited the argument that the evidence was
                                                                          se
        not substantial enough to support giving CALCRIM No. 570 becau
                                                                              p.
        the People did not object to the instruction at trial.(See Opinion

        19.) According to binding California Supreme Court authority —and

        as stated in Campbell's reply brief —the rules of forfeiture apply to

        both parties in criminal cases. Where a district attorney acts as an

        agent and representative of the state under the authority of the

        Attorney General, the People are ordinarily bound by any

        stipulations, concessions or representations, regardless of whether

        counsel was the Attorney General or the district attorney.(See Pitts

        v. County of Kern (1996) 17 Ca1.4th 340, at p. 360; Bach v. County of


                                             24
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        Butte (1983) 147 Ca1.App.3d 554, 570.) For example, a prosecutor's

        failure to object to a trial court's omission of a drug program fee

        upon the defendant's conviction of possession for sale of

        methamphetarnine waived the state's claim of error on appeal,

        where the applicable statute contained exception to fee requirement

        upon a finding of a defendant's inability to pay, and the trial court

        was presumed, on a silent record, to have made such a finding.

       (People v. Turner, supra, 96 Cal.App.4th 1409, 1413.) The prosecutor

        did not object on the ground the Court of Appeal relies upon, and

        the trial court was presumed, on a silent record, to have found

       substantial evidence to support the instruction. (Ibid.) Respondent,

       therefore, forfeited this claim on appeal.

              C.    The Evidence Was Sufficient to Support Giving
                    the Heat of Passion Instruction; The Court of
                    Appeal Applies the Wrong Standards in Finding
                    the Evidence Insufficient

             The Court of Appeal omits the following rules. Substantial

       evidence is "evidence from which a~urY composed of reasonable

       ~ personsl could... conclude ~~' "that the lesser offense, but not the

       greater, was committed.(People v. Carr (1972)S Ca1.3d 287, 294;

       People v. Hughes (2002) 27 Cal.4th 287, 365-367.) In determining

       whether substantial evidence supports a lesser offense, the trial court

       must leave issues of witness credibility to the jury (People v.

      Breverman (1998) 19 Cal.4th at p. 162; People v. Elize (1999)71

      Cal.App.4th 605, 615), and doubts as to the sufficiency of the

                                          25
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                                                                        of                  f
        evidence to warrant instructions should be resolved in favor
                                                                       v. Wilson
        defendant(People v. Flannel(1979)25 Ca1.3d 668, 685; People
                                                                  light most
       (1967)66 Ca1.2d 749, 763). Evidence must be viewed in the
                                                                    h 1361,
       favorable to defendant.(People v. Turk (2008) 164 Ca1.App.4t
        1368,fn. 5).
              Here, the Court of Appeal adopts respondent's analysis of
                                                                         Court
        People v. Moye (2009)47 Cal.4th 537.(Opinion pp. 15-19.) The
                                                                          that
        finds that here, like the defendant in Moye, Campbell "testified
                                                                         cting
        he reacted to successive advances by Denton in a manner refle
        judgment" instead of reacting in a manner that "bypassed his
                                                                      did
        thought process to such an extent that judgment could not and
                                                                        acted
        not intervene," precluding as a matter of law any claim that he
                                                                      al
        out of heat of passion.(Opinion pp. 15-16.) The Court of Appe
        apparently suggests a new rule that a defendant in a murder
                                                                              on
        prosecution can never present both self-defense and heat of passi
        defenses to a jury, because they are, according to the Court of
        Appeal, mutually exclusive. The Court does not address Campbell's
                                                                        dent.
        argument that such a rule conflicts with long-established prece
       (See Campbell's reply brief, at pp. 11-22.)
               In this context, the Court of Appeal fails to address the

        following cases cited by Campbell: People v. Wickersham (1982) 32

        Ca1.3d 307; People v. Flannel, supra, 25 Ca1.3d 668; People v. Mitchell
        (1939) 14 Cal.2d 237; People v. Sinclair (1988)64 Cal.App.4th 1012,
                                                                                  t
         1016-1017; People v. Chacon (1968)69 Ca1.2d 765 [the Supreme Cour

                                            26                                                  ~~
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        noted a logical connection between self defense and heat of passion,

        in a prosecution under Penal Code section 4500, and noted the heat

        ofvpassion instruction supplemented the self-defense instruction -

        "Thus,in a prosecution for murder even though the defense of

        self-defense fails, as it might for excessive retaliation by the

        defendant, thejury might still find the original attack sufficient to

        constitute provocation, which would preclude a findin of malice

        aforethought and reduce the crime to manslaughter."]; People v. St.

       Martin (1970) 1 Cal.3d 524, 529-532 [reversible error for the trial court

       to fail to instruct on provocation where the appellant had also

       claimed self-defense].

              The Court of Appeal also ignores the rule that, in a murder

       prosecution, the duty to instruct includes the obligation to instruct

       on every supportable theory of the lesser included offense of

       voluntary manslaughter, not merely the theory or theories that have

       the strongest evidentiary support, or upon which the defendant has

       openly relied. (People v. Breverman, supra, 19 Cal.4th 142, 155.)

       Rather, the Court of Appeal emphasizes -contrary to law -the fact

       that "the 'thrust' of the defendant's testimony was self-defense" and

       defense counsel relied solely upon self-defense on closing argument,

      as justification for finding omission of the heat of passion instruction

      not to be error in this case.(Opinion pp. 10, 17-19.)

            The California Supreme Court in Breverman, supra, 19 Cal.4th

      142, made clear that the theories of voluntary manslaughter -

                                          27
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       imperfect self defense and heat of passion —are not necessarily
                                                                         at pp.
       inconsistent and at times should be liven in the same case.(Id.
                                                                     le    self
       159-160.) In Breverman, the jury was instructed on unreasonab
                                                                         was a
       defense but not on heat of passion. This court found that there
                                                                       , 19
       sua sponte duty to instruct on both theories. (Breverman, supra

       Ca1.4th at 148-149.)
             The Court of Appeal asserts: "Despite testifying repeatedly
                                                                              ng,
       that he panicked upon realizing Denton was dead the next morni
                                                                         ion
      [Campbell] never testified he panicked during the fight."(Opin
                                                                          heat
       pp. 16-17.) Panic is not the only emotion that could support the
                                                                      "[n~o
       of passion instruction. The Court simply ignores the rule that
                                                                        ed
       specific type of provocation is required, and 'the passion arous
                                                                     se,
       need not be anger or rage, but can be any "'"[v]iolent, inten

       high-wrought or enthusiastic emotion"'"[citations] other than

       revenge.'"(People v. Lasko (2000)23 Cal.4th 101, 1Q8.)
              T'he Court of Appeal omits all of Campbell's testimony that
                                                                   that
       would support a heat of passion defense. Campbell testified
                                                1



                                                                              and
       when he fought back against Denton he was "scared"(3RT 341),

       that he was "surprised" and "terrified" that Denton was not
                                                                              ied
       deterred by his efforts to fight him off.(3RT 334.) Campbell testif

       that when he hit Denton with the iron, he felt he had no other

       options because he felt he was about to die.(3RT 347, 376.) By
                                                                                    ,
        rejecting the two forms of self-defense upon which it was instructed
                                                                               he
        the jury concluded that Campbell did not have an actual fear that

                                          28
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        was in imminent danger of death or great bodily injury.(See People

       v. Humphrey (2013)13 Cal.4th 935, 1082..) But substantial evidence

       was presented upon which the jury could nonetheless have found

       that Campbell was acting under the actual influence of extreme

       emotion sufficient to reduce his conviction to manslaughter. This

       evidence included Campbell's testimony that Denton had acted

       belligerently once Campbell confronted him about his missing cell

       phones; Campbell's testimony that Denton was the one who

       escalated the fight and would not let Campbell out of the room;

       Campbell's testimony that Denton, who was much younger than

       Campbell, punched him, and when Campbell told him he was going

       to call the police, he could not get his phone away from Denton.

      (3RT 328.) After Denton blocked the door and charged Campbell,

      bear-hugging him and slamming him to the ground, Denton was

      throwing body punches.(3RT 328-330.) Campbell testified he was

      surprised and terrified that Denton was not deterred by being

      stapled.(3RT 334.) Denton re~eatedlX threatened to kill Campbell.

     (3RT 334-335.) Although the jury was entitled to disbelieve

      Campbell's stated reasons for bludgeoning Denton, it was also

      entitled to rely on the other evidence in the record to find that

      Campbell killed Denton spontaneously and under the influence of

      extreme emotion.(Breverman, supra, 19 Ca1.4th at p. 163, fn. 10.)'I`he

     Court of Appeal ignores Campbell's citation to People v. Logan (1917)

     175 Cal. 45, 46-47,50[defendant entitled to heat-of-passion
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                                                             "physical                        rt ~~
       instruction where evidence demonstrated victim's
                                                           t      to be subjected
       superiority" and defendant's "fear that he was abou
                                                           s].
       to a second humiliating beating" at victim's hand
                                                                      e v. Anderson
             The Court of Appeal attempts to distinguish Peopl
                                                       e that "fatal
      (2006) 141 Cal.App.4th 430, 443, 446-447[evidenc
                                                       unprovoked attack"
       chokehold was motivated by rage at the victim's
                                                            base   d on the fact
       sufficient to require heat-of-passion instruction]),
                                                                  of his reactions
       that "the defendant's own testimony described each
                                                             (Opinion pp. 18-
       to the provocation as deliberate acts of self-defense.
                                                              Moye as
       19.) Campbell believes the Court of Appeal misreads
                                                                   e the
       precluding a heat of passion defense in any case wher
                                                                 nst an attack by
       defendant testifies to having defended himself agai

       the deceased.
                                                                           ort thg
              There was also substantial evidence presented to supp
                                                           fy this com~onent~"'
       objective component of heat of passion. To satis
                                                                      t
       "the accused's heat of passion must be due to 'sufficien
                      '"(Moye, supra,47 Cal.4th at p. 549.)       The victim must
        provocation.'"
                                                              onably believe that
        cause the provocation or the defendant must reas
                                                                      ive conduct
        the victim caused it. (Id. at pp. 549-550.)"T'he provocat
                                                                   uct must be
        by the victim may be physical or verbal, but the cond
                                                                 nary person of
        sufficiently provocative that it would cause an ordi
                                                                   eration and
        average disposition to act rashly or without due delib
                                                                      Ca1.4th 935, at
        reflection." (Id. at p. 550; see People v. Beltran (2013)56
                                                                    e an emotion
        p. 949["the provocation must be one that would caus
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        so intense that an ordinary person would simply react, without

        reflection" (original italics) ].) As the California Supreme Court has

        stated, in determining whether the conduct was adequately

        provocative, the question is whether it would cause an ordinary

        person of average disposition "to react from passion and not from

       judgment," not whether it "would cause an ordinary person of

       average disposition to kill"or attempt to kill. (Beltran, supra, at pp.

       938-939, original italics.). Campbell described adequate provocation

       in Demon's conduct toward him, described elsewhere in this brief.

             It appears, therefore, that the Court of Appeal has incorrectly

       resolved all doubts in favor of the prosecution, instead of the

       defense.(People v. Flannel, supra, 25 Ca1.3d 668, 685.) The Court of
       Appeal calls into question Campbell's credibility, which was the
      exclusive province of the jury.(People v. Breverman, supra, 19 Cal.4th
      at p. 162.)
             The Court of A~~eal omits the rule that the obli~ation to
     y_ instruct on lesser included offenses ~~lies regardless of the .parties'
      _requests or objections, and thus prevents the strategy, ignorance, or
      mistakes of either party from presenting the jury with an
      unwarranted all-or-nothing choice, encourages a verdict no harsher
      or more lenient than the evidence merits, and protects the jury's
      truth-ascertainment function.(People v. Breverman, supra, 19 Ca1.4th
      142, 154-155.) "Just as the prosecution has no legitimate interest in

     obtaining a conviction of a greater offense than that established by

                                         31
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                                                                when that
       the evidence, a defendant has no right to an acquittal
                                                                   se."
       evidence is sufficient to establish a lesser included offen

      (Breverman, supra, at p. 155.)
                                                                    her the
             "Generally, it is a question of fact for the jury whet
                                                            of the ordinarily
       circumstances were sufficient to arouse the passions
                                                             App.4th 1688,
       reasonable person."(People v. Fenenbock (1996)46 Cal.
                                                                  e it is true
       1705; see Beltran, supra, 56 Ca1.4th at pp. 950-951.) Whil
                                                             ocation if "the
       that a court may decide the issue of adequate prov
                                                                  not differ on
       provocation is so slight ... that reasonable jurors could
                                                               , 47 Ca1.App.4th
       the issue of adequacy..." (Fenenbock, supra, at p. 1705
                                                                ted facts are
       1167C), the provocation shown here —when the omit
                                                             lude, as a matter
       considered — is not so slight that this Court can conc
                                                              le to find that
       of law, that a reasonable jury would have been unab
                                                               of passion.
       Campbell acted upon a sudden quarrel or in the heat
              The Court of Appeal fails to address Campbell's argument
                                                                in several
       that the jury could have found adequate provocation
                                                                    begin with,
        ways.(See AOB pp. 26-31 and reply brief pp. 15-22.) To
                                                                    ented of
        the jury could have found it based on the evidence pres
                                                                 ame and
        Denton's mistreatment of Campbell. Campbell, Blassing
                                                              us argument,
        Gibson testified that Campbell and Denton had a serio
                                                            Campbell and
        and that someone was yelling for help. According to
                                                              on the wall
        his neighbor Rose, during the fight Campbell knocked
                                                                    39; 347.)
        and screamed for Rose to call the police.(3RT 291, 338-3
                                                                          based
              The jury also could have found adequate provocation

                                            32                                             W:
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        on Denton's belligerent and threatening behavior, including:

       •      Campbell's testimony that Denton became aggressive when

              confronted with Campbell's accusation of theft, including

              engaging in a shouting match with Campbell;

       •      Campbell's testimony that Denton was the one who escalated

              the fight;

       •      Campbell's testimony that Denton was strangling Campbell

             immediately before Campbell struck him with the fatal blows;

       •     the neighbors' testimony that they intervened before the

             argument ended by calling hotel security.

             In short, evidence of Denton's menacing behavior was

       sufficient to permit a fury to conclude that a reasonable person in

       C_~1~1~e11's position could have acted in the heat of passion. The

       Court of Appeal ignores Campbell's citation to cases with similar

      facts supporting Campbell's position, including People v. Barton

      (1995) 12 Ca1.4th 186, 190, 201-202.)

            The Court of Appeal attempts to distinguish People v. Thomas

      (2013)218 Ca1.App.4th 630,633, on the basis that the defendant in

      that case "testified that he fired at his victim 'because he was afraid,

      nervous and not thinking clearly"', and that other witnesses testified

      to the defendant being engaged in a"'pretty heated' argument,

      cried, called out for his father, paced, and seemed angry."(Opinion

      p. 18.) The distinction is based upon the Court of Appeal's omission

     of all of Campbell's testimony to his strong emotions during the


                                        33
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                                                              Court's ignoring
       fight, described elsewhere in this petition, and the
                                                         bell was engaged
       the testimony of Campbell's neighbors that Camp
                                                              for them to call the
       in a violent argument with Denton and called out

       police.
                                                                    in Thomas
             Like this case, prosecution and defense witnesses
                                                       ng, and     evidence was
       agreed that a sudden quarrel preceded the killi
                                                               threatened by the
       presented that the defendant felt both angered and
                                                       som         e time to"
       victim. And whereas the defendant in Thomas had
                                                                 his father
      ' cool off'"while retrieving his gun and speaking with
                                                             d Denton in the
      (Beltran, supra, 56 Cal.4th at p. 951), Campbell kille
                                                              ocation in this
       midst of their argument. Thus,the evidence of prov
                                                           compelling than it
       case omitted by the Court of Appeal here is more

        was in Thomas.
                                                                        tment of
                 The circumstances here—Denton's disrespectful trea
                                                                  and Demon's
        Campbell, the sudden quarrel between the two men,
                                                              distinguish this
        threatening behavior during the argument—also
                                                                   ficient to
        case from decisions holding that insults alone are insuf
                                                           v. Enraca (2012)53
        constitute adequate provocation.(See, e.g., People
                                                               e v. Avila (2009)
        Ca1.4th 735, 743-744, 759[gang-related insults]; Peopl
                                                               37 Ca1.4th 547,
        46 Ca1.4th 680, 706[samej; People v. Manriquez(2005)
                                                              other fucker"'
        585-586 [victim repeatedly called defendant a"'m
                                                                (1997)55
        and taunted him to use his weapon]; People v. Lucas
                                                               -calling]; but
        Ca1.App.4th 721, 739-740[smirking, taunting, and name
                                                              t-of-passion
        see People v. McGowan (1986} 182 Ca1.App.3d 1, 15[hea
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        instruction required where defendant confessed that "he became

        enraged" when his ex-wife "made [an] obscene gesture at him" as he

        drove by her home,prompting him to shoot her].} While the

        conclusion that a jury could have found adequate provocation might

        be different if Denton had merely cursed or insulted Campbell,

       Campbell's testimony about Demon's statements to him and

       Dentons threatening behavior immediately before the killing were

       sufficient under California law to require the trial court to give a

       heat-of-passion instruction sua sponte. The Court of Appeal ignores

       this argument and the authorities cited above.

             Therefore, the Court of Appeal errs by finding the trial court

       was not required to instruct the jury sua sponte in the language of

       CALCRIM No. 570 because there was insufficient evidence of heat of

       passion.

             D.    The Error Prejudiced Campbell
             The Court of Appeal finds no prejudice, based largely on its

      reading of Moye, claiming it is not reasonably probable the jury

      would have accepted a heat of passion theory after rejecting

      Campbell's self-defense theories based on the same evidence.
     (Opinion pp. 19-20.) The Court of Appeal substantially fails to

      address Campbell's argument,ignores governing law, and ignores

      all facts favorable to Campbell's position.(See AOB pp. 26-31.)

            In deciding whether the provocation was sufficient, the finder

      of fact must consider whether a person of average disposition, in the

                                        35
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                                                 s, would have reacted                   ~`°'
      same situation and knowing the same fact
                                               (CALCIZIM No. 570; People
      from passion rather than from judgment.
                                                tly, the objective standard
      v. Logan, supra, 175 Ca145,49.) Consequen
                                              ter compels examination of
      ofheat-of-passion voluntary manslaugh

       Campbell's situation.
                                                          under the stress of
             T'he evidence indicated that Campbell was
                                                      thought of as a trusted
       being attacked suddenly by a person he had
                                                   ) Campbell had invited
       friend or even a son.(3RT 322-323, 350, 353.
                                                    hes so that they could go
      Denton into his room to lend him some clot
                                                  323.) Campbell believed
      out together on New Years Eve.(3RT 321-
                                                  m he stole two cell phones.
       that while Denton was in Campbell's roo
                                                 ton about taking his cell
      (3RT 326-328.) Campbell confronted Den
                                                     328, 355.) Unexpectedly,
       phones and demanded them back.(3RT 327-
                                                   the forehead, then bear-
       Denton charged him and punched him in
                                                    ground, throwing body
       hugged Campbell and slammed him to the
                                                     swearing at Campbell
        punches.(3RT 327-330.) Denton was angry,
                                                      "old ass".(3RT 329-330.)
        and saying he was going to kick Campbell's
                                                            er Denton and get
               Campbell was able to wriggle out from und
                                                        enting Campbell from
        to his feet, but Denton blocked the door, prev
                                                        ton charged Campbell
        leaving the room.(3RT 330-331, 374-375.) Den
                                                        at him.(3RT 331-332.)
        again, and Campbell started throwing things
                                                         dresser and hit Denton
        Campbell picked up a closed stapler from the
                                                       chest over Denton's tank
         with it, then opened it and stapled Denton's
                                                        demonically, and said
         top, but Denton pulled out a staple, laughed

                                          36
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       "Is that all you got old man?"(3RT 332-336, 356.) Campbell was

       surprised and terrified that Denton was not deterred.(3RT 334.) By

       this point they had been fighting almost continuously for about ten

       minutes, while Denton repeatedly threatened to kill Campbell.(3RT

       334-335.) According to Campbell and his neighbor Rose, during the

       fight Campbell knocked on the wall and screamed for Rose to call

       the police.(3RT 291, 338-339;347.)

             Denton rushed Campbell again and put him in a choke hold

       from behind, cutting off his air.(3RT 339, 357-358.) Campbell bit

       Denton on his arm and elsewhere repeatedly to break his hold.(3RT

      340, 358-360.) Denton then picked up a clothing iron from the

      dresser, wrapped the cord around Campbell's neck, and choked him

      from behind until Campbell was dizzy and breathless.(3RT 340-341,

      361-362.)

            Campbell had, at most, a few seconds and as little as a fraction

      of a second in which to react after Denton started strangling him.

      Rose heard what she believed was Campbell's voice coming from his

      room,saying, "Call the police," in response to her knocking on their

      common wall and asking if he was okay.(2RT 77-78,81-82, 92.}

      Neighbor Wendell heard the sounds of a fight in Campbell's room,

     including a "bang" and someone yelling "help", but he could not tell

     whose voice it was.(2RT 49-50, 53, 56-57.) Denton's blood alcohol

     level was .212 -supporting an argument that Denton was so drunk

     that his inhibitions were gone and he was out of control.


                                       37
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                                                                ests that the
             Finally, where "the People's own evidence sugg
                                                       response to perceived
       killing may have been provoked or in honest
                                                ond reasonable doubt that
      danger" the People must also" rove bey
                                                   were lackin~n order to
      jheat of passion and adequate ~rovocationl
                                                  ations.]"(People v. Rios
      establish the murder element of malice.[Cit
                                                  Wilbur (1975)421 U.S.
      (2000) 23 Cal.4th 450, applying Mullaney v.
                                                 prosecution to prove
      684, 704[Due Process Clause requires the
                                                 the heat of passion on
       beyond a reasonable doubt the absence of
                                                  erly presented in a
       sudden provocation when the issue is prop
                                                    bruises and abrasions
       homicide case."].) The coroner indicated the
                                               e been offensive or
       on Denton's hands and wrists could hav
                                                     od-alcohol level at the time
       defensive, and that Denton had a high blo
                                                       raphs taken of
       he was killed.(2RT 202-203, 308-309.) Photog
                                                  showed bruises, scrapes
       Campbell's body on the day of his arrest
                                                     knees.(3RT 293-294, 308-
       and scratches on his chest, back, arms and
                                                     onnor determined the
        309, 365-370.) Defense expert Dr. Ryan O'C
                                                         ries that were six days
        injuries to Campbell were consistent with inju
                                                  the fight with Denton.(3RT
        old —suggesting that they resulted from

        309.)
                                                               would
              Evidence of intent to kill was lacking here. Why
                                                   hotel room with the
        Campbell invite Denton to his residential
                                                     all around,just outside
        intention of killing him? There were people
                                                        y of the dead body was
        the door and in the adjacent rooms; discover
                                                     rented the room was
        inevitable; the identity of the person who
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        known. What motive did Campbell have to kill Denton? The

        prosecutor offered nothing but the insinuation that Campbell had a

        sexual interest in the younger Denton, without any evidence to

       support it. This was a sudden and unexpected fight, and at least one

       of the combatants -Denton -was extremely intoxicated

              The prosecutor could not have disproved sudden quarrel or
       heat of passion here. There was evidence that Denton, a much

       younger man than Campbell, suddenly and violently attacked

       Campbell in his own home,swearing at him, threatening to kill him,

       and strangling him to the point of Campbell nearly passing out.

       Under these circumstances, a reasonable jury could infer that

       Campbell was aroused to passion, and his reason was thus obscured,

       by a provocation sufficient to produce such effects in a person of

      average disposition. A rational jury could also find that the intense

      and highly wrought emotions aroused by the initial threat had not

      had time to cool or subside by the time Campbell seized the iron -

      whose cord Denton was strangling Campbell with -then struck

      Denton with it until he stopped strangling Campbell. Finally, a jury

      could disbelieve defendant's self-defense claim, and conclude,from

      all of the evidence, that defendant killed intentionally, but while his

     judgment was obscured due to passion aroused by sufficient

      provocation -fear and terror at being attacked.[See 5 Witkin &

      Epstein, Cal. Criminal Law (2d ed. 1989) ~ 2936; 1 Witkin &Epstein,

     Cal. Criminal Law (2d ed. 1988)~ 511]; People v. Mitchell, supra, 14

                                        39
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                                                    Ca1.45, 49.)
       Cal.2d 237, 252; People v. Logan, supra, 175
                                                         prove beyond a
             On these facts, the prosecutor could not
                                                   act pursuant to a sudden
       reasonable doubt that Campbell did not
                                                to instruct on this lesser
       quarrel or heat of passion. The failure
                                                under any standard.
       included offense was thus prejudicial
                                             CONSIDER
       III.   INSTRUCTING THE JURY IT COULD
                                              SNESS OF
              CAMPBELL'S FLIGHT AS CONSCIOU
                                            ICIENT
              G UILT WHERE THERE WAS INSUFF
                                              E
              EVIDENCE OF FLIGHT LESSENED TH
                                              F AND
              PROSECUTION'S BURDEN OF PROO
                                               14th
              VIOLATED CAMPBELL'S 5th, 6th AND
              AMENDMENT RIGHTS
                                                         ructing the jury on
              The Court of Appeal disagrees that inst
                                                     pbell's federal
       flight as consciousness of guilt violated Cam
                                                  'I`he Court of Appeal errs.
        constitutional rights.(Opinion pp. 20-25.)
                                                            M No.
              A.     The Trial Court Erred in Giving CALCRI
                                                            ent
                     372 Where the Record Showed Insuffici
                     Evidence of Flight
                                                              re the court can
              The Court of Appeal omits the rule that, befo
                                                      rence, evidence must
        instruct a jury it may draw a particular infe
                                                 by the jury, will support the
        appear in the record which, if believed
                                                  04)32 Ca1.4th 73, 137.) When
        suggested inference.(People v. Valdez(20
                                                     ual determination, it errs
         a court fails to make that preliminary fact
                                                        ple v. Hannon (197 19
         by passing a question of law to the jury. (Peo
                                                   is required to support a
         Ca1.3d 588, 597.) "Substantial evidence"
                                                    42   Ca1.4th 1000, 1020;
        flight instruction.(People v. Howard (2008)


                                           40
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       People v. Smithey (1999)20 Cal.4th 936,982.) The Court of Appeal

       fails to address Valdez or Hannon.

              The Court of Appeal conflates "consciousness of guilt" with
       evidence of flight. They are not the same. According to the California
       Supreme Court, it was wrong to give a flight instruction where the
       defendant left the scene of the killings without reporting the deaths
       and with the purpose of concealing them.(People v. Crandell (1988)46

       Ca1.3d 833,869-870[abrogated on other grounds in People v. Crayton

      (2002)28 Ca1.4th 346, 364-365.) The Crandell Court held "although
       this conduct supported an inference of consciousness of guilt, his
      leaving was not flight in the absence of any evidence from which a
      jury could reasonably infer that he left to avoid being observed or

      arrested." (People v. Crandell, supra.) So it was here.

             T'he Court of Appeal takes Campbell's statements out of
      context, asserting:"Appellant concedes his 'statements indicate he
      was afraid of being apprehended as a guilty party,' or in other

      words, afraid of arrest."(Opinion p. 22.) What Campbell actually
      stated in his opening brief was:

           Campbell's statements indicate he was afraid of being
           apprehended as a guilty party, but the question was
           what, if any, crime was he guilty of? Fleeing the scene of
           a crime can be probative of a consciousness of guilt, but
           cannot prove what crime the person fleeing committed;
           where, as here, the consciousness of guilt may be of one
           of several different crimes (first or second degree
           murder or voluntary manslaughter), it does not provide
           probative evidence that the accused is guilty of any one

                                         41
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                                                                     4th                 ~-
             specific crime.(People v. Nguyen (1993) 21 Cal.App.
                                                             9
             518, 538-539; see, e.g., People v. Rankin (1992)
                                                            8)44 Cal.3d
             Cal.App.4th 430, 435; People v. Williams (198
                                                             uate
             1127, 1143, fn. 9.) Finally, when used to eval
                                                                  iction,
             whether the record is sufficient to support a conv
                                                               after crime
             consciousness of guilt evidence such as flight
                                                                proof.of
             cannot substitute for the independent positive
             the elements of the offense that the Constitution
                                                              Ca1.App.3d
             requires.(See, e.g., People v. Blakeslee (1969)2
                                                              4th 518,
             831, 839; People v. Nguyen, supra, 21 Ca1.App.
                                                              on,but he
             538-539.) Campbell knew he had killed Dent
                                                                 what had
              was concerned that he was the only witness to
                                                                   irly
              happened in his room and that he would be unfa
              prosecuted for a crime when the homicide was
              justifiable.(3RT 129-131.) Therefore, the flight
                                                                 he was
              instruction unfairly suggested Campbell knew
              guilty of murder and fled to avoid arrest.

                                                     s none of this
       (AOB pp. 42-43.) The Court of Appeal addresse
                                                       cited.
        argument,and ignores the authorities Campbell
                                                                   that flight
               The Court of Appeal attacks Campbell's argument
                                                        diately leave his
        is not established here because he did not imme
                                                       flee the scene, and did
        apartment after killing Denton, did not run or
                                                       4.) Campbell has
        not leave his neighborhood.(Opinion pp. 23-2
                                                      not require the physical
        acknowledged in his briefing that flight does
                                                            n.(AOB p. 35.)
        act of running nor the reaching of a far-away have
                                                               h a jury could
        The question is whether there is evidence from whic
                                                         d being observed or
        reasonably infer that the defendant left to avoi
                                                              188["An
        arrested.(People v. Carrington (2009)47 Ca1.4th 145,
                                                               e of guilt from
        instruction that permits the jury to draw an inferenc

                                           42                                                 _.,.
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        particular facts is valid only if there is a rational connection between

        the fact proved and the fact inferred."]; People v. Crandell, supra, 46

        Cal.3d 833, 869-870.) The Court of Appeal fails to address Carrington.

              The Court of Appeal attempts to distinguish Crandell, supra, on

       its facts. (Opinion p. 24.) In Crandell, says the Court of Appeal,"the

       Court found the defendant's departure from the crime scene did not

       show flight, where other evidence established the defendant

       intended to return to dispose of the victims' bodies."(Opinion p. 24.)

       What the Supreme Court actually said was:

              Although defendant left the Pruett house without
              reporting the deaths of Ernest and Edward and with the
              purpose of concealing their deaths, and although this
              conduct supported an inference of consciousness of
              guilt, his leaving was not flight in the absence of any
             evidence from which a jury could reasonably infer that
             he left to avoid being observed (his presence at the
             house on the morning following the murders was
             already known to Juan Salasar, among others) and he
             did not expect the crimes to become known before his
             intended return. He left to accomplish specific tasks and
             with the intent of returning to dispose of the bodies.
            There is no evidence he ever wavered in this intent;
            indeed, he was arrested while returning and less than a
            block from the Pruett house. Accordingly, the
            instruction on flight should not have been given.

     (Id. at pp. 869-870.)

            The Crandell Court held that "[f]light ... require[s] ... a

      purpose to avoid being observed or arrested." (People v. Crandell,

     supra, 46 Ca1.3d 833, at p. 869.) As in Crandell, Campbell's failure to

                                         43
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                                                          intended to call is not           ~-
       notify the police or to advise his girlfriend he
                                                       act of locking his door is
       evidence of flight. (Id. at p. 869.) Campbell's
                                                      conceal Denton's body;
       not evidence of flight or even an attempt to
                                                         ed his door out of
       the reasonable inference is that Campbell lock
                                                             es upon leaving,
       habit, as most people lock the doors to their hom
                                                     ld be found because
       and it was inevitable that Denton's body wou
                                                       neighbors. It was also
       the smell of death would eventually tip off the
                                                         d to Campbell
       inevitable that Denton's body would be connecte
                                                     Campbell's neighbors
       because the room belonged to Campbell and
                                                            bell. In short,
       heard the altercation between Denton and Camp
                                                            ection with the
       Campbell had already been "observed" in conn
                                                       body in it could not
       killing, so leaving his apartment with Denton's
                                                         rved. Campbell's
       have been for the purpose of avoiding being obse
                                                       re to get away from
       panic at realizing Denton was dead and his desi
                                                        his purpose in
       the body also does not support an inference that
                                                              arrested. As
        leaving his room was to avoid being observed or
                                                           observed, so leaving
        explained above, Campbell had already been

        his room would not help him in that regard.
                                                                    the inference
               There is also no substantial evidence to support
                                                        l to avoid arrest.'The
       that Campbell departed his room and the hote
                                                      Campbell walked the
       Court of Appeal fails to address the fact that
                                                       around the corner from
       short distance to his ex-girlfriend's residence
                                                            a police station.
       his place and immediately across the street from
                                                           better part of a week
       (2RT 141-142; 3RT 145-146.) Campbell spent the

                                            44
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        after the killing getting drunk and high, but he did not leave his

        neighborhood. (3RT 346, 352, 364.) The Court of Appeal also omits

       the fact that he uniformed arresting officer testified that Campbell

       "did not attempt to flee"when taken into custody.(3RT 179-180.)

       Hanging out for five days, drinking and taking drugs in the

       immediate vicinity of a police station, in an area where Campbell

       presumably was known, and making no attempt to flee when

       officers arrested him, does not support an inference that Campbell

      "fled" to avoid arrest.

             The Court of Appeal attempts to distinguish People v. Watson

      (1977) 75 Ca1.App.3d 384, which held a flight instruction should not

       be given where,for example, the evidence merely shows the

      defendant was arrested some time after the crime and miles away

      from the scene, since such evidence, standing alone, does not

      support an inference of guilt. (Id. at p. 403; opinion pp. 23-24.) Here,

      again, the Court of Appeal conflates evidence of consciousness of

      guilt and evidence of flight as consciousness of guilt. The Court of

      Appeal asserts Watson is distinguishable because "one could

      reasonably appellant to the crime scene because it was his home."

     (Opinion pp. 23-24.) As Campbell has previously explained, the

      evidence here does not support an inference that Campbell "fled" to

     avoid being observed or arrested.

           The Court of Appeal does not address People v. Fremont(1937)

     22 Ca1.App.2d 292, 300, where the Court found error in giving the


                                        45
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                                                              ence of flight.
       flight instruction because there was simply no evid
                                                    that "[n]o instruction
       Campbell cited Fremont for the proposition
                                                       the evidence and
       should be given to the jury unless adapted to
                                                      0.) The problem here is
       circumstances of the case."(See AOB pp. 39-4
                                                           rule.4
       that the flight instruction did not conform to that
                                                                    given in
              For the same reasons, here the flight instruction was
                                                       t of Appeal disregards
       error because Campbell did not flee. The Cour
                                                        w Campbell lived in
       the facts that tenants and staff at the hotel kne
                                                           Campbell did not
       room 58, where the body was.(2RT 49, 76, 94.)
                                                               ped and arrested
       attempt to flee when uniformed police officers stop
                                                           nt as a matter of
       him.(3RT 179-180, 182.) These acts were insufficie
                                                           e of guilt.
       law to constitute flight and to support an inferenc
                                                                  t's violation
             The Court of Appeal fails to mention the trial cour
                                                               es of law, but also
       of the duty not only to instruct on relevant principl
                                                               which not only
        must "refrain from instructing on principles of law
                                                              but also have the
        are irrelevant to the issues raised by the evidence
                                                                ng findings on
        effect of confusing the jury or relieving it from maki
                                                                 681.)
       relevant issues." (People v. Saddler, supra, 24 Cal.3d at
                                                                   le v. Green
               The Court of Appeal attempts to distinguish Peop
                                                              e was in a 'remote
       (1980) 27 Ca1.3d 1 on the basis that "the crime scen
                                                             ly be expected that
        area,' prompting the court to note that `it can hard


                                                            inger (1991)52
        The Court of Appeal fails to address People v. Pens
                                                          ler(1979) 24 Cal.3d
        Ca1.3d 1210(See AOB pp. 36-37), or People v. Sadd
        671.(See AOB pp. 38-39.)
                                           46
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        defendant would wait in that location...."(Opinion p. 23.) The

       Court of Appeal contrasts Campbell's behavior:"Here in contrast,

       one could reasonably expect appellant to return to the crime scene

       because it was his home."(Opinion p. 23.) As established above, the

       facts that Campbell left Denton's body in his room and did not

       contact the police are not evidence of "flight". Campbell was staying

       across the street from the local police station after leaving his

       apartment, and the police easily located him following a complaint

       that he was trespassing. The distinctions the Court of Appeal has

      drawn are insignificant.

             Accordingly, given insufficient evidence of flight, the trial

      courts decision to give the CALCRIM No. 3.72 instruction was error.

             B.    The Court of Appeal Fails to Address
                   Campbell's Argument that, by Giving CALCRIM
                   No. 372, the Trial Court Lessened the
                   Prosecution's Burden Of Proof and Violated
                   Campbell's 6th and 14th Amendment Rights

            The Court of Appeal fails to address Campbell's argument

      that the trial court lessened the prosecutor's burden of proof and

      violated Campbell's 6t'' and 14`~ Amendment rights. Rather than

     repeat his argument here, Campbell refers this Court to pages 40-44

     of his opening brief.

            C.    The Court of Appeal Substantially Fails to
                  Address Campbell's Prejudice Argument

           The Court of Appeal denies the error was prejudicial,


                                        47
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                                                     argument.(Opinion pp.
       substantially failing to address Campbell's

       24-25.)
                                                             from Campbell's
             The Court of Appeal again quotes language
                                                  ellant himself, despite
       opening brief out of context, stating: "App
                                                        that his conduct `might
       arguing his conduct was not flight, concedes
                                                 guilt."(Opinion p. 25.) What
       be seen as manifesting consciousness of

       Campbell actually said was:
                                                          tituting
             While Campbell's conduct, though not cons
                                                            sness of
             flight, might be seen as manifesting consciou
                                                        it could have
             guilt, the nature of the homicide was that
                                                        fense), or as a
             been treated as anon-criminal act (self-de
                                                         r or
             killing on a spectrum of culpability (murde
                                                      hed by charging
             m anslaughter). The prosecutor overreac
             Campbell with first degree murder.

         •:. .,
                                                               t's argument that
             'The Court of Appeal fails to address appellan
                                                        d consider an absence of
        Campbell's jury was never instructed it coul
                                                       contrary, the flight
        flight as an indication of innocence. To the
                                                          bell's walking away
        instruction allowed the jury to infer from Camp
                                                        ient as a matter of law to
        from his residence — an act that was insuffic
                                                       guilt, and therefore was
        constitute flight —that he was conscious of

        guilty of the charged offense.
                                                                ument it is
                 The Court of Appeal ignores Campbell's arg
                                                           and unsupported
        reasonably probable that absent the improper
                                                       convicted him of murder,
        flight instruction, the jury would not have
                                                         malice.(See discussion
        as the evidence did not support a finding of
                                           .•
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        at AOB pages 26-31.) The jury acquitted Campbell of first degree

        murder, but convicted him of second degree murder, where the

       evidence supported, at most, a manslaughter conviction.

       IV.    THE COURT OF APPEAL SUBSTANTIALLY FAILS TO
              ADDRESS CAMPBELL'S ARGUMENT THAT HE WAS
              DEPRIVED OF HIS SIXTH AMENDMENT RIGHT TO
              THE EFFECTIVE ASSISTANCE OF COUNSEL
              BECAUSE TRIAL COUNSEL FAILED TO REQUEST AN
              INSTRUCTION ON "EARWITNESS" IDENTIFICATION

              The Court of Appeal disagrees that Campbell's counsel was
       ineffective for failing to request an instruction on "earwitness"

       identification because the Court of Appeal finds(1)"[a]n instruction

       highlighting the potential unreliability of voice identifications would

      have been more likely to hurt the defense than to help it" —thus,

      defense counsel had a tactical reason not to request such an

      instruction, and (2)any such instruction would have been

      duplicative of the instruction the court gave on how to evaluate the

      credibility of witness testimonies.(Opinion pp. 26-29.) The Court of

      Appeal substantially fails to address Campbell's argument.

             A.    The Court of Appeal Omits the Facts
             The only percipient witnesses to the killing were Campbell's
      neighbors, Wendell and Rose. They were not eyewitnesses, but

     "earwitnesses." Both testified to hearing the sounds of a violent fight

     coming from Campbell's room.(2RT 44-49, 51, 53-55, 75-79, 95-96.}

      Wendell testified he heard a bang and at the same time someone

     yelling "help" twice, but he could not tell if it was Campbell's voice

                                       ..
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                                                          male or female.(2RT              ~r,~.,
       yelling for help, or even whether the voice was
                                                      from Campbell's room,
       49-50, 53, 57.) Rose also heard a voice coming
                                                      ng, "Call the police," in
       but she believed it was Campbell's voice sayi
                                                         and asking if he was
       response to her knocking on their common wall

       okay.(2RT 77-78, 81-82, 92.)
                                                                 tified as
                Rose also testified that before the body was iden
                                                           's room was
       Denton, she believed the person killed in Campbell
                                                           d him.(2RT 89;
       Campbell himself, and that his girlfriend had kille
                                                      rview that she heard a
       3RT 283.) Rose stated in a recorded police inte
                                                             bell's voice
       female voice say "Give me some money," and Camp
                                                    T 280-282.) She also
       respond "I ain't got no goddamn money." (3R
                                                       , oh, let me go. Let
       reported hearing a female voice saying "Michael
                                                     "No, you let me go."
       me go." She then said she heard Campbell say
                                                       's voice say "Call the
       (3RT 280-281.) She also said she heard Campbell

        police" twice.(3RT 291.)
                                                                     een his unit
                Campbell testified that he banged on the wall betw
                                                         police.(3RT 338-339,
        and Rose's unit and screamed for her to call the

        347.)
                                                                     was
                Defense counsel argued to the jury that as Denton
                                                         police" and "help".
        attacking Campbell, Campbell yelled "Call the
                                                        t yell for the police
       (4RT 423, 426, 432.) He also argued,"You don'
                                                         the police when you
        when you're murdering someone. You yell for
                                                              n you need to get
        need help, and it's your life or someone else's, whe
                                                           p, call the police."
        out of a situation desperately you will call "Hel

                                             50                                              .,w,:
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        (4RT 437.)

              The prosecutor argued Rose believed at the time the police
        interviewed her that Campbell was dead at the hands of his

        girlfriend, Angel Dorsey, and that everything Rose said to the police

        was "filtered through that belief."(4RT 402.) Rose did not hear

       anyone say "help", but Wendell did.(4RT 403.) The prosecutor

       emphasized Rose's statement to the police that she heard a female

       voice saying "Michael, oh,let me go. Let me go," and Campbell say

       "No, you let me go." (4RT 403.)

             B.       Trial Counsel Was Ineffective For Failing to
                      Request a Modified Version of CALCRIM No. 315
                      or Other Appropriate Instruction to Assist the
                      Jury in Evaluating the "Earwitness" Testimony
                     .Presented by The Prosecutor

                     1.   Trial Counsel Failed to Request a
                          Necessary Earwitness Identification
                          Instruction To Help The Jury Assess
                          Rose's Crucial Testimony That She Heard
                          Campbell Yelling for Her to Call The
                          Police; The Instruction Would Not Have
                          Been Duplicative

            The prosecutor presented two witnesses to the events that
      transpired in Campbell's room —neighbors Wendell and Rose.

      Neither of them saw what happened, but both of them heard the

      sounds of a fight and someone in Campbell's room yelling for help

      and to call the police. They were, in effect, "earwitnesses".

            The Court of Appeal omits the prosecutor's argument to the


                                        51
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                                                    ing for help, but Denton,
       jury that it was not Campbell who was yell
                                                 pbell had engaged in a
       and the prosecutor's suggestion that Cam

       species of torture murder:
                    By the way,"Call the police."

                   There are many different ways that you can
                                                         from the
             surmise what that meant. Was that a taunt
                                                            laid there
             defendant to [Denton],"call the police", as he
             disabled?

                                                                     that
                     The physical evidence would tend to suggest
              as the reasonable conclusion.

       (4RT 450.)

                                                               argue in support
              The defense used the earwitness testimony to
                                                    "help" and "call the
        of self-defense that Campbell was yelling
                                                     deadly force.(4RT 423,
        police" as Denton was attacking him with
                                                        Campbell as the
        426, 432-433, 437.) Thus, the identification of
                                                       the jury needed
        speaker was crucial to the defense case, and
                                                        ation as to what or
        instructional assistance in making a determin
                                                       d be no satisfactory
        whom Rose, in particular, heard. There coul
                                                       ion, as Rose's
        explanation for failure to request the instruct
                                                          yelling "call the
        identification of Campbell as the one who was

        police" was at the core of Campbell's defense.




                                           52
                                                                                         =w.
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                          (a)    An "Earwitness" Identification
                                 Instruction Would Not Be Any More
                                "Duplicative" of CALCRIM No. 226
                                 Than is CALCRIM No. 315
                                [Eyewitness Identification Factors]

             Citing no authority, the Court of Appeal incorrectly asserts an

       instruction on earwitness identification factors was not needed

       because CALCRIM No. 226, which sets out the factors jurors should

       use in evaluating witness credibility, was given.(Opinion pp. 27-28.)

       Campbell has been unable to find a single case holding that, in the

      analogous situation of an eyewitness identification instruction,

      CALCRIM No. 315 would be duplicative of CALCRIM No. 226.

             The Court of Appeal fails to address in this context People v.

      Felix (2008} 160 Ca1.App.4th 849,858-859, citing People v. Lewis (2001)

      25 Ca1.4th 610, 649. The Felix Court did not perceive any problem of

      duplication where a jury is instructed in the language of both

      CALCRIM No. 315 and CALCRIM No. 226; rather, the Court found

      the instructions enhanced each other,just as an earwitness

      instruction — or a modified version of CALCRIM No.315 —would

      have enhanced CALCRIM No. 226.

            The Court of Appeal ignores the obvious, which is the rule

     that an analogous instruction relating eyewitness identification to

     reasonable doubt(CALCRIM No. 315), including any relevant

     "pinpoint" factors, must be given by the trial court on request

     "[w]hen an eyewitness identification of the defendant is a key


                                       53
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                                                        tantially                          .~.~
       element of the prosecution's case but is not subs
                                                     ent reliability." (People
       corroborated by evidence giving it independ
                                                        ing People v.
       v. Wright(1988)45 Ca1.3d 1126, 1143-1144, quot
                                                     d on other grounds in
       McDonald (1984) 37 Ca1.3d 351, 377, overrule
                                                         le v. Fudge(1994)7
       People v. Mendoza(2000) 23 Ca1.4th 896, 914; Peop
                                                       Ca1.App.3d 79, 89
       Cal.4th 1075, 1110; People v. Palmer (1984) 154
                                                        ion on eyewitness
       [error to refuse defendant's requested instruct
                                                              any of the
       testimony].) The Court of Appeal fails to address
                                                        eyewitness
       authorities Campbell cited in connection with

       identifications.
                                                                 lict as to the
              Where there is earwitness testimony and a conf
                                                               e guidance on
       identity of the speaker,jurors should be given som
                                                               reliable.(See
        how to determine whether a voice identification is
                                                         9["model instruction,
       People v. Wright, supra, 45 Ca1.3d 1126, 1138-113
                                                      account the evidence
        with appropriate modifications to take into
                                                              guidance on
        presented at trial, will usually provide sufficient

        eyewitness identification factors."].)
                                                                  part on the
              Campbell was prosecuted for murder based in
                                                         d Rose. Because the
        earwitness identifications made by Wendell an
                                                              ing "call the
        parties disagreed on the identity of the person yell
                                                              Campbell was
        police" and "help" during the fight, it follows that
                                                             ed in evaluating
        entitled to an instruction on factors to be consider
                                                              y,just as he would
        the reliability of earwitness identification testimon
                                                                ss identification,
        have been entitled to a jury instruction on eyewitne

                                            54
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        had this case depended on it. It was trial counsel's duty to request

       such an instruction, yet he failed to do it. Because an "earwitness"

       instruction would not have been duplicative and Campbell was

       entitled to it, trial counsel rendered ineffective assistance. (Strickland

       v. V1Vashington (1984)466 U.S. 668, 687.}

                            (b)    The Court of Appeal Fails to Address
                                   Any of Campbell's Argument as to
                                   Why an Earwitness Identification
                                   Instruction Was Necessary

                In his opening brief, Campbell offered a discussion of the
      necessity for instruction on earwitness identification factors.(See

      AOB pp. 54-58.) The Court of Appeal addresses none of it.


                      2.    There is a Reasonable Probability that a
                            More Favorable Result Would Have Been
                            Obtained in The Absence of Counsel's
                            Failure to Request the Instruction
               The Court of Appeal substantially fails to address Campbell's
      prejudice argument. Rather than repeat his argument here,

      Campbell refers this Court to pages 58 through 59 of his opening

      brief.

      V.       PROSECUTORIAL MISCONDUCT DURING CLOSING
               ARGUMENT DENIED CAMPBELL HIS CONSTITUTIONAL
               RIGHTS TO DUE PROCESS AND A FAIR TRIAL, AND
               DEFENSE COUNSEL'S FAILURE TO OBJECT DENIED
               HIM EFFECTIVE ASSISTANCE OF COUNSEL

               The Court of Appeal disagrees that Campbell was denied his



                                         55
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                                                         engaged in
       federal constitutional rights when the prosecutor
                                                      nse counsel failed to
       misconduct during closing argument and defe
                                                       al errs.
       object.(Opinion pp. 30-32.) The Court of Appe
                                                                              nt
             A.     The Court of Appeal Omits Some of the Releva
                    Proceedings
                                                                  proceedings.
             The Court of Appeal omits some of the relevant
                    1.    Prosecutor's Opening Argument
                                                             ils the
             The Court of Appeal omits the following deta
                                                          ey saw no injuries
       prosecutor presented in opening argument: Dors
                                                      ciousness of guilt by
       on Campbell(4RT 407); Campbell showed cons
                                                      police about where he
       m aking false and misleading statements to the
                                                          use he told the
       lived (4RT 409-410); and Campbell was guilty beca
                                                   "I      got to be quiet
       police, when asked what happened to Denton,
                                                    410-    411.}
       about that" and "I am the only witness."(4RT
                                                                   argument
               The Court of Appeal omits some of the prosecutor's
                                                         er:(1) Campbell
        as to why the jury should find first-degree murd
                                                          Denton ended up
        could not give a reasonable explanation for how
                                                        ks on the upper part
        bare chested(4RT 417);(2)Denton had bite mar
                                                        heard noises of a
        of his body(4RT 417-418);(3) neighbor Wendell
                                                         knocked on the
        fight going on for 30 minutes, but when security
                                                          locked the door
        door the room was silent(4RT 418);(4) Campbell
                                                       esting consciousness
        before leaving Denton's body in his room,sugg
                                                       to his room after that,
        of guilt(4RT 418);(7) Campbell never returned
                                                        ;(8) Campbell went
        also suggesting consciousness of guilt(4RT 418)

                                          56
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        to Angel Dorsey's house, suggesting consciousness of guilt(4RT

        418);(9) Campbell did not report the killing to the police, suggesting

        consciousness of guilt(4RT 418); and (10) Campbell told the police

       he was the only witness.(4RT 418.)

                    2.     Defense Closing Argument
              T'he Court of Appeal omits some of the defense closing.
       Defense counsel argued that Campbell's testimony he invited

       Denton to go out to the clubs with him for New Year's Eve and went

       through his closet for some clothes for Denton to wear was

       supported by the array of clothes found laid out on Campbell's bed.

      (4RT 421.) When Campbell noticed his cell phones were missing, he

       confronted Denton, and Denton attacked him.(4RT 422.) Denton

       picked Campbell up and threw him to the floor.(4RT 422.) Campbell

      was trapped in his room and tried to reach the door while struggling

      with Denton, accounting for the blood smear on the door.(4RT 422.)

             Campbell grabbed Denton from behind and tried to throw
      him, ripping Denton's tank top in the process.(4RT 422.) Campbell

      noted that the tank top itself was not in evidence, and that the

      prosecutor relied on photographs of the front of the top so the jury

      could not examine it for the damage Campbell described.(4RT 422.)

      Photographs of the room indicated Campbell threw everything he

      had at Denton in a desperate attempt to stop the attack.(4RT 422.)

            When Denton got Campbell in a choke hold, Campbell bit
     him; but Denton taunted him and then strangled him with the cord


                                       57
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                                                          bell yelled for Rose
       of an electric iron.(4RT 423.) At that point Camp
                                                     on with the iron, killing
       to call the police as he swung wildly at Dent

       him.(4RT 423-424.)
                                                              cide and burden
               After discussing the jury instructions on homi
                                                       d the jury to examine
       of proof(4RT 424-430), defense counsel aske
                                                        Denton back to his
       the prosecutor's theory that Campbell invited
                                                            minutes of fight
       room in order to murder him.(4RT 431.) After 30
                                                           prosecutor wanted
       noises, someone said, "Call the police," but the
                                                           r sounds Wendell
       the jury to ignore the struggle and all of the othe
                                                            the body nor
       and Rose heard.(4RT 431.) Campbell neither hid
                                                         went to his
       attempted to scrub down his room, but instead
                                                                  .(4RT 431.)
       girlfriend's house and stayed there for five or six days
                                                            made no sense.(4RT
       Defense counsel argued the prosecutor's theory

       431.)
                                                                     .(4RT 432.)
               Both Wendell and Rose testified they heard a fight
                                                             Campbell's voice
       After 20 to 25 minutes of fight noises, Rose heard
                                                                s room and asked
       saying, "Call the police", and she went to Wendell'
                                                             jury to believe that
       him to call.(4RT 432.) The prosecutor wanted the
                                                    to           call the police.
       Campbell murdered Denton and then asked Rose
                                                                of desperation
       (4RT 432-433.) In reality, Campbell was yelling out

        because Denton was attacking him.(4RT 433.)
                                                                       in rebuttal
               Defense counsel stated the prosecutor would argue
                                                                 the grandmother
        about how Denton lived with his grandmother, but
                                                            in days, but did not
        was in Ventura and had not heard from Denton

                                           58
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        file a missing person report.(4RT 433.) Denton went to Los Angeles

       not just because he wanted to visit his father on skid row, but to
       "hang out" in the neighborhood.(4RT 433.)

               Defense counsel pointed out how sloppy the police were

       when they entered Campbell's room.(4RT 433-434.)

               Defense counsel argued that the wounds on Denton's
       knuckles were from hitting the walls and hitting Campbell, and that

       there were no defensive wounds on Denton's forearms.(4RT 434.)

       Campbell bit Denton in a desperate attempt to fight him off.(4RT

      434.)

              Defense counsel pointed out that Denton had a blood alcohol
      level of .212 -three times the legal limit.(4RT 434.) A presumptive

      test indicated Denton was high on methamphetamine and ecstasy.

     (4RT 434.) The subsequent test that negating those findings was not

      produced by the prosecutor.(4RT 434-435.)

              Defense counsel referred to Detective Sharmans testimony
      about the blood in front of the room and argued it was important

      because it confirmed the fact that Campbell was attempting to get

      out, or get Denton out of his room.(4RT 435.) Campbell had no other

     choice than to bite and hit Denton, because Denton was in a rage and

     was trying to choke him to death.(4RT 436.} The injuries were to the

     front of Denton's head because he was strangling Campbell and

     could not block the blows.(4RT 436-437.) Campbell yelled for the

     police as this was going on.(4RT 437.)If Campbell had been


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                                               ed       anyone to summon the              ,;~~,~
       murdering Denton, he would not have ask

       police.(4RT 437.)
                                                           injuries that were
             The coroner indicated that Campbell had
                                                 T 437.)
       inflicted six days prior to his arrest.(4R
                    3.     Prosecutor's Rebuttal Argument
                                                          ecutor's rebuttal
             The Court of Appeal "summarizes" the pros
                                                details.(Opinion pp. 10-11.)
       argument,for the most part omitting the
                                                       about circumstantial
             The prosecutor began with an argument
                                             d the jury instruction on
       evidence.(4RT 440, 442.) She discusse

       credibility of witnesses.(4RT 440-441.)
                                                           or referred to "the
              For the first time on rebuttal, the prosecut
                                                      ce, the video evidence".
        physical evidence, the photographic eviden
                                                    or called the jury's attention
       (4RT 441.) For the first time, the prosecut
                                                     ation that he did not know
        to Campbell's testimony on cross-examin
                                                    cause the lights were out
        where the missing cell phone landed "be
                                                      The prosecutor argued:
        and we had the stereo lit up...."(4RT 441.)
                                                                 n he's
                     That little comment that came out just whe
                                                           that threw
              talking, and the judge asked him a question
                                                       Never
              everything that he said out the window.
                                                          ch it, but
              mind how the physical evidence didn't mat
              wait, the lights were out?

                                                                to
                     You were looking for clothes? For [Denton]
               wear in the dark?

                                                                   the
                     The bottom line is the defendant did not tell
                                                            didn't talk
               truth about that night when he testified. He
                                                            be quiet on
               about that night in his interview. He had to

                                            .~
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              that.

       (4RT 442,445 ["...the defendant was looking in the closet of the

       room that didrit have any lights on for (Denton)to find clothes .. ..],

       450["We talked already about his odd answer on the stand about it

       being dark."].)

             The prosecutor returned to her argument about consciousness
       of guilt and hiding evidence, making more detailed arguments about

       how Campbell must have cleaned himself up before he left the hotel,

       and how he left Denton's body to "rot".(4RT 443-444.)

             The prosecutor reserved for "rebuttal" argument all of the
       details about the injuries Campbell inflicted on Denton. For the first

      time, the prosecutor argued:

                   ... I mean, realistically speaking, never mind the
            fact that if you're hitting somebody across the body
            holding an iron you're only going to be able to hit
            certain portions, certainly not the side of the top of the
            head and all the different areas on both sides, and that
            somebody would actually stay there for it when they
            were getting hit like that if they had the ability to move
            away.

                  And if[Denton] was actually strangling the
           defendant with a cord to the point of dizziness and
           almost passing out, believing his life was going to end,
           How on earth would he be on his side? He would be
           behind him, pulling it tight, and thus not available to be
           struck in such a manner. It just makes sense. There is
           really no other way.



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      (4RT 443-444.)
                                                          the first time
             During rebuttal the prosecutor argued for
                                                     that Denton left the room
       regarding timing of the killing. She stated
                                                 (4RT 446.) She pointed out
       twice, not once as Campbell had testified.
                                                  m the second time at 10:25
       that Denton went back to Campbell's roo
                                                  the sounds of a fight
       p.m., and that Wendell was awakened by
                                                    r later -which conflicted
       around 11:30 or 11:40 p.m. - around an hou
                                                    ed Denton about the
       with Campbell's testimony that he confront
                                                    on's return.(4RT 446.)
       missing cell phones immediately upon Dent
                                                             that Campbell's
             The prosecutor also argued for the first time
                                                    sed during the attack did
       testimony regarding how Denton was dres
                                                   shirt when he walked into
       not add up, in that Denton was wearing a
                                                     suddenly Denton was
       Campbell's room the second time, and that
                                                       ) The prosecutor also
       wearing a tank top during the fight.(4RT 447.
                                                   imony -the tank top was
       argued that -contrary to Campbell's test
                                                          e it.(4RT 447, 452.)
       not torn, and that she had a photograph to prov
                                                                  ng to-the
              The prosecutor argued -for the first time -referri
                                                        d at the scene showed
        photographs -that the physical evidence foun
                                                         shirt he had been
        that Denton was not wearing the long-sleeved
                                                         he had a naked chest
        wearing when he was in the hallway, and that
                                                     prosecutor asked, "If you
        and bite marks on his arms.(4RT 449.) The
                                                            nd [sic], how do you
        are choking somebody out and your arm is arou
                                                          prosecutor also
        get a bite mark on your hand?"(4RT 449.) The
                                                            wearing the tank
        argued for the first time that if Denton had been

                                          62                                             ",
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        top, the staples would not have been embedded in his chest.(4RT

        449.)

                The prosecutor also urged the jury,for the first time, to "[1]ook
       at the location of the iron blows on [Denton's] head in deciding

       defendant's story."(4RT 449.) The prosecutor argued:

                       All of these pictures are worth thousands of
                 words, but none of those thousands of words were
                reflected in the defendant's testimony, because none of
                the evidence was explained appropriately, consistently
                by the defendant where it would actually match up to
                the evidence at the scene that was not preserved
                because he locked the door and left [Denton} to rot.

      (4RT 449.)

             The prosecutor did not mention the cell phones in her opening
      argument, but in "rebuttal" she harped on them, asking the jury to

      consider what happened to the cell phones, referring to Detective

      Sharman's testimony that no cell phones were found in Campbell's
      room.(4RT 450.)

            The prosecutor did not discuss the physical evidence in her

      opening argument, but she devoted significant time on "rebuttal"

      referring to the photographs of the scene.(4RT 450-454.) She talked

      about blood spatter and smear, and how it did not match up with

      Campbell's account of the fight.(4RT 451-452.) She addressed the

     glove on one of Demon's hands, which she never mentioned on

     opening, and which defense counsel did not address.(4RT 451.)

           The prosecutor argued for the first time that Campbell lied

                                         63
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                                                the fight because Denton's
      about falling asleep immediately after
                                                t have smoked before he fell
      blood was on a cigarette Campbell mus

       asleep.(4RT 448,453.)
                                                          se critical facts. Other
             Finally, the Court of Appeal omits the
                                             ter in passing (4RT 412), the
       than mentioning voluntary manslaugh
                                             nce of the manslaughter issue
       prosecutor did not address the substa
                                              ttal, she attacked any basis
       during her opening argument. On rebu
                                              on based on imperfect self-
       for a voluntary manslaughter convicti
                                                      )
       defense and heat of passion.(4RT 454-456.
                                                         ense By
             B.     The Prosecutor Sandbagged the Def
                                                            ument
                    Saving Virtually Her Entire Closing Arg
                    For Rebuttal
                                                            prosecutor
             The Court of Appeal disagrees that the
                                                 ually- her entire closing
       sandbagged the defense by saving virt
                                                   2.) Instead, the Court of
       argument for rebuttal.(Opinion pp. 30-3
                                                or's rebuttal was shorter than
        Appeal finds that, because the prosecut
                                                 prosecutor's argument was
        her opening argument and because the
                                                   rted in defense counsel's
        responsive to the self-defense theory asse
                                                 duct.(Ibid.)
        closing argument, there was no miscon
                     1.    The Court of Appeal Omits Some of the
                           Governing Law

                                                               le v. Smithey, supra, 20
              T'he Court of Appeal fails to address Peop
                                                      Ca1.App.3d 606, 691, citing
        Ca1.4th 936, 960; People v. Pitts (1990)223
                                                    88;see People v. Hill(1998)
        Berger v. United States(1934)295 U.S. 78,


                                           64
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       17 Cal.4th 800,820; People v. Daggett (1990) 225 Cal.App.3d 751, 759,

       or People v. Bandhauer(1967)66 Ca1.2d 524, 531. Campbell discussed

       all of these authorities at pages 69 through 71 of his opening brief.

                    2.    The Prosecutor Improperly Sandbagged
                          The Defense in Rebuttal Argument

             The Court of Appeal claims the prosecutor's closing argument
       was merely responsive to the defense closing argument, and it did

       not constitute "sandbagging" because the rebuttal argument was

       shorter than the prosecutor's opening argument.(Opinion pp. 30-

       32.) The Court of Appeal is wrong.

             Campbell contends that, even if the length of the prosecutor's
      rebuttal argument was substantially similar to the length of rebuttal,

      it was the substance of the prosecutor's opening argument that was

      artfully slender, in that most of it addressed consciousness of guilt

      evidence, not the physical evidence. Contrary to the Court of

      Appeal's findings, on rebuttal the prosecutor gave a full closing

      argument immune to defense reply in which she covered most of the

      physical evidence -not just a rebuttal to Campbell's self-defense

      argument. The effect was the same as the error in People v. Robinson

     (1995)31 Ca1.App.4th 494 -the substance of the prosecutor's case

      was presented solely on rebuttal, and the defense was deprived of

     the opportunity to address it.

           Again, allowing the prosecutor to give such an opening

     argument without providing Campbell an opportunity to respond to


                                       C~
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                                                ecution an undue advantage
       her rebuttal argument accorded the pros
                                                 ion 1093 does not permit the
       and prejudiced Campbell's defense. Sect
                                                   ument to the defendant's
       prosecutor to manipulate the order of arg
                                                 of sandbagging denounced
       detriment. This was essentially the type
                                                 th of the opening argument
       in Robinson, supra, even though the leng
                                                     ttal argument. The Court
       was substantially similar to that of the rebu
                                                    or focused nearly
       of Appeal ignores the fact that the prosecut
                                                  ence in her opening
       exclusively on consciousness of guilt evid
                                                 the physical evidence for
       argument, saving all of her discussion of
       rebuttal.
                                                              that the defense
              The Court of Appeal fails to address the fact
                                                  or's arguments that:
       had no opportunity to address the prosecut
                                                         w where the cell
       •     Campbell lied when he said he did not kno
                                                         lights in the room
             phone landed after he tossed it because the

              were off(4RT 441);
                                                         ause he said the
       •      Campbell's "story" is exposed as a lie bec
                                                          closet for clothes
              lights were off when he was looking in the
              for Denton(4RT 442, 445);
                                                             of Denton's head
       •      Campbell could not have hit the side and top
                                                         his body as
              with the iron if he was hitting him across
              Campbell had testified (4RT 443-444);
                                                             be struck that
        •      Denton would not have stayed in a position to
                                                           ;
               way had he been able to escape(4RT 443-444)
                                                          cord as Campbell
        •      If Denton was strangling Campbell with the

                                          ..
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               described, Denton could not have been in a position to be

               struck on the side of the head (4RT 443-444);
         •     Denton left the room twice, not once as Campbell testified
              (4RT 446);
       •       According to Wendell, the fight started about an hour after

               Denton returned to Campbell's room, not immediately after
              (4RT 446);

      •       Campbell's testimony about how Denton was dressed did not

              add up(4RT 447);
      •       The tank top Denton was wearing was not ripped, as

              Campbell claimed (4RT 447, 452);
      •       The physical evidence showed that Denton was not wearing

              the long-sleeved shirt he had been wearing in the hallway

              when he was killed, that his chest was bare and he had bite

              marks on his arms(4RT 449);

      •      Denton could not have received a bite mark on his hand if he

             was holding Campbell around the neck and strangling him as

             Campbell had described (4RT 449);
     •       Had Denton been wearing the tank top at the time Campbell

             used the stapler against him, the staples would not have been

             embedded in his chest(4RT 449);
     •       The jury should consider the location of the iron strikes in

             evaluating Campbell's story(4RT 449);
     •       The photos were "worth thousands of words", but those


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                                                                                          ~.~.:.
                                                 ony because Campbell
            words were not in Campbell's testim
                                                   y, and the evidence was
            did not explain the evidence adequatel
                                                   ton's body rot in his room
            destroyed because Campbell let Den
           (4RT 449);
                                                 happened to the two cell
      •     The jury should speculate as to what
                                                  en, because one of the
            phones Campbell said Denton had tak
                                                       nd in Campbell's room
            detectives said no cell phones were fou
            (4RT 450);
                                                    spatter and smear did
       •        According to the photographs, blood
                                                    t of the fight(4RT 451-
                not match up with Campbell's accoun
                452);
                                                     ve found on one of
       •        There was no explanation for the glo
                Denton's hands(4RT 451);
                                                       ediately after the fight
       •        Campbell lied about falling asleep imm
                                                        tte butt in the ash tray
                because Demon's DNA was on a cigare
            (4RT 448, 453);
                                                        slaughter conviction
       •        T'here was no basis for a voluntary man
                                                       t of passion(4RT 454-
                based on imperfect self-defense or hea
                456.)
                                                     ly be characterized as
              None of the above comments could fair
                                                     prosecutor knew what
        rebuttal to Campbell's closing argument. The
                                              opening argument.
        the evidence was when she offered her
                                               the physical evidence for
        Nonetheless, she saved all comment on



                                             .:
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        "rebuttal" argument. This was misconduct.s (People v.
                                                                Robinson,
        supra, 31 Ca1.App.4th 494, 505.)

              C.    Defense Counsel's Failure to Object to the
                    Prosecutor's Misconduct Denied Campbell His
                    Sixth Amendment Right to Effective Assistance
                    of Counsel

              Counsel provided ineffective assistance when he failed
                                                                          to
       make a timely objection to the prosecutor's improper rebut
                                                                    tal
       argument, or to request an opportunity to respond in surre
                                                                       buttal, or
       to move for a mistrial. By failing to do so, he provided ineff
                                                                       ective
       assistance of counsel.

                   1.     Standard For Evaluating Claims of
                          Ineffective Assistance of Counsel

             Campbell incorporates by reference his discussion of the law
      of ineffective assistance of counsel set out in Argument III.,
                                                                       section
      B., at pages 49-51 of-his opening brief.

                   2.    Trial Counsel Was Ineffective
            The record establishes the error —defense counsel's failure
                                                                            to
      object to a patently improper tactic, namely, the prosecutor's

     sandbagging the defense by reserving the bulk of her closing

     argument for rebuttal and thereby precluding defense response.
                                                                           A



     The Court of Appeal holds that "this is not a case of cumulative
     prosecutorial misconduct".(Opinion p. 31.) Campbell has not
     argued that it was, so there is no point to the Court of Appea
                                                                    l's
     statement.

                                       .•
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                                                                                           ..
                                    would have          preserved this
      reasonably competent attorney
                                            iew by making a timely objection
      meritorious issue for appeliafe rev
                                       v. Jackso  n (1986)187 Cal.App.3d 499,
      on the correct basis.(See People
                                                                         ling
                                         Ca1.App.3d 115, 129-13Q.)By fai
      506;In re Christina P.(1985) 175
                                                                           er
                                         ument on the basis it was improp
       to timely object to the unfair arg
                                        rious issue on appeal.
       rebuttal, counsel waived a merito
                                                al reason for, or advantage to
              There could be no possible tactic
                                                                         ument
                                       secution to present opening arg
       the defense in allowing the pro
                                           ness of guilt evidence, but not the
       that primarily addressed conscious
                                        g the defense with rebuttal
       physical evidence, and to sandba
                                                                            is
                                       the Iaw as it relates to the case he
       argument. Counsel must know
                                                                          ple v.
                                       80) 102 Ca1.App.3d 647, 657; Peo
       trying.(People v. Zimmerman (19
                                      1.) There is no tactical reason in
        McCary(1985)166 Ca1,App.3d
                                        g the defense as she did here,
        allowing a prosecutor to sandba
                                                                                t
                                            gestions from the prosecutor tha
        leaving the jury with damaging sug
                                             address.
        the defense had no opportunity to
                                                             y Fails to
                     3.     The Court of Appeal Substantiall
                                                              gument
                            Address Campbell's Prejudice Ar

                                                 s Campbell's prejudice
             The Court of Appeal fails to addres
                                                                         to
                                        here, Campbell refers this Court
        argument. Rather than repeat it
                                             g brief.
        pages 77 through Sl of his openin




                                             70
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                                 CONCLUSION
             For the foregoing reasons, this Court should grant rehearing.

       DATED: July 18, 2019                 Respectfully submitted,




                                           GAIL HARPER
                                           Attorney for Appellant




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                       CERTIFICATE OF WORD COUNT
                                                     , certify pursuant to the
             I, Gail Harper, counsel for appellant
                                            word count for this document is
       California Rules of Court, that the
                                               certificate and any attachments.
       16,270 words,excluding the tables,this
                                                 rfect X9, and this is the word
       This document was prepared in WordPe
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       count generated by the program for this
                                                         the laws of the,State of
              I declare under penalty of perjury under
                                              e and correct. Executed at San
       California that the foregoing is tru
                                              9.
       Francisco, California, on July 18, 201



                                               GAIL HARPER
                                               Attorney for Appellant
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                                                                                                                             r   ✓~
                                                                                                                                      S




      Filed 7i3i19 P. v. Campbell CA?i-~
              NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

           California Rules of Court, rule 8.1115(x), prohibits courts and parties from citing or relying on opinions not
           certified for publication or ordered published, ezcept as specified by rule 5.111~(b). This opinion has not
           been certified for publication or ordered published for purposes of rule 8.1115.



                    IN THE COURT OF APPEAL OF THE STATE OF
                                  CALIFORNIA

                                  SECOND APPELLATE DISTRICT

                                                  DIVISION FOUR

          THE PEOPLE,                                                               B288428
                                                                                   (Los Angeles County
                    Plaintiff and Respondent,                                      Super. Ct. No. BA442781)

                    v.

          MICHAEL CAMPBELL,

                   Defendant and Appellant.

               APPEAL from a judgment of the. Superior Court of Los
         Angeles.County, Curtis B. Rappe, Judge. Affirmed.
              Gail Harper, under.appointment by the Court of
         Appeal, for Defendant and Appellant.
              Xavier Becerra, Attorney General, Gerald A. Engler,
         Chief Assistant Attorney General, Lance E. Winters, Senior
         Assistant Attorney General, Paul M. Roadarmel, Jr. and
         Charles J. Sarosy, Deputy Attorneys General, for Plaintiff
 ~.
         and Respondent.




                                                                                                   ~~~~ ~ ~ ~~~~~m ~c~►
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                                                                                       -~,.~
                                                                                           .,



                                   INTRODUCTION
                  A jury convicted appellant Michael Campbell of second
            degree murder of his friend Brian Denton, who was- found
            dead in appellant's apartment, having suffered blunt head
            trauma resulting in a skull fracture and 22 lacerations.
            Appellant was the sole eyewitness to the killing, though t~vo
            neighbors heard sounds of a struggle and cries for help
            coming from appellant's room. The morning after.the
            killing, appellant left the apartment and neither reported
            the death nor returned home. When arrested five days liter,
            appellant:was carrying. bags and a backpack. At trial,
            appellant testified he .killed Denton in selfdefense, after
            Denton repeatedly attacked him.. Appellant's. counsel - argued
            theories of reasonable and "imperfect" self-defense, which
            the prosecutor rebutted.
                  On appeal, appellant contends:(1) the trial court
            committed instructional error in (a)failing to instruct the
            jury on the heat of passion theory of voluntary manslaugh-
            ter, and (b) giving the standard flight instruction; and (2) his
            trial counsel was ineffective for (a)failing to request a jury
            instruction on the factors affecting "earwitness"
            identification, and (b)failing to challenge the prosecutor's
            conduct in reserving_ the primary substance of her closing
            argument for rebuttal. Finding no error, we affirm.

                           STATEMEI~TT OF THE CASE
                 The state charged appellant with Denton's murder.-
            (Pen. Code, § 187, subd.(a).) In an amended information,


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       the state additionally alleged appellant personally used a
       clothing iron as a deadly and dangerous weapon. (Id.
       § 12022, subd.(b)(1).) A jury convicted appellant of second
       degree murder and found the deadly weapon allegation true.
       Appellant timely appealed.
                           ti
                     STATEMENT OF THE FACTS
             A. The Prosecution Case
                1. Discovery ofDenton's Extensively Damaged
                   Body in Appellant's Room                          ~"
            In December 2015, appellant was living in a single      .~
                                                                    ~-
       resident occupancy apartment in the Florence Hotel in.Los
       Angeles. The building manager, Krystal Jones, testified tha ~~
                                                                    ~~
      surveillance video from the evening of December 31 showed '~
      appellant and Denton.entering appellant's room together at
      9:42 p.m. It showed Denton leaving and re-entering the        ,~r
      room, entering for the last time at 10:30 p.m. Surveillance !
      footage from the next morning, January 1, 2016, showed        ~'`~
      appellant emerging from the room and immediately leaving 'a
                                                                    7


      the building. Video surveillance showed no one entering or
      leaving the room thereafter until the morning of January 5,
      when a security officer, at Jones's request, entered the room r
      and discovered Denton's body.                                 ~,
                                                                    ~-
            Los Angeles Police. Department (LAPD) officer Efrain 'l
                                                                    ,~;,
      Ochoa testified that he and his partner entered appellant's
      room in response to the suspicious death call. He observed
      Denton's bloodied, damaged, and distorted face. He further
      observed debris throughout the room.




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              LAPD detective Jason Sharman testified that he              1 ,.~~-
        investigated the room the same day, accompanied by a police
        officer and a criminalise photographer. Detective Sharman
        found blood on the door, the carpet, a dresser, and
        elsewhere, including on a tank top "soaked" in blood. He
                                                                                4


                                                                                +~




        observed "substantial" injuries to Denton's:face. and head,
        including to the back of his head and to the back of one ear.
                                                                              ~.~.
        Staples were embedded in Denton's skin. Detective
        Sharman found a stapler and a clothing iron in the room.
        Reddish stains on the stapler and clothing iron contained             i~,
        Denton's DNA, according to stipulated te~timony~ from a                 ~,..
        senior LAPD criminalise.
              Matthew Miller, 1VI.D., a deputy medical examiner for            ~.
        the.Los._Angeles County    Departm ent   of Medical
        Examiner-Coroner, testified that he performed an autopsy of ~~
        Denton's body several days after its discovery. Dr. Miller                   M




        determined Denton's death was a homicide caused by blunt               ~~
        head  trauma.    Denton' s head had  suffered  a skull fracture        ~,.
                                                                                ~~
        and 22 separate lacerations. Dr. Miller opined fifteen to
        seventeen of the blows that caused these lacerations were
        potentially disabling or fatal. He testified that the iron             ~~
        found.- in appellant's room could have   caused  Denton'  s head
                                                                               ._~,
        injuries. Additionally, he   observe d staples ~in Demon'  s skin
        and scrapes and bruises scattered nn it, including a possible
        bite mark.




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                2. "Earwitness" Testimony Concerning a
                   Struggle in Appellant's Room
              Wendell Blassingame lived in the room across from
        appellant's. He testified that on the night of the homicide,
        around 11:35 or 11:40 p.m., he was awakened by sounds of
       fighting from appellant's room. He could still hear rumbling
       20 to 25 minutes later, when a neighbor, Rose Gibson, came.
       to his room and asked him to call the police. He called
       building security instead. After calling security,
       Blassingame heard a loud noise and someone screaming for
       help. Although he had spoken with appellant before, he
       could not te11 whether the person calling for help was
       appellant. He was not sure whether the person was male or
       female. Blassingame called security again. The noise from
       appellant's room stopped. Five to 15 minutes after his
       second call, he saw two security officers arrive, knock on
       appellant's door, announce themselves as security, and walk
       away after no one responded.
             Rose Gibson lived in a room adjoining appellant's. She
       testified that around 11:30 on the night of the homicide, she
       heard sounds of fighting from appellant's room. The noise
       continued for about 20 minutes. She knocked on the wall
       she shared with appellant and asked if he was all right.
       Gibson heard a voice that sounded like appellant's say,"Gall
       the police." Appellant's room was then silent. Gibson went
       to Blassingame's room and told him to call building security
       and the police.




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              Gibson denied having spoken with LAPD detective
        Douglas Pierce after. the homicide, and denied telling him
        she had heard a w~oznan's voice coming from appellant's
        room. She testified that appellant's voice was the only one
        she heard. Following this testimony, Detective Pierce
        testified that he interviewed Gibson several days after the                ~~
                                                                                   ,j-~
        homicide.. During that interview, Gibson. told him she had
                                                                                   m>
        heard sounds of a struggle and of a woman arguing ._with                   ,~
        appellant. She expressed her belief that.appellant's
        girlfriend had killed him.                                                  ~-

                  3. Appellant's Conduct After Denton's Death                 '~ ~.
               Angel Dorsey, appellant's ex-girlfriend, lived a short      ' ~,.~-
                                                     _ Y__testified that
         walkin~ distance from_ _ his residence. Dorse                      1~ ~;-
        the morning of January 1, 2016, appellant carne to her                  ;~,..,
                                                                                 ;
        apartment.and told her Denton had died in his room after a         ~
        fight. She savv an injury on appellant's forehead, but he
        identified no injuries and complained of no pain except a          { ~,
        headache. They. did not discuss calling the police. Appellant               i~
        soon left Dorsey's apartment.                                          i
                                                                                    ~---
              Five days later, LAPD officer Jessica Azizi and her        .
        partner responded to a report of a trespass.at Dorsey's           -;~
        address and arrested appellant there. Officer Azizi testified ~'
        appellant had. bags.and a backpack with him.                  1 ~°~;~-
              Detective Pierce testified that he conducted an audio-
        and video-recorded interview of appellant on the night of his
        arrest. The recording was played for the jury. after waiving
        his Miranda rights, appellant initially claimed he had been




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       living on the street for about a month. He later acknow-
       ledged living at the Florence Hotel but claimed to reside in a
       room other than the one where Denton's body was found.
       Appellant admitted that Denton died after they fought,
       describing their altercation as "detailed" but declining to
       discuss any details.

               B. The Defense Case
   -------- -- spar rom the stipulated testimony of a medical
         doctor, which was read into the record, appellant was the
       sole defense witness.l He testified that he unexpectedly
       encountered Denton, a friend whom he had not seen in about
       a year, while visiting a nearby liquor.store on the evening of
       December 31, 2015. Inviting Denton to join him in visiting
       some nearby bars, appellant- brought him back to his room to
       lend him more suitable clothing. After Denton left the room
       temporarily and appellant discovered his two cell phones



       1      Emergency room physician Ryan O'Connor testified by
       stipulation that in reviewing photographs of appellant and other
       documents, he identified several abrasions or lacerations on
       appellant's left_ forearm of an age consistent with being sustained
       on the night of Denton's death. He also identified the following:
      (1) a linear mark on appellant's forehead that appeared to be an
       old scar;(2) markings on his left flank that could have been
       healing abrasions or lacerations or, instead, scratch marks;(3) a
       healing abrasion or other type of wound on his right kneecap; and
      (4)skin darkening on his knuckles that could have been bruising
       or merely a pigment condition.




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       were missing, appellant called Denton back to the room, ~.         .'~y
       accused him of stealing_ the. cell phones, and attempted to `-;~;w
       retrieve the phone that Denton pulled from his pocket.             ~"
              Denton punched appellant. Appellant. told Denton
       was going to call the police and again. tried to take the          ~~~
       phone. Denton charged at appellant, slammed him to the
       floor, and repeatedly struck hirn. .After sliding out of             ~;
                                                                            e..
       Denton's grip and   again  telling. Denton   he was  going to call
       the police, appellant tried to leave the room.~                     ~l
                                                                           ~f
              Denton blocked the door and again charged at
       appellant. Appellant responded by throtiving canned goods ~~~
       and other objects and by grabbing a stapler to use.as a             '
       weapon. When the closed .stapler proved an ineffective                 ~S
                                                                             ~-
       weapon, appellant used the open stapler to embed at least ,~`-~"
       one staple in Demon's body.                                        :~:    A
              Denton removed a staple from his body while blockin~ ~~_~
       the door, smearing - blood on it from the tank top. he was              ;~
       wearing. Grabbing Denton by the tank top and by the back {'
       of his. pants, appellant attempted to open the door to throw ;~
       Denton out. In the process, he ripped the tank top off of                ~~
       Dento   n. Dropping  the tank  top  by .his sink, appellant             ~~  ~~
       knocked on -the wall he shared with Rose Gibson and
       screamed for her to call the police.                                       .~-
              Denton rushed at appellant again. Denton wrapped ;;..             ~.
       his arm around- appellant's neck, choking him,"numerous"
       times. Realizing.Denton would release his.chokeholds when
       bitten, appellant repeatedly bit him. Rather than bite




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         Denton only on the arm wrapped around his neck, appellant
         tried to slide down to bite other areas- too.
               After grabbing a clothing iron, Denton rushed at
        .appellant a final time, wrapping the iron's cord around his
        neck from behind. Appellant tried to get his fingers between ''i
       the cord and his neck to ease the tension on the cord. From
                                                                      ~~
       the corner of his eye, appellant saw the iron swinging by his
       side. Fearing Denton would kill him, he grabbed the iron       r
       and struck Denton's head with it until he felt the tension on s
                                                                      ;
                                                                      -
       the cord ease.
                                                                     :~
               Appellant immediately crawled to his bed and passed
       out until around 8:00 the next morning. Upon realizing
       Denton was dead, appellant "panicked" and left the building..          r




       He did not call the police because he did not know how.to
                                                                             ~~
     - explain what had happened. He briefly visited Dorsey and
       told her he and Denton had fought. After leaving Dorsey's
       apartment, he drank alcohol and used drugs for the next five ~il
       days until his arrest.                                        ;~


            C. The Prosecution's Rebuttal Witnesses
            Recalled on rebuttal, Detective Sharman testified that
      the tank top found in appellant's room was not torn. He
      further testified that no cell phones were found in                   .,--
      appellant's room or booked with the- property appellant was
      carrying when arrested.
                                                                            ~---
           Denton's grandmother, Donna Villeda, testified that              l
                                                                            i

                                                                             ~,
      Denton received a cell phone as a Christmas gift shortly
      before his death on New Year's Eve.                 '~    7-          ~~
                                                                            !~~
              i      M: -               s1


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             D. Closing Arguments.
             The prosecutor reviewed the surveillance video from
       the night of-the homicide, noting when Denton re-entered
       the room for the final time and .the long-sleeved clothing he
       was wearing.. She summarized Blassingame's and Gibson's
       testimony about hearing a strxuggle -and calls for help. She
       argued that appellant had fled, summarizing Dorsey's                  ~-
       testimony about -his visit and Officer Azizi's account of his
       arrest. She summarized appellant's post-arrest interview,             ~~
       noting that he had falsely described his residence and
       arguing that he had said nothing about pelf-defense. She
       recounted the evidence from Denton's autopsy, including the           --
       number of potentially fatal blows to Demon's head and the.            ~.
       location o~ the.resulting _injuries. She. argued appellant's
                                                                          ,,,.
       testimony made no sense with respect to how Denton ended
                                                                             ij


       up shirtless, with staples in his chest.                              ~.




             Defense counsel recounted, in detail, appellant's
       testimony about the fight and what preceded it. He argued
       the testimony was consistent with Demon's injuries,
       appellant's own injuries,.and the blood in the room. He
       e mphasized Gibson's testimony that she had heard appellant
                                                                            ~_
       ask her to call the police. In short, he arg~.ie~ self-defense
                                                                              Y~

       extensively, summarizing as follows:- "This case, I have said               ~~


       it over and over again, but it's about self-defense. That's.. the
       only thing the evidence supports." He also argued appellant
       had not tried to hide any evidence.                             ~~
             In rebuttal, the prosecutor argued the physical                 ~~
        evidence discredited appellant's.self-defense theory. She      +~y
                                                                       ~
                                                                       J
                                                                      .~~
                                                                             iL~



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                                                                           ~':

                                                                               ,~u

       urged the jury to reject- appellant's claim that Denton        ;~;~
       initiated the fight immediately after taking appellant's cell           r
                                                                               ^~.'


       phones.and re-entering the room, referencing:{1) the hour
       that passed between Denton's re-entering the room and
       Blassingame's waking to sounds of a struggle;(2) Villeda's '     .
       testimony that Denton had recently received a cell phone;(3}
      Detective Sharman's testimony that the LA.PD found no cell                J


       phones on appellant or in his room; and (4) appellant's own
                                                                               J
      testimony that the lights were out, even though he was           ~-
      purportedly searching for clothing when Denton took the
                                                                       ~~-
      phones. Similarly, she urged the jury to reject appellant's
      account of the fight itself, referencing:(1) autopsy evidence
      of injuries on both sides of Denton's head and a bite.mark on
      Denton's hand;(2) the photograph showing no tears in the
      tank top despite appellant's claim he ripped it off of Denton,
      who in any event was shown on video re-entering the room
      in long-sleeved clothing, not just a dank top; and (3)
      photographic evidence of the blood in the room, which
                                                                     ~~
      suggested it was not smeared in the manner appellant
      claimed and further suggested it was Denton, not appellant,
      who was trying to escape. The prosecutor also argued
      appellant had hidden evidence and lied about the homicide.
                                                                          r
                                                                          ~°
           E. Jury Instructions and Verdict                           v.
                                                                     .~-
           Before closing arguments, the trial court memorialized L
                                                                      ~~
      an offthe-record discussion ofjury instructions. The court rte.
      noted there had been no objection to instructing the jury on ~{
                                                                     ~..
                                                                ~ ~~ .~-
                                                                r
                                                                *:
                                                                r-
                                                               r         ~"


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                                                                             ~.




       reducing murder to voluntary manslaughter dale to heat of
       passion (CALCRIM No. 570)..                                         ,~
             After closing ar;uments, the court instr~~ted the jury.       ~"
       It instructed the jury on lawful self-defense (CALCRII~~~ No.      '4.:




       50~) and on "imperfect" self:defense reducing murder to
       voluntary manslaughter(CALCRIM No. X71). The court did               ~`~
       not.instruct the jury on heat of passion.                            ~.,~
             The court delivered several instructions on conscious-
       ness of guilt, instructing the jury that it could infer          ~'
       appellant's awareness of his guilt if it found he had-made a
       false or misleading statement before trial related to the     ~,.
       charged crime (CALCRIM No. 362); if it found he had tried
       to hide evidence (CA:I~CRIM No. 371); or if it found he had    :~,~,,.
       fled immediately after the crime(CALCRIM No. 372). The         ~.,
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       court instructe  d the jury that none of these findings would
       be sufficient to prove guilt.
             Per CALCRIM No. 226, the court instructed the jury        ~:~:
       that a factor to consider when evaluating a witness's          ~~
       testimony is how well the witness could hear the things             ~~f~.
       about which the witness testified. Continuing, the .court
       instructed.the jury. not to "automatically.reject testimony         °.~'
       just because of inconsistencies'or conflicts," explaining that      r



       "[p]eople sometimes honestly ...make mistakes about what
       they remember," and that."two people may witness the same
       event[] yet ...hear it differently."                                ~=T
             Almost immediately after the jury began its.
       deliberations, appellant's trial counsel informed the court         /~ -~
       appellant was concerned the court had not read the heat of          `=

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       passion instruction. The court responded it believed the          ~-~~
       court and the parties had taken that instruction out.
             The jury convicted appellant of second degree murder !¢~~
       and found true the allegation that he used a clothing iron as ~~
       a deadly weapon.                                               ~ -'
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                                                                        ~,--
                               DISCUSSION
             Appellant identifies four grounds for reversal of his
      conviction, including two instructional errors by the trial
      court and two omissions by his trial counsel. He alleges the
                                                                        3-
      trial court erred in (1)failing to instruct the jury on the heat
      of passion theory of.voluntary manslaughter,.and (2) giving
      the standard flight instruction. He alleges his trial counsel _
      was ineffective for (1)failing to request a jury instruction on
      the factors affecting."earwitness" identification, and (2)
      failing to challenge the prosecutor's conduct in reserving the ~~:
      primary substance of her closing argument for- rebuttal. We
      discern no error.                                                 ~-~

            A.    Instructional Error
                   1. Standard ofReview
            We review de nova appellant's claims of instructional. ..~.-
      error. (See People u. Nelson (2016) 1 Ca1.5th 513, 538; People
      u. Posey (2004) 32 Cal.4th .193, 218.)                         r




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                    2.     Omission of Heat ofPassion Instruction
                           a.     Governing Principles
               "In a murder case, trial courts are obligated to instruct
         the jury on defenses supported by substantial e~ide~nce that
         could lead to conviction of the lesser included offense of
         voluntary manslaughter, eves where the defendant objects,
         or is not, as a matter of trial strategy, relying on such a
         defense." (People u. Moye (2009) 47 Ca1.4th 537, 541 (11~~oye).)
        .Evidence is substantial if strong enough to persuade a
        reasonable jury. (See id. at pp..662-663.)
              "Heat of passion is one of the mental states that
        precludes the formation of malice and reduces an unlawful
        killing -from murder to manslaughter." (People v. 1~'elson,
        supra, 1 Cal.5th at p. 538.} "A heat of passion theory of
        manslaughter has both an objective and a subjective
        component." (Move, supra, 47 Ca1.4th at p. 549.)- To satisfy
        the objective component, the defendant must have reacted to
        provocation "`that would cause an emotion so intense that an
        ordinary. person would simply react, without reflection."'
       (People v. Rangel (2016) 62 Cal.4th 1192, 1225,.quoting
       People v. Beltran (2013) 56 Cal.4th 935, 949.) To satisfy the
        subjective component, the defendant must have experienced
        e motion "`so strong that -the defendant's reaction bypassed
        his or her thought process to such an extent that judgment
        could not and did not intervene."' (People v. Rangel, supra,
        at p. 1225, quoting People u. Beltran, supra, at p. 949.)
              "In a noncapital case, the trial court's failure to
       instruct on necessarily included offenses is reviewed for




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       prejudice under she Watson standard." (People v. Hicks
      (2017) 4 Cal.5th 203, 215, italics omitted, citing People v.
       Breverman (1998) 19 Cal.4th 142, 164-178 (Breverman).)?
       Courts applying the Watson standard focus on what a
       reasonable jury "is likely to have done in the absence of the
       error under consideration," finding prejudice if "it appears
       `reasonably probable' the defendant would have obtained a
       more favorable outcome ...." (Breverman, supra, at
       pp. 177-178, quoting People v. Watson (1956)46 Cal.2d $18,
       836 (Watson).)

                         b.    analysis
             The trial court did not err by omitting an instruction
      on the heat of passion theory of voluntary manslaughter
      because no substantial evidence supported that theory.
      Appellant's testimony -- the only evidence on which he relies
      to support the subjective element of a heat of passion theory
      -- did not support a reasonable inference .that appellant's
      reactions "`bypassed his thought process to such an extent
      that judgment could not and did not intervene."' (People v:
      Rangel, supra, 62 Ca1.4th at p. 1225.} To the contrary,



            Appellant acknowledges that we are bound by our Supreme
      Court's decision in Breverman,supra, 19 Ca1.4th 142, to apply
      the Watson prejudice standard. (Auto Equity Sales, Inc. v.
      Superior Court ofSanta Clara County(1962)57 Ca1.2d 450,- .455.)
      Appellant argues a different prejudice standard should apply, but
      notes he raises the issue only to preserve it for federal review.




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                                         appellant testified .that he reacted to successive advances by
                                        Denton in a manner reflecting judgment. In response to
                                        Demon's first "charge," appellant wrested himself from
                                        Denton's grip, informed Denton he would call the police, and
                                        tried to leave the room. In an effort to halt Denton's second
                                        "charge," appellant first three canned goods_ and other
                                        objects at him, then struck. Denton with a closed stapler,.and
                                                                                                        4_~:;
                                        later used the_ open stapler to embed staples in Demon's
                                        flesh._ In response to Demon's repeatedly putting hirn in
                                        chokeholds, appellant bit Denton -- deliberately reaching for    ~,yT.-.
                                        different areas of his body -- to cause Denton to release him.
                                        Finally, in response to Demon's strangling him with the           <,
                                        clothing iron's cord, appellant.struck Denton with the
                                        clothing iron,. but only until the tension from the cord eased.
                                               Appellant's testimony suggested that these reactions
                                        conformed to.his thought processes, rather than bypassed
                                        them. He decided to open the~stapler and to staple..Denton's
                                        flesh because he realized that merely hitting him with the
                                        closed stapler was ineffective. Similarly, because he realized
                                        Denton would release him from a chokehold when bitten, he
                                        repeatedly bit Denton and made a conscious effort to bite
                                        different areas of Demon's body. Even when Denton was
                                        strangling hirn with the iron's cord, appellant demonstrated
                                        the presence of mind to focus on relieving the cord's.tension,
                                        first by trying to work his fingers under the cord and then by
                                        swinging with the iron only until .the tension eased. Despite'
                                        testifying repeatedly that he panicked.upon realizing Denton
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       was dead the next morning, appellant never testified he        ~
       panicked during the fight.                                    ,~~~•
             The facts here are similar to those in Moye, supra, 47
       Ca1.4th 537. There, our Supreme Court held the omission of ~~~~
       a heat of passion instruction was neither erroneous nor      .~
       prejudicial in the prosecution of a defendant convicted of
                                                                    r
       second degree murder for admittedly killing a man with a     ~""
       baseball bat. (Id. at pp. 540-541.) The defendant introduced
      noevidence on the heat of passion theory's subjective             _.,
      element other than his own testimony, which "provided a
      blow-by-blow recounting of events in which he characterized
      every swing he took with the bat as a defensive response to      ~.
      each of[the victim's] successive advances." (Id. at p. 554.)     ~
      The defendant testified he had not been in a "`right state of
                                                                       ~~
      mind,"' but explained that he was referring to his fear of       ~.~..
      being beaten or killed, which had entangled his thought          ; ~.,
      processes in his effort to defend himself. (Id. at pp. 552,
      554.) Thus, the "thrust" of the defendant's testimony was       "
      selfdefense. (Id. at p. 554.). The court concluded there was.   ..~ .
      only insubstantial evidence to support the subjective
      element, rendering the omission of.the heat of passion
      instruction proper. (Ibid.)
            Like the defendant in Moye, appellant identifies no
      evidence to support the subjective element other than his
      own testimony.. That testimony, however, like the
      defendant's testimony in Moye, provided ablow-by-blow
      justification of his actions as responses to successive
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      advances by his victim. Describing selfdefense as the
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        "thrust" of appellant's testimony.. would be an understate-
         ment."Indeed, defense counsel's closing argument
        emphasized "over anal oven main" that the case vas about
        self-defense and described self-defense as "the only thing the
        evidence support[ed]."
               These facts distinguish this case.from those on -which
        appellant relies. In BreL~erman, the court relied on
        affirmative evidence that the defendant panicked, including
        the defendant's suggestion in a police statement that he
       "acted in one continuous, chaotic response ,.. ."
       (Breuerman, supra, l9 Cal.4t~ at p. if4; see also Maye,
        supra, 47 Cal.4th at p. 555 [distinguishing Breverman on
        this ground).) Similarly, the defendant in People v. Thomas
        testified_ t~iat he fired at his.. victim_"because he was..afraid,
        nervous and not thinking clearly." (People u. Thomas(2013)
        218 Ca1.App.4th 630, 645.) Moreover, in both.Thomas and
        Breverman the courts acknowledged evidence in support of
        the heat of passion theory beyond the defendant's.testimony..
       (See id. at p. 645 [describing testimony from multiple
        witnesses, including that defendant engaged in a "`pretty
        heated"' argument, cried, called out for his father, paced, and
       seemed angry]; Breverman, szapra, at p. 163["Defendant and
       the other persons in the house all indicated that the number
        and behavior of the intruders ...caused immediate fear and
        panic"].) Finally, although the court in People v. Anderson
       found support- for a heat of passion instruction in the
        defendant's evidence that her.codefendant was motivated by
       rage, the court gave no indication that the.codefendant


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       himself testified about his actions or state of mind. (People
       v. Anderson (2006) 141 Cal.App.4th 430, 435-438, 447.)
      Thus, Anderson is not instructive on the need for a heat of
      passion instruction where, as here and in Moye (decided
      after Anderson), the. defendant's own testimony described.
      each of his reactions to the alleged provocation as deliberate
      acts of self-defense.
             Appellant argues the trial court presumptively found
      substantial evidence to support a heat of passion instruction,
      and that by failing to object to that presumed finding, the
      prosecutor forfeited the substantial evidence issue on appeal.
      We will not presume that the trial court made a finding
      inconsistent with its actions. The court made no finding of
      substantial evidence, and there was none. The court did not
      err by omitting an instruction on heat of passion.
            Even had we found error in the trial court's omission of
      the heat of passion instructiion, we would find no prejudice.
      Moye is instructive on this issue too. There, our Supreme
      Court found it improbable that the jury, having rejected the
      factual basis for the defendant's self-defense theories, would
      have found the victim provoked the defendant in a manner
      satisfying the objective element of the heat of passion theory
      even if instructed on it. (Moye, supra, 47 Cal.4th at pp. 556-
      557.) Moreover, because the defendant had offered no
      testimony on the subjective element "unrelated to his
      perceived need for self-defense," the court concluded the
      jury's rejection of the self-defense theories left "little if any
      independent evidence" to support the subjective element.




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        (Id. at p. 557.) Here,like the defendant in:Moye, appellant
        argues the same evidence underlying his self-defense
        theories might have convinced the jury to accept his heat of
        passion theory. Appellant concedes, however, that the jury's
        rejection of his self-defense theories reflected its conclusion
        that. he "did not have.. an actual fear that he was in imminent._
        danger of death or great bodily.injury." Accordingly, had we
        found error, we nevertheless would have found no
        reasonable probability that the instruction would have led
        the jury to find either that appellant acted out of fear
        precluding his judgment (satisfying the subjective element)
        or that Denton provoked him in a manner sufficient to cause
        such emotion iM an ordinary person (satisfying the objective
        elem~nt~. (See_. i~, at_ ~~.550, 556-557. _     --

                   3. Flight Instruction
           Appellant argues the trialcourt erred by instructing the
       jury with CALCRIM No 372, the standard flight instruction.

                          a.     Governing Principles
              Where the prosecution relies on evidence from which a
       reasonable jury could find.flight reflecting consciousness of
       guilt, the trial court is statutorily required to give a standard
       flight instruction. (See People v. Howard (2008) 42 Cal.4th
       1000, 1020; People v. Price (2017)8 Cal.App.Sth 409, 454-455
      (Price)[CALCRIM No. 372 is consistent with the statutory




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       Y•equirement].)3 The prosecution must rely on evidence that
       the defendant left the crime scene in circumstances
       suggesting "`a purpose to avoid being observed or arrested."'
      (People v. Bonilla (2007) 41 Ca1.4th 313, 328, quoting People
       v. Crandell (1988} 46 Cal.3d 833, 869 (Crandell).) "To obtain
       the instruction, the prosecution need not prove the
       defendant in fact fled,. i.e., departed the scene to avoid
       arrest, only that a jury could find the defendant fled and
       permissibly infer a consciousness of guilt from the evidence."
      (People v. Bonilla, supra, at p. 328.)
             Respondent argues appellant forfeited his contention of
       error regarding the flight instruction because his trial
      counsel did not object to it. Where an instructional error
       affects the defendant's substantial rights, trial counsel's
      failure to object does not forfeit the contention of error on


             Conceding that he seeks only to preserve them for federal
      review, appellant raises several challenges to the standard flight
      instruction that have been rejected in numerous cases. (See
      Price, supra,8 Ca1.App.5th at pp. 454, 456 [CALCRII~1/I No. 372);
      People v. Streeter(2012)54 Ca1.4th 205, 253-254(Streeter)
      [CALJIC No. 2.52].) As courts have explained, the standard
      flight instruction "does not lighten the prosecution's burden of
      proof to show.guilt beyond a reasonable doubt." (Price, supra, at
      p. 456.) It does not create an unconstitutional permissive
      inference of guilt. (See id. at pp. 455-456.) This is true even
      where "the principal disputed issue is the defendant's mental
      state at the time of the crime," rather than whether the
      defendant committed the alleged acts. (People v. Smithey(1999}
      20 Cal.4th 936, 983.)




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        appeal. (People L~. Felix (2008) 160 Cal.~lpp.4th 8=~9, 8~7,
        citing Pen. Code, § 1.259.). tiVe apply the ti~atson test for
        prejudicial error to determine if an instructional error
        affected the defendant's substantial rights. (People u. Felix,
        sLcpra, at p. 857.)

                          b.      Analysis
             The trial court.. properly gave the standard flight
       instruction because the: prosecution relied on sufficient
       evidence of flight to require it. Appellant concedes his
       "statements indicate he _was afraid of being apprehended as
       a guilty party," or in other words, afraid of arrest. There
       was evidence that this fear.motivated his departure from the
       crime scene,_ viz., _his residence.._.: Appellant_failed to return,to
        his residence even once in the more than five days between.
        the homicide and his arrest.. (See Howard,.supra, 42 Ca1.4th
        at p..1020 [flight finding permissible where defendant failed
        to return home for two nights after victim's body was
        discovered in garage across from defendant's room].) Indeed,
        appellant was arrested with bags and a backpack, sugges-
        ting an intent to remain- away from his residence and
        perhaps to move farther away. (See People v. Bradford
       (1997) 14 Ca1.4th 1005, 1055 [flight.instruction warranted,
        despite defendant's failure to leave building where he killed
        victim, in part because defendant pacl~ed belongings].)
        Moreover, appellant never reported Denton's death to the
        police or otherwise encouraged prompt investigation of the
       dead body in his room. (See People v. Smithey, supra, 20



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        Ca1.4th at pp. 982-983 [flight instruction warranted in part
        because defendant failed to summon help after admittedly
        killing victim at her home].) The jury reasonably could have
       inferred from this evidence that appellant left his home in
       order to avoid arrest.
              Contrary to appellant's contentions, this reasonable
       inference is not negated by appellant's failure to hide his
       connection to Denton's body or to flee to a more remote
       location. The jury could have found flight despite appellant's
       expectation that suspicion would focus on him upon the
       discovery of Demon's body in his room. (See Howard, supra,
       42 Cal.4th at p. 1021 [where defendant hid victim's body
       near his room and remained home until its discovery, jury
       could find defendant fled.after he "concluded that suspicion
       had focused on him"].) Similarly, the jury could have found
       flight despite the fact that Officer Azizi found him near his
       residence, at his ex-girlfriend's apartment. (See ibid. [flight
      finding reasonable where defendant was arrested at his
       aunt's house].)
             The flight instruction cases on which appellant relies
       are distinguishable. In People v. Green, the crime scene. was
      in a "remote area," prompting the court to note that "it can
       hardly be expected that defendant would wait in that
      location ...." (r'eople u. Green (1980) 27 Cal.3d 1, 36.) Here,
      in contrast, one could reasonably expect appellant to return
      to the crime scene because it was his home. (Cf. id. at p. 37
      [defendant returning home from crime scene did not suggest
      consciousness of guilt].) This fact also distinguishes People




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        i~. ti~atson, in which the_ crime scene was. not the defendant's
        home, but instead "a railroad. siding in an .industrial area
        ..       (People v. T~'atson (1977) 75 Cal.~pp.3d 38~, 390.) The
        Watson court.held only that the "mere"fact of the
        defendant's arrest miles away from the scene., "standing
        alone," was not evidence of flight. (Id. at p. X03.) Finally, in
        Crandell, the court found the defendant's departure from the
        crime scene did not show flight, where .other evidence
        established the defendant intended to return to the crime
        scene to dispose of the victims' bodies. {Crandell; su~ora, 46
        Cal.3d at pp. 869-870.) Here, appellant claimed neither tl~at
        he .intended to return to his residence nor that he expected
        Denton's body to escape detection.
              Even had we found.error in giving the flight ins~ruct-
        tion, we would: find no prejudice. The instruction did not
        require the jury to infer consciousness of guilt from flight, or




       `~      Finding no error, we necessarily find no error substantially
       affecting appellant's rights. We therefore conclude appellant
       forfeited his contention of error on appeal by failing to object to
       the flight instruction in the trial court. (People v. Felix, supra,
       160 Ca1.App.4th at p. 857.) Moreover, we reject appellant's.
       contention that his trial counsel was constitutionally ineffective
       for forfeiting the issue. Counsel need not object to an
       unobjectionableinstruction. (People u..Gray(2005) 37 Cal.4th
       168, 201.)




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       even to find flight in the first instance. (See Crandell,
       supra, 46 Ca1.3d at p. 870 [erroneous flight instruction not
       prejudicial in part because it left determination of"both the
       existence and significance of flight" to the jury.) Moreover,
       in addition to the flight instruction, the court gave
       instructions allowing the jury to infer consciousness of guilt
       if it found appellant had made false statements.related to
       thecharge (CALCRIM No. 362) or had tried to hide evidence
      (CA~CRIM No. 371). The prosecutor argued the evidence
      supported both of these findings. Appellant himself, despite
       arguing his conduct was not flight, concedes that his conduct
      "might be seen as manifesting consciousness of guilt." (See
       Crandell, supra, at p. 870 [erroneous flight instruction not
      prejudicial in part because defendant manifested
      consciousness of guilt through conduct other than flight].) In
      short, we find no reasonable probability that absent the
      flight instruction, appellant would have obtained a more
      favorable result. (See ibid.)




            Indeed, the instruction cautioned the jury that even if it
      found flight, it-could nat infer guilt from flight alone. Our
      Supreme Court has recognized that the cautionary aspect of the
      standard flight instruction may benefit the defense. (Streeter,
      supra, 54 Ca1.4th at p. 254["CALJIC No. 2.52 was a cautionary
     instruction that benefitted the defense by `admonishing the jury
      to circumspection regarding evidence that might otherwise be
     considered decisively inculpatory"'~, quoting People v. Jackson
     (1996} 13 Cal.4th 1164, 1224.)




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             B, Ineffective Assistance of Counsel..:
             Appellant argues his trial counsel was ineffective for
       failing to request a jury instruction on the factors atfectin~
       "earwitness" identification, and for failing to challenge .the
       prosecutor's conduct in reserving.the primary substance of
        her closing argument for rebuttal.6

                 1. Governing Principles
             To establish ineffective assistance of counsel, appellant
       "bears the burden of showing by a preponderance of the
       evidence that (1) counsel's performance way deficient
       because it fell belotiv an objective standard of reasonableness
       under.prevailing professional norms, and (2) counsel's
       deficiencies r~s~-lt din prejudice." (1°eople v. Centeno (2D14~
       60 Ca1.4th 6~9, 674.) To show deficient performance where
       the record does not.explain why counsel acted or failed to aet
       in the allegedly deficient manner, appellant_ must show there
       was """no conceivable tactical purpose""" for counsel's act or


       6     Appellant concedes his counsel's failure to object to the
       prosecutor's conduct in the trial court forfeited his contention of
       misconduct on appeal. (People v. Potts(2019)6 Ca1.5th 1012,
       102Q [to preserve misconduct claim for appeal, defendant must
       timely object and ask trial court to admonish jury].) We note.the
       term "misconduct" is a misnomer to the extent it erroneously
       implies a requirement to prove the prosecutor.erred with a
       culpable state of mind. (Ibid.) We nevertheless use .the term
       because our Supreme Court frequently uses it when analyzing
       claims of prosecutorial error. (See e.g., id. at pp. 1034-.1037.)



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       omission. (Id. at p. 675.) To show prejudice, appellant must
       show a reasonable probability of a more favorable result but
       for the act or omission. {Id. at p. 676:)

                 2. Failure to Request Instruction on
                   " Earwitness"Identification
             Appellant argues his trial counsel was.constitutionally
       ineffective for failing to request a jury instruction listing
       factors affecting the reliability of"earwitness" identification
       testimony, in the same manner that CALCRIM No. 315 lists
       factors relevant to eyewitness testimony. Appellant suggests
       the proposed instruction would. have helped the jury
       understand that Gibson's mistaken identification of a
       woman speaking during the fight between appellant and
       Denton resulted from "speaker distortions from stress and
       anxiety."
            An instruction highlighting the potential unreliability
      of voice identifications would have been more likely to hurt
      the defense than to help it. Gibson identified appellant, by
      voice, as the person she heard calling for help. Defense
      counsel relied on this voice identification to support
      appellant's self-defense theories. The risk of encouraging
      the jury to reject this helpful identification provided a
      tactical reason not to emphasize the unreliability of voice
      identifications.
            Moreover., even without requesting an "earwitness"
      instruction, defense counsel knew the jury would receive a
      cautionary instruction relevant to Gibson's mistaken




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        identification. The court instructed the jury (per CALCRII~1
        No, 226)that a witness's ability to hear the things about
        which sloe testified is a factor to.consider when evaluating
        her testimony. The court also cautioned the jury not to
        "automatically reject testimony.just because of
        inconsistencies or conflicts," explaining that "people
        sometimes honestly ...make mistakes about w hat they
        remember," and that.``two people may witness the same
        event yet ...hear it clif'ferently," Defense counsel did. not
        render deficient performance by failing to seek- additional,
        potentially harmful emphasis on the unreliability of voce
         identifications.
               Even had. w,e found deficient performance, we would
        find no prejudice. As noted, an__"earwit_ness" instruction may_
         have encouraged a result less favorable to appellant by
        undermining the jury's.confidence in Gibson's identification
        of appellant as the person calling for.help. Even if the
        instruction's potential effect were somehow limited to
        Gibson's mistaken identification of a woman, appellant has
        provided no evidence that the instruction would have had
        any effect. (See Laub et al., Can the Courts Tell an Ear from
        an Eye? Legal Approaches to Voice Identification Evidence
       (2013) 37 Law & Psychol. Rev. 119, 152 [reporting absence of
        research to support.conclusion that voice .identification
        instructions would help jurors evaluate testimony




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       properly].)' The eyewitness instruction cases on which
       appellant relies are distinguishable, inter alia, because they
       concern instruction on a different type of testimony.g In
       sum, appellant has failed to show prejudice.




              This law review article demonstrates familiarity with voice
       identification research by professors A. Daniel Yarmey and Harry
       Hollien, on which appellant relies. (See Laub et al., supra, at
       pp. 120 fn. 5, 125 fns. 41 & 44, 141, 146 fn. 213, 153.) We cite the
       article only to emphasize appellant's failure to produce evidence
       that an "earwitness" instruction would have helped the jury.

             Appellant derives no support from People u. Palmer, in
      which eyewitness identification testimony was- the only evidence
      against the defendant, who disputed only his identity as the
      robber. (People v. Palmer (1984) 154 Ca1.App.3d 79, 83, 89.)
      Here, appellant conceded his identity as Denton's killer, and the
      prosecution relied on abundant evidence other than the
      "earwitness" testimony. As noted, that testimony was helpful to
      the defense with respect to Gibson's identification of appellant.
      Moreover, in other eyewitness instruction cases on which
      appellant relies, our Supreme Court found no prejudice in
      omitting such an instruction despite the key role of eyewitness
      identification at trial. (People v. Fudge(1994)7 ~al.4th 1075,
      110.1, 1110-1112 [eyewitness identification was one oftwo major
      types of evidence against defendant]; People_ v. Wright(1988)45
      Cal.3d 1126, 1131-1132[eyewitness identification was"sole"
      evidence against defendant].)




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                    3.      Failure to Object to Prosecutor's
                            Rebuttal Argument
               Appellant argues his trial counsel was constitutionally
         ineffective for failing to challenge alleged prosecutorial
         misconduct during rebuttal argument in any of three ways:
         objecting, requesting sur-rebuttal, or moving for a mistrial.
         Conceding that he alleges no cumulative misconduct,
         appellant faults the prosecutor only for allegedly reserving
         the primary substance of her closing argument for .rebuttal,.
         purportedly denying him a fair chance to respond.
               We fi~cl no misconduct. A finding of prosecutorial
         misconduct "cannot be based on a prosecutor's remarks
        responsive to defense.counsel's argument, as long as those
        remarks.do not go beyond the record." (People v. Reyes
       (2016).246 Cal.App.4th 62,'~4 (Reyes), citing People v. Hill
       (1967)66 Cal.2d 536, X62.) As illustrated by our summary of
        the closing .arguments, the prosecutor presented a
        substantive initial argument, then focused on rebutting
        defense counsel's self-defense theory. The prosecutor did not
        deprive defense counsel of a fair chance to respond merely
        because she did not, in anticipation of defense counsel's
        argument, address the evidence discrediting it in the same
        level of detail in her initial argument as in her rebuttal
       (See Reyes, supra,. at pp. 73-74 [prosecutor did not
       "blindside" defense counsel, despite referencing victim's
        sexual orientation for first time on rebuttal, where reference
        was fair response to defense theory that victim consented to
       sex acts]; People v. Fernandez(2013) 216 Cal.~lpp.4th 540,




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       560, 563, 564(Fernandez)[defense not "sandbagged" by
       rebuttal argument on witness credibility where "vast
       majority" of rebuttal was fair response to defense theory that
       victims alleged sexual. abuse to seek attention].)
             Appellant principally relies on People v. Robinson
      (1995) 31 Cal.App.4th 494(Robinson), decided on.starkly
       different facts. There, the Court of Appeal found misconduct
       during closing arguments because the prosecutor gave a
      "perfunctory" initial argument (spanning only three-and-a-
       half.reporter transcript pages), followed by a rebuttal
       argument that was ten times longer (35 pages). (Id. at
      p. 505.j The court reversed an arson conviction not only
      because the prosecutor used this inappropriate rebuttal
      tactic, but also because the trial court erroneously excluded
      defense evidence, the prosecutor withheld evidence, and the
      prosecutor committed misconduct during cross-examination
      of a witness. (Id. at pp. 504-505.)
            Here, in contrast, the prosecutor presented an initial
      argument that was far from perfunctory, followed by a
      shorter rebuttal argument responsive to the defense. (See
      Reyes, supra, 246 Cal.App.4th at p. 74 [distinguishing
      Robinson on similar grounds]; Fernandez, supra, 216
      Ca1.App.4th at pp. 563-564 [same].) Moreover, appellant
      concedes he has alleged no cumulative misconduct like that
      on which the Robinson court relied. (See Reyes, supra, at
      pp. 74-75 [further distinguishing Robinson due to absence of
      cumulative misconduct].) In sum, defense counsel had a




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       tactical reason not to object to misconduct because there was
       none. (See Fernandez, supra, at p. 5F~.)                                   ~'
              Even had we found counsel's perforr~~ance deficient, we             ~'
       would find no prejudice. If defense counsel had convinced                  ~',
       the trial court that the prosecutor.. had- deprived him of a fair
       chance to respond, the likely and proper remedy would have
       been an opportunity for additional response. Yet appellant
       fails to identify any additional argument his counsel woulda
       should, or could have made, or to explain ho~v additional
       argument might have affected the outcome.in his favor.
       These failures are fatal to a showing of prejudice.




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                                DISPOSITION
             The judgment is affirmed.
             NOT TO BE PUBLISHED IN THE OFFICIAL
             REPORTS




                                              MANELLA,P. J.

       ~Ve concur:




       W'ILLHITE, J.




       COLLINS, J.




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         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

               SECOND APPELLATE DISTRICT,DNISION FOUR

       PEOPLE OF THE STATE OF CALIFORNIA,                )

             Plaintiff and Respondent,                  ) 2 Crim. B288428

             vs.                                        )
                                                          Los Angeles County
       _ MICHAEL CAMPBELL,                              ) Superior Court
                                                          No. BA442781
             Defendant and Appellant.                   )


                 APPEAL FROM THE JUDGMENT OF THE
             SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  FOR THE COUNTY OF LOS ANGELES

                   HONORABLE CURTIS B. RAPPE,JUDGE

                   APPELLANT'S REPLY BRIEF (~ M

             n%~ ~                       GAIL HARPER
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                                         State Bar No. 104510

                                         Attorney for Appellant
                                         by appointment of the Court of
                                         Appeal                         ~., ,~~
                                                                ~~~~~~ ~          .
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                                 INTRODUCTION

              Defendant and appellant Michael Campbell hereby replies to
        certain points made by respondent. Campbell believes that a further
        discussion of these points will be helpful to the Court in deciding the
        issues presented. Campbell's failure to discuss any particular point
        means only that he has concluded that no further discussion is
        necessary and should not be misconstrued as an abaMdonment,
        waiver, or concession.(People v. Hill(1992)3 Ca1.4th 959, 995,
       footnote 3).
                                   ARGUMENT
       I.    RESPONDENT OMITS MATERIAL FACTS FROM ITS
             STATEMENT OF THE FACTS

             A.       PROSECUTION CASE

                      1.   The Killing

             Respondent omits the fact that the Florence Hotel is a single
       resident occupancy("SRO")hotel located in the skid row area of
       downtown Los Angeles.(2RT 44-47,60,93-94,102.)
             Respondent distorts Wendell's testimony about what he heard
       during the incident.(RB 17.) Wendell testified he heard a bang and
      at the same time someone yelling "help" twice, but he could not tell
      if it was Campbell's voice yelling for help, or even whether the voice
      was male or female.(RB 17;2RT 49-50,53, 57.)
            Respondent omits Wendell's testimony that he told the

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                                                                            .
       security officers he had heard people fighting in Campbell's room
      (2RT 56.)
                    2.     Events Following the Killing
             Respondent omits the fact that, when Campbell left his room
       at 8:13 a.rn. on January 1, 2016,~e appeared to be wearing fhe same
       clothing from the night before.(2RT 112-115,128-129;3RT 299.)
             Respondent omits the facts that Denton's body was Lying
       supine on the floor of the ten foot by twelve foot room that
                                                                         er, two
       contained a small closet filled with c~o~hes, a twin bed, a dress
                                                                     fact
       tables, and a sink.(2RT 62-65,3RT 329.) Respondent omits the
       that the blood smear and spatter investigators observed on the
       dresser was on the drawers near Denton's head.(3RT 248.)
                                                                      ent to
       Respondent omits the fact that the_area of,the_beds~read adjac
                                                                          nt
       Demon's head was also soaked in blood.(3RT 258-259.). Responde
                                                                         were
       omits the facts that a bloody towel and -the bloody clothing iron
                                                                         (3RT
       on the bed among several items of clothing, boxes and blankets.
       255-256,_ 260-261, 294-297.)Respondent omits_ the facts that multiple
       blood smears were on the door and on a bag hanging from the
       interior door handle.(3RT 258.) Respondent omits the facts. that
                                                                     of that
       blood smears;spatter, and dried blood drips were on the side
       same dresser in the area adjacent to the front door.(3RT 257-258,
                                                                         d
       270, 272-276.)Respondent omits the fact that the stapler was foun
       on top of the dresser.(3RT 259,262-263,294-298.) Respondent omits
                                                                         , one
        the fact that them were cigarette butts in the.ashtray on a table

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         of which had Denton's DNA on it.(3RT 252-253,264,295, 297.)

               Respondent distorts neighbor Rose's testimony she believed
         the person killed in Campbell's room was Campbell himself, and
        that his girlfriend had killed him.l(2RT 89.) Rose stated in a
        recorded interview that she heard a female voice say "Give me some
        money," and Campbell's voice respond "I ain't got no goddamn
        money."(3RT 282.) She also reported hearing a female voice saying
        "Michael, oh, let me go. Let me go."(3RT 281.) She then said she
        heard Campbell say "No, you let me go."(3RT 281.)She also said she
        heard Campbell's voice say "Call the police" twice.(3RT 291.),

             .Respondent omits the coroner's testimony that there were
        bruises and abrasions on Denton's wrists and hands, which could

        have been either defensive or offensive wounds.(2RT 202-203, 308-

      _ 309.) Respondent also omits the coroner's testimony that he could
       not say definitively which of those injuries were inflicted before or
       after Denton died.(3RT 208-209.)

             Respondent omits the fact that Angel Dorsey's apartment is
       directly across the street from the Los Angeles Police Department's
       Central Police Station. (2RT
                               ~    141-142.) Respondent omits Dorsey's
       statement to the police that Dorsey let Campbell in because he
       looked like he needed help.(2R'F 143-144.) Respondent omits




       The prosecutor impeached Rose with her two felony drug
       convictions.(2RT 91.)

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                                                                   forehead.
       Dorsey's statement that she saw an injury to Campbell's
      (2RT 147-148.)
                                                                              ied
              Respondent omits the fact one of the arresting officers testif
                                                               attempt to
       that at the time of Campbell's arrest, Campbell did not
       flee.(3RT 179-18.0,182.)
             Respondent omits the facts that, after receiving his Miranda
                                                                     e.2 (1CT
       rights, Campbell provided a recorded.statement to the polic
                                                                 on,that he
       122-134;3RT 284-289.) Campbeii admitted he knew Dent
                                                                  X28-129.)
       and Denton had fought and that Denton was dead:(1CT
                                                               that."(3RT                 _
       When pressed for details, he said,"I got to be quiet on
                                                                 for murder,
       128.) He further stated, when told he was being arrested
                                                                      imony was
       that he was the only witness, and also stated that.his test
                                                                   ~la~ed for,the
       cr~ucia~.{31~T 129-1~1.}'the video of tl~e ~nterviev~r was_
       jury.(3RT 287.).
              Respondent omits the fact the prosecutor. presented no

       evidence of motive.
             6.      DEFENSE CASE
              Respondent omits Campbell's testimony that he had planned
                                                                  that he
        to go out alone to neighborhood bars on New Years Eve,and
        had been drinking during the day.(3RT 317,351-352, 372.)
                                                                  ht the
        Respondent omits Campbell's testimony that,.after he boug


        z
                                                                         284-
        The recording was played for the jury but not reported,(3RT
        289.)
                                            4
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~~

             items for Denton,Campbell started back to his place and Denton
             asked if~he could tag along.(3RT 320-321.) Respondent omits
             Campbell's testimony that, as he and Denton walked back- to his
             place, Campbell told him to slow down on his drinking.(3RT 323-
            324.)
                    Respondent omits Campbell's testimony he had known
            Denton for years and had previously loaned him clothing and a
            DVD player.(3RT 322-323, 350, 353.) Denton never took Campbell's
            things without permission, and always returned them.(3RT 323.)
            The two also. drank together.(3RT 350.)

                    Respondent omits Campbell's testimony that he ordinarily
            kept his cell phones on top of his dresser or his stereo.(3RT 327.)
            Respondent omits Campbell's testimony that, after Denton punched
            him and Campbell told him he was going to call the police, he could
           not get his phone away from Denton.(3RT 328.) Respondent omits
           the fact that -after Denton blocked the door and charged Campbell,
           bear-hugging him and slamming him to the ground -Denton was
           throwing body punches.(3RT 328-330.) Respondent omits
           Campbell's testimony he was surprised and terrified that Demon
           was not deterred by being stapled.(3RT 334.) Respondent also omits
           Campbell's testimony that by this point they had been fighting
           almost continuously for about ten minutes, while Denton repeatedly
           threatened to kill Campbell.(3RT 334-335.)
                 Respondent omits Campbell's testimony that, before Denton's

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                                                    hand, Denton had put                `.
       tank top ripped and came off in Campbell's
                                                     bell's ass again, and
       on a glove, saying he was going to whoop Camp
                                                   with his fists.(3RT
       was pounding on the walls and on Campbell
       336.) Campbell was desperate.(3RT 337.)
                                                                t the choke
              Respondent distorts Campbell's testimony abou
                                                         made Campbell feel
       hold(RB 25); respondent asserts the choke hold
                                                       hold was cutting off
       "dizzy", but Campbell also testified the choke
                                                     Campbell's testimony
       his air.(3RT 339, 357-358.)Respondent omits
                                                          fight, not just while
       that he also bit Denton at other times during.the
                                                            ever he could, not
       he was being choked, and that he bit~Denton wher
                                                          )Respondent omits
       just in the shoulder and neck -area.(3RT 359-360.
                                                        ing him with the cord
       Campbell's testimony that_ Denton started chok
                                                            ,_and _mat
        while Campbell v as drying to escape Qut t~~ dn~r
                                                       ss.(3RT 340-341,361-
        Campbell became not.. only dizzy, but breathle
                                                        that he was.scared at
        362.) Respondent omits Campbell's testimony
                                                         trying to kill him
                                    ;. that Denton was
        that point because.,he realized
                                                          ers under the cord
       (3RT 341), and that Campbell tried to get his fing
                                                             bell's testimony
        to loosen it.(3RT 341-342.) Respondent omits Camp
                                                           the iron while
        that at no time did Campbell strike Denton- with
                                                         and hit him with the
        facing him,,nor did he ever kneel over Denton
                                                      T 373-374.) Respondent
        iron while Denton was Lying on his back.(3R
                                                      ar by the door
        omits Campbell's testimony that the blood sme
        resulted from Denton blocking the door while wearing a bloody
                                   ;.
                                                     T     375.)
        shirt,.preventing.Campbellfrom escaping.(3R 374-

                                           6
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-~

                   Campbell crawled to the bed with the cord still wrapped
             around his neck,shoved some clothes aside, and passed or blacked
            out.(3RT 343,361,363, 377.) Before Campbell passed out, he heard
            Denton mumbling like a drunk person on the floor.(3RT 343.)
                  Respondent omits Campbell's testimony that, when he
            nudged Denton's leg and discovered he was dead, he panicked (3RT
            344,364), and he slid not wash up or change clothes.(3RT 364.)
                  Respondent omits Campbell's denial that he waited for
            Denton to die before leaving the room, or waiting so that Denton
            could not get medical treatment.(3RT 37b.) Campbell was afraid to
            call the police, as he was "tying to process" what had happened.
           (3RT 344-345.)
                 Respondent omits Campbell's testimony that during his
           interview with the police Campbell was not himself.(3RT 346.) He
           was hallucinating and very upset about Denton attacking him in his
           home.(3RT 346.) Denton attempted to kill him, and when Denton
           would not stop attacking him,Campbell tried to get him off of him,
           tried to get him out of his apartment, and tried to get others to call
           the police.(3RT 347.) When Campbell hit Denton with the iron, he
           felt he had no other options because he felt he was about to die.(3RT
           347,376.)
                C.      REBUTTAL
                Respondent notes that DetectiveSharman photographed the
          bloody tank top found in Campbell's room,and the top had no tears
                               J

                                             7
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                                                             imony that he
       in it(3RT 383-385); respondent omits Sharman's test
                                                            )
       did not photograph both sides of the shirt.(3RT 385.
       II.     FAILURE TO INSTRUCT THE JURY ON SUDDEN
               QUARREL, HEAT OF PASSION, PROVOCATION, AND
               VOLUN~'ARY MANSt..AUGHT~R REQUIRES
                                                        N
               REVERSAL OF CAMPBELL'S MURDER CONVICTIO

                                                                       ng to
              Respondent disagrees that the trial court erred by faili
                                                                       ion and
       instr uct the jury,on sudden quarrel, heat of passion, provocat
                                                                 es that even if
        voluntary. manslaughter.(RB 28-35.) Respondent argu
                                                               .) Respondent is      -
        the trial court erred, no prejudice resulted.(RB 36-40
        wrong.
                A.    Respondent Omits Material Facts.
                                                                        ngs
                Respondent omits the fact that there were no proceedi
                                                                        _.
                                                          37.)
        between February 16 and February 20.(1CT 136-1
                                                                      instruct
             Respondent omits the fact that the trial court agreed to
                                                                    dy objected
        the jury in the language of CALCRIM No.570 and nobo
                                                                                     _
        to it.(4RT 392.)
                B.    The People Forfeited the Argument That the
                      Evidence.Was_ Not Substantial Enough to
                      Support Giving CALCRIM No. 570 Because the
                      People Did Not Object~o the Instruction at Trial
                                                                              of
                The firial court agreed to instruct the jury- in the language
                                                                            ondent
        CAL    CRIM No.570 and nobody objected to it.(4RT 392.) Resp
                                                                  t giving
        agrees that even had defense counsel objected to the cour
                                                          sponte, to give the
        CALCRIM No.570, the trial court was bound,sua

                                             8
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     r~~


       .'            instruction,"whenever evidence that the defendant is guilt
                                                                                     y only of
                     the lesser offense is'substantial enough to merit considerat
                                                                                    ion' by
                     the jury."(RB ~ 29;People v. Braverman (1998) 19 Cal.4th 142,1
                                                                                     53
                    [superseded on another ground by amendment of §189 not relev
                                                                                             ant
                    here]; People v. Barton (1995) 12 Cal.4th 186, 190.)

                             Despite the fact that the trial court necessarily found there
                                                                                             was
                    substantial enough evidence of the lesser offense to merit
                    consideration by the jury when the trial court agreed to give
                    CALCRIM No.570,respondent now argues there was not.(RB
                                                                                          29-
                    35.) Respondent attempts to circumvent the facts(1)that -the trial
                   court found substantial evidence to support the instruction, and (2)

                   the People did not object to the instruction at trial on the basis that
                   there was not substantial evidence to support it; in fact, the Peopl
                                                                                           e
                   did not object at all. Respondent argues:

                         Appellant observes that the trial court originally
                         planned to give CALCRIM No.570, the instruction on
                        sudden quarrel or heat of passion voluntary
                         manslaughter FAOB 20;4RT 392), but for reasons not
                        indicated in the record the court remarked,"we
                        took that one out."(4RT 499.) Regardless of the rationale
                        for removing the instruction, however,there was~no
                        substantial evidence to support it in the first place.

                  (RB 32.)

                        The rules of forfeiture apply to both parties in criminal cases.
                  Where a district attorney acts as an agent and representative of the
                  state under the authority of the Attorney General, the People are

~_                                                     9
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                                                          ons or representations,
       ordinarily bound by any stipulations, concessi
                                                         ey General or the
       regardless of whether counsel was the Attorn
                                                    n (1996)17 Cal.4th 340, at
       district attorney.(See Pitts v. County ofKer
                                                      .App.3d 554,570.)For
       p.360;.. Bach v. County ofButte(1983)147 Cal
                                                     a trial court's omission of
       example, a prosecutor's failure`to object fo
                                                   conviction of possession
       a drug program fee upon the defendant's
                                                        e's claim of error on
       for sale of metharnphetamine waived the stat
                                                         d exception to fee
       appeal, where the applicable statute containe
                                                        inability to pay, and the
        requirement upon a finding of a defendant's
                                                       to have made such.a
       trial court was presumed,.on a silent record,
                                                      4th 1409, 1413.) The
       finding.(People v. Turner(2002)96 Ca1.App.
                                                       pondent raises now,and
       prosecutor did.not object on the ground.res
                                                  record, ~o have found
       the trial couxt was presumed, on a silen#
                                                 ruction.(Ibid.) Respondent,
       substantial evidence to support the inst
                                                    al.
        therefore, has forfeited this claim on appe
                                                                 dence Was
              C.     As the Trial Court Correctly Found,the Evi
                                                               ion
                     Sufficient to Support Giving the Instruct

                                                              n to instruct on
               Res ondent omits the rule.that the obli atio
                                                    s of the parties' requests or
        lesser included offenses applies.re~les
                                                      ignorance; or mistakes of
        objections, and thus prevents the strategy,
                                                    h an unwarranted
        either par , from presenting the iury wit
                                                       no harsher or more
        all-or-noth n,,,g_choice, encourages a verdict
                                                       the jury's
        lenient than the evidence merits, and protects
                                                Breverman, supra, 19 Ca1.4th
        truth-ascertainment function.(People v.

                                            10
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         142,154-155.)"Just as the prosecution has no legitimate inter
                                                                              est in
         obtaining a conviction of a greater offense than that estab
                                                                        lished by
         the evidence, a defendant has no right to an acquittal
                                                                    when that
         evidence is sufficient to establish a lesser included offen
                                                                     se."
        (Braverman,supra, at p.155.)
               Respondent also omits the rule that, in a murder prosecutio
                                                                                   n,
        the duty to instruct includes the obligation to instruct on
                                                                       every,
        s_ upportable theory of the lesser included offense of voluntar
                                                                            y
        manslaughter, not merely the theory or theoriesthat have
                                                                       ,the
        strongest evidentiary support,or upon which the defendan
                                                                         t has
        o~e_nl, relied. (People v. Braverman,supra, 19 Ca1.4th 142,
                                                                       155.)
              Respondent relies almost exclusively upon ~'eople v. Moye
       (2009)47 Ca1.4th 537[Hoye], claiming Moye is "analago
                                                             us"        to this
       case.(RB 29-40.)Respondent asserts -that here, as in Moye,
                                                                  "the
       defendant's'blow-by-blow recounting of events'in whic
                                                             h he          'took
       great pains...to justify each blow he landed'on the victi
                                                                       m as a
       defensive response to each of the victim's advances show
                                                                     ed that he
       acted with deliberation and reflection, and was'contrar
                                                               y       to a theory
      that he'subjectiveiy killed in the heat of passion.'(Id. at
                                                                    p. 554.)"(RB
      33.) Respondent claims that Campbell's"own testimony
      demonstrated that he did not act from passion, but rather
                                                                     in an
      attempt to defend himself against Demon's alleged attac
                                                                    ks," and as a
      result Campbell cannot claim he acted out of heat of passi
                                                                     on.
      Respondent apparently proposes a new rule that a defendan
                                                                        t in a

                                         11
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                                              both self-defense and heat of
       murder prosecution can never resent
                                         e they are, a ~~ordin~
       passion defenses to a jury, becaus
                                            h a rule would conflict with
       res~on`r IY1L1tLl~y eXCILlSive. Suc
       lon~-established ~ecedent.
                                                  307, and People v. Flannel
             People v. Wickersham (1982)32 Ca1.3d
                                         to respondent's argument. Both
      (1979)25 Ca1.3d 668,run contrary
                                           sua sponte duty rather than a
       Flannel and Wickersham addressed a
                                               Court e sfabli.shed that
       requested.instruction.In Flannel, the
                                              uce murder to voluntary
       unreasonable self defense could red
                                                  theory of,voluntary
       man~slaughter, This was acourt-created
                                          held only t11at heat of passion and
       manslaughter,in which.the court
                                             egate.malice. The. Court did not
       provocation.are .different ways to .n
                                          y are mutua.~l~ e~clus~ve.(People _v.
        address the question whether the
                                                .
        Flannel, supra, 25 CaI.3d 668,677-678.)
                                                  a sua sponte duty to
              In Wickersham, the Court addressed
                                                  defense claimed self defense, It
        instruct on-heat of passion where the
                                                provocation outside of the
        noted that there was no evidence of
                                               nts of perfect self defense and
        evidence that met all therequireme
                                                 passion would have been
        that sua sponte instruction on heat of
                                                  People v. Mitchell(1939} 14
         inappropriate.(Id., at pp.327-328.)In
                                             a voluntary manslaughter
         Ca1.2d 237, the defense requested
                                               it was not requixed because the
         instrucfiion, but the court held that
                                                  t. that he acted in the heat of
          defendant's.testimony did.not sugges
                                                   duct was an accident.(Id. at p.
          passion where he claimed that his con
                                            lz
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         241.) A similar finding was made in People v. Sincl
                                                               air(1988)64
         Ca1.App.4th 1012, where the defendant testified
                                                             .that he did not fire
         the fatal shot,even where there was evidence of
                                                             provocation by the
         victims.(Id. at pp.1016-1017.)

               The situation here is more like other cases wher
                                                                  e the
         California Supreme Court has recognized a rela
                                                            tionship between self
         defense and heat of passion. In People v. Chacon
                                                            (1968)69 Ca1.2d 765,
        the court noted a logical connection between self
                                                             defense and heat of
          assion,in a prosecution under Penal Code section
                                                               4500. The case.
        involved four prisoners involved in a fight on the
                                                              prison yard.
      Officers found three defendants stabbing a man whil
                                                         e others were
      holding him down. The defense argued that the
                                                     victim started the
      Band that there was .long-standing animosit
                                                    y among them. The
       fight was set off by the victim's making a sexual
                                                            advance, and
       attacking one of the defendants with a knife when
                                                              he resisted. Only
       then did the defendants draw their.knives.(Id., at 770-
                                                                 771.) The
       Court held:

             In a prosecution for murder the presence of sufficient
             provocation or heat of passion negates the existenc of
                                                                   e
             the requisite malice aforethought.(People v. Valentin
                                                                    e
            (1946)28 Ca1.2d 121,132.)In the usual case, this
            instruction supplements the self-defense instruction.
            Thus,in a prosecutionfor murder even though the
            defense of self-defense fails, as it might for excessive
            retaliation by the defendant, the jury might still find
                                                                     the
            original attack sufficient to constitute provocation,
            which would preclude a finding of malice aforethought

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                                                ter.
              and reduce the crime to manslaugh

                                                   765, at p. 781.)
      (People v. Chacon, supra, 69 Cal.2d
                                                             issue again in People v. St.
               The Supreme Court addressed the

           rti n (19 70)  1 Cal .3d 524 , ano  the  r section-4500 prosecution, Tlie
       Ma
                                                     thevictim and stabbed him when
       defendant was found in the cell of
                                                    ense was that when defendant
       guards tried to intervene.. The def
           rne   d tha t fhe vic tim wa  s try  ing  to recruit someone to kill him,he
       lea
                                                    blem. The victim pu.I.ied a knife and
       went to his cell to discuss th.e pro
                                                       d -that he did not remember what
       attacked him.The defendant claime
          ccu rre  d dur  ing the fig ht. {Id. , at 529-530.) There was no sua s~onte
       o
                                                     or which this court found required
        instruction on provocation, an err
                                                     the error to be prejudicial for the
       .reversal.(Id. at 530-- 532.) ~t foun:d
        following reasons:
                                                     on self-defense,-the
             Although the jury was instructed
                                                      s not show:that it
             jury's rejection of that defense doe
             w  oul d hav e a1.s o rej ected a claim of provocati
                                                                ~  ~ The
                                                                  on.
             -         :
                                                        f-defense is not
             jury was told that the- de~erise of sel
                                                     acked who renders.his
             operative in favor of a person att
                                                       ther injuries and
              assailant incapable of inflicting fur
                                                       the attacker. Cat.the
              thereafter inflicts further injury on
                                                     ony,the jury may have
              basis of Sergeant Wilson's testim
                                                      gh attacked initially,
              concluded that defendant, althou
                                                         able of{urther
              succeeded in rendering Carter'incap
                                                       awing he thereafter
              injuries but that instead of withdr
                                                          although defeating
              killed Carter, and - such a conclusion,
                                                         dispose of the cl
               the claim of self-defense, would not
               of pro
                   .~_voc..  on.
                         ati.~



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         (People v. St. Martin,supra, l Ca1.3d at 532.)

               The California Supreme Court in Breverman,supra, l9 Ca1.4
                                                                                   th
         142, made clear that the theories of voluntary manslaught
                                                                      er -
         imperfect self defense and heat of passion — are not necessarily
         inconsistent and at times should be given in the same case.
                                                                       (Id. at pp.
         159-160. In Braverman,the jury was instructed on unreasonab
                                                                          le self
         defense but not on heat of passion. This court found that
                                                                     there was a
        sua sponte duty to instruct on both theories. (Brez~erman,supra
                                                                         , l9
        Ca1.4th at 148-149.)

              Manslaughter based on a sudden quarrel or heat of passion
        has both a subjective and an objective component.(See Peopl
                                                                        e v.
        Moye(2009)4~ Ca1.4th 537, 549.) To satisfy the subjective comp
                                                                          onent,
        the defendant must have killed "while under'the actual influ
                                                                         ence of
        a strong passion' induced by[adequate] provocation." (Id. at
                                                                        p. 550.)
       As a result, "[i]f sufficient time has elapsed for one's passi
                                                                      ons to'co     ol
       off' and for judgment to be restored," malice is not negated.(Peop
                                                                               le
       v. Beltran (2013)56 Cal.4th 935,at p. 951.)"No specific type of
       provocation is required, and 'the passion aroused need not
                                                                      be anger
       or rage, but can be any "'"[v]iolent, intense, high-wrought or
       enthusiastic emotion"
                           ' "[citations] other than revenge.'"(Peop      le v.
       Lasko (2000)23 Ca1.4th 101,108.)

             Campbell testified that when he fought back against.Denton
      he was "scared".(3RT 341.) Campbell testified he was "surprised
                                                                               "
      and "terrified" that Denton was not deterred by his efforts
                                                                    to fight

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                                                      d that when he hit Denton with
       him off.(3RT 334.) Campbell testifie
             iron ,,he  felt he had  no   oth er opt ions because he felt he was about
       the
                                                   the two forms of self-defense upon
       to die.(3RT 347,376.} By rejecting
                                                      cluded that Campbell did not
       which it was instructed, the_jury con
                                                        inent danger.of death or great
       have an actual fear that he was to unm
                                                     ey(2013)13 Ca1.4th 935,1082.)
        bodily injury.(See People v. Humphr
                                                      ted upon which the jury could
        But substantial evidence was presen
                                                       ll was acting und_       actual
                                                                          er the~
        nonetheless have found that Campbe
                                                          dence included Campbell's
        influence of extreme emotion. This evi
                                                       ligerently once Campbell
        testimony that Denton had acted bel
                                                    cell phones; Campbell's testimony
        confronted hvn about his missing
                                                       ted _the fight and would not let
         that Denton was the one.who escala
                                                    ll's testimony that Denton,v~ho
         Campbell out of the room; Campbe
                                                       punched him, and when
         was much younger than Campbell,
                                                   to call the police, he could not get
         Campbell told him he was going
                                                           .) After Denton blocked the
          his phone away from Denton.(3RT 328
                                                         gging him and slamming him
          door and charged Campbell, bear-hu
                                                      ng body punches.(3RT 328-330.)
          to the ground,Denton was throwi
                                                        and terrified that Denton was
          Campbell testified he was surprised
                                                        334.).Denton repeatedly
          not deterred by being stapled.(3RT
                                                             5.) Although the jury was
          threatened to kill Campbell.(3RT 334-33
                                                        ted reasons for bludgeoning
           entitled to disbelieve Campbell's sta
                                                                                the
           De nto  n, it was  als o ent itled to rely on the other evidence in
         ~_ -
                                                       Denton spontaneously and under
           record to find that Campbell killed_

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         the influence of extreme emotion.,(Breverman, supra
                                                                 , l9 Cal.4th at p.
         163,fn. 10; see, e.g., People v. Logan (191   175 Cal. 45,46-47,50
        [defendant entitled to heat-of-passion instructio
                                                          n where evidence
        demonstrated victim's "physical superiority" and
                                                             defendant's "fear
                                                                            ~..
        that he was about to be subjected to a second humil
                                                              iating beating" at
        victim's hands];People v. Anderson (2006)141 Ca1.
                                                           A.pp.4th 430,443,
                [evidence that "fatal chokehold was motivated by ra
                                                                         eat
        the victim's unprovoked attack" sufficient to requi
                                                               re heat-of-passion
       instruction].~
                                                                                   _
              There was also substantial evidence presented to support
                                                                                  the
       objective component of heat of passion. To satisfy this comp
                                                                          onent,"'
      "the accused's heat of passion must be due to 'sufficien
                                                               t
       provocation.'"
                    ' "(Hoye,supra,47 Cal.4th at p. 549.) The victi          m must
       cause the provocation or the defendant must reasonably
                                                                       believe that
       the victim caused it. (Id. at pp. 549-550.:)"The provocat
                                                                  ive conduct
      by the victim maybe physical or verbal, but the conduct
                                                                       must be
      sufficiently provocative that it would cause an ordinary pers
                                                                           on of
      average disposition to act rashly or without due deliberati
                                                                        on and
      reflection."(Id. at p. 550; see Beltran, supra,56 C~al.4th at
                                                                      p. 949["the
      provocation must be one that would cause an emotion
                                                                  so intense
      that an ordinary person would simply xeact, without refle
                                                                        ction"         -
     (original italics)].) As the California Supreme Court has state
                                                                           d,in
     determining whether the conduct was adequately provocat
                                                                        ive, the
     question is whether it would cause an ordinary person
                                                           of aver         age

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                                          and notfrom judgment," not
       disposition "to react from passion
                                          ry person of average disposition
       whether it "would cause an ordina
                                          ,. supra, at pp. 938-939, original
       to kill"or attempt to kill.(Beltran
       italics.)
                                                   t for the jury whether the
             "Generally, it is a question of fac
                                               use the passions of the ordinarily
       circumstances were sufficient to aro
                                                ock(1996)46 Cal.App.4th 1688,
       reasonable person."(People v. Fenenb
                                             at pp. 950-951.) While it is true
       1705;see Beltran, supra,56 Cal.4th
                                            of adequate provocation if "the
       that a court may decide the issue
                                             sonable jurors could not differ on
       provocation is so slight ... that rea
                                                 supra,. at p.1705,47 Ca1.App.4th
        the issue of adequacy..." _(Fenenbock,
                                                    not so slight.that this Court
        1167C), the provocati
                           .~  on sh~,own here is
                                 '  of law,tha., t a reasonable~jt~r~-would haue
        can conclude, as a matter
                                              acted upon a sudden quarrel or in
        been unable to find that Campbell
        the heat of passion.,_
                                                     provocation in several
              The jury could have.found adequate
                                            have found it based on the
        ways. To begin with, the jury could
                                            treatment of Campbell.
        evidence presented of Denton's mis
                                             testified that Campbell and
        Campbell,Blassingame and Gibson
                                              that someone was yelling for
        Denton had a serious argument, and
                                               neighbor Rose, during the fight
        help. According to Campbell and his
                                            screamed for Rose to call the
        Campbell knocked on the wall and
         police.(3RT 291,338-339;347.)
                                                         te provocation based
                   The jury also could have found adequa

                                             18
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                 on Demon's belligerent and threatening behavior.
                                                                        As mentioned
                above,this evidence included testimony that Dent
                                                                       on became
                aggressive when confronted with Campbell's accu
                                                                       sation of theft,
                including engaging in a shouting match with Camp
                                                                       bell;testimony
                that Denton was the one who escalated the fight with
                                                                             Campbell;
                testimony that Denton was strangling Campbell imme
                                                                          diately before
                Campbell struck him with the fatal blows; and the neig
                                                                              hbors'
                testimony that they intervened before the argument
                                                                        ended by calling
               hotel security. In short, evidence of Demon's menaan
                                                                          g behavior was
               sufficient to permit a jury to conclude that a reasonab
                                                                       le pers       on in
               Campbell's position could have acted in the heat of pass
                                                                              ion.
                     Decisions in cases with similar facts support the conc
                                                                                    lusion
               that sufficient evidence of provocation was presente
                                                                        d. In Barton, the
               defendant was convicted of voluntary manslaughter
                                                                        and argued on
               appeal that the trial court erred by giving aheat-of-pas
                                                                             sion
              instruction over his objection.(Barton, supra, l2 Cal.4
                                                                        th at pp. 190,
              201.)The California Supreme Court disagreed, conc
                                                                       luding that
              "[t]he record conta.in[ed] substantial evidence,som
                                                                  e of    it offered by
              the prosecution and some by the defense," to support
                                                                         a
              heat-of-passion instruction.(Id. at p. 202.) That evid
                                                                    ence showed that
              shortly before the defendant shot the victim, the defe
                                                                       ndant's
              daughter had told him that the victim tried to run her
                                                                        car off the
             road and had spat on her car window.(Ibid.) The defe
                                                                        ndant and his
             daughter then confronted the victim, at which point the
                                                                             victim called

                                                19
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                                            ed"'berserk.'"(Ibid.) The
       the daughter a "'bitch'"and act
          fen dan t and th.e vic tim the n con fronted each other, with the victim
       de
                                                 d.) After the defendant asked his
       assuming a"'fighting stance.',"(Ibi
                                               tim tried to leave _in his car and the
       daughter to call the.police, the vic
                                                 going..(Ibid.) The victim
       defendant asked him -where he,was
                                                iness,' and taunted [the]
       "replied,'none of your fucking bus
                                                  you can keep me here?'"(Ib d.)
       defendant by saying,'Do you think
                                                 and swearing" and threatened to
       The defendant began "[sJcreaming
                                                 knife (although the evidence
        shoot if the victim did not drop his
                                                 actually had one).(Ibid.) Thus,
        conflicted as to whether the victim
                                                 son close #o ti1i.e.defendant was
        testimony was.presented that a per
                                                 endant :and _the victim _argued,
        threatened or disrespected,.the def
                                                when he-shot the. vices-.
        and the.defendantfelt threatened
                                                         .t that led.to a shooting,the
               In another case also involving a fi~~
                                                tion for second degree murder
         Court of Appeal reversed a convic
                                                     of-passion instruction. Peo le
         because the jury was not given aheat-
                                                    ,633.)In Thomas,the defendant
         v. Thomas(2013)218 Cal.App.4th 630
                                                  ument-with the victim and the
         engaged in a"'pretty heated'"arg
                                                       cked in the friends' car.(Id. at
         victim's friends after the defendant blo
                                                   that at least.one of the victim's
         pp. 634--635,645.) Witnesses agreed
                                                    ant.,jld. at pp.635,639,645.)
         friends punched and beat the defend
                                                      then went to his car and
          Witnesses testified that the defendant
                                                   seemed angry, and that the
          retrieved a gun,that the defendant
                                                   .{Id. at p. 645.) According to the
          defendant's father tried to calm him
                                               20
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                  defendant, the victim then approached and "lunged at him,
                                                                                  " making
                  the defendant believe the victim was trying to get the
                                                                           defendant's
                  gun.(Ibid.) The defendant testified that "[h]e fired beca
                                                                            use he was
                  afraid, nervous and not thinking clearly." (Ibid.)

                        Prosecution and defense witnesses in Thomas agreed that
                                                                                a
                 sudden quarrel preceded the shooting, and evidence was
                                                                              presented
                 that the defendant felt both angered and threatened
                                                                       by the victim.
                 And whereas the defendant in Thomas had some time
                                                                         to "'cool off'"
                 while,retrieving his gun and speaking with his father (Belt
                                                                             ran, supra       ,
                 56 Cal.4th at p.951}, Campbell killed Denton in the mids
                                                                          t   of their
                argument. Thus, the ev~.dence of provocation uz this case
                           _._.~.                                         is more
                compelling than it was in Thomas.

                       The circumstances here-Denton's disrespectful treatmen
                                                                                       t of
                Campbell, the sudden quarrel between the two men,and
                                                                             Denton's
                threatening behavior during the argument-also distinguis
                                                                                h this
                case from decisions holding that insults alone are insufficie
                                                                               nt to
                constitute adequate provocation.(See, e.g., People v. Enra
                                                                           ca (201 2)53
                Ca1.4th 735, 743-744,759[gang-related insults]; People v.
                                                                            Avila (2009)
               46 Cal.4th 680,706[same]; People v. Manriquez(2005)37 Ca1.4
                                                                                th 547,
               585-586 [victim repeatedly called defendant a"'mother fuck
                                                                          er'"
               and taunted him to use his weapon];People v. Lucas(1997)
                                                                       55
               Ca1.App.4th 721,739-740[smirking, taunting, and name-calli
                                                                                ng]; but
               see People v. McGowan (1986)182 Cal.App.3d 1, 15[heat-of-pa
                                                                                ssion
               instruction required where defendant confessed that "he beca
                                                                                 me

                                                 21
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                                         [an] obscene gesture at him" as he
      enraged" when his ex-wife "made
                                         n to shoot her].) While the
      drove by her home,prompting hu
                                        found adequate provocation might
      conclusion that a jury could have
                                         cursed or ins~ult ed Cam
                                                               ~  pbell,
      be different if Denton had merely                ~
                                                    ,
                                          on's statem ents to him and
       Campbell's testimony aboutrD
                                                ately before the killing.were
       Demon's threatening behavior immedi
                                           rec~uire the trial court to dive a
       sufficient under California Iaw to
                                           nte.
       heat-of-passion instruction sua spo
                                                  failing #o instruct the jury
              Therefore, the trial court erred by
                                        LCRIM No.570 because there was
       sua sponte in the language of CA
                                          sion.
       sufficient evidence of heat of pas
              D.      The Error Prejudiced Campbell
                                                  or was prejudicial, clauning
                Respondent disagrees that the err
                                              y would have accepted a heat of
        it is not reasonably probable the jur
                                               ll's self-defense theories based
        passion theory after rejecting Campbe
                                            Respondent is wrong.
        on the same evidence.(RB 36-40.)
                      1.    Standard .for Assessing Prejudice
                                                     e to instruct on a lesser
               Respondent disagrees that th.e failur
                                            ted under the federal
        included offense should be evalua
                                              pman v. California(196 386 U.S.
        constitutional error standard of Cha
                                              36-38.) Mr. Campbell
        18[87 S.Ct. 824,17 L.Ed.2d 705.(RB
                                               eme Court rejected his position
         understands that the. California Supr
                                              ting, and that this Court must
         in Braverman with one Justice dissen
                                                es, Inc. v. Superior Court(1962)
         abide by that decision(Auto Equity Sal

                                            22
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         57 Ca1.2d 450,455); however,he has raised the issu
                                                                e here in order to
         preserve it for federal review.
                      2.    The Prosecutor's Case for Malice, and
                            ~
                                                              ~~~~
                            Therefore For Murder, Was Weak;The Defense
                            Case for Sudden Quarrel and Heat- of Passion
                            Was Strong

              Respondent substantially fails to address Campbell's
                                                                           prejudice
        argument.(See AOB pp. 26-31.)Instead, respondent agai
                                                                        n relies
        exclusively upon Moye.(RB 36-40.) Respondent is wron
                                                                   g.
              Except in cases governed bythe
                                          _felon_v murder rule, a
        homicide is not a murder absent malice aforethought
                                                                , i.e., "the
       wanton disregard- for human life"])." (People v. Rios (200
                                                                   0} 23 Ca1.4th
       450,460.) Malice aforethought is negated as a matter of
                                                                   law where
       the homicide occurred "upon a sudden quarrel or heat
                                                                  of passion"
      (~j192{a)), i.e:, "if the killer's reason was actually obscured
                                                                        as the
       result of a strong passion aroused by a 'provocation'suffi
                                                                        cient to
       cause an"'ordinary [person] of average disposition ...
                                                                  to act rashly
      or without due deliberation and reflection, and from this pass
                                                                            ion
      rather than from judgment.'"[Citations.](People v. Braverma
                                                                  n,         supra,
      19 Cal. 4th 142,163.) Heat of passion may result from fear
                                                                        or terror
      as well as anger or jealousy._ (People v. Mitchell(1939) 14 Ca1.
                                                                         2d 237,
      252; People v. Logan (191 175 Ca1.45,49.)
            In deciding whether the provocation was sufficient, the finder
      of fact must consider whether a person of average dispositio
                                                                          n, in the
     same situation and knowing the same facts, would have
                                                           reacted

                                         23
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                                             nt.(CALCRIM No.570;People
      from passion rather than from judgme
                                          sequent~ly, the objective standard
      v. Logan, supra, 175 Ca145,49.) Con
                                            ughter compels examination of
      of heat-of-passion voluntary mansla
                                        --
       Campbell's si.tuation..
                                                  ll was under the stress of
               The evidence indicated that Campbe
                                                    #bought of as a trusted
       being   attacked suddenly by a person he had
                                          350,353.) Carn}~bell had invited
       friend or even a son.(3RT 322-323,
                                        some clothes so that they could go
       Denton into his room to lend him
                                           T 321-323.) Campbell believed
       out together on New Years Eve.(3R
                                               room he stole .two cell phones.
        that while Denton was in Campbell's
                                            d Denton about taking his cell
       (3RT 326-328.) Campbell confronte
                                                T 327-328,355.) Unexpectedly,
        phones and demanded them back.(3R
        Denton charged .him    and pun ched him u1 the forehead,then..bear-
                            .
                                               to the ground,.throwing body
         hugged.Campbell and slammed him
                                               angry, swearing at Campbell
         punches.(3RT 327-330.) Denton was
                                              pbell's "old ass".(3RT 329-330..)
         and saying he was.going to kick Cam
                                                       m under Denton and get
                Campbell was able to wriggle out fro
                                                 r, preventing Campbell from
         to his feet, but Denton blocked the doo
                                                 5.)Denton charged Campbell
         leaving the room..(3RT 330-331,374-37
                                             ng things at him.(3RT 331-332.)
        again, and Campbell started throwi
                                         pler from the dresser and hif Denton
        Campbell picked up a closed sta
                                            Denton's chest over Denton's tank
        with it, then opened it and stapled
                                            , laughed demonically, and said
        top,but Denton pulled out a staple
                                          T 332-336, 356.) Campbell was
        "Is that.aII you,got oid man?"(3R
                                                                                       -
                                           24
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                 surprised and terrified that Denton was not deterred.
                                                                      (3RT 334.)By
                 this point they had been fighting almost continuously
                                                                       for about ten
                 minutes, while Denton repeatedly threatened to kill Camp
                                                                          bell.(3RT
                 334-335.) According to Campbell and his neighbor Rose
                                                                        , during the
                 fight Campbell knocked on the wall and screamed for
                                                                         Rose to call
                 the police.(3RT 291,338-339;347.)

                      Denton rushed Campbell again and put him in a chok
                                                                                e hold .
                from behind, cutting off his air.(3RT 339, 357-358.) Camp
                                                                          bell bit
                Denton on his arm and elsewhere repeatedly to break
                                                                        his hold.(3RT
                340, 358-360.) Denton then picked up a clothing iron from
                                                                             the
                dresser, wrapped the cord around Campbell's neck,and
                                                                            choked him
                from behind until Campbell was dizzy and breathless
                                                                      .(3RT 340-341,
                361-362.)

                     Campbell had, at most, a few seconds and as little as a fract
                                                                                      ion
               of a second in which to react after Denton started strangling
                                                                               him.
               Rose heard what she believed was Campbell's voice comi
                                                                      ng       from his
               room,saying,"Call the police," in response to her knoc
                                                                       king on their
               common wall and asking.if he was okay.(2RT 77-78, 81-82
                                                                            , 92.)
               Neighbor Wendell heard the sounds of a fight in Camp
                                                                    bell's room,
               including a "bang" and someone yelling "help", but he
                                                                        could not tell
               whose voice it was.(2RT 49-50,53,56-5~.) Denton's bloo
                                                                     d alcohol
               level was.212-supporting an argument that Denton
                                                                    was so drunk
              that his inhibitions were gone and he was out of control

                    Finally, where "the People's own evidence suggests that
                                                                                the

                                               25
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                                               or in honest response to perceived
      killing may have been provoked
           ger " .th e Peo ple  mus t als o."pr ove beyond reasonable doubt that
      dan
                                                 vocation] were lacking.in order to
      [heat of passion and adequate pro
                                              -malice.[Citations.]" {People v. Rios,
       establish the murder,element of
                                                  (1975)421 U.S. 684, 704 Due
       supra, applying Mullaney v. Wilbur
                                                  ution to prove beyond a
       Process Clause requires the prosec
                                                    heat of passion on sudden
       reasonable doubt the absence of the
                                          is properly presented in a homicide
       provocatio  . ._ ._en the issue
                      n wh
                                                   bruises and abrasions on
       case." .) The coroner indicated the
                                                      e been offensive or defensive,
        Denton's hands and wrists could hav
                                                  -alcohol Level at the time he was
        and that Denton had a high blood
                                                  tographs.taken of Campbell's
        killed.(2RT 202-203,-308-309.) Pho
                                                 wed bruises, scrapes and scratches.
        body on the day of his arrest sho
            his- che st, bac k, arm s and   kne es. (3RT 293-294, 308-309,365-370.)
        on
                                                 or determined the injuries to
        Defense expert Dr. Ryan O'Conn
                                                   uries that were six days old —
        Campbell were consistent with inj
                                                    the fight with Denton.(3RT 309.)
        suggesting that they resulted from
                                                            g here. Why would
                 Evidence of intent to kill was lackin
                                                      ntial hotel room with.the
         Campbell invite Denton to his reside
                                                    e people all around,just outside
         intention of killing him? There wer
             doo  r .an d in the adj ace nt  roo ms;  discovery of the dead body was
         the
                                                       who rented the room was
         inevitable; the identity of the person
                                                      have to kill Denton? The
          known. What motive did Cm~bell
                                                     insinuation.that Campbell dad a
          prosecutor offered nothing but the

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    rte.
i


                    sexual interest in the younger Denton; without any
                                                                             evidence to
                    support it. This was a sudden and unexpected fight
                                                                            , and- at least one
                    of the combatants -Denton -was extremely intoxicate
                                                                                d
                          The prosecutor could not have disproved sudden
                                                                                    quarrel or
                   heat of passion here. There was evidence that Dent
                                                                            on, a much
                   ~oun~er man than- Campbell,suddenly and violently
                                                                     atta            cked
                   Campbell in his own home,swearinia          m,threatening to kill him,
                   and strangling him to the point of Campbell nearly
                                                                            passing out.
                   Under these circumstances, a reasonable juror. could
                                                                            infer that
                   Campbell was aroused to passion, and his reason was
                                                                              thus obscured,
                  by a provocation sufficient to produce such effects in
                                                                             a person of
                  average disposition. A rational jury could also find that
                                                                               the intense
                  and highly wrought emotions aroused by the initial
                                                                            threat had not
                  had time to cool or subside by the time Campbell seiz
                                                                             ed the iron -
                  whose cord Denton was strangling Cam bell with -the
                                                                               n struck
                  Denton with it unfit he stopped strangling Campbell
                                                                            .Fes,a jury
                 could disbelieve defendant's self-defense claim,and
                                                                            conclude,from
                 all of the evidence, that defendant killed intentionally,
                                                                             but while his
                 judgment was obscured due to passion aroused by suffi
                                                                               cient
                provocation -fear and terror at being attacked.[See
                                                                        5 Witkin &
                 Epstein, Cal. Criminal Law (2d ed.1989)~ 2936;1 Witk
                                                                      in       &Epstein,
                 Cal. Criminal Law (2d ed. 1988} ~ 511]; People v. Mitchell,
                                                                               supra, l4
                 Ca1.2d 237, 252; People v. Logan, supra, 175 Ca1.45,49.)

                       On these facts, the prosecutor could not pro_ ve beyo_nd
                                                                                      a

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                                                                                            ~;st;
                                               act pursuant to asudden
      reasonable doubt that Campbell did not
                                          e to instruct on this lesser
      quarrel or heat ofpa_gn.The failur
                                        :under any standard, and
      included offense was thus prejudici
                                            ed.
      Campbell's conviction must be revers
                                             D CONSIDER
       III.     INSTRUCTING THE JURY IT COUL
                                             OUSNESS OF GUILT
                CAMPBELL'S FLIGHT AS CONSCI
                                               EVIDENCE OF
                WHERE THERE WAS INSUFFICIENT
                                              ION'S BURDEN OF
                FLIGHT LESSENED THE PROSECUT
                                                 5th, 6t1~ AND 14th
                PROOF AND VIOLATED CAMPBELL'S
                AMENDMENT RIGHTS
                                                         the jury on flight as
                 Respondent disagrees that instructing
                                                     s federal constitutional
       con    sciousness of guilt violated Campbell'
       rights.(RB 40-53.) Respondent is wrong.
                                                    Appeal
              A. The Issue is Not. Forfeited on
                                                       :for def~n.s~ counsel's.
              Respondent argues the issue is forfeited
       failure to object.(RB 42-43.)
                                                        ef, _due process req
               As appellant argued in his opening bri
                                            the.right of the~ accused to "thy.
                            - mance fulfill
        that.counsel's_ perfor                        .
                                                      .
                                              attorney acting as his diligent
        reasonably competent assistance of an
                                            v. Ledesma(198 43 Cal.3d 171,
        and conscientious advocate."(People
        215;see AOB pp.33-~4.)
                                                       lure to object to the flight
               Respondent- asserts trial counsel's fai
                                                but fails to explain how that
         instruction was a "tactical decision",
                                             )
        "decision" was "tactical."(RB 51-52.
                                                       of ineffective assistance
                 Respondent also urges that the.issue
                                                         t of habeas corpus.(RB
         must    be brought by way of a petition for wri

                                               28
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                52-53.) Not so; respondent admits that if there simply coul
                                                                                 d be no
                satisfactory explanation for trial counsel's omission, then
                                                                               the error
                maybe raised on direct appeal.(RB 52.)

                       Respondent argues that it was not error for the trial cour
                                                                                        t to
                instruct the jury on evidence of flight as consciousness of
                                                                               guilt;
                therefore, trial counsel could not have rendered ineff
                                                                        ective
               assistance by failing to object to the instruction, as objec
                                                                           tion would
               have been futile.(RB 53.) As Campbell has demonstrated
                                                                               in his
               opening brief and demonstrates below, there was insufficie
                                                                                 nt .
               evidence to support-the prejudicial flight instruction, and trial
               counsel should have objected to the instruction on that grou
                                                                                 nd.
                     Therefore, this Court should find Campbell's claim of
               instructional error is not forfeited.
                     B.     The Trial Court Erred in Giving CALCRIM No. 372
                            Where the Record Showed Insufficient Evidence of
                            Flight

                     Before the court can instruct a jury it may draw a particular
              inference, evidence must appear in the record which, if
                                                                         believed by
              the jury, will support the suggested inference.(People v. Valde
                                                                                 z(2004)
              32 Cal.4th 73,137.) When a court fails to make that prelimin
                                                                                ary
             factual determination, it errs by passing a question of law
                                                                              to the jury.
             (People v. Hannon (197 19 Ca1.3d 588,597.)"Substantial evid
                                                                         ence" is
             required to support a flight instruction.(People v. Howard (200
                                                                                 8)42
             Ca1.4th 1000,1020;People v. Smithey(1999)20 ~a1:4th 936, 982.)



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                                                  Hannon,Howard or Smithey.
       Respondent fails to address Valdez,
                                                             of guilt" with evidence
               Respondent conflates "consciousness
                                                  ording to the California Supreme
       of flight. They are not the same. Acc
                                                  instruction where the defendant
       Court, it was wrong.to give a flight
                                                       oriin.g the deaths and with
       left fhe scene of the killings. without rep
                                                      e v. Crandall(1988)46 Ca1.3d
       the purpose of concealing them.(Peopl
                                                    unds in Pe~p,~e v. Crayton (2002)
       833,869-870[abrogated on other gro
                                                     Court held "although this
       28 Ca1.4th 346, 364-365.) The Crandall
                                                      sciousness of guilt, his leaving
        conduct supported an inference of con
                                                   evidence from which a jury
        was not flight in the absence of any
                                                    avoid being observed or
        could reasonably infer that he left to
                                                   So it was here.
        arrested." (People_ v. Crandall, supra.)
                                                                nt that flight is.not
                Respondent attacks Campbell'_ argume
                                                   immediately leave.his apartment
        established here because he.did not
                                                         the scene, and did-   not leave
         after killing Denton, did riot'run or flee                       y
                                                      ll has acknowledged in his
         his neighborhood.(RB 44-45.) Campbe
                                                    the physical act of running nor
         briefing that flight does not require
                                                     OB p. 35.) The question is
         the reaching of a far-away haven.(A
                                                        a jury.could reasonably infer
         whether there is evidence from which
                                                       observed or arrested.(People v.
         that the defendant left to avoid being
                                                     ["An instruction that permits the
          Carrington (2009)47 Ca1.4th 145,188
            ry to dra w  an inf ere nce of gui lt fro m particular facts is valid only if
         ju
                                                      n the fact proved and the fact
          there is a"rational connection betwee
                                                        Cal.3d 833,869-870.)
          inferred."]; People v. Crandall, supra,46

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                                 Respondent attempts to distinguish
                                                                         Crandell, supra, on its facts.
                          (RB 46.)In Crandell, says respondent,
                                                                  "the court found error in
                           giving the flight instruction because
                                                                 there was evidence the
                          defendant intended to refurn to dis
                                                               pose of the bodies and was
                          arrested while returning.(RB 46.) Wha
                                                                  t the Supreme Court actually
                          said was:
                                 Although defendant left the Pruett
                                                                       house without
                                 reporting the deaths of Ernest,and Edw
                                                                           ard and'with the
                                 purpose of concealing their deaths, an
                                                                          d although this
                                conduct supported an inference of
                                                                      consciousness of
                                guilt, his leaving was not flight in the
                                                                          absence of any
                                evidence from which a jury could reason
                                                                             ably infer that
                                he left to avoid being observed (his pre
                                                                           sence at the
                                house on the morning following the
                                                                       murders was
                               already known to Juan Salasar, amon
                                                                        g others) and he
                               did not expect the crimes to become kn
                                                                           own before his
                               intended return. He left to accomplis
                                                                        h specific tasks and
                               with the intent of returning to dispos
                                                                       e of the bodies.
                               There is no evidence he ever wavere
                                                                      d in this intent;
                              indeed,he was arrested while returning
                                                                            and less than a
                              block from the Pruett house. According
                                                                          ly, the
                              instruction on flight should not have
                                                                       been given.
                       (Id. at pp.869-870.)

                              Respondent notes that "video survei
                                                                     llance showed [Campbell]
                       leaving his apartment at 8:14 a.rn., soo
                                                                n after. he woke. up,and
                       walking faster than normal, and that
                                                               when Campbell left,"he locked
                       his apartr~ent door, thereby preventin
                                                                g someone from finding.
                       Denton's body."(RB 45.} Again, mere
                                                           con     cealment of a body does
                      not support giving an instruction on
                                                              flight.(Crandelt, supra, at p. 869.)
`~,,~
                                                         31
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                                                                                    icked"             ~,
                                                bell's statements that he "pan
      Respondent emphasizes Camp
                                                                                  tment and
             dis cov eri  ng De   nt  on  wa  s  dead on the floor of his apar
      after
                      ll "w  an  te   d to  ge t ou  t of th e apartment" and "was afraid
      that Campbe
                                                                                  o
                                               ice.".(RB 45.} Respondent als
      at that moment to call the pol
                                                                                     that
              si ze s  th e fac ts  tha  t Ca mp   bell did not notify the police
      empha
                                                                                          l
                     s  de ad  in  his   ap ar tm  en t, and that Campbell did not tel
      Denton wa
                                                                                   ain, these
                                                call the.police."(RB 45-46.) Ag
       his girlfriend he intended to
                                                                                 on.
           ts are ins uff ici  ent  to  su pp ort giving the flight instructi
       fac
                   e Cra nde  ll  Co  ur t  he ld  tha t "[f]light...require[s]...a
               Th
                                                                                    ndell,
                                                rved or arrested."(People v. Cra
        purpose to avoid being obse
                                                                                      lure to
              , 46 Ca1  .3d  83  3,  at p.  869  .) As in Crandell, Campbell's fai
       supra
                         ice  or   to  ad vi se   his gir lfr iend he intended to call is not
        notify the   pol
                                                                                  ~ his door is
                                              86~.) Ca~n~~~ell'~ act of Iockin
        evidence of flight:(Id. at p.
                                                                                        body;
             ev id en ce  of fli gh  t or  ev en   an attempt to conceal Denton's
        not
                                                                                   out of
                                               that Campbell Zocked his door
        the reasonable inference is
                                                                                       ving,
                                                  e doors to their homes upon lea
         habit, as most people lock th
                                                                                            e
                 wa  s ine vit  abl e  tha t De  nt  on 's body would be found becaus
         and it
                                                                                               o   Y
                     of  de at  h wo   ul  d eve  ntu all  y tip off the neighbors. It was als
         the smell
                                                                                        ll
                                                     would be connected to Campbe
         inevitable that Denton's body
                                                                                      ighbors
            ca us e th e ro  om   be  lo ng  ed  to Campbell and Campbell's ne
         be
                                                                                      rt,
               d th e  alt erc ati  on  be tw ee   n Denton and Campbell.In sho
          hear
                                                                                   th the
                                                  "observed" in connection wi
          Campbell had already been
                                                                                     could not
                                                    ent with Demon's body zn it
          killing, so leaving his apartm
                                                                                          ll's
                 be en  fog  th e  pu  rp os e  of  av oiding being observed. Campbe
          have

                                                    32
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~~               panic at realizing Denton was dead and his desire
                                                                       to get away from
                 the body also does not support an inference that his
                                                                         purpose in
                 leaving his room was to avoid being observed or arres
                                                                          ted. As
                 explained above, Campbell had already been observed
                                                                           ,so leaving
                 his room would not help him in that regard.
                      'There is also no substantial evidence to support the
                                                                            infe    rence
                that Campbell deparfed his room and the hotel to avoi
                                                                          d arrest.
                Res ondent fails to address the fact that Campbell
                                                                   wallced       the short
                distance to his ex-girlfriend's residence around the corn
                                                                           er from his
                place and immediately across the.street from a police
                                                                         station.(2RT
                141-142;3RT 145-146.) Campbell spent the better part
                                                                         of a week after
                the killing getting drunk and high, but he did not
                                                                     leave his
             neighborhood. (3RT 346,352, 364.) Respondent also
                                                                       omits the fact
             that he uniformed arresting officer testified that Camp
            T
                                                                        bell "did not
             attempt to flee"when taken into custody.(3RT X79-1
                                                                      80.) Hanging out
            for five days, drinking and taking drugs in the imme
                                                                      diate vicinity of
            a police station,in an area where Campbell presumab
                                                                       ly was known,
            and making no attempt to flee. when officers arrested
                                                                       him, does not
            support an inference that Campbell "fled" to avoid arres
                                                                          t.
                     Respondent attempts to distinguish People v. Watson (197
                                                                                   7)75
            Cal.App.3d 384, which.held a flight instruction should
                                                                        not be given
            where,for example,the evidence merely shows the defe
                                                                          ndant was
            arrested some time after the crime and miles away from
                                                                   the         scene,
           since such evidence,standing alone, does not support an
                                                                          inference of

                                               33
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                                               pondent conflates evidence of
       guilt.(Id. at p. 403.) Here, again, res
                                               of flight as consciousness of
       consciousness of guilt and evidence
                                             distinguishable because the
       gui.It: Respondent asserts Watson is
                                               ed only on the "mere fact of
       flight instruction in that case was bas
                                          later and miles away from the
       defendant's arrest nearly two days
                                            e evidence here showing
       crime scene" and .there was "far mor
                                           Campbeu has previously
       consciousness of guilt."(RB 47.) As
                                             support an inference that
       explained, the evidence here does not
                                          erved or arrested.
       Campbell "fled" to avoid being obs
                                                guish People v. Fremont
            Respondent also attempts to distin
                                           re the.court found error.in giving
      (1937)ZZ Ca1.App2d 292,300, whe
                                            was simply no evidence of flight.
       the flight instruction because there
                                              ate propo~~tion that_"[n~o
       (RB 47.) Campbell cued Fremontfor
                                                y unless.adapted to the
        .instruction should be given to the jur
                                             case."(See AOB pp. 39-40.) The
        evidence and a.rcumstances of the
                                               ction did not conform to that
        problem here is that the flight instru
        rule.3
                                                            truction was Div
                 For.the same reasons,. here the flight ins
                                                         s and staff at the hotel
        error    because Campbell did not flee. Tenant
                                               re the body was.(2RT 49, 76,
        knew Campbell lived in room 58, whe
                                             e when uniformed police officers
        94.) Campbell did not attempt to fle


                                               Pensinger(1991)52 CaI.3d 1210
         Respondent fails to address People v.
                                              dler(1979)24 Ca1.3d 671.(See
        (See AOB pp. 36-37), or People v. Sad
         AOB pp. 38-39.)
                                               34
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                 stopped and arrested him.(3RT 179-180, 182.) Thes
                                                                       e acts were
                 insufficient as a matter of law to constitute flight and
                                                                            to support an
                 inference of guilt.

                       Respondent fails to mention the trial court's violation of
                                                                                          the
                 duty not only to instruct on relevant principles of law,
                                                                             but also must
                "refrain from instructing on principles of law which
                                                                     not      only are
                irrelevant to the issues raised by the evidence but also
                i
                                                 1                          have the effect
                of confusing; the jury or relieving it from making findings
                                                                               on
                relevant issues."(People v. Saddler, supra, 24 Ca1.3d at 681.)

                      Respondent attempts to distinguish People v. Green (198
                                                                                      0)27
                Ca1.3d 1 on the basis that "the defendant there committe
                                                                              d the
                murder in a remote area at night, remained in his home

               surroundings for two weeks after the crime, contacted polic
                                                                                 e about
               the victim's movements on the day of the murder, and cont
                                                                                 inued to
               visit with friends as before."(RB 46-47.) Respondent contr
                                                                              asts
               Campbell's behavior:"appellant left the victim's body.in
                                                                              his
               residence, did not contact police, and disappeared for five
                                                                               days
               afterward."(RB 47.) As established above,the.facts that Camp
                                                                                    bell
               left Denton's body in his room and did not contact the
                                                                        pol_ ice ar not
              evidence of "flight". Respondent misrepresents the facts
                                                                       when
              stating that Campbell "disappeared for five days" after the
                                                                               killing.
              Campbell did not "disappear"- he was staying across the stree
                                                                                      t
              from the local police station during that period, and the
                                                                            police easily
              located him following a complaint that he was trespassing.
                                                                               The

                                                 35
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                                                  gnificant.
       distinctions respondent has drawn are insi
                                                    ce of flsei   ,the__ trial
             Accordingly, ~i~ninsufficient eviden
                                            No.3.72 instruction was error.
       court's decision to dive the CALCRIM
                                                 .the Trial - Court
             C. By Giving CALCRIM No.372,
                                                          Proof and
                    Lessened the Prosecution's Burden Of
                                                                ent Rights
                    Violated Campbell's 6th and 14th Amendm

                                                     lessened the
             Respondent denies that th.e trial court
                                                ed Campbell's 6~ and 14~'
       prosecutor's burden of proof and violat
       Amendment rights.(RB 49-51.)
                                                    s Campbell's
           Respondent substantially fails to addres
                                             argument previously rejected
        argument,instead dismissing it as an
                                             49-51.) Rather than repeat his
        by the California Supreme Court.(RB
                                                rt to pages 40-44 of his
        argument here, Campbell refers this Cou
                                                   here in order to preserve it
        opening brief. Campbell raises the issue
        for federal review.
                                                             s
               D.    Responden#Substantially Fails to Addres
                     Campbell's Prejudice Argument

                                                        ial, substantially
               Respondent denies the error was prejudic
                                               4(RB 48-49.)
        failing to address Campbell's argument.


        4
                                                port, and contrary to Silva,
        Respondent also argues,"[w]ithout sup
                                               Chapman harmless error
        [Campbell mistakenly asserts that the
                                                   process violations are
        standard applies here.(RB 48, fn. 9.) Due
                                                  ss beyond a reasonable
         reviewed for prejudice under the harmle
                                                 (1967)386 U.S. 18, 24.(People
         doubt standard in Chapman v. California
                                                    , citing People v. Boyette
         v. Albarran (200 149 Cal.App.4th 214, 229
                                             36
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                      Respondent points to the language of the
                                                                     flight instruction
               itself and the fact that the jury was furt
                                                          her   instructed that some of
               the instructions maybe inapplicable dep
                                                           ending on the jury's factual
               findings, and to only follow the instruct
                                                         ions    "that do apply to the
              facts as you find.them."(RB 48-49.)
                     Respondentignores the fact ghat the flig
                                                              ht inst    ruction figured
              in the prosecutor's closing argument.(4R
                                                           T 405.) Respondent also
              ignores the fact that, while Campbell's con
                                                            duct, though not
              constituting flight, might be seen as manifest
                                                                 ing consciousness of
              guilt, the nature of the homicide was that
                                                           it could have been treated
             as anon-criminal act(self-defense), or as a
                                                         kill     ing on a spectrum of
             culpability (murder or manslaughter). Res
                                                       ponden        t also ignores the
             fact that the prosecutor overreached by cha
                                                            r~in~ Campbell with first
             degree murder. It is reasonably probable
                                                         a verdict more favorable to
             defendant would have resulted had the inst
                                                            ruction not been given.
                   Respondent fails to address appellant's arg
                                                               ument       tha#
            Campbell's jury was never instructed it could
                                                          consider        an absence of
            flight as an indication of innocence. To the cont
                                                                 rary, the flight
            instruction allowed the jury to infer from Cam
                                                            pbell's walking away
            from his residence - an act that was insuffic
                                                           ient as a matter of law to
            constitute flight- that he was conscious of guil
                                                             t, and    therefore was
           guilty of the charged offense.



          (2002)29 Cal .4th 381,428;see AOB p.44.)

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                                                        even under the "more likely               ~_
             The judgment must be reversed,
                                               error.(People v. Watson (1956)46
      than not" standard for state law
              8~. 8, 836 .) Thi s  sta nda rd req uir es Campbell to show only that
      Ca1.2d
                                               court undermines confidence in the
      the error.committed by.the trial
                                                                                        a
                                               Supreme Court's affirmation that
      verdict. Respondent ignores the                                           .,
                                            doe s not  mean   mo re lik ely tha n not, but
      "'proba bil  ity ' in thi s con tex t
                                                  tk~an an abstract possibility."
       merely a reasonable chance, more
                                                                                        ing
                                               Court(1994)8 Cal.4th 704, 715, cit
      (College Hospital, Inc. v. Superior
                                                 818,837, and Strickland v.
       People v. Watson, supra,46 Ca12d
                                                   -694,697,698.)
       Washington (1984)466 U.S. 688,693
                                                           gument it is,reas,onably
              Resn~ndent ignores Campbell's ar
                                                er and unsupported flight
       probable that absent the improp
                                                  ve cQnv~cted h_im of murder,.as the
       instru~~ion, ~Ehe ~ur~ wou-1-~ moo# ha
                                                                                          B
                                                 ng of mali_'ce (Sep discussion at AO
       evidence did not support a findi
               26-  31. ) Th e2 ur y acq uit ted Ca mp bell of firt de~re~e_m_der,
        pages
                                                      murder, where the evidence
        but convicted him of second de~re
                                           ughter conviction.
        supported, at most, a mansla
                                                         ersed.
                Campbell's conviction.must be rev




                                                  38
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   `~            IV.     RESPONDENT SUBSTANTIALLY FAI
                                                       LS TO ADDRESS
                         CAMPBELL'S ARGUMENT THAT HE
                                                       WAS DEPRIVED OF
                         HIS S{XTH AMENDMENT RIGHT TO
                                                      THE EFFECTIVE
                        ASSISTANCE OF COUNSEL BECA
                                                    USE TRIAL COUNSEL
                        FAILED TO REQUEST AN INSTRUCTI
                                                       ON ON
                        "EARWITNESS" IDENTIFIGaTfON

                        Respondent disagrees that Campbell'
                                                                s counsel was ineffective
                for failing to request an instruction
                                                        on "earwitness" identification
                because respondent contends any suc
                                                          h instruction would have been
                duplicative of the instruction the cou
                                                        rt gave on how to evaluate the
                credibility of witness testimonies.(RB
                                                          54-60.) Respondent is wrong,
                and substantially fails to address Cam
                                                       pbe  ll's argument.
                       A.    Respondent Omits the Facts
                       The only percipient witnesses to the
                                                            kill ing were Campbell's
               neighbors, Wendell and Rose. They wer
                                                           e not eyewitnesses, but
              "earwitnesses." Both testified to hearin
                                                          g the sounds of a violent fight
               coming from Campbell's room.(2RT
                                                        44-49,51,53-55, 75-79,95-96.)
               Wendell testified he heard a bang and
                                                     at    the same time someone
               yelling "help" twice, but he could not
                                                        tell if it was Campbell's voice
              yelling for help, or even whether the
                                                      voice was male or female.(2RT
              49-50, 53,57.) Rose also heard a voi
                                                   ce com  ing from Campbell's room,
              but she believed it was Campbell's voi
                                                        ce saying,"Call the police," in
              response to her knocking on their co
                                                   mm    on wall and asking if he was
              okay.(2RT 77-78,81-82, 92.}

                   Rise also testified that before the bod
                                                             y was identified as
             Denton, she believed the person killed
                                                    in    Campbell's room was

                                               39
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                                                                              89;
                                             girlfriend had killed him.(2RT
      Campbell himself, and that his
                                                                            heard a
       RT 283 .) Ro se  sta  ted in a  rec orded police interview that she
      3
            e voi ce sa  y ''G ive me   so me  money," and Campbell's voice
      femal
                   ain 't go t no  go dd  am n  mo ne y." (3RT 280.282.)She.also
      respond "I
                                                                           gv. Let
                                            ce saying "Michael,oh, let me
      reported hearing a female voi
                                                                               go."
              " Sh e th en  sai d sh e he ar d Campbell say "No,tau let me
       me go.
                    1.)  Sh e als o sai d sh e he ar d Campbell's voice say "Call the
      (3RT 280-28
       police" twice.(3RT 291.)
                                                                              unit
                                              nged on the wall between his.
             Campbell testified that he ba
                                                                             -339,
               e's uni t and sc re am ed for her to call the police.(3RT 338
       and Ros

       347.)
                                                     jury that as Denton was
              Defense counsel argued to the
                                                                                    .
               ing.Ca mpb ell  , Ca mp be  ll yel led."Call the police" and "help"
        attack
                                                                                ice
                                             gued,"You don't yell for the pol
       (4RT 423,426,432.)He also ar
                                                                             en you
                                            one.You yell for,the police wh
        when you're murdering some
                                                                                    get
              hel p, and it' s yo ur lif e or so meone else's, when you need to
        need
                                                                               ice."
                                             you will call "Help, ca11 the pol
        out of a situation desperately
       (4RT 437.)
                                                believed at the time the police
                The prosecutor argued Rose
                                    ll was        dead at the hands of his ~~
        interviewed her that Campbe
                                       that everyt      hing Rose said to the police
         girlfriend, Angel Dorsey, and
                                                                              ar
                                          ief."(4RT 402.) Rose did not he
         was "filtered through.that bel
                                                                             r
              ne sa y "he lp" , bu t Wend el l did.(4RT 403.) The prosecuto
         anyo
                   ed  Ros e's  sta tem ent to the police that she heard a female
         emphasiz

                                                40
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              voice saying "Michael,oh,let me go. Let me go," and Camp
                                                                          bell say
              "No,you let me go." (4RT 403.)
                   B.     Trial Counsel Was Ineffective For Failing to 1Zequest
                                                                                a
                          Modified Version of CALCRIM No.315 or Other
                          Appropriate Instruction to Assist the Jury in
                          Evaluating the "Earwitness" Testimony Presented by
                          The Prosecutor

                         1.    Trial Counsel Failed to Request a Necessary
                               Earwitness Identification Instruction To Help
                               The Jury Assess Rose's Crucial Testimony That
                               She Heard Campbell Yelling for Her to Call The
                               Police; The Instruction Would No# Have Been
                               Duplicative

                  The prosecutor presented two witnesses to the events
                                                                            that
            transpired in Campbell's room —neighbors Wendell
                                                                 and Rose.
            Neither of them saw what happened,but both of them
                                                                   heard the
           sounds of a fight and someone in Campbell's room
                                                            yelli     ng for help
           and to call the police. They were,in effect,"earwitnesse
                                                                    s".
                 Respondent omits the prosecutor's argument to the jury that
                                                                                   it
           was not Campbell who was yelling for help, but Dent
                                                                 on, and the
           prosecutor's suggestion that Campbell had engaged in
                                                                   a .species of
           torture murder:

                        By the way,"Call the police."

                      There are many different ways that you can
                surmise what that meant. Was that a taunt from the
                defendant to [Denton],"call the police", as he laid there
                disabled?


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                                                            suggest that
                      The physical evidence would tend to
               as the reasonable conclusion.

      (4RT 450.)
                                                    ense used the earwitn.ess
             Respondent omits the fact.that the def
                                                  nse that Campbell was
       testimony fo argue in support~of self-defe
                                                   Denton was attacking him
       yelling "help" and "call the police" as
                                                 -4~3,437.) Thus,the
       with deadly force. ~4RT 423,426,432
                                                 aker was crucial to the defense
       identification of Campbell as the spe
                                               onal assistance in making a
       case, and the jury needed instructi
                                                Rose,in particular, heard. There
       determination as to what or whom
                                                  for failure to request the,
       could be no satisfactory explanation
                                                    Campbell as the one who was
       instruction, as Rose's identification of
                          _ _____ __                                    ense.
         ellin "call the pol   ice".was at the core of Campbell's def
                                                                      on
                           (a) An "Earwitness" Identificati
                                     Instruction Would Not Be Any More
                                     "Duplicative" of CALCRIM No.226
                                     Phan is CALCRIM No.315 [Eyewitness
                                     Identification Factors]

                                                      dent incorrectly asserts an
                Citing no relevant authority, respon
                                                on factors would be duplicative
        instruction on earwitness identificati
                                                factors jurors should use in
        of CALCRIM 226, which sets out the
                                                  ch was given in this case.(RB
        evaluating witness credibility, and whi
                                                find a single case holding that,
        56-59.) Campbell has been unable to
                                                   ness identification instruction,
         u~. the analogous situ.aiion of an eyewit


                                            42
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               CALCRIM No.315 would be duplicative of CALCRIM
                                                                          No. 226.5
                     "A trial court is not obliged to condense the required
               explanation of a legal rule or concept in a single instructio
                                                                             n; a charge
              is not erroneous or prejudicial sunply because a requi
                                                                       red
              explanation is given in fwo instructions rather than one.
                                                                          [Citation.]"
             (People v. Felix (2008) 160 Ca1.App.4th 849, at p. 858, citin
                                                                           g People v.
             Lewis (2001)25 Cal.4th 610, 649.) The Felix Court was
                                                                      not addressing
              the issue raised here, but in discussing whether CALCRI
                                                                          M No.315
              improperly limited the factors the jury could consider in
                                                                          evaluating
              eyewitness testimony, that Court pointed out:

                     Aside from CALCRIM No.315,the jury also received
                    CALCRIM No. 226, which states in pertinent part:"In
                    evaluating a witness's testimony, vo,~u m_,,,ay consider
                    an,ythind that reasonably tends to drove or disprove the
                    truth or accuracy of that testimon _." (Italics added.)
                                                                                           '
                    Because CALCRIM No.315 advised the.jury to evaluate
                    an eyewitness as it would "any other witness,"
                    CALCRIM No.315 did not oblige the jury to disregard
                   factors not listed in the instruction. Reasonably viewed,
                   CALCRIlVI No.315 directed the jurors' attention to the
                   listed factors, but permitted them to consider other
                   factors.



            Respondent cites People v. Canizalez(2011)197 Ca1.App.832,
                                                                             857 and
            People v. Gonzales(2011)54 Cal.4th 1234,1276,for the propo
                                                                          sition
            that an "earwitness" identification instruction would have
                                                                          been
            duplicative in this case because the trial court instructed
                                                                        the jury in
            the language of CALCRIM No.22b. Neither case addresse
                                                                         s the
            question whether an eyewitness or earwitness instruction woul
                                                                               d be
            duplicative of CALCRIM No.226, so they are not instructiv
                                                                           e here.
                                              43
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                                               x Court did not perceive any
       (Felix, supra, at pp.858-859.) The Feli
                                             y is instructed in the language of
       problem of duplication where a jur
                                             RIM No. 226; rather;the Court
       both CALCRIM No.315 and CALC
                                               h other,just as an earwitness
       found the instructions enhanced eac
                                             of CALCRIM No.315 -would
        instruction - or a modified version
       have enhanced CALCRIM No.226.6
                                                 ch is the rule that an
             Respondent ignores the obvious, whi
                                               ness identification to reasonable
       analogous instruction relating eyewit
                                            ing any relevant "pinpoint"
       doubf(CALCRIlVI No.315),includ
                                                rt on request "[w]hen an
       factors, must be given by the trial cou
                                            fendant is a key element of the
       eyewitness identification of the.de
                                                 ally corroborated.by evidence
       prosecution-s case but is not substanti
                                                ople v. Wright(198$)45 Cal.3d
       giving it independent reliability."(Pe
                                                  onatd(1984)37 Ca1.3d 351,
        1126,1143-1144, quoting People v. McD
                                              People v. Mendoza(2000)23
       377, overruled on other grounds in
                                              94)7 Ca1.4th 1075,1110; People v.
        Cal.4th 896, 914; People v. Fudge {19
                                               [error to refuse defendant's
        Palmer(1984)154 Cal.App.3d 79,89
                                                testimony].) Respondent fails to
        requested instruction on eyewitness



                                                .4th 208, 253-254, respondent
         Citing People v. Harrison (2005)35 Ca1
                                               d that CALCRIM No.226 was
         argues"[Campbell] does not conten
                                                 makes no sense. The issue here
         inadequate."(RB 58.) This argument                                r
         is not the inadequac of    CALCRIM No.226. The issue is whethe
                                --_
                                                ction on earwitness
         Campbell required a,point instru
                                                  tructions     .
         identifications in addition to other ins
                                            44
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         address any of the authorities Campbell cited in conn
                                                                   ection with
         eyewitness identifications.

                Where there is earwitness testimony and a conflict
                                                                        as to the
        identity of the speaker,jurors should be given som
                                                                 e guidance on
        how to determine whether a voice identification
                                                            is reliable.(See
        People v. Wright, supra,45 Ca1.3d 1126,1138-1139
                                                         ["mo      del instruction,
        with appropriate modifications to take into account
                                                                 the evidence
       presented at trial, will usually provide sufficient guid
                                                               ance on
       eyewitness identification factors."J.)

              Campbell was prosecuted for murder based in part on
                                                                           the
       earwitness identifications made by Wendell and Rose
                                                          . Because           the
       parties disagreed on the identi , of the person ,~ellin~
                                                                  "call the
       police" and "help" during the fight, it follows that Camp
                                                                      bell was
       entitled to an instruction on factors to be considered
                                                                 in evaluating
       the reliabili   of earwitness identifi lion testimon ,iust as he woul
                                                                             d_
      have been entitled to a jury instruction on eyewitne
                                                             ss identification,
      had this case depended on it. It was trial counsel's duty
                                                                    to request
      such an instruction, y_et he failed to do it. Because an
                                                                 "earwitness"
      instruction would not have been du licative and Camp
                                                                  bell was
      entitled to it, trial counsel rendered ineffective assistance
                                                                    . (Strickland
      v. Washington,supra,466 U.S. 668, 687.)




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                                                                  y of
                          (b)    Respondent Fails to Address An
                                                                y an
                                 Campbell's Argument as to Wh
                                                                  ction
                                 Earwitness Identification Instru
                                 Ways Necessary

                                                  ered a discussion of the
             In his opening brief, Campbell.off
                                           ness identification factors.(See
       necessity for instruction on earwit
                                        resses none of it.
       AOB pp. 54-58.) Respondent add
                                                 n here, Campbell refers this
             Rather than repeat that discussio
                                       ning brief.
       Court to pages 54-58 of his ope
                                                         ty that a More
                   2.    There is a Reasonable Probabili
                                                          en Obtained in
                         Favorable Result Would Have Be
                                                          e to Request the
                         The Absence of Counsel's Failur
                         Instruction

                                                 able probability that a
             Respondent denies there is a reason
                                        e been obtained in the absence of
        more favorable result would hav
        counsel's failure. (RB 59-60.)
                                                     nce of Campbell's prejudice
              Instead of addressing the substa
                                               its argument that a pinpoint
        argument,respondent reiterates
                                              plicative" and calls Campbell's
        instruction would have been "du
            um en t "sp ecu lat ive ".(R B 59. ) Rather than repeat his argument
        arg
                                                   pages 58 through 59 of his
        here, Campbell refers thus Court to
        opening brief.




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        V.      PROSECUTORIAL MISCONDUCT DURING CLOSING
                ARGUMENT DENIED CAMPBELL HIS CONSTITUTIONAL
                RIGHTS TO DUE PROCESS AND A FAIR TRIAL, AND
                DEFENSE COUNSEL'S FAILURE TO OBJECT DENIED HIM
                EFFECTIVE ASSISTANCE OF COUNSEL

               Respondent disagrees that Campbell was denied his federal
       constitutional rights when the prosecutor engaged in misconduct
       during closing argument and defense counsel failed to object.(RB
       60-75.) Respondent also argues that the issue is forfeited because
       trial counsel failed to object.(RB 61,66-67.) Respondent is wrong.
               A.    Respondent Onuts Some of the Relevant Proceedings
               Respondent omits some of the relevant proceedings.(RB 61-
       66.)

                     1.    Prosecutor's Opening Argument
              Respondent omits the following details the prosecutor
      presented in opening argument: Dorsey saw no injuries on Campbell
     (4RT 407); Campbell showed consciousness of guilt by making false
      and misleading statements to the police about where he lived (4RT
      409-410); and Campbell was guilty because he told the police, when
      asked what happened to Denton,"I got to be quiet about that" and
     "I am the only witness."(4RT 410-411.)
              Respondent omits some of the prosecutor's argument as to
      why the jury should find first-degree murder:(1) Campbell could
     not give a reasonable explanation for how Denton ended up bare
     chested(4RT 417);(2)Denton had bite marks on the upper part of


                                       47
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                                                   l heard noises of a fight
       his body(4RT 417-418);(3)neighbor_.Wendel
                                                  knocked on the door the
       going on for 30 minutes, but when security
                                                  ked the door before
       room was silent(4RT 418};(4)Campbell doc
                                                  ting consciousness of guilt
       Zeaving Denton's body in his room,sugges
                                                  his room after that,.also
      (4RT 418);(7)Campbell never returned to
                                                    ;(8)Campbell went to
       suggesting consciousnes_ s,of guilt(4RT 418)
                                                     ness of guilt(4RT 418);
       Angel Dorsey's house,suggesting conscious
                                                  the police, suggesting
       (9)Campbell did not report ~.he killing to
                                                       pbell told the police
        consciousness of guilt(4RT 4~8); and (10)Cam
        he was the only.witness.(4RT 418.)
                    2.    Defense Closing Argument
                                                        ing. Defense
              Respondent omits some of the defense clos
                                                          ted Denton to go
        couns el argued that Campbell's #est~nony he invi
                                                     and went through his
        out to the clubs with him for New Year's Eve
                                                       supported by the
        closet for some clothes for Denton to wear was
                                                     s bed.(4RT 421.) When
        array of clothes found Laid out on Campbell'
                                                  sing, he confronted
        Campbell noticed his cell phones were mis
                                                   ) Denton picked
        Denton, and Denton attacked him.(4RT 422.
                                                    T 422.) Campbell was
        Campbell,up and threw him to the.:floor.(4R
                                                  door while struggling_
        trapped in his room and tried to reach~he
                                                   ar on the door.(4RT 422.)
        wi~.h Denton, accounting for the blood sme
                                                               tried to throw
               Campbell grabbed Denton from behind and
                                                          (4RT'422.) Campbell
         him,ripping Demon's tank top in the process.
                                                       dence, and fihat the
         noted that the tank top itself was not in evi

                                           48
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f'~




      ~            prosecutor relied on photographs of the fron
                                                                  t of the top so the jury
                   could not examine it for the damage Campbell
                                                                       described.(4RT 422.)
                   Photographs of the room indicated Campbell
                                                              thre         w everything he
                   had at Denton in a desperate attempt.to stop
                                                                    the attack.(4RT 422.}
                          When Denton got Campbell in a choke hold,
                                                                           Campbell bit
                   him; but Denton taunted him and then stra
                                                                ngled him with the cord
                  of an electric iron.(4RT 423.} At that point Cam
                                                                    pbell yelled for Rose
                  to call the police as he swung wildly at Denton
                                                                       with the iron, killing
                  him.(4RT 423-424.)

                         After discussing the jury instructions on homi
                                                                           cide and burden
                 ~of proof(4RT 424-430), defense counsel asked
                                                                    the jury to examine
                  the prosecutor's theory that Campbell invited
                                                                  Denton back to his
                 room in order to murder him.(4RT 431.) Afte
                                                                 r 30 minutes of fight
                 noises, someone said,"Call the police," but the
                 ~
                 .~rr
                                                        w
                                                                 pros     ecutor wanted
                 the jury to ignore the struggle and all of the othe
                                                                     r sounds Wendell
                 and Rose heard.(4RT 431.) Campbell neither
                                                                 hid the body nor
                 attempted to scrub down his room, but instead
                                                                    went to his
                 girlfriend's house and stayed there for-five or
                                                                 six   days.(4RT 431.)
                Defense counsel argued the prosecutor's theo
                                                             ry mad       e no sense.(4RT
                431.)

                        Both Wendell and Rose testified they heard a fight
                                                                              .(4RT 432.)
                After 20 to 25 minutes of fight noises, Rose hear
                                                                  d Campbell's voice
                saying,"Call the police", and she went to Wend
                                                                ell's room and asked
                him to call.(4RT 432.) The prosecutor wanted
                                                                the jury to believe that

                                                  49
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                ll mu rd  er ed De  nt on   an  d  the n.asked Rose to call the police.
       Campbe
                                                e11 was~ll  veu~,~ out of desperation
      (4RT 432-433.} In reali Caxn~b
                                               ~him.(4RT 433.) _
       because Denton was atfacku~.
                    ens e cow nse l.st ate  d the  pro  sec  utor would argue in rebuttal
               Def
                                                                                         er
                                                    grandmother, but fhe grandmoth
       about how Denton lived with his
                                                                                       not
           s in Ven  tur a an d ha  d not   hea  rd.from Denton in days,.but did
       wa
              mis sin g  per son rep  ort . (4  RT  433  .) Denton went to Los Angeles
       file a
                                                   it his father on skid row, but to
        not just because he wanted to vis
                                                  .(4RT 433.)
       "hang out" in fhe neighborhood
                                                           w sloppy the police were
               Defense counsel pointed out ho
                                                 room.(4RT 433-434.)
        when they entered Campbell's
                                                           . wounds on Denton's
                Defense counsel argued that the
                                                                                            t
             ckl es wer e. fr om hit  tin g the   w~l l.s -.and hitting _C~mpbell<< and tha
        knu
                                                     vn Denton's forearms.(4RT 434.,)
         there were no defensive wounds
                                                    ate attempt to fight him off.(4RT
         Campbell bit Denton in a desper
        434.)
                                                        Denton had a blood alcohol
                Defense counselpointed out that
                                                  limit.(4RT 434.)A presumptive
        level of.212 -three times the legal
                                            h on methamphetamine and ecstasy.
         test indicated Denton was hig
             T 434 .) Th e sub seq uent tes t tha t negating those findings was not
        (4R
                                                  434-435.)
         produced by the prosecutor.(4RT
                                                         ive Sharman's testimony
                 Defense counsel referred to Detect
                                                 om and argued it was important
          about the blood in front of the ro
                                                t Campbell was atten-~..pting to get
          because it confirmed the fact tha

                                                   SO
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        out,or get Denton out of his room.(4RT 435.)Campbell had
                                                                       no other
        choice than to bite and hit Denton, because Denton was in a
                                                                       rage and
        was trying to choke him to death.(4RT 436.) The injuries
                                                                   were to the
        front of Demon's head because he was strangling Campbell
                                                                       artd
        could not block the blows.(4RT 436-437.) Campbell yelled for
                                                                         the
        police as this was going on.(4RT 437.)If Campbell had been
        murdering Denton, he would not have asked anyone to summ
                                                                        on the
       police.(4RT 437.)
              The coroner indicated that Campbell had injuries that were
       inflicted six days prior to his arrest.(4RT 437.)

                    3.     Prosecutor's Rebuttal Argument
             Respondent "summarizes" the prosecutor's rebuttal
       argument,for the most part omitting the details.(RB 64-65.)
             The prosecutor began with an argument about circumstantial
      evidence.(4RT 440,442.)She discussed the jury instruction on
      credibility of witnesses.(4RT 440-441.)
             For the first time on rebuttal, the prosecutor.referred to "the
      physical evidence, the photographic evidence, the video evidence".
     (4RT 441.)For the first time, the prosecutor called the jury's atten
                                                                          tion
      to Campbell's testimony on cross-examination that he did not know
      where the missing cell phone landed "because the lights were out
      and we had the stereo lit up...."(4RT 441.) The prosecutor argued:

                   That little comment that came out just when he's.
            tallcing, and the judge asked him a question that threw
            everything that he said out.the window. Never

                                        S1
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                                                  .match it, but
             mind how the physical evidence didn`t
             wait, the lights were out?

                                                                n]to
                   You were looking for clothes? For [Dento
             wear in the dark?
                                                              tell the
                   The bottom line i.s the defendant did not
                                                     d. He didn't talk
             truth about that night.when he testifie
                                                        to be quiet on
             about -that night in his interview. He had
             that.

                                             looking in the closet of the
      (4RT 442,445["...the defendant was
                                               (Denton)to find clothes....],
       room that didn't have any lights on for
                                               answer on the stand about it
       450["We talked already about his odd
       being dark.,,]
                                                          about consciousness
               The prosecutor returned to her argument
                                              more detai~e~ ~guments abcj~t~
        of guilt and hiding evidence, making
                                                   f up before he left the hotel,
        how Campbell must have cleaned himsel
                                                  (4RT 443-444.)
        and how he left Demon's boc~y to "rot".
                                                           ument all of the
               The prosecutor reserved for "rebuttal" arg
                                                 icted on Denton. For the first
        details about the injuries Campbell u1fl
        time,the prosecutor argued:
                                                                      d the
                      ...I mean, realistically speaking, never min
                                                          ss.the body
               fact that if you're hitting somebody acro
                                                          able to hit
               holding an iron you're only going to be
                                                            the top of the
               certain portions, certainly not the- side of
                                                          sides, and that
               head and all the different areas on both
                                                           it when they
               somebody would actually stay there for
                                                           ability to move
                were getting hit like.that if they had the
                away. .
                                                                                          ~.
                                            52
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                      And if[Denton] was actually strangling the
               defendant with a cord to the point of dizziness and
              almost passing out, believing his life was going
                                                               to end,
              How on earth would he be on his side? He would
                                                                   be
              behind hun, pulling it tight, and thus not availabl
                                                                  e to be
              struck in such a manner. It just makes sense. There
                                                                    is
              really no other way.

       (4RT 443-444.)

              During rebuttal the prosecutor argued for the first
                                                                    time
        regarding'timing of the killing. She stated that Dent
                                                             on left the room
       twice, not once as Campbell had testified.(4RT
                                                        446.)She pointed out
       that Denton went back to Campbell's room the seco
                                                            nd time at 10.:25
       p.m., and that Wendell was awakened by the soun
                                                           ds of a fight
       around 11:30 or 11:40 p.m. - around an hour later
                                                         -which      conflicted
       with Campbell's testimony that he confronted Dent
                                                            on about the
       missing cell phones immediately-upon Denton's retu
                                                          rn.(4R     T 446.)
             The prosecutor also argued for the first time that Camp
                                                                     bell's
      testimony regarding how Denton was dressed duri
                                                           ng the attack did
      not add up,in that Denton was wearing a shirt whe
                                                           n he walled into
      Campbell's room the second time, and that suddenly
                                                         Dent       on was
      wearing a tank top during the fight.(4RT 447.)The pros
                                                                ecutor also
      argued that -contrary to Campbell's testimony -the
                                                         tank     top was
      not torn, and that she had a photograph to prove it.(4R
                                                                T 447,452.)
            The prosecutor argued for the first time -referring to
                                                                     the
     photographs -that the physical evidence found at
                                                      the scen    e showed
     that Denton was not wearing the long-sleeved shirt
                                                          he had been

                                      53
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                                                                                          - ~;
                                            y, and that he had a naked chest
      wearing when he was in the hallwa
                                                                                            Q,




                                              .) The prosecutor asked,"If you
      and bite marks on his arms.(4RT 449
                                            r arm is around [sic], how do you
      are choking somebody out and you
                                          RT 449.)The prosecutor also
      get a bite mark on your hand?"(4
                                            ton had been wearing the tank
      argued for the first time that if Den
                                             n embedded in his chest.(4RT
      top, the staples would not have bee
       449.)
                                                   for the first time, to "[1]ook
                The prosecutor also urged the jury,
                                                       ] head in deciding
       at the   location of the iron blows on[Denton's
                                          prosecutor argued:
       defendant's story."(4RT 449.) The
                                                           nds of
                   All of these pictures are worth thousa
                                                   of words were
             words, buf none of those fi~i.ousands
                                                    , because none of
             reflected in the-defendant's testimony
                                                    tely, consistently
             the evidence was explained appropria
                                                   ually match up to
             by the defendant where it would act
                                                     preserved
             the evidence at the scene that was not
                                                  [Denton]to rot.
             because he locked the door and left

       (4RT 449.)
                                                 cell.phones in her.opening
             The prosecutor did not mention the
                                               on them, asking the jury to
        argwnent, but in "rebuttal" she harped
                                             phones, referring to Detective
        consider what happened to the cell
                                               nes were found in Campbell's
        Sharman's _testimony fihat no cell pho
        room.(4RT 450.)
                                                        sical evidence in her
                 The prosecutor did not discuss the phy
                                                        nt time on "rebuttal"
        openi    ng argument, but she devoted significa
                                                 ne.(4.RT 450-454.)She talked
        referring..to the photographs of the sce
                                                                                                 4
                                             54
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,--,_
                  about blood spatter and smear, and how
                                                               it did not match up with
                  Campbell's account of the fight.(4RT
                                                         451-452.)She addressed the
                 glove on one of Denton's hands, whi
                                                     ch      she never mentioned on
                 o enin~ and which defense counsel
                                                         did not address.(4RT 451.)
                       The prosecutor argued for the first tim
                                                                 e that Campbell Iied
                 about falling asleep immediately afte
                                                        r the fight because Denton's
                 blood was on a cigarette Campbell mus
                                                            t have smoked before he fell
                asleep.(4RT 448,453.)

                      seF     ,.respondent omits these critical facts. Oth
                                                                           er than
                mentioning voluntary manslaughter in
                                                            passing ~4RT 412}, the
               prosecutor did not address the substa
                                                        nce of the manslaughter issue
                during her opening argument. On rebu
                                                         ttal, she attacked any basis
               for a voluntary manslaughter convic
                                                      tion based on imperfect self-
               defense and heat of passion.(4RT 454-45
                                                       6.)
                     B.     Respondent Omits the Standards of Rev
                                                                         iew
                     Respondent fails to mention the standa
                                                                rds of review. Rather
               than repeat them here, Campbell refe
                                                    rs this    Court to pages 68-69 of
               his opening brief.

                     C.     The Issue is Not Forfeited Because Trial Cou
                                                                         nsel Was
                            Ineffective For Failing to Object

                    Respondent gloats that Campbell"conce
                                                                 des that defense
              counsel did not ob}ect, yet does not assert
                                                            that one of these
              exceptions [to forfeiture) applies."(RB 66.)
                                                             To the contrary,
             Campbell has argued that his trial counse
                                             __,       l was ineffective for failing

                                                ~~~
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                                                                             ore,
             ect t~ th~__
                       e  _'s
                         rru  co_ ndu ct, an d that this Court should,theref
      to obj
                                          (See AOB p. 69.)
      address the issue on__appeal.
                                                                               ng
                                                 bagged the Defense By Savi
              D. The Prosecutor.Sand
                                                          Argument For Rebuttal
                     Virtually Her Entire Closing

                                                    prosecutor sandbagged the
             Respondent disagrees that the
                                                                           rebuttal..
                                         her entire closing argument for
      defense by saving virtually
                                                                                  r's
               72. ) Instea d, re sp on de nt cla ims that, because the prosecuto
      (RB 67-
                                                                            e the
                                          r opening argument and becaus
       rebuttal was shorter than he
                                                                 f defense theory
                                               ponsive to the sel:
       prosecutor's argument "was res
              ed in  def ens e cou nse l's  clo sing argument",there was no
       assert
       misconduct.(Ibid.)
                                                           of the Governing Law
                       1. Respondent Omits Some
                                                                                             h
                                                        ple v._Srr.~itl~ey, supraf 20 Ca1.4t
               Respondent fails.tv address Peo
                       ple  v. _Pi tts (19 90) 22 3 Ca l. App.3d 606,691, citing Berger v.
        936, 960; Peo
                                                                                         .4th
              ed Sta tes X19 34)  29  5 U.S . 78, 88;see People v. Hill {1998)17 Cal
        U nit
                                                0)225 Ca1.App.3d 751, 759, or
        800,820;People v. Daggett(199
                                                                                       sed all
                                               Cal.2d 524,531. Campbell discus
        People v. Bandhauer(196 66
                se aut hor iti es  at  pa ge s 69 through 71 of his opening brief.
         of the
                                                               erly Sandbagged the
                         2. .The Prosecutor Improp
                                 Defense in Rebuttal.Argument

                                                       r's closing argument was
               Respondent claims the prosecuto
                                                                                 t
               y res pon siv e to the def ens  e closing argument, and it did no
         merel
                       an db ag gi ng " be ca us e the reb uttal argument was shorter
         constitute "s
                                                                            dent
                                          ng argument.(RB 68-69.) Respon
         than the prosecutor's.openi
                                                                                                   ~"
                                                   56
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        also claims the prosecutor covered certain facts in
                                                              opening argument
        that Campbell contends were notcovered until
                                                         rebuttal.(RB 69-72.)
        Respondent is wrong on all points.

             Respondent also cites ~'eople v. Centeno (2014)60 Ca1.4
                                                                         th b59,
       667, and People v. Frye(1998)18 Cal.4th 894,970,for
                                                               the proposition
       that"[w)hen attacking the prosecutor's remarks
                                                         to the jury, the
       defendant must show that, in the context of the
                                                       whol     e argument and
       the instructions, there was a reasonable likelihood
                                                              the jury
       understood or applied the complained-of comments
                                                        in        an improper
       or erroneous manner."(RB 67.) This rule cannot appl
                                                                y here, because
      the issue lies not in the substance of the prosecutor
                                                           's comments, but
      in the fact that the defense was deprived of the opportun
                                                               ity to
      respond to the arguments, since. the prosecutor made
                                                            the remarks
      for the first time in "rebuttal."

            Respondent quibbles about the length of the prosecutor
                                                                         's
      opening and rebuttal arguments, claiming People v. Robi
                                                                  nson (1995)
     31 Ca1.App.4th 494 is distinguishable because in that case
                                                                      "the
     prosecutor's rebuttal argument was 10 times longer than
                                                                   his initial
     closing argument, constituting some 35 pages of reporter's
                                                                      transcript
     as compared to the three-and-one-half page initial closi
                                                                 ng
     argument."'(RB d8-69.) Campbell contends that, even if
                                                            the leng         th of


    Here respondent misstate's Campbell's argument,clai
                                                            ming that
    "contrary to [Campbell's]contention(AOB 72[claimin
                                                            g the initial
    closing argument was shorter than the rebuttal]), the
                                                          prosecution's
                                       57
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                                             was. substantially similar to fihe
       the prosecutor's rebuttal argument
                                                of the prosecu, tor's opening
       length of rebuttal, it was the substance
                                                that most of it addressed
       argument that was artfully slender,in
                                             the physical evidence. If this
       consciousness of ~u.ilt evidence, not
                                           rt will see that on rebuttal t11e
       Court examines.the record, th.e Cou
                                                 immune to defense pIy in
       prosecutor have a full closingargument
                                               l evidence -not just a rebuttal
       which she covered most of the ph~ica
                                               The effect was the same as the
       to Campbell's self-defense argument.
                                                prosecutor's case was
       error in Robinson -the substance of the
                                              defense was deprived of the
        presented solely on rebuttal, and the
       opportunity to address it.
                                                                           g
               Amain, allow~ ` ~ theprosecutor to dive such an openin
                                                ll an opportu~u~y to_respond to
        a~r -umènt~without providing Campbe
                                                   secution an undue advantage
        her rebuttal ar~um.ent accorded the pro
                                               Section 1093 does not perm=the
        and prejudiced Campbells defense.
                                                                      defend ant 's
         prosecutor to manipulate the     _ er of arg
                                      _ _ord              ~ ~ to- the
                                                      ument               ,   ~
                                                  e of sandbagging denounced
         detriment. This was essentially the typ
                                                  gth of the opening.argument
         in Robinson, supra, even though the len
                                                                               the.
                                                   rebuttal argument; here,___._
         was substantially similar to that of the
                                                              ousness of guilt.
         prosecutor focused nearly exclusive --ly on consci _


                                                was shorter than her initial
        rebuttal argument(19 transcript pages)
                                               by four pages."(RB 69.) The
        closing argument(23 transcript pages)
                                                rebuttal arguments is not the
        length of the prosecutor's opening and
                                                  substance of the
        issue. It is the.sneaky withholdin of the
                                                 t i.s at issue here.
        prosecutor's ar ument until rebuttal tha
                                             58
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~~

               evidence in her openin argument,saving all of
                                                             her discussion of the
               physical evidence for rebuttal.

                     Citing People v. Bryden (1998)63 Cal.App.4th 159,
                                                                             184, and
              People v.Hill(196 66 Cal.2d 536,respondent
                                                         argues "Robinson error
              does not occur simply because the prosecutor disc
                                                                usse     d some pieces
              of evidence in her rebuttal that she did not mention
                                                                      or equally
              emphasize in her initial argument." Those case
                                                              s are specific to their
              facts, and are not comparable to Campbell's case
                                                               . In   Bryden,for
              example,the issue was regarding the prosecutor's
                                                                 use of one piece of
            evidence;here,it was most of the evidence supporti
                                                                      ng the
            prosecution case that was left for discussion on rebut
                                                                      tal.
                   More s~ecifically, the defense had no o~~ortunitX
                                                                             to address
           the prosecutor's arguments that:
           •       Campbell lied when he said he did not know wher
                                                                             e the cell
                    phone landed after he tossed it because the light in
                                                                     s the room
                  - were off(4RT 441);
          •       Campbell's "story" is exposed as a lie because he said
                                                                                the
                  lights were off when he was looking in the closet for clot
                                                                                   hes
                  for Denton(4RT 442,445);
          •       Campbell could not have hit the side and top of Dem
                                                                      on'         s head
                  with the iron if he was hitting him across his body as
                  Campbell had testified (4RT 443-444);
          •      Denton would not have stayed in a position to be stru
                                                                               ck that
                 way had he been able to escape(4RT 443-444);


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                                            ll with the cord as Campbell
      •     If Denton was strangling Campbe
                                             been in a position to be
            described, Denton could not have
                                              T 443-444);
            struck on the side of the head(4R
                                                e as Campbell testified
      •     Denton left the room twice, not onc
            (4RT 446);
                                               rted about an hour after
      •     According to Wendell, the fight sta
                                                m,not immediately after
            Denton returned to Campbell's roo
            (4RT 446);
                                                   ton was dressed did not
       •     Campbell's testimony about how Den
             add up(4RT 44~;
                                                     not ripped, as
       •     The tank top Denton was wearing was
             Campbell claimed (4RT 447,452);
                                                 t Denton was not wearing
       •     'I`he ph~rsica~ evidence showed tha
                                                  wearing in the hallway
             the long-sleeved shirt he had been
                                                    s bare and he had bite
             when he was killed, that his chest wa
             marks on his arms(4RT 449);
                                                 bite mark on his hand if he
       •     Denton could not have received a
                                               neck and strangling him as
              was holding Campbell. around the
              Campbell had described(4RT 449);
                                                  top at fide time Campbell
        •     Had Denton been wearing the tank
                                                   ples would not have been
              used the stapler against him,the sta
              embedded in his chest(4RT 449);
                                                  on of the iron strikes in
        •     The jury should consider the locati
                                                     );
              evaluating Campbell's story(4RT 449

                                          60
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        •      The photos were "worth thousands of words",but
                                                                  those
               words were not in Campbell's testimony because Camp
                                                                        bell
               did not explain the evidence adequately, and the evid
                                                                       ence was
               destroyed because Campbell let Demon's body rot in
                                                                      his room
             (4RT 449);
        •     The jury should speculate as to what happened to the
                                                                       two cell
              phones Campbell said Denton had taken, because one
                                                                       of the
              detectives said no cell phones were found in Campbell
                                                                      's room
             (4RT 450);
       •      According to -the photographs, blood spatter and smea
                                                                      r did
             not match up with Campbell's account of the fight(4RT 451-
             452.);
       •     There was no explanation for the glove found on one of
             Demon's hands(4RT 451);
       •     Campbell lied about falling asleep immediately after the fight

             because Demon's DNA was on a cigaret#e butt in the ash tray
            (4RT 448,453);
      •      There was no basis for a voluntary manslaughter conviction
            based on imperfect self-defense or heat of passion(4RT 454-

            456.)
            None of the above comments could fairly be characterized
                                                                            as
      rebuttal to Campbell's closing argument. The prosecutor kne
                                                                      w what
      the evidence was when she offered her ope~ ar       ment.
      Nonetheless, she saved all comment on the phy_ sical evidence
                                                                      for

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                                          duc        t.$(People v. Robinson,
      "rebuttal" argument. This was miscon
      supra, 31 Cal.App.4th 494,505.)
                                                          to the.
             E.       Defense Counsel's Failure to Object
                                                          pbell His Sixth
                      Prosecutor's Misconduct Denied Cam
                                                           ance of Counsel
                      Amendment Right to Effective Assist

                                                        ance when he failed to
              Counsel provided ineffective assist
          ake a tim ely object_ ion to -the prosec
                                               .., utor's improper rebuttal .~
      - m
                                                                                or
                                                            pond in surrebuttal,__`__.
        ar     ent, or to request an opportunity to res
                                               do so, he provided ineffective
       to move for a mistrial. By failing to
       assistance of counsel.
                                                                    ffective
                       1.     Standard For Evaluating Claims of Ine
                              Assistance of Counsel

                                                    his discussion of the law
              Campbell incorporates by reference
                                                       Argument III., section
       of ineffective assistance of counsel set out in
                                              f.
       B., at pages 49-51 of his opening brie
                     2.    Trial Counsel Was Ineffective
                                                            e counsel's failure to
                 The record establishes the error — defens
                                                        , the prosecutor's
        objec   t to a patently improper tactic, namely
                                           ing the bulk of her closing
        _sandbag~in~ the defense by reserv
                                               ciudin~ defense response. A
         argument for rebuttal and thereby pre
                                orney would
                             att_                   have preserved this
        reasonably competent
                           __


        g
                                                case of cumulative
        Respondent argues that"phis is not a
                                                 ) Campbell has not argued
        prosecutorial misconduct".(RB 71-72.
                                                pondent's statement.
        that it was,so there is no point to res
                                                                                             _
                                               62
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---•.

                 meritorious issue for appellate review by making a time
                                                                               ly objection
                 on the correct basis.(See People v. Jackson (1986)187
                                                                         Ca1.App.3d 499,
                 506;In re Christina P.(1985)175 Cal.App.3d 115,1
                                                                    29-130.) By failing
                 to timely object to the unfair argument on the basis
                                                                        it was improper
                 rebuttal, counsel waived a meritorious issue on appe
                                                                         al.
                       There could be no possible tactical reason for, or ad~ra
                                                                                     ntage to
                the defense in allowing the prosecution to present open
                                                                             ing argument
                that primarily addressed consciousness of guilt evid
                                                                        ence, but not the
                physical evidence, and to sandbag the defense with rebut
                                                                               tal
                argument. Counsel must know the law as it relates to the
                                                                               case he is
                tr~~(People v. Zimmerman (1980)102 Cal.App.3d 647, 657;
                                                                                     People v.
               McCary(1985)166 Ca1.App.3d 1.) Respondent counters
                                                                           that because
               "defense counsel told tie jury that the prosecutor was
                                                                      goin      g to use
               the rebuttal to address issues he raised during his argument
                                                                                ",
               defense.counsel indicated he understood the scope of what
                                                                                the
               prosecutor could do in the rebuttal, and without any error
                                                                               by the
               prosecutor in her rebuttal, there was a tactical reason for coun
                                                                                     sel not
               to object, seek a sur-rebuttal, or move for a mistrial."(RB
                                                                             74. It does
              not matter what defense counsel told the jury about the natu
                                                                                re of
              rebuttal argument when he had not yet heard that argument
                                                                                ._He was.
              still obligated to listen to what the prosecutor said on rebuttal
                                                                                     and to
              object if that argument was improper. There is no tactical reas
                                                                                     on in
              allowing a prosecutor to sandbag the defense as she did
                                                                          here,
              leaving the jury with damaging suggestions from the pros
                                                                             ecutor that

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                                      address.
      the defense had no oppo~ty to
                                                              ress
                  3.    Respondent Substantially Fails to Add
                        Campbell's Prejudice Argument

                                                     s prejudice argument.
           .Respondent fails to address Campbell'
                                         ll refers this Court to pages 77
      Rather than.repeat it here, Campbe
      through 81 of his opening brief..
                                 CONCLUSION
                                                   s conviction should be
            For the foregoing reasons, Campbell'
       reversed.
                                              Respectfully submitted,
       DATED:January 22,2019



                                              +GAIL HARPER
                                              Attorney-for Appellant -




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                        CERTIFICATE OF WORD COUNT
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                                              GAIL HARPER
                                              Attorney for Appellant
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                                             GAIL HARPER




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      IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

             SECOND APPELLATE DISTRICT, DIVISION FOUR



THE PEOPLE OF THE STATE OF
CALIFORNIA,
                                                      Case No. 6288428
                  P I a intiff and Respondent,
       v.

MICHAEL CAMPBELL,
                 Defendant and Appellant.


            Los Angeles County Superior Court, Case No. BA442781
                    The Honorable .Curtis B. Rappe, Judge

                           R ESPONDENT`S BRIEF ~~~
                   -~.~

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                                  NTRODUCTIOIV
                                                     neighbors heard banging
               Late at night, two of appellant's
                                            ant's apartment. The next
       and yelling coming from appell
                                             tr°nent and told his ex-girlfriend
       m orning, appellant (eft his apar
                                               an Denton, was in his apartment
       that the body of their friend, Bri
                                                 the night before. Dentondied
       and that he died after they fought
                                               fered a skull fracture and
       from blunt head trauma, and suf
                                               and face. Appellant testified at
       multiple lacerations to his head
                                            cellphones and that he killed
       trial that Denton took his two
                                               ton reacted to the accusation by
       Denton in self-defense when Den
                                               and choking him. Thejury
       repeatedly wrestling, punching.
                                                ree murder.
       convicted appellant of second deg
                                                        l errors, three ineffective
                Appellant asserts two instructiona
                                              ecutorial error claim. All of°these
        assistance of claims, and a pros
                                                   asserts the trial court erred in
        claims lack merit. First, appellant
                                                fury on sudden quarrel or heat
        failing,to sua sponte instruct the
                                             ter_in addition to reasonable self-
        of passion voluntary manslaugh
                                                 . However, there was
        defense and imperfect self-defense
                                                       jective element for such
         insu ffic ient evi~.dence to support the sub
           —
                                                  timony negated the substance
        an instruction, and appellant`s tes
                                                                         ss.
        of the instruction. Als                   _ l error.was harmle ~~
                                  .~o~_anv potentia
                                                          l court erred in giving a
                Second, appellant contends the tria
                                                   eited because defense counsel
        flight instruction. The claim is forf
                                                substantial evidence
         did not object and, in any event,




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        demonstrated that appeilant left the crim
                                                    e scene once he rea I ized
        Denton was dead, locked his apartment
                                                   door, and did not return
       to his apa rtment. Any alleged error was
                                                   harmless, and
       appellant's ineffective assistance claim fails
                                                        .
             Third, appellant asserts an ineffe~~ive assi
                                                               stance of counsel
       claim basted on counsel's failure to request
                                                    an "ear     wi~ness"
       identification instruction that provided the
                                                     jury a list of factors to
      evaluate the testimonies of appellant`s two
                                                      neighbors who heard
      the fighting. Such an instruction would hav
                                                      e been duplicative of
      an instruction already q~iven by the court; thus
                                                            , there was a
      tactical reason for not requesting an "earwitn
                                                        ess" instruction.
      Additiona t ly, no prejudice can be shown.

           Fou rth, appellant argues the prosecutor "sa
                                                               ndbagged"
      defense counsel by saving her arguments rega
                                                   rdin        g the physics{
     evidence for the rebuttal closing argument,
                                                    thereby preventing a
     response from defense counsel. Appel lanfi
                                                   concedes the claim is
     forfeited because counsel did not object. The
                                                    re was also no error
     because the prosecutor's rebuttal was shorter
                                                        than her initial
     closing argument, and more importantly, the
                                                      rebuttal was a fair
     response to defense counsel's self-defense theo
                                                        ry that permeated
     his closing argument. A~potentiai error
                                                   was harmless, and
    appellant's related ineffective assistance clai
                                                      m also fails. The
    jud ment should therefore be affirmed.




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                           STATEMENT OF THE CASE
                                         format      ion filed by the Los
               n a one-count amended _in
                                                                                d
                 Co un ty Dis tri ct Att orn ey' s Office, appellant was charge
       Angeles
                                                                            was
          th mu rd er (P en . Co de , § _187, subd. {a)).~ (1 CT '109.) f t
       wi
                                                                         and
                                       ant personally. used a deadly
       further alleged that appell
                                                                               CT
                                           iron (§ 12022,,subd. (b)(7)). (1
        dangerous vueapon, a Elothing
                                                                          (§ 1192'.7,
                                      all  eged to be a serious felony
        1 "I(J.) The offense was also
        subd.(c~(23)). (1 CT 110.)
                                                 and denied the special
               AppelCant pleaded not guilty
                                                                                   lty
                     ons . (1 CT  112 ; 2R T 33. ) Ajury found appei l ant not gui
        a i legati
             fiirs t deg ree .mu rde r, but fou nd him guilty of second degree
        of
                                                                         on
                                        deadly and dangerous weap
        murder and found true the
                                         i2; 4RT 501-504.,)_
        a I legation. (~-GT 159-~ 60,-~f
                                               an t ndeterm i Hate term of 16
                Appel 1-ant was sentenced to
                                                                               rm'
                                            rs to .life, plus a consecutive te
        years to life, comprising 15 yea
                                                                            ent.
                                         d: dangerous weapon enhancem
        of one year for the deadly an
        (1 CT 1 fi5; 4RT 525..)
                                                  of appea I. (1 CT 171-172.)
               Appel lant fi led a ti mely notice




                                            , a(I further statutory
               ~ Unless otherwise indicated
                                     Code.
         references are to the Penal




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                            STATEMENT OF FACTS
             A.   Prosecution evidence
                  l.   Appellant and the victim, Brian Denton,
                       walk into appellant's apartment
              On December 31, 2015, at 9:41 p.m., appellant and
                                                                     Brian
      Denton entered the lobby of the Florence Hote
                                                      l, in Los Angeles.
     (2RT 93-94., 104-105; 3RT 298; Peo. Exh. 20A.) The
                                                               hotel's
      surveillance -video showed appellant and Denton
                                                            walk from the
      hote i lobby, up the main staircase to the third floor
                                                             , and down the
      third floor ha l away to enter appeilant's apartmen
                                                         t.2 (2RT 105-
      109; 3RT 298; Peo. Exhs. 20B-20E.) At 9:45 p.m, Dent
                                                                 on left
     appellant's apartment and returned fourminu
                                                      tes later. (2RT
     109-111; 3RT 298; Peo. Exhs. 11, 20F-20H.) At 10:2
                                                               5 p.m.,
     Denton left appellant's apartment again, spoke
                                                       to another hotel


            2 The Florence Hotel had 16 surveillance came
                                                           ras operating
     in the building, which covered, among other area
                                                       s, the main
     lobby entrance, the staircase from the lobby to
                                                     the third floor, and
     the third floor hallway that included appellant's apar
                                                            tment.
    (2RT 100-101.) The video surveillance continuously reco
                                                               rded
    from the night of December 31, 2Q15 to the morn
                                                      ing of January 5,
    2016. (2RT 101.) Krystal Jones, the Florence Hotel's
                                                         property
    manager, met with detectives on January 5, 2016 and
                                                         reviewed
    the video surveillance, which had date and time
                                                    stamps. (2RT
    93-94, 101-102; see Peo. Exh. 11 [a DVD containing
                                                       the
    survei I lance videos].) Thejury was shown the vide
                                                            o surveillance
    and sti Il photographs of the video. (2RT 103-117, 120-
                                                             130; Peo.
    Exh. 11; Peo. Exhs.~20A-20P [sti I I photographs of vide
                                                            o
   survei{lance].)




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                                        ant's apartment at 10:30 p.m.
       resident, and returned to appell
                                    299;.Peo. Exhs. 11, 201-20K.)
       (2RT 111-112, 124-126; 3RT
                                                   ar sounds of
                 2.   Appe!Cant's neighbors he
                                                    apartment and
                      fighting coming from his
                                                             - ,
                      ca!! bui Iding security
                                           in an apartment on the third
              Wendell Blassingame lived
                                                                   ). On
                                      ef lant's apartment. (2RT 46.
       floor that was'across from app
                                                                         .
                                      me wend to sleep at about .8:30 or
        December 31, 2015, Blassinga
                                     11:35 or 11:40 p.m., he was
        9:00 p.m. (2R~ 47.) At about
                                                                       e ,
                                      , a lot of disturbance across.th
        awakened Y~y"a lob of rumble
                                                                       ) It
                                     a lot of slamming." (2RT 47-45.
        hail" and "a lot of banging,
                                                                         's
                                       people were fighting in appellant
        sounded to Blassingame like
                                                                   the
                                     disturbance caused his wal I,
        apartment. (2RT 47.) The
                                                                          e
                                         sser to shake. (2RT 4$, 53.) Ros
        mirror on his wail, and .his dre
                                                                           an
                                           s around the corner and shared
        G ibson, whose apartment wa
                                                                             ,
                  wal l wit h app ell ant 's apa rtment, also heard "knocking
        adjac ent
                                            ch of noise," 3 coming from
        bammi~ng, and fighting; a bun
                                          11:30 p.m. (2RT 48, 76.)
        appellant's:apartment at about
                                                Gibson, the sound of fighting
               According to Blassingame and
                                      20    to 25 minutes. (2RT 53-54, 77.)
        started and stopped for about
                                                                    's
                                      that was adjacent to appellant
         G ibson knocked on tt~e wall
                                                                        rd
                                        s alright. (2RT 77.) Gibson hea
         apartment and asked if he wa


                                                 meant by "hamming."
               3 Gibson did not clarify what she
        (2RT 7fi.)




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        .appellant say "call the police." (2RT
                                                  77-78; but see 3RT 280-283,
        291 [in a January 5, 2016 interview with
                                                      an investigating officer,
        Gibson said she heard appellant ban
                                                 g on the wall and tell her to
        call the police, but she also said she
                                                 heard a female voice tel l
        appellant to give her money and to let
                                                   her go, and that she
        believed the female voice beJonged to
                                                 appellant's girlfriend].)
              Gibson then knocked on Blassingame's door
                                                              . (2RT 48-49,
       54.) She asked Bfassingame to call the
                                                   police because her phone
       was not working. (2RT 48-49, 55.) Biassi
                                                nga       me told Gibson that
       he was going to call building security firs
                                                     t, which he did. (2RT 49,
       55.) Blassingame heard someone in appellan
                                                        t's apartment,
       whom he could not identify, scream "hel
                                                   p, help." (2RT 49, 57.)
            Ten minutes later, security still had not
                                                          arrived, so
      Biassingame called them again. (2RT 50, 55.}
                                                          At the same time,
      the "rumbling in [appellant's] unit stopped. (2R
                                                  "    T 56-57.) About
      five to 15 minutes after his second call
                                                 , Blassingame saw two
      building security guards arrive at appellan
                                                     t's apartment: (2RT
     51, 55.) They knocked on appef lant's door and
                                                         , when no one
     answered the door, the guards walked away. (2R
                                                            T 50-51.)
               3.   The next day, appei lant leaves his
                    apartment, locks his door, and tel Is
                                                          his
                    ex-girlfriend that Denton is dead in
                                                          his
                    apartment after they fought the nig
                                                          ht
                    before
          On January 1, 2016, at about 8:13 a.m., video surv
                                                                   eillance
    showed appellant leave his apartment, wal
                                                    k down the main



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                                                                                 127-130;
                                                   el. (2RT 112-115, 121-123,
                  staircase, and exit the hot
                                                                                hotel's
                                                ZOL-20N.) According to the                    '~
                  3RT 299; Peo. Exhs. 71,
                                na  ge r, Kry sta  l Jo nes, appellant appeared.in    ___e_
                                                                                   ___th
                  pros     y ma
                                                                                       leaving
                         to be "m ov  in g a litti~e faster ...than. norms!" when
                  vi deo
                  the hotel. (2RT 123.)
                                                                                         of
                                                           ant went to the apartment
                          The same morning, appell
                                                                                    us three
                      gel Do rs ey , wh om   he  ha  d been dating for the previo
                   An
                                       ha d rec ent  ly sep arated . (2RT ~ 37-7 38, 7 43.) Her
                   years until they
                                                                                     's
                                                     e-minute walk from appellant
                   apartment was about afiv
                                                                                       llant
                           en t. (3  RT  168 .)   De nt on was a friend of both appe
--~                apar tm
                                                                                 n-ton. (2RT
                                                   t was I ike a "mentor" to De
                   and Dorsey, but appellan
                   140; 3RT 170, 172.)
                                                                                             t
                                                               door, bit after_DQrsey did no
                          Appellant knocked on hey
                                                                                        Denton
                      sw er , app ell ant   kic  ked  th e door and loudly said that
                   an
                                                                                        entually
                                                       tment. (2RT ~ 43.) Qorsey ev
                   was "deceased" at his apar
                                                                                                .
                                th e doo r;  app  ell  ant  ap pe ared "erratic," "pained," and
                   answered
                                                                                             d id
                           d,  bu t no t i ~ a    oo d  wa y, " (2RT 142, 144.) Appe I ta nt
                   "excite
                                                          alcohol.. (2RT 146.)
                    not appear intoxicated from
                                                                                              ht
                                                                 Denton died after they foug
                          Appellant told_ Dorsey that
                                oth  er. (2   RT   14 5; bu  t se e 3RT 264-266 [in a January 6,
             ~~
         www I
                    with each                              i~~
                                                                    ~




                                                                                       did not say
                                                         estigating officers, Dorsey
         ~,y
         ~~MJ
           ~~


                    201 6 int  erv iew wi  th  th  e inv
                                                                                         n and
                                                       nton was deceased or ghat hir
                    that appellant told her De
                                     in  a  fig ht] .)  He  als o tol d her that he had a headache,
                    Denton were




                                                         ~'3
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        but did not mention any other injuries. (2RT
                                                         146-147.)
       Appellant left Dorsey's apartment four hour
                                                       s later. (2RT 147.}
                  4.   Denton's body is found in appellan
                                                          t's
                       apartment five days after appei lant
                                                            left,
                       and appellant is arrested the next
                                                          day
             Accordi ng to the video survei i lance, after
                                                             appellant left his
       apartment, no one exited or entered his apar
                                                       tment between
      January 1 at 8:13 a.m. and January 5 at 8:24
                                                        a.m, when Denton's
      body was found in the apartment by bui Idin
                                                      g security. (2RT 115;
      3RT 299.)
           4n January 5, 2016, Jones requested that secu
                                                                 rity guard
      Omar Hernandez conduct a welfare chec
                                                  k of appellant's
      apartment. (2R-T 116.) Hernandez went to appe
                                                         llant's
     apartment, unlocked the door, and found
                                                   Denton's body in the
     apartment, but did not know whose body it
                                                     was at the time. (2RT
     1 16, 135-136.)
           Los Angeles Police Officer Efrain Ochoa received
                                                                   a
     suspicious death call for the Florence Hotel. (2R
                                                             T 59-60.) Officer
     Ochoa- went to the hotel with his partner and
                                                      entered appei Pant's
    apartment after being escorted there by Hernande
                                                             z. (2RT 59, 61-
    62.} A dead body with a "distorted, damage
                                                   d," and "bloodied" face
    was on the floor of the apartment. (2RT 62, 66.)
                                                         There was also
    "a lot of debris" an the floor and throughout the
                                                      apar      tment. (2RT
    64.) Officer Ochoa believed the body was that of appe
                                                                llant
    because he found appellant's identification in
                                                     the dresser. (ZRT




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               70. ) Aft er see  ing th e  bod y, Officer Ochoa opened the
       66, 69-
                                                                          e
            do w be ca us e of th e str ong  odor- and ensured no one els
       w in
                                                                         73.)
                                        i I detectives arrived. (2RT 71-
       entered the apartment. unt
                 s  An ge le s Pol ice Det  ect ive Jason Sharman and Ofificer
              Lo
                                                                        e
                                d ph    otographed the body and th
        Brian Putnam arrived an
                                                                        uries
                                        Detective Sharman noticed inj
       a partment. (3RT 244-245.)
                 ck of th e bod y's he ad  an d staples embedded in the chest.
       to the ba
                                                                          d- at
             25 0, 261-26  2.) A  clo thi ng iron and a stapler were foun
       (3RT
                                                                  ined to
                                   reddish stains later determ
        the scene, and they had
                                                                     sa
                                     RT 260-262, 296.) There wa
        contain Denton's DNA. (3
                                                                            r on
                               blood" on      the carpet and blood spatte
        "substantial amount of
                                                                         blood
             dre sse r. (3 RT 247 -24 8.)  A white tank top "soaked" in
        th e
                                                                      254-255.)
                                       artment sink. (3RT 251, 252,
        was found beneath the ap
                         me da y, Den ton 's fat her reported Denton as missing,
               The sa
                                                                                 t
                                   e body fo   und in appellant's apartmen
        and he later identified th
        as Denton. {3RT 279-280.)
                                             2016, Los Angeles Police
              4n the n fi ght of January fi,
                                                                                 at
                                   d Jaime    Castellon arrested appellant
         Officers Jessica Azizi an
                                                                              ssing.
             ey' s ap ar tm en t bui ldi ng after receiving a ca(! for trespa
        Dors
                                                                          d "long
         3R T 775  , 177 -17 8.)  Ap pe ll ant was wearing a beanie an
        (
                                                                    ckpack.
                                     was carrying bags and a ba
         and bulky" clothing, and
                                                                               t,
                                   of his       arrest, appellant was five fee
        (3RT 179-180.) At the time
                                              pounds. (3RT 290.) At no
                                                                         time
                                      d 170
         six inches tal I and weighe




                                              20
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        prior to his arrest did appellant report to polic
                                                         e the fight with
        Denton or Denton's death. (3RT 267.)

                  5.   An autopsy of Denton reveals a skull
                       fracture and 22 lacerations to his head
                       and face
              On January 10, 2016, Los Angeles County Deputy MedEcal
       Examiner Dr. Matthew Miller performed an autopsy
                                                                of Denton's
       body. (3RT 184, 189; Peo. Exh. 19 [autopsy report].) Denton
                                                                               was
       five feet, six inches tall and weighed 139 pounds. (3RT 193.)
             Dr. Miller concluded Denton's cause of death was "blun
                                                                           t
       head trauma" and that homicide was the manner of
                                                               death. (3RT
      197.) Denton had a skull fracture. (3RT 218-219.) Dr. Mille
                                                                           r
      counted a total of 22 separate lacerations to Denton's head
                                                                       and
      face, and they appeared to "be immediately surroundin
                                                                 g the time
      of death."4 (3RT 214, 239.) There were multiple laceration
                                                                       s
      across Denton's forehead, lower I ip, above and on his
                                                               left ear, and
      on the right side of his face and eyebrow. (3RT 206, 209-2
                                                                      10.)
      Any hit that caused one of the lacerations directly over
                                                                 the brain
     could .have been fatal. (3RT 223-224,) Dr. Miller concl
                                                                 uded that
     Denton's injuries "could be consistent with injuries due
                                                                 to
 x   impacts from the household iron or clothing iron." (3RT 225-227.}


           4 A laceration is "an injury where an object hits the skin
     and tissue beneath it and it doesn't cut through the tissu
                                                                e, but
     the impact and the force transmitted to it causes the tissu
                                                                 e to
     split open." (3RT 206.)




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                                           bruises on the left arrn, left
      Denton's other injuries included:
                                         the skin of his chest; and a
      wrist, and left cheek; staples in
                                          8, 200-203, 209.)
      possible bite mark. (3RT 797-19
                                                 a~,possible positive finding
            Toxicolo_ v tests initially showed
                                                                          d a `~
         met ham phe  tam i ne and ecs tasy but further tests confirme
    ~ of
      negative finding of such drugs.
                                         (3RT 195-196.) The alcohol level
                                            t. (3RT 196, 239.)
      in Denton's body was Q.212 percen
                                                            ~   .
             B.   Defense evidence .
                                              d testimony of ~a medical
             Appellant presentedstipulate
                                            alf.
        expert and testified in his own beh
                                             timony of Dr. Ryan O'Connor,
             According to the stipulated tes
                                      who reviewed documents and
        an emergency room physician
                                                   his left forearm and
        photographs of appellant, appellant had on
                                          asions/superficial lacerations"
        right flank "several I inear abr
                                            (3RT 308-309.) There was also a
        demonstrating scab formation.
                                                                             " on
          healin g rou nd wou nd, lik ely an abrasion with scab formation
        "
                                                9.) These injuries were
        appellant's right kneecap. (3RT-30            i.,



                                               six days old." (3RT 309.)
        "consistent with injuries that are
                                                   been friends with Denton
               Appellant testified that he had
                                             he had been a "mentor" to
        since meeting in 2013, and.that
                                               was 30 years younger than
         Denton. (3RT 322, 353.) Denton
                                                er 31, 2015, after not having
         appellant. (3RT 350..) 4n Decemb
                                              t walked to a I iquor store to
         seen Denton for a year, appel lan
                                                and saw Denton standing
         purchase alcohol for the next day




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       outside the store smoking methamphe
                                                 tamine. (3RT 318-319.)
       Denton asked appellant to buy him
                                         som      ething to eat, and
       appel{ant agreed so long as Denton sto
                                              ppe    d smoking
       methampfietamine. (3RT 319-320.) Den
                                                   ton selected some cups
       of soup and four cans of Four Locos,
                                              an alcoholic drink, for
      appellant to purchase for him. (3RT 320-
                                                   321.) Appellant invited
      Denton to 0 out with him that ni ht
                                          for New         Year's Eve, and       ~
      they both wa 1 ked to appellant's apartm
                                               ent. (3RT 321.1
            Denton drank two cans of Four Loc
                                                   vs as they walked to
      appellant's apartment. (3RT 323-324.}
                                                  Some time during the
      night, appellant had a can of beer and a
                                                  fifth of an alcoholic drink
     called Alize. (3RT 351-352.) When they
                                                  arrived at the apartment,
     appellant looked in his closet for clothes
                                                  to loan to Denton for
     that night while music played in the bac
                                                  kground. (3RT 322-324.)
     Appellant noticed Denton was no longer
                                                  in the apartment, and
     heard Denton in the hallway. (3RT 325-32.6
                                                    .)
          Appel last decided to look for his two cel
                                                         lphones to call his
    children, but could not find them. (3RT 326-
                                                     327.) Suspecting
    Denton had his phones, appellant call
                                           ed Denton back into. his
    apartment and saw his cellphones "bulgi
                                                 ng out" of Denton's
    pocket. (3RT 327-328.) Denton closed the
                                                   door. (3RT 328.)
    Appellant confronted Denton a- bout taking
                                                   his phones. (3RT 328.)
    In response, Denton punched appellant. (3R
                                                    T 328.) Appellant
   said he was going to call the police, but Den
                                                   ton blocked the, door,




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                                                       hir           n to the'ffoor.
                               abbed him, and siarnmed
       charged at appellant, gr
                                                                             "kick
                                d       appellant that he was going to
      (3RT 328-329.) Denton tol
                                                                    ing with
                                he     was on top of and wrestl
      [appellant's] old ass" as
       appellant. (3RT 330.)
                                               e away from" Den-ton and
              A ppellant tried "to wrestl
                                                      he could -get to his feet. (3
                                                                                    RT
                        sli de ou t of th e gri p" so
       "managed to
                                                                           he was
              He  tri  ed to  le av e his ap artment and told Denton
       330.)
                                                                        and charged
            g to cal I th e  police , bu t Denton blocked the door
       goin
                                                                      nned
                                       30-331.) Appellant threw ca
        at appellant again. (3RT.3
                                                                             ,
                 De nt on to  pr ev en t hi m .fr om charging, "bear-hugging
        goods at
                                                                          lant
             ming , an d try ing  to fig ht with" him. (3RT 332.) /~ppei
        slam
                                                               t when that
                                r -and- hit.Denton with it, bu
        grabbed a closed staple
                                                                nd~~ta~led
                                   ~then opened tie s~apler,a
        was ineffective, appel(ar~
                    bo dy . (3 RT   33 2- 33 3. ) De nton puled out the staple,
        Demon's
                                                                           kill
            mo ni ca ll y" la ug he d at  app ellant, said he was.going to
        "de
                                                                       old man?"
                                pell     ant "[i]s that aII you got,
        appellant, and asked ap
        (3RT 333-335.)
                                                                        was
                                             ng the door, but while he
                Denton continued blocki
                                                                   e back of the
            un di ng on th e wa ll s appellant grabbed him by th
         po
                                                                     m out." (3RT
                                        nk top to try to "throw[] hi
         pants and by his white ta
                                                                    ed
                                       apQellant's grip, which caus
         336-337.) Denton escaped
                                                                         lant            ~,•
               n's ta nk to p to rip. (3 RT 337; but see 3RT 375 [aprpel
         Dento
                                                              show it
                                   ts of the-tank top did not
         agreeing the photo exhibi
                                                            to Gibson's
                                  ked on his wall adjacent
         ripped].) Appellant knoc




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         apartment and "scream[ed]" for her to call
                                                      the police. (3RT 338.)
         Fifteen minutes had passed from whe
                                               n they first entered his
        apartment to when appellant called to Gibs
                                                       on. (3RT 339.)
               Denton charged at appellant again and
                                                         put appellant in a
        choke hold that caused appellant to feel
                                                   dizzy. (3RT 339-340.) In
        response, appellant bit Denton "a lot of time
                                                       s"(3RT 359)"because
        that was the only way that [he] could ever
                                                      get [Denton.] to let
       [him] go"{3RT 340). Denton released the
                                                    choke hold, charged at
       appellant again, wrestled .him to the grou
                                                   nd, and wrapped.the
       cord of an iron around appellant's neck whil
                                                      e behind him. (3RT
       340, 362.) Appellant began getting dizzy from
                                                         the choking, but
       grabbed the dangling iron and hit Denton's
                                                      head with the iron an.
       unknown number of times. {3RT 340-343.) Appe
                                                           llant stopped
       hitting Denton until the tension of the cord
                                                      released. (3RT 343.)
      Appe{lant craw{ed to the bed and fell asle
                                                   ep unti I about 8:00 a.m.
      the next morning. (3RT 343.)
            After waking up, appel cant tried to wake up Den
                                                                 ton by
      shaking his legs, but when Denton did not resp
                                                         ond, he realized
      Denton was dead. (3RT 344.} Appellant left
                                                      the Florence Hotel
     and went to Dorsey's apartment, but left shor
                                                      tly thereafter. (3RT
     344-345.) For the next five days, unti f he was arre
                                                            sted, appei lant
     consumed alcohol and drugs and did not sleep.
                                                   (3R       T 345-346,
     364.) Appellant did not know what happened to the
                                                              two
     cellphones that he believed Denton had take
                                                    n. (3RT 372-373.)




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                                                                                                     :'
                                                                                                       ~1




                    C.   Rebutta I evidence
                                                      rebuttal witnesses, Donna
                     The prosecution called two
                                              man. (3RT 377, 380, 383.)
               V i I leda and- Detective Shar
                                                                               e
                                                    grandmother. (3RT 380.) Sh
                        Donna Villeda was Denton's
                                                                            stmas gift a
                                           eived.a ce(lphon~ as a Chri
               testified that Denton rec
                                          r 25, 2015        . (3RT 3$0.) Denton was
               couple days before.Decembe
                                                                                 er 2015,
                                         r       through the end of Decemb
               living with his grandmothe
                                                                       380-381.)
                                           on December 31, 2015. (3RT
               and was visiting his father
                                                  ed as a witness. (3RT 383.)
                    Detective Sharman was recall
                                           e tank    top recovered in appellant's
                He testified that the whit
                                                                                  that no
                                                (3RT 383.) He also testified
                apartment was not ripped.
                                                                         was booked
                                          i n the apartment and none
              cel Iphones were recovered
                                                          ~~.- T~84. -_ -=---=--— --- _ _ ____---- __ ___
---------- ----— -=--
                        n~`s ~r~ ~r~~/ ~f~~r--I~s- a-~-~g
                as defen~            P
                                              ARGUMENT
                                                                                       te,
                                                        duty to instruct, sua spon
                      The_trial court had no
                                                          at of passion voluntary
                       on sudden quarrel or he
                                                            included offense of
                       m anslauahter as a lesser
                       murder
                                                                                        cide
                                                          thejury onjustifiable homi
                         The trial court instructed
                                                                                  luded
                                                   efense and on the lesser inc
                based on reasonable self-d
                                                                                        se(f-
                        se of vol  unt ary  ma ns la ug hter based on unreasonable
                offen
                                                                                        victed
                                                       pite the fact that thejury con
                defense. (1 CT 149-~ 50.) Des
                                                                                              ds
                              of  sec ond  deg ree   mu rd er ,(1 CT 162), appellant conten
                appellant
                                                                                       a sponte
                      tri al cou rt_ com rni tte d pre judicial error in failing to su
                the
                                                                                   sudden
                   nst ruc t th ej ur y als o on  th e lesser i ncluded offense of
                 i




                                                      2fi
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        quarrel or heat of passion voluntary
                                                manslaughter. (AOB 19-31.)
        Appellant asserts there was substant
                                             ial   evidence supporting such
       a n instruction and that the "prosecut
                                               or cou I d not prove beyond a
       reasonable doubt that [appellant] did
                                                 not act pursuant to a
       sudden quarrel or heat of passion." (A0
                                                   B 31.) He further argues
       that the Chapman5 harmless error
                                        sta      ndard applies here even
       though, as appellant concedes, the Cali
                                                 fornia Supreme Court has
      explicitly rejected that argument in fav
                                                 or of app{ying the
       Watsons harm less error standard. (AO
                                                 B 23-26.)
       ~c   However, there was no error becaus
                                                e there- was insufficient
      evidence supporting an instruction for
                                             sudden quarrel or heat of
      passion voluntary manslaughter. Appe
                                            llant's own testimony,
      which was a blow-by-blow recounting
                                               of events, demonstrated
     that his defens ive responses to Denton
                                              's attacks were done with
     deliberation andJudgment rather tha
                                              n under the influence of
      assion. The subjective element requir
                                                ed to warrant an
     i nstruction thus lacked any supportin
                                            g evidence. ~n any event,
     any potential error was harmless bec
                                           ause it is not reasonably
     probable the jury would have accept
                                          ed a heat of passion theory
    while simultaneously rejecting appellan
                                            t's    self-defense theories
    that were all pri rnarily based on the sam
                                                e evidence--appellant's
    own testimony.


            Chapmar~ v. California (1967) 386 U.S. 18, 24.
            People v. Watson (195fi) 46 Ca I.2d 818, 836
                                                         .




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             A. Proceedings be I ow
                                                                             e
                                              ed fury instructions with th
   .~       When discussing the propos
                                                                              M
             uto r an d def ens e cou nse l, the -trial court .listed CALCRI
      prosec
                                                                         re were
                                       planned to give and noted the
      No. 570 as an instruction it
     r~'                                                              I
                                        we go to 522, 570,.571,. 640. thi
                                                                          nk
        no objections to them:"Then
                               ions to any of tho$e." (4RT
                                                           392.) When
        there.were no object
                                                                               0
                                          did not give CALCRIM No. 57
        instructing thejury, the court
                                                                           ), but
                                  pas     sion voluntary manslaughter
       (sudden quartet or heat of
                                     RIM Nos. 522 (provocation           to
        did give, among others, CALC
                                                                          duce
            uc e mu rd er fr om ft rst deg ree to second degree, or to re
        red
                                                                          d 640
                                     }, 1 (imperfect self-defense), an
        murder to manslaughter 57
                                                                         2; 4RT
                                          verdict forms). (1 CT 1.50, 15
        (instructions for cvrr~pleting


                                           d and commen         ced deliberations,
               After thejury was instructe
                                                                               ve
                                           LCRIM No. 570 should also ha
         defense counsel noted that CA
         been given:.
                                                ore [the prosecutor]
               [DEFENSE COUNSEL]: Bef
                                                    concern. It's his belief
                  leaves, [appellant]- did have a
                                               'ury instruction 571.
                  that Your Honor did not read
                                                 k that out.
                  TH E COU RT: I bel ieve we too
                                                 logize. ~ It was my
                  [DEFENSE COUNSEL]: I apo             r



                                                n was we didn't read
                  misunderstanding. His concer
                                                t that yesterday and
                  570. 1 told him we spoke abou
                                                         at one out.               ~
                  THE CO   URT: Yeah, I think we took th
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               [DEFENSE COUNSEL]: I apologize, I
                                                          misunderstood
               [appellant] on that.
              [PROSECUTOR]: i will go get the lapt
                                                   op.
       (4RT 499.)

              B.   There was no substantial eviden
                                                   ce
                   supporting a sudden quarrel or hea
                                                      t of
                   passion voluntary manslaughter ins
                                                               truction
              A trial court has a sua sponte duty to inst
                                                            ruct ajury on
       general principles of law relevant to the
                                                    issues raised by the
       evidence. (People v. Moye(2009) 47 Cal.4th
                                                       537, 548, quoting
       Peop/e v. Br-everman (1998) 19 Cal.4th 142
                                                     , 154.) This includes
      giving instructions on lesser included
                                                offenses, but only
      "whenever evidence that the defend
                                            ant is guilty only of the lesser
      offense is 'substantia I enough to meri
                                                t consideration' by thejury."
      {B~everman, supra, 19 Cal.4th at p. 162,
                                                   citations omitted.) (n
      other words, an instruction on a lesser
                                                 included offense "must be
      given only if there is substantial evid
                                             ence from which ajury could
     reasonably conclude that the defend
                                           ant committed the lesser,
     uncharged offense but not the greater,
                                                charged offense." (People
     v. Thomas(2012) 53 Ca 1.4th 771, 813; see
                                                   a Iso Moye, supra, 47
     Ca I.4th at p. 541.)
           The existence of merely "any evidence
                                                     , no matter how
     weak" is insufficient. (Moye, supra, 47 Ca
                                                   I.4th at p. 553, i nterna f
    quotation marks and citation omitted, ital
                                                   ics in original.}
    Speculation is also not enough. (Peop/e v. Sak
                                                       arias(2000) 22



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                                                                       omitted;
                                        fiation marks and citation
       Cal.4th 596, 620, internal quo
                                                                  t
                                    000) 22 Ca1.4th 690, 735 ["Bu
       see also People v. Waidla (2
                                    less sti_I1 substantial evi   dence."],
       speculation is not evidence,
                                                                               eZa
              rna l quo tat ion ma rk s an d citation omitted; People v. 4rop
        i nte
                                                                             ed to
                                             ["The trial court is not requir
       (2 07} 151 Cal.App.4th 73, 78
                                                                    st.").)
                                      ld not reasonably find to exi
        present theories thejury cou
                                                                          y on
                                           ed in not instructing thejur
              Whether the trial court err
                                                                  vo
                                     determined under the de no
        a lesser included offense is
                                   a, supra, 22      Cal:4th at p. 733.) But in
        standard of review. (Waidl
                                                                     lesser
                                        is substantial evidence of a
        evaluating whether there
                                                                      the
            lud ed off ens e, app ell ate courts "should not evaluate
        inc
                                                                     an, supra,
                                        task for thejury." (Breverm
        credibility of witnesses, a
        19 Ca1.4th at p. 162.)
                                          court erred in not sua sponte
               Appellant argues the trial
                                           included offense of sudden
         instructing.thejury on the lesser
                                                                           'i 9-31.)
                                          untary manslaughter. (AOB
         quarrel or heat of passion vof
         Not so.
                                            ling of a human being with
               "Murder is the unlawful kil
                                                                  e
                                    voluntary manslaughter is th
         malice afiorethought~" but
                                                                  ice.
                                      ling of another without mal
         intentional and unlawful kil
                                    p. 549,      quoting § 187, subd,(a) and
        (Moye, supra; 47 Cal.4th at
                                                                "defendant
                                   ughter is limited to when a
         § 192.) Voluntary mansla
                                                                 bd. (a)), or
                                   or heat of passion'(§ 192, su
         acts in a 'sudden quarrel
                                                                  —the
                                   in 'unreasonable self-defense'
         when the defendant kills




                                              30
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         unreasonable but good faith belief
                                              in having to act in self-defense.
        [Citations.]" (Moye, supra, 47 Cal.4t
                                              h    at p. 549, quoting
        B~everman, supra, 19 Cal.4th at pp.
                                                 153-154.) Because either
        form of voluntary manslaughter "reduc
                                                   e[s] an intentional,
        unlawful killing from murder to volunt
                                                    ary manslaughter by
        negating the element of malice that
                                                 otherwise inheres in such a
        homicide," either form is a lesser nece
                                                  ssarily included offense of
       murder. {Hoye, supra, 47 Cal.4th at
                                                 p. 549, citations and italics
       omitted.)

            "A heat of passion theory of manslaugh
                                                         ter has both an
       objective and a subjective component."
                                                   (Hoye, supra, 47 Cal.4th
       at p. 549.) The objective component req
                                                 uires that the heat of
       passion result from "sufficient provocat
                                                ion," which is conduct that
      "would cause an ordinary person of
                                            average disposition to act
      rashly or without due deliberation and
                                             refl     ection." {/d, at pp.
      549-550.} The subjective component
                                         req       uires a showing that the
      defendant "ki i led while under 'the act
                                              ua I influence of a strong
      passion' induced by such provocation."
                                                  (/d. at p. 550.) t n other
     words, there must evidence that the "re
                                                  ason' of the accused was
     obscured or disturbed by passion to such
                                                   an extent as would
     cause the ordinarily reasonable person of
                                                    average disposition to
     act rashly and without deliberation and
                                                  reflection, and from such
    passion rather than fromjudgment." (/bi
                                                   d., internal quotation
    marks and citation omitted; see also Peo
                                                  p/e v. Beltran (2013) 56




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                                     this state simp      ly reacts from
       Cal.4th 935, 950["A person in
                                    on, without deliberation or
       emotion due to the provocati
                                   heat of passion. voluntary
       judgment."].) It cannot be
                                                               een the
                                  cient time has elapsed betw
        m anslaughter when "suffi
                                                                   reason
                                      w for passion to subside and
        provocation and the fatal blo
                                    Cal.4th       at p. 550, internal quotation
       to return." (Hoye, supra, 47
                                   d.)
        marks and citations omitte
                                                                y:planned to
                                 that the trial court originall
        ~~ Appellant observes
                                                                       or
                                         instruction on sudden quarrel
        give CALCRIM No. 570, the
                                                                         but
             of.pa ssi on vol unt ary ma ns laughter(AOB 20; 4RT 392),
        heat
                                                                   ed,"we
  ~~                                   the record the court remark
        for reasons not indicated in
  ~t                                                                   for
                                        .) Regardless of the rationale
      took that _one out." (4RT 499
                                                                    ntial
                                  ho~~~er,there vu~s nQ substa
      removing the instruction,
   ~%                                                  ~.~
                                     first place.
      evidence to support it in the
                                             ye, where the California
            This case is analogous to Ho
                                                                              l
                   ur t uph eld the tri al cou rt's denial.of a sudden quarre
      Supreme Co
                                            manslaughter instruction. (47
         or heat of passion voluntary
                                                                              oned
            I.4 th at.pp . 540 -54 1.) I n Mo ye, the defendant, who b t udge
         Ca
                                                                     of second
                                      baseball bat, was convicted
         his victim to death with a
                                        -54   5.) Thejury was instructed on,
         degree murder. (/d. at pp. 544
                                                                  on
                                       le. homicide defense based
         and rejected, both ajustifiab
                                                                   self-
                                     d unreasonable or imperfect
         reasonable self-defense, an
                                                                  lesser
                                     supported conviction of the
         defense, which would have
                                         ma nsI aug  hter. (/d, at pp. 540-541.)
         included offense of vo I untary




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        The trial court refused a defense request
                                                      to further instruct the
        jury on a sudden quarrel or heat of pass
                                                     ion theory of voluntary
        manslaughter. (bid.)
              I n upholding the trial court's decision,
                                                            the California
        Supreme Court concluded "substantial
                                             evid          ence was lacking".that
        the defendant ki i led while subjectively und
                                                     er the actual influence .
        of a "strong passion aroused by a 'provoca
                                                   tion,"' but instead
       supported the view that he used the bat
                                                  "defensively to allegedly
       fend off an attack from the homicide vict
                                                   im." (Hoye, supra, 47
       Cal.4th at p. 541.) The defendant's "blow-by
                                                           -blow recounting of
       events" in which he "took great pains .. ,
                                                     tojustify each blow he
       landed" on the victim as a defensive resp
                                                    onse to each of the
      victim's advances showed that he acte
                                            d wit     h deliberation and
      reflection, and was "contrary" to a theo
                                               ry that he "subjectively
      killed in the heat of passion." (fd, at p.
                                                   554.)
            The same reasoning applies here. As in Moy
                                                               e,"the thrust
      of defendant's testimony be{ow was self-def
                                                      ense." (47 Cal.4th at p.
      554; see 3RT 341 [appellant testifying how
                                                      he felt when Denton
      was choking him: "I got really scared ..
                                              .because 1 felt this guy
     was trying to kill me now."]; 3RT 437 [defense
                                                           counsel stating in
     closing argument:"This case, i have said
                                                    it over and over again,
     but it's about self-defense. That's the only
                                                     thing the evidence
     supports."].) Indeed, as in Moye, appellant's
                                                   tes      timony was a
    "blow-by-blow recounting of events" in whi
                                                    ch he characterized




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                                                                              's
           ry act  ion he too k  as a  def ensive response to one of Denton
       eve
                                          p. 554.)
       attacks.. (See 47 Ca I..4th, at
                                                   ied that after Denton.punched
              Specifically, appellant testif
                                                                                  d
                 d sl am me d hi  m to the   flo at, he escaped Denton's grip an
       him  an
                                                                            call the
                                           ed to leave his apartment and
       stood up; appellant then tri
                                             ds at Denton to stop him from
       police, and threw canned goo
                                                                              and
            gin   g aga in; app ell ant  hit  Denton with a closed stapler,
       char
                                                                          ed
                                          opened the stapler and insert
        when that was ineffective,
                                                                              ts
                                            appellant grabbed Denton's pan
        staples into Demon's chest;
                                                                        n from the
                                        essful attempt to remove hir
        and tank top in an unsucc
                                                                               sponse,
              tme  nt; De nt on  pu t app ell  ant in a choke hold and, in _re
        a par
                                                                          only way
                                         -times "because that was the
        appellant bit hirn multiple
                                                                           rcvrestled
                                        enton] to het ~~+~-~-ga"; Denton
        that[he] could ever get[D
                                                                           n iron
                                            in and wrapped the cord of a
        appe I I ant to the ground aga
                                                                              hit
                                           grabbed the iron and used it to
         around his neck; appellant
                                      on stopped strangling him. (3RT
        Denton in the head until Dent
                                       , 362.)
        328-333, 336-337, 339-343, 359
                                              ony demonstrated.that he did
               Thus, appellant's own testim
                                                                       self
                                       her in an attempt to defend him
         not act from passion, but rat
                                          s. (See Moye, supra, 47 Ca!.4th at
         against Demon's a I leged attack
                                         re was insufficient evidence
         pp. 550, 554-555.) Rs such, the
                                                                    on
                                     intensity of the heat of:passi
         appellant had the "extreme
                                                                     supra,
                                      to manslaughter." (Beltran,
         required to reduce a murder
                                       , appellant's testimony swpported
         56 Cal.4th at p. 950.) Rather




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        only a theory of self-defense,_ as to whi
                                                  ch   the trial court properly
        instructed thejury.

              Tf~ is case is distinguishable from B~e
                                                        ver~man, supra, 19
       Cal.4th at pp. 163-164, upon which appe
                                                    llant relies. (A0B 21-
       22.) Breverman held the trial court
                                                 erred in not sua sponte
       instructing~on sudden quarrel or hea
                                                 t of passion voluntary
       manslaughter. (/bid.) In doing so, the
                                                   Court concluded that a
       reasonab 1 ejury could find the defend
                                              ant "was aro     used to passion,
      and his reason was thus obscured" whe
                                                   n he shot from inside, and
      then outside, of his house at a sizeable
                                               gro     up of armed men who
      .had trespassed on his driveway and
                                              smashed his Vc
                                                           i ar multiple
      times. (/bid.) But such a scenario,
                                          whe      re ''there was affirmative
      evidence that the defendant panicked
                                                 in the face of an attack"
     (Hoye, supra, 47 Cai.4th at p. 555 [dis
                                                 tinguishing B~ever-man]),
     differs from the evidence presented
                                             here and in Moye, where the
     killer testified as to a deliberatejustif
                                               ication for each defensive
     response. Moreover, lVloye noted tha
                                          t "[n]othing      in Breve man
     suggests a n instruction on heat of pass
                                                 ion is required in every
     case in which the on fy evidence of unr
                                              easonable self-defense is
    the circumstance that a defendant is
                                             attacked and consequently
    fears for his I i fe." {Ibid.)

           n sum, no error can be shown.




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                                                                                 e
                  !n   an y   ev en t,  an  y  er ror was harmless becaus
             C.
                                                         able thejury would
                   it is not reasonably prob
                                                         passion theory after
                   have accepted a heat of
                                                       lf-defense theories
                   rejecting appellant's se
                                                        ence
                   based on the same evid
                                                                                   pra,
                                                   rd articulated in Watson, su
              The harmless error standa
                                                                            ; thus,
                                            to .instructional error claims
       46 Cal.2d at p. 836 applies
                                                                              ably
              lan t mu st  sh  ow   that   wi thout-the error, "it is reason
       appel
                                                                           ained."
                                           result would have been obt
       probable a more favorable
                                                                                 rks
                                             at p. 955, internal quotation ma
       (Beltran, supra, 56 Ca l.4th
                ati on omi  tte  d; Br  ev er  ma n, supra, 19 Cal.4th at pp. 172-
       and cit
           4; Peo ple  v. La  rs en (2 01  2)  205 Cal.App.4th 810, 829.)
        17
                                                                          not on what
                                       under this standard "t'ocuses
        Harmless error review
                                                                                      ve
                  ab  le ju ry  co ul d do,   bu t wh at such ajury is likely to ha
        a reason
                                                                        n."
                                          e error under consideratio
        done in the absence of th
                                                                              al.)
                                           .4th at p. 177, italics in origin
       (Breverrnan, supra, 79 Cal
                                                    California Supreme Court
               Appellant concedes "[tjhe
                                                                         heat-of-
                                          ing from the omission of a
        assesses prejudice result
                                                                             der the
                n  vol unt ary   ma ns  la ug  hter instruction at trial un
         passio
                                                                             e harmless
                                              asks this Court to apply th
         Watson standard," but still
                         rd  art icu lat ed   in  Ch ap  ma n, supra, 386 U.S. at p. 24.
         error standa
                     ) He   at te mp ts  to  su  pp or t this request by arguing that
        (AOB 23.
                                                                                 a (1980)
            e Uni ted  Sta  tes  Su  pr  em e  Court held in Beck v. Alabam
         th
                                                                               lated
                                               case, that due process is vio
         447 U.S. 625, 634, a capital
                                                                            offenses,
                                             instruct on lesser included
          when a tr ia l court fa i ls to
                                                                                   s like
                   t su ch  a  rul e sh ou ld   be  extended to noncapital case
          and tha

                                                                                              ~_,

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       the one here. (A0B 24-25.} This arg
                                                 ument not only
       m i scharacterizes the scope of Becks
                                                holding, but, as appel cant
       concedes, is also an argument the Cali
                                              forn       ia Supreme Court
       reJ ected i n B~everman, supra, 19 Ca
                                                l.4th at pp. 166-169. (AO B
      25.)
              As Breverman explained, Beck"stan
                                                        ds only for the
      proposition 'that a State may not erec
                                                 t acapital-specific, artificial
      barrier to the provision of instructions
                                                  that actual{y are lesser
      i nc i sided offenses under state law.r,r (19
                                                      Ca 1.4th at p. 168, quoting
      No~vkins v. Reeves(1998 524 U.S. 88,
                                           97-9         8.) It does not stand
     for the broad proposition asserted by
                                               appellant. (See AOB 24-25.)
             Breve~rnan additionally noted that the
                                                          United States
     Supreme Court subsequently gave Bec
                                                 k "a narrow construction."
    (19 Cal.4th at pp. 167-168, citing Sch
                                           ad         v. Arizona {1991) 501
     U.S. 624,627 and Hopkins, supra, 524 U.S
                                                       . at pp. 97-98.) As a
     resu It, B~everman further reasoned gha
                                                 t "the high court's
    decisions leave substantia I doubt that the
                                                       federa I Constitution
    confers anyright to lesser included offe
                                                 nse instructions in
    noncapitai cases." (19 Cal.4th at p. 168
                                                , italics in original.)
    Br-evermanthus explicitly rejected the appl
                                                       ication of Beck to
   noncapital cases, which is what appellant requ
                                                     ests here(AOB 25-
   26): "we deci i ne to do what the high court
                                                has expressly not
   done to hold that such an instructional rule
                                                   is required in
   nonca pica I cases by the federa I Constitution
                                                       ." (19 Ca 1.4th at p.




                                      37
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                                                                                   or
                                                that the Watson harmless err
       169.) Breverman affirmed
                                                                                       on
                 rd  app (i es  for   a t leg ed   fai !ures to sua sponte instruct
       standa
                                                  ause the rule for giving such
       lesser included offenses bec
                                                                                      , at pp.
                                                  ively from California law." (Id
       instructions "derives exclus
                                                                                         has
                   .)  Sin  ce  Bre   ver   'ma  n,  th e California Supreme Court
       165, 169
                                                                                    (See,
           nti nue  d to  ap pl   y th  e   Wa tson harmless error.standard.
       co
                                                                                     ment
                                                  h at p. 556.) Appellant's argu
       e.g., Moye, supra, 47 Ca(.4t
                                                                                          law..
                   ts on  do es    not  app   ly   her  e is thus contrary to existing
        that Wa
                                                          on standard, appellant's
                 U nder the applicable Wats
                                                                                    e. After
                                                 Again, Moye is instructive her
        prejudice argument fails.
                                                                                              or
                       err  or, - Mo  ye   con   clu  ded  in the alternative that any err
        finding no
                    mle ss.   (4   7 Ca   I-.4 th  at  pp.  556-558.) Like here, thejury
        was har
                                                                                         nse,
            cei ved  ins tru cti    ons  on   rea   sonable and imperfect ~€af-defe
         re
                                                                                  of second
                                                 in convicting the defendant
         but rejected both theories
                      rd  er .  (Id   , at   p.  55 7;  se e 1CT 149-750 [reasonable and
         degree mu
                                                                                        .)
               rfe  ct sel f-d  efe  nse  ju  ry   ins  tructions]; 1 CT 762 [verdict]
         i mpe
                                                                                              me
                                                             that "it is reasonable to assu
                  Accordingly, Moye reasoned
                                                    e defense evidence bearing on
         thejury considered aII of th
                                                                                             ed
                     t's  sta  te   of  rn ind    an d  th e question whether he harbor
          defendan
                                                                                       onable
               ice  wh en   it ent   ert   ain  ed  and rjetted his claims of reas
          mal
                                                                                       h at p.
                                                     ect) self-defense." (47 Cal.4t
          and unreasonable (or imperf
                                                                                    ng the
                                                    cause the evidence supporti
          556, italics in original.) Be
                                                                                          y
                  dan t's  sel f-d   efe  nse   the ori  es. was nearly identical to an
          defen
                                                     of passion theory, it was not
          evidence supporting a heat




                                                    .~
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        reasonably probab{e that ajury would
                                                reject the self-defense
        theories and simultaneously accept the heat
                                                        of passion theory.
       (/d. at p. 557.) If the evidence was insuffic
                                                     ient for thejury to
        accept one of the self-defense theories, it was
                                                          also insufficient to
        support the subjective element required for
                                                       a heat of passion
        theory. (lbid.)
             The same reasoning applies here. It is not
                                                             reasonably
       probable thejury would have accepted a
                                                   heat of passion theory
       when it also rejected appellant's self-defense
                                                        theories, and all
       these theories were based primarily on the
                                                    same evidence—
       appeilant's testimony. Self-defense was the
                                                       theme of defense
      counsel's closing (see, e.g., 4RT 424, 437), but~
                                                        the~   ury still
      convicted appeilant of second degree murder
                                                    . "Once thejury
      rejected [appellant`s] claims of reasonable
                                                  and imperfect self-
      defense, there was little if any independent
                                                   evidence remainin        g
     to support his further claim that he killed
                                                   in the heat of passion,
     and no direct testimonial evidence from [app
                                                    ellant] himself to
     support an inference that he subjectively harb
                                                        ored such strong
     passion, or acted rashly or impulsively whil
                                                    e under its influence




            Defense counsel gave his closing argument(4RT
                                                              419-439)
    before the court instructed the~ury(4RT 458-495)
                                                      , and thus
    before it was apparent the court was not going to inst
                                                           ruct on
    sudden quarrel or heat of passion voluntary mansla
                                                        ughter.




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                                                                   e."
                                   perceived need -for self defens
      for reasons unrelated to his
                                   p. 557, italics omitted.)
      (Moye, supra, 47 Cal.4th at
                                         al court erred in not giving
            Accordingly, even if the tri
                                                                 , supra,
                                   or was harmless. (See Moye
       CALCRIM No. 570, any err
       47 Cal.4th at pp. 557-558..)
                                                                            erred
                                            his claim that the court
        I. .Appellant forfeited
                                                      on; in any event there
             i n giving a flight instructi
                                                potential- error was
             was no error and any
                                                    of objection to the
             harmless; counsel's lack
                                                      tute ineffective
             i nstruction did not consti
             assistance
                                                                                  ght
                                                  arguments regarding the fli
               A ppellant raises several
                                                                                 jury.
               cti on, CA   LC  RI   M  No . 37  2, the trial court gave to the
       instru
                                                                            `to the
             B  32- 46. )  Al th ou  gh  def ense counsel did not abject
       (AO
                                                                           feited, and
                                           ues that his claim is not for
       instruction, appellant arg
                                                                                        l.
                      l's  fai lur e con  sti tut es  ine ffective assistance of counse
       that counse
                                                                                     on
                    34. )  App  ell  ant  als o ass  erts that giving the instructi
       (AOB     33-
                                                                              flee from
              pre jud ici al err  or  bec aus  e appellant "did not run or
        wa s
                                                                          residence"
                                          alked to his ex-girlfriend's
        the scene," but rather "w
                       g  th e  vic tim 's bo  dy  ato ne  in his apartment. (AOB 36.)
        after leavin
                                                                                  ed the
               lla nt fur the  r ar  gu es tha  t the flight instruction lessen
        A ppe
                                            of and violated his federal
        prosecutor's burden of pro
                                                40-44.)
        constitutional rights. (A0B
                                                                                     use
                                                        -The claim is forfeited beca
                 Alt of these arguments fail.
                                                                              not affect
            fen se cou  nse l  did  not   obj ect, and the instruction did
         de
                                                                              at he did
                                             ellant's testimony about wh
         his substantial rights. App



                                                  ~~
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         and where he went when he awoke
                                               and realized he killed Denton
        constituted strong evidence supporti
                                               ng the flight instruction.
        Moreover, any potential error from the
                                                   instruction was harmless
        because the instruction did not requ
                                             ire thejury to find that
        appellant fled or what to infer from any
                                                    finding of flight. The
        ineffective assistance of counsel claim
                                                  fails for the same reasons.
        And, appef lant's argument about the
                                               flight instruction lessening
       of the burden of proof has been consiste
                                                  ntly rejected by California
       courts.

            A.   Proceedings below
             When discussing the proposedjury inst
                                                        ructions with the
       prosecutor and defense counsel, the tria
                                                  l court mentioned that it
       intended to give CALCRIM No. 372, the
                                                   flight instruction, and
      noted, "I don't think anyone had any issu
                                                   e with" the instruction.
     (3RT 390.} Defense counsel did not obje
                                             ct.
            The court instructed thejury on CAL
                                                CR I     M No. 372 as
      foilows:

            If the defendant f{ed immediately after
                                                       the crime was
           committed, that conduct may show that
                                                        he was
           aware of his guilt. If you conclude that
                                                       the defendant
           fled, it is up to you to decide the meanin
                                                       g and
           i mportance of that conduct. However, evi
                                                         dence that
           the defendant fled cannot provide guilt
                                                      by itself.
    (4RT 477; 1 CT 148.)




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                                                   aim
            B.   Appellant forfeited the cl
                                                feiture argument, appellant
             Anticipating respondent's for
                                                                           nnot
               s thi s cla im is pre ser ved on appeal because ('I) he ca
       argue
                                                                       and.(2)
                                          ects his substantive rights;
       forfeit the claim since it aff
                                                                       ve
                                          object constituted ineffecti
       defense counse!'~s failure to
                                                                        ]t is
                                         warrants reversal because "[i
       assistance of counsel that
                                                                      ction could
          nco nce iva ble tha t def ens e counsel believed the instru
        i
        have benefitteci appellant       in any way." (A0B 33.) .Both

        arguments fail.
                                                an instruction correct in the
              First, the failure to object to
                                             . (Peop/e v. Virgi/(2011) 51
        law forfeits the claim on appeal
                                                                           07,
                                        v. Stowell(2Q03) 31 Ca1.4th 71
        Cal.4th 1210, 1260; People
                "St ron g pol icy rea son s ~up po~ t this rule:'It is both unfair
        7'114.)
                                                                     t, it timely
            ine ffi cie nt to per mit a claim of error on appeal tha
        and
                                                                       en easily
                                        the trial court, could have be
        brought to the attention of
                                                                            4,
                                         ll, supra, 31 Cal.4th at p. 117
        corrected or avoided."' (Stowe
        citations omitted.)
                                                 court may review any
               N evertheless, "an appellate
                                                                      in the [trial)
                                         gh no objection was made
        i nstruction given even thou
                                                   pellant] are affected." (Peopl
                                                                                   e
                     sub sta nti al rig hts of [ap
        court if the
                                                                              v.
            Ar re do nd o(1 97 5) 52 Ca I.A pp .3d 973, 978; see a Iso People
         v.
                                                                               onal
                                            482, fn. 7; § 1259.} For instructi
         Food(1998) 18 Cal.4th 470,
                                                                     ersible
                                      'substantial rights' with rev
         errors, "[t]he cases equate
                                                                    ice?"
                                        ult in a miscarriage ofjust
         error, i.e., did the error res




                                             ~ 2
                                             4
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       (A~redondo, supra, 52 Ca i.App.3d at p. 978;
                                                    see     a 1so Ca I. Const.,
       art. VI, § 1 ~; Watson, supra, 46 Cai.2d at p.
                                                        836.)
               Without objecting below, appellant forf
                                                         eited his claim
       here.$ As discussed post, in Section I I.C, appe
                                                         llant's argument
       that his rights were substantial{y affected
                                                     by the error fails.
               Appellant's additional argument to avoi
                                                          d forfeiture, tfiat
       defense counsel provided ineffective assi
                                                stance, must also be
      rejected for the reasons explained post, in Sect
                                                       ion      (I.F. In short,
      as described post, in Section I l.C, there was
                                                       no error in the court
      giving the flight instruction, and thus
                                              no defi   cient performance or
      prejudice. (See People v. Thompson (2010) 49 Ca1.
                                                        4th        79, 122;
      People v. Fernandez(2013) 216 Ca I.App.4th 540,
                                                            565.)
          C.    I t was not error to give the fi i ght instruct
                                                                ion
               when a ppe f fa nt left his apartment the
                                                            day
               after killing Denton, locked his door, told
                                                                his
               ex-girlfriend that Denton was dead in
                                                            his
               a partment, and did not return to his
               a partment for severs I days
           A trial court must instruct thejury on flig
                                                       ht where
     evidence of flight "is relied upon as tending
                                                     to show guilt,"
    (§ 1127c), and such evidence "shows that
                                             the      defendant departed
    the crime scene under circumstances suggesti
                                                       ng that his

          8 Respondent respectful ly requests that this
                                                        Court rule on
    the forfeiture argument made herein even if-
                                                  the merits are
    reached for purposes of potential future federal
                                                     habeas review.
   (See- Harris v. Reed(1989) 489 U.S. 255, 264,fn. 10.)




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                                                                           e v.
                                         a consciousness of guilt." (Peopl
       movement was motivated by
                                                                                   d
                                           328, internal. _quotation marks an
       Bonilla(2007) 41 Cal.4th 37.3,
                                             uires a "purpose to avoid being
       citations omitted.) Flight req
                                                                               of .
              ved   or arr est ed, " but  doe s not require the "physical act
       obser
                                              far-away haven." (People v. Abilez
        running nor the reaching of a
                                           internal quotation marks and
       (2007) 41 Cal.4th 472, 522,
                  s omi tte d; see  als o Peo p/e  v. Bradford(1997) 14 Cal.4th
        citat ion
                                                                                 not
                                                truction, the prosecution need
        1005, 1054.) "To obtain the ins
                                                                                  id
                                               d, i.e., departed the scene to avo
        prove the defendant in fact fle
                                             find the defendant fled and
        arrest, only that ajury could
                                                                               "
                                             ness of guilt from the evidence.
        permissibly infer a conscious
                              ~~3           z'`8-~--~e-~~igkt~-~-~lef.~r~a nt
       (Bonilla, supra~fi~l~4~
                                              sion of a crime, or after the
        i mmediately after the commis
                                                                                     to
               nda nt ha  s bee n acc  use d of a crime, is not sufficient in itself
        defe
                                                                              iding
          sta bli sh gui lt, but  is a fac tor thejury may consider in dec
        e
        the defendant's guilt or innoce
                                            nce. (§ 1127c;'People v. Price
                                   ,- 45$        .)
       (2017)8 Ca1.App.Sth 409, 454
                                                    stions of law and are
                  I nstructional errors present que
                                                an (.1998) 18 Cal.4th 558, 569-
         revie   wed de navo. (People v. Guiv
         570.)
                                               instruction was given in error
              Appellant contends the flight
                                      ely" leave his apartment after
        because he did not "immediat
                                         t day,. and when he did leave he
        killing Denton, but left the nex
                                                                       ex-
                                      scene," but merely went to his
        "did not run or flee from the




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        girlfriend's nearby apartment, and "did
                                                      not leave his
       neighborhood." (AOB 36.) He asserts
                                                    this all demonstrated that
       he "did not flee." (AOB 38.)         i
              This argument ignores the applicable
                                                   sta       ndard and the
       evidence. It is irrelevant whether appe
                                               llan     t "ran" away from his
       apartment, or that he stayed in his nei
                                                    ghborhood in the days
      after the murder.- (See Abilez, supra, 41
                                                      Cal.4th at p. 522.) What
      matters is whether appellant left the apa
                                                      rtment with the
      "purpose to avoid being observed or arre
                                                     sted." (lbid.) The
      evidence meets that criterion.

            Appellant may not have left his apartm
                                                          ent immediately
     after killing Denton, but that is only bec
                                                     ause—according to h is
     own testimony—he passed out. (3RT 343.
                                                      ) When appellanti
     realized the next day~~that Denton was
                                                   dead, appellant admitted
     that he "panicked,'""wanted to get out
                                                   of the apartment," and
    "was afraid at that mornent to ca f I the po
                                                     I ice." (3RT 344-345.)
     Video surveillance showed appellant
                                                leaving his apartment at
    8:14 a.m., soon after he woke up, and
                                                walking faster than normal.
    (2RT 112-115, 121-123, 127-130; 3RT 299
                                                    , 343.) And when
    appellant left, he locked his apartment
                                                   door, thereby preventing
    someone from finding Denton's body. (2RT 135
                                                          -136.)
          Further suggesting consciousness of gui
                                                         it. was appellant's
   fa i i ure to inform the po I ice of what hap
                                                pened. (3RT 267.)
    I nstead, he only told his ex-girlfriend,
                                                Dorsey, that Denton died




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                                                                             ent.
                                                dy was in appellant's apartm
                   after they fought and his bo
                                                    l her he intended to ca!! the
                   (ZRT-145.) Appellant did not tel
                                                   RT 146          .) Moreover, _appellant
                    police about what happened. (2
                                                                                  the
                         ai ne d aw ay fr om his ap ar tment, and thus away from
                     rem
                                                                                    for
                                                      used drugs, and did.not sleep
                     crime scene, while he drank,
                                                          345-346, 364.) When appellant
                     five days. (2RT 715; 3RT 299,
                                                                                     reby
                         arr est ed, he -ha d bags an d backpack (3RT 179-180), the
                     was
                                                                                This all
                                                    to return to his apartment.
                     suggesting he did not plan
                                                                                 of a flight
                                                   guilt and supports the giving
                     points to consciousness of
                                                      ra,      14 Cal.4th at p..1055 [flight
                     i nstruction. (See Bradford, sup
                                                                                           ere he
                                                        endant left the apartment wh
                      instruction proper where def
                                                                                                      _
                                                           t--a-p~-~t-r~e~~-pa-mod-b is
                      k i l l ed the victim, wen o                                                                    --
                                            -r-r d~-oat -of f ~~v ~~ . - - — - - -- - - - - - -- - - - - - -- - - - -
                 - longi~z~~~~nd-askedfor-a~
- --------------be~
                                                     upon are distinguishable. t n
                      The cases appellant relies
                                                      .3d -833, 869-$70, abrogated on
                      People v. Crandell(1988} 46 Cal
                                                                                       -
                                                      yton (2002) 28 Cal.4th 346,. 363
                      another ground in People v, Cra
                                                                                                  e
                               Co  ur t fo un d err or in giv ing the flight - instruction becaus
                      365, the
                                                                                            pose of
                          re wa s evi den ce  th e def endant intended to return to dis
                      the
                                                                                            such
                                                         while returning; there was no
                      the bodies and was arrested
                                                                                             ~_.
                                                           - Appellant also_celies__onP_eopl
                      evidence here. -(See ~O-B-37-38.)
                               n (1 98 0) 27 Cal.3d 1, 37, ove rruFed on another ground in
                      v. Gr ee
                                                           t.4th 225, 241, for its "warning of
                      People v. Martinez(1990)20 Ca
                                                                                e of the
                                                  mere departure from the scen
                      the courts not to confuse a
                                                  ght from the area." (AOB 39.)
                      crime with a deliberate fli




                                                             46
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         Notwithstanding the fact that Green
                                                   affirmed the denial of
         defendant's request for an instruction
                                                    on the absence of fiight, the
         defendant there committed the murder
                                                     in a remote area at night,
        remained in his home surroundings for
                                             -   two weeks after the crime,
        contacted police about the victim's mov
                                                ements on the day of the
        murder, and continued to visit with frie
                                                 nds as before. (27 Cal.3d
        at pp. 36-37.) None of these facts are
                                                   present here: appet lant left
        the victim's body r n his residence, did
                                                   not contact police, and
        disappeared for five days afterward. (3R
                                                       T 299, 345-346, 364.)
             People v. Watson(1977) 75 Cal.App.3d
                                                          384, 402-4~3, and
       People v. Fremont {1937) 22 Ca I.App.2d
                                                    292, 300 are a Iso
       distinguishable. {See AOB 39-40.) The
                                                    flight instruction in
       Watson was based onfyon the "mere fact
                                              of         defendant's arrest
       nearly two days later and miles away fro
                                                     m the crime scene"; for
      reasons explained previously, there is far
                                                     more evidence here
      showing consciousness of guilt. (75 Cal.App.
                                                         3d at pp. 402-4Q3.)
      Fremont is not relevant because the cour
                                               t     there found "[n]o
      evidence" presented to support a flight inst
                                                       ruction in either the
      defendant's or victi rn's conflicting testimon
                                                     ies of what occurred
     (22 Cal.App.2d at p. 300), whereas here the
                                                       re is evidence of flight
      in both parties' versions of events.

           Thus, contrary to appe!lant's arguments the
                                                      ,   re was
     sufficient evidence for the flight instruction
                                                    and thus no error by
     the court in giving that instruction.




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                                                                           rmless
                             D.    Any potential error was ha
                                                          .error i n giving the flight
                              To the extent.there was any
                                                                                   e Watson
                                                   s harmless under the applicabl
                       i nstruction,~that error wa
                                                                                                           ng
                                                     va         (1.988) 45 Cal,3d 604, 628 [findi
                       standard. -(See People v. Sil
                                                                                                           ght
                                                 on in            the trial court's giving of a fli
                       harmless error under Wats
                                                                                                        on
                                                             ante, in Section I.C, under Wats
                       i nstruction].)9 As explained
                                                                                 result
                                                   is reasonably probable that a
                       there is error only when it
                                                                                   nt the
                                                     would have been reached abse
                       more favorable to appellant
                                                     .Zd           at p. 836.)
                       error. (Watson, supra, 46 Cat
                                                                        The flight instruction itself
                               Any error hire was harmless.
                                                                                                it
                                                              infer consciousness of guilt "if'
                       merely permitted thejury to
                                                                      ~--~.~a, "tli?rr~~ninq and
                       found ap—pe-1Tan~~1~~~{~
                                                                                                                                 - ----
                                             a~- cvr ~du~c~ "was --~ x~a ~~~ sly ~-1 -ef t-to th-e-~u~~, butit - - - - - - - - -
                                       af~~i
- - -- - - - - - - - - - -importance-
                                                                 lt by itself." (1CT 7.48; see
                          could not be used to "prove gui
                                                                                                           en,
                                                              at p. 1055 "[T]he instruction giv
                          Bradford, supra,'14 Cal.4th
                                                                                                              ry
                                ate ly .co nve yed  the  con  cep  t that if f fi ght was found, theju
                          adequ
                                                                                              at flight
                                                        alternative explanations for th
                   .    was permitted to consider
                                                                                           ury was
                                                        sciousness of guilt."].) The~
                        other than defendant`s con
                                                       me of the instructions may be
                        further instructed that so
                                                                                              _to only
                              pli cab le dep end ing on- the jur _y's.factua_I_ findings, and
                        i nap
                                                                                                 d
                                                            do apply to the facts as you fin
                        follow the instructions "that


                                                                         ry to Siva, appellant
                                  s Without support, and contra                                       ndard
                                                               Chapman harmless error sta
                         m istakenly asserts that the                                                    ed.
                                                               This argument should be reject
                         applies here. (A4B 44-45.)



                                                                   .•
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        them." (1 CT 140; People v. Fariey(1996)
                                                      45 Cai.App.4th 1697,
        1711 [flight instruction was not prejudic
                                                    ial, in part, because the
        court instructed thejury that not a
                                               I i instructions may be
        applicable].)

                Moreover, there was substantial evi
                                                      dence supporting the
       jury's murder verdict. as describe
                                          d    in greater detail ante, in
       Section I.B, appellant testified that
                                               he killed Denton in self-
       defense and thejury was instructed on
                                                   reasonable and imperfect
       self-defense theories, but thejury's reje
                                                  ction of those theories in
       finding appef lant gui Ity of second deg
                                                ree mur der indicates they
       did not find him credible. Indeed, the
                                                evidence showed Denton
      suffered a skull fracture, had 22 lace
                                               rations to his head and face
      (15 to~17 of which were each potentia
                                            lly    fatal), staples in his
      chest, and multiple bruises. (3RT 197-198,
                                                      200-203, 206, 209-
      210, 214, 218-219, 223-224, 239.)
            Therefore, even in the absence of an
                                                     instruction regarding
     flight, it was not reasonably probable
                                               appellant would have
     received a m-ore favorable outcome. (Watso
                                                     n, supra, 46 Ca1.2d at
     p. 836.)

          E.    The flight instruction did not lessen
                                                        the
                prosecutor's burden of proof and
                                                    thus did riot
                viol ate appellant's federal constitut
                                                       ional
                rights
          Appe!la nt contends the flight instruct
                                                     ion created an
    "unconstitutional permissive inferenc
                                            e[]" because it "unfairly




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                                                                                         to
                                                was guilty of murder and fled
       suggested [appellant] knew he
                                                                                         a
                                               appellant admits the Californi
       avoid arrest." (AUB 43.) Yet,
                                             argument with regard.to the
       Supreme Caurt rejected this
                                                                                        44,
          ede ces sor  of  CA LC  RI M   No  . 372, CALJ IC No. 2.52. (AOB
       pr
                                                                                        ed by
                                             Cal.4th 130,.179-180, supersed
       citing People v. Mendoza,. 24
                                                                                         7)3
                                              stated in People. v. Brooks(201
       statute on another ground as
             5th  1, 63 , fn. 8.)  App ell  ant   does. not argue Mendoza is bad
        Cai.
                                                pplicable to CALCRiM No. 372,
        law or that its reasoning is ina
                                                                                          d
                                                en if he did, courts have applie
        the instruction given here. Ev                                -     --
                                   ~o  CA   LC RI    M  No  .  37 2 an d  rej ected identical
        Mendoz   a' s rea  son ing
                                                                                           e,
          rg um en ts tha  t it low ers  the   prosecutor's_ burden of proof. (Se
        a
                                                    a p~-~4-5-6;-~~ "Ora--i~~
        e.g., Price, supra, 8 ai. pp.
                                                                                                    - - - -- -
                       ~No . ~72 ~~d ~~~ ~ot  -i-i-gtr   r
                                                       te- ~-t -~e-p-~css~~u~iD~'~-l~~r-den-of- - -
       [CAt~F~I~M
                                                    sonable doubt."]; People v.
         proof to show gu i It beyond a rea
           er na nd ez Rio  s(2 00 7)  15 1  Cal  .App.4th 1754, 1758-1159["By
         H
                                                                                            nts
                                                  oza .. . we reject Rios's argume
         parity of reasoning to ...Mend
                                               ermissibly presumes the existence
         that CALCRIM [IVo.] 372 imp
                gui lt an  d low ers  ,th e pro sec  uti   on's burden of proof."].)
         of.his
                                                 ls in light of Mendoza and these
         A ppellant's argument thus fai
        subsequent cases.
                  ppe lla nt' s onl y at te mp t to dis tinguish Mendoza is to argue
               A
                                                                                 on."
           n tha t cas e the re  wa  s so me  evidencejustifying the instructi
        "i
                                                                              re was
                                           lained ante, in Section i i.C, the
        (AOB 44.) However, as exp
                                                                                 e
                                              the instruction. Accordingly, th
        sufficient evidencejustifying




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        flight instruction did not lower the pros
                                                     ecutor's burden nor result
         i n a federal constitutional violation.

              F.   Appellant's ineffective assistance of cou
                                                             nsel
                   claim fails
               As noted ante, i n Section I I.B, appeilant
                                                               attempts to avoid
       forfeiture by asserting that his defense
                                                    counsel's failure to object
       to the flight instruction constituted inef
                                                    fective assistance of
       counsel. (AOB 33-34.) He contends "the
                                                     re was no possible
       tactics I purpose" in fa i I ing to object. (AO
                                                       B 34.)   This argument is
       meritless because there was neither defi
                                                     cient performance nor
       prejudice in defense counsel's failure to
                                                    object.
             To establish. ineffective assistance, appellan
                                                                 t "must show
      that counsel's representation fei l below an
                                                      .objective standard of
      reasonableness." (Strickland v. Washingt
                                               on (198          4) 466 U.S. 668,
      688; accord, People v. Bolin(1998) 18 Ca1.
                                                     4th 297, 333.). Tactical
      errors are generally not deemed reversible,
                                                       and .counsel's
      decision-making must be evaluated in the
                                                      context of the available
     facts. (Bolin, supra, 18 Cal.4th at p. 333;
                                                    see People v. Lucas
     (1995} 12 Cal.4th 415, 442["Reviewing cour
                                                       ts reverse convictions
     on direct appea I on the ground of incompetence
                                                              of counsel only if
     the record on appeal demonstrates there coul
                                                        d be no rational
     tactics i purpose for counsel's omissions."].)
                                                      And even if counsel's
     representation was deficient, relief will be gran
                                                          ted only if
     appellant "show[s]that there is a reasonable
                                                        probability that, but
    for counsel's unprofessional errors, the resu
                                                      lt of the proceeding



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                                                   (St     rickland, supra,.466 U.S. at p.
                     would -have beers different."
                                                          Cal.4th 394, 418.)
                     694; People v. Avena (1996) 13:
                                                            ctive assistance, a reviewing
                           I n evaluating a claim of ineffe
                                                                                   g
                                                  ntial" and begin with a "stron
                     court "must be highly defere
                                                                                   sional
                                                  ant received reasonable profes
                     presumption" that a defend
                                                       nd, supra, 466 U.S. at p. 689.) "A
                      assistance of counsel. (Strickla
                                                      a presumption that counsel's
                      reviewing court will indulge in
                                                  wide range of professional
                      performance fell within the
                                                                                 be
                                                  l's actions and inactions can
                      competence and that counse
                                                                                  Gray
                                                   nd trial strategy." (People v,
                      explained as a matter of sou
                                                            ]f the record on appeal sheds no
                     (2005) 37 Cal.4th-768, 207.) "[I
                                                               ~ail~ct~o-~e~-i~        ~~npr
                         fi ght on why counse ac e~ ~i
                                                                   1-Y-eon-!~ -b~-r~o-~a~i-sf-ac-tor-~-------
                                                                                                              ----------
                                 n ~c~, -.- urr lE~ stf i~r e=s'
--- - - - - - - - - - - chaIfie ~
                                                       must be rejected." (People v.
                      explanation,~the claim on appeal
                                                     h 264, 266, quotation marks and
                      Mendoza Tello(1997) 1.5 Cal.4t
                       brackets omitted.)
                                                               is improvidently brought in
                              As an initial matter, the claim
                                                                                        of
                                                       e proper way to raise a claim
                       this direct appeal; rather, "th
                                                        l is genera Ily by writ of habeas
                       ineffective assistance of counse
                                                                                           al
                                                      -the reasons-behind -cour~se_l's tri
                       corpus,- not appea I;" because
                                                               t in the appet late record.
                       strategy are not generally eviden




                                                              52
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         (People v. Lucas(2014)60 Cal.4th
                                                 153, 307, disapproved on
         another ground in People v. Romero
                                                  {2015)62 Ca1.4th 1.}~0
                 To the extent this Court consid
                                                   ers the ineffective assistance
         claim, appe!last cannot demonstra
                                                te that his defense counsel's
         performance was either deficient
                                               or prejudicial. For the reasons
        described ante, in Section f I.C, it
                                               was not error for the court to
        give the flight instruction. There
                                               was abundant evidence from
        which ajury could find appellant
                                             's flight from his apartment
        suggested consciousness of guilt.
                                               (See Boniiia, supra, 41 Cal.4th
       at p. 328.E Because there was no err
                                                 or, counsel was not required
       to interpose a futile objection to avo
                                                id a claim of ineffective
       assistance. (Thompson, supra, 49 Cal
                                                  .4th at p. 122 ["Counsel is
       not ineffective for failing to make
                                             frivolous or futile motions."~;
      see also Fernandez, supra, 216 Cal.Ap
                                                  p.4th at p. 565 ["Thus, we
      also conclude or1 this record that app
                                                ellant's trial counsel was not
      ineffective for failing to object, bec
                                             ause there was a tactical
      reason for not doing so. In short,
                                             there was no error."j, citing
      Lucas, supra, 12 Ca I.4th at pp. 436
                                             -443.)
              •And, for the reasons explained
                                                ante, in Sections I.0 and
      I I.D, there was also no prejudice.
                                             Appellant's ineffective
     assistance cia i m fa i Is.


          'o This point is equally applicable
                                                  to appellant's two other
     ineffective assistance claims discus
                                             sed post, in Sections I I I.B and
     I V.E.




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                                             failure to request an
       I( I. Defense counsel's                                                            t
                                                    ation instruction was no
             "earwitness" identific                                                       d
                                                    y such instruction woul
              i neffective because an
              have been duplicative
                                                                                              ve
                                                        e counsel provided ineffecti
                Appellant contends defens
                                                                                               ed
                     - by   fai lin g. to   re qu es t ajury instruction that outlin
       assistance                                      f    -~
                                                                                      es of
             ors  for  ho  w   to ev  a I ua te  the "ea rwitness" testimoni
       fact
                                                                                     assingame
                                             . (AOB 47-59.) Because Bl
        Blassingame and Gibson
                                                                                        at
                                                 help and Gibson testified th
        way unsure who yelled for
                                                                                      "the
                                                  e police, appellant argues
        appellant told her to cal I th
                                                                                      l to the
              ifi  cat ion . of [ap  pel   lan t]  as the speaker was crucia
        ident
                                                                                    istance in
                                              y needed instructional ass
        defense case, and thejur
                                                                                           B 52.)
                    a  det err  r~i na   ion  `~a ~to -va~-a--Ea-Nei-#o~-~e~l_p_~~O
        making
                                                                                                               -----_
                                         n~= ~~s  ~~t ~,{t~  -I~ ~r~ -co u-~ dt~e-raa-satis~actorx - - - _ _ -
        A~cor~i~ngly;a-p-p~et-fia-
                                                                                                  lure
                                                            the- instruction" and that fai
                                                         J~

                    tio n  for  fai  lur  e to  re qu es t
        e xpl  ana
                                               UB 52,)                     .
         prejudiced appellant. (A
                                                                                                uld
                    ow  ev er  , an   "e  ar wi tn es s"  identification instruction wo
                  H
                                                                                            ve on
                 be en   dup  lic ati  ve   of an   instruction the trial court ga
         have
                                                                                          There was
                                                 ility of witness testimonies.
         how to evaluate the credib
                                                                                       ent
                                                not objecting, and no defici
         thus a tactical reason for
                                                                                               ely
                 rm  an ce  . --T her  e  wa  s a~s  o.n o prejudice__because_it is_pur
         perfo
                                                                                         ted to a
           pec  ula tiv  e th  at a   dup  lic ative instruction would have
         s                                                ;.
          d ifferent verdict.            ~0'~~,~~i~ M  -




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             A.     Proceedings below
                When discussing the proposedjur
                                                     y instructions with the
        prosecutor and defense counsel, the
                                               court mentioned the
        instruction for eyewitness identificati
                                                   on, CALCRIM No. 315.
       (3RT 389.) The court stated:
                ind icated i didn't think 315, the eye
                                                        witness
             identification instruction, was necess
                                                        ary on this case
             because there doesn't seem to be any
                                                        issue about it.
      (3RT 389.) Defense counsel did not obje
                                              ct.
           B.     Any "earwitness" identificati
                                                on instruction of
                  the kind appellant now seeks wou
                                                    ld have
                  been duplicative
            Appellant asserts it was ineffective
                                                     assistance for defense
      counsel to not request a modified version
                                               of CALCRIM No. 315—
     the instruction for eyewitness testimony--
                                                -or to request some
     other instruction that i ist~d factors for
                                                  thejury to use i n
     evaluating the testimonies of the two
                                           wit      nesses who heard the
     crime occur. (AOB 51-52.} He contends the
                                                      jury needed an
    "analytical framework" to evaluate the
                                                  testimonies of
     Biassingame and Gibson and whose
                                            voice they heard coming
    from appellant's apartment making call
                                                  s for help and to call the
    po{ice. (AOB 58.) As described ante, in Sec
                                                     tion I I.F, to establish
    ineffective assistance, appei lant must
                                              show deficient performance
    and prejudice. {Strickland, supra, 466 U.S
                                                    . at p. 6$8.) Appellant
    cannot show e ither here.




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                                                               52-53), there is no sua sponte
                     As appellant concedes(A0B
                                                                                          required
                 ty to giv  e th e ins tru  cti  on that appellant asserts was
             du
                                                                                              a
                                                    006) 39 Ca1.4th 556,599 [no su
             here. (Cf. People v. Cook (2
                              to ins  tru ct  on  "fa   cto rs  to  consider in proving identity
             sponte duty
                                                                                                  of
                    ew it  ne ss tes tim  ony "j.  )   A  pinpoint instruction, the type
             by ey
                                                                                            cular
                                                      s was required, relates "parti
             i nstruction appellanfi assert
                                                                                           of the
                                                  e -case or'pinpoint[s]' the crux
             facts to a legal issue in -th
                                                                                                9, 824.)
                     dan  t's cas e."   (Pe  apf  e  v.  Gutierrez(2009) 45 Cal.4th 78
             defen
                                                                                         arge on the
               `Ei the r  par ty ma   y  pre  sen  t to the court any written ch
             "
                                                                                              at it be
                                                      matters offact, and request th
              law, but not with.respect to
                                                                                            1,
                                                    (2015) 233 Cal.App.4th 32, 11
              given."' (People v. Mackey
                                        lic s in~  ac~y~GeTreratl~,-"         t ~tfi-a-I-so~raa
              qu  oti ng §  11 27 , ita
                                                                                                                 - - - - - -_
- ------                            an  -in ~~C ru~ ~io  n-o ffe rer d by-the-c~efer~dar~t-if-it --- - - - - - -
               properTyrefiuse
                                                                                              or
                                                     is argumentative, duplicative,
               incorrectly states the law,
                                                      ion], or if it is not supported by
               potentially confusing jcitat
                                                                                            005) 37
                 ubs tan tia l evi den ce.  "'  (lb id., quoting People v. Moon (2
               s
                                                      andard instructions fully and
               Cal.4th 1, 30.) "[W]here st
                                                                                             point
                                                    y upon a particular issue, a pin
               adequately advise thejur
                                                       properly refused." (People v.
                instruction on that point is
                                                        p.4th -832, 857.)
                Canizalez(2011) 197 CaF.Ap
                                                                  request an "earwitness"
                        Defense counsel's failure to
                                                                                                       e
                          cat ion  ins tru cti  on  wa   s  not   ineffective assistance becaus
                identifi
                                                                                           trial court
                   ch  an  ins tru cti  on  wo ul  d  have been duplicative. The
                su
                                                                                               list of
                   ve  CA  LC  RI   M  No .  226  , wh  ich provided thejury with a
                ga

                                                                                                                           __


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       factors to consider when eva I uati ng
                                                 a witness's testimony. (1 CT
       1 43; 4RT 467-469.) One the factors list
                                                     ed specifically addressed
       the kind of instruction appellant now
                                                  seeks:"How well could the
       witness see, hear, or otherwise perc
                                             eive.the things about which
      the witness testified?" {1CT 143, ital
                                                  ics added.) Other relevant
      factors the instruction listed included
                                                 :(1)"How reasonable is the
      testimony when you consider ail the
                                                 other evidence in the case?";
      and (2)"Did the witness make a statem
                                                   ent in the past that is
      consistent or inconsistent with his or her
                                                     testimony?" {1CT 144.)
      The i n struction a Iso advised that "tw
                                              o people may witness the
     same event yet see or hear- it differently.
                                                    " (1 CT 144, italics
     added.

            This instruction was sufficient to assi
                                                    st the   jury in
     evaluating Blassingame and Gibson's tes
                                                    timonies and to provide
     helpfu 1 context with respect to:(1) Bla
                                              ssingame's tes     timony that
     he cou t d not tell whose voice screamed
                                              for    help when his
    apartment was across from, but not adjacent
                                                        to, appei lant's
    apartment(2RT 49, 57); (2) Blassingame's tes
                                                        timony that he
    knew appellant for about one year(2RT 47);
                                              (3) Gibson's
    testimor~y that she heard appellant say
                                                 "call the police," but did
    not hea r a female voice, when her wall
                                                 was adjacent to
   appellant's apartment and (2RT 77-78, 8~);(4)
                                                 how          much weight
   to assign Gibson's testimony when her tria
                                                    l testimony somewhat
   conflicted with her January 5, 2016 sta
                                                 tement to investigating




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                                                                                            at she
                              th at sh e he ar d app ell ant say. "call the police," but th
                     officers
                                                                                       3, 291);
                          he ar d a fe ma le voi ce in  the apartment(3RT 280-28
                     also
                                                                                  h, and had a
                                                    y that she was friends wit
                     and (5) Gibson's testimon
                                                                                      ey were
                                                      " with, appellant because th
                     "longstanding relationship
                      neighbors(2RT 89).
                                                                                            e
                                                                sented and the fact that th
                              n I fi ght of the- evidence pre
                                                                                     aluating
                                                        on relevant factors when ev
                      court instructed thejury
                                                                                         specific
                             ss  tes  tim ony  , as dis cus sed above, the addition of a
                      witne
                                                                                       (See
                       ea rw it ne ss  " ins tru cti on would have been duplicative.
                      "
                                                            p.4th at p. 8.57 [where given
                       Canizalez, supra, 197 Cal.Ap
                                                                                     on a
                                                       equately advise thejury up
                      "instructions fully and ad
                                                                                         e
                          tic ula r iss ue, " add iti ons ins~ructi~rr~rop-e~(-~t~e€a-su
                      par                                                                                               - --
                                            1~ ~~-C ~~t .4t h- ~23 ~~-~6. .~E den i~f of~.-p-inpoi-~t-- - - - - - - - -
                                     (2~01~
- - - - - - - - - -- - - v. Gonzales                                                              cause
                                                             not guilty of murder simply be
                         instruction that "a person. is
                                                                                                  "
                                      led to st op so me  on e els e from cornrr~itting a murder
                       he or she  fai
                                                                                             ction
                                irm ed as  dup lic ati ve of the given patternjury instru
                       was  aff
                                                                                         d and a
                                                        at a crimp is being committe
                       that "[rn]ere knowledge th
                                                                                        tting"].)
                                                      not amount to aiding and abe
                       failure to prevent it does
                                                                                               6
                              ver , app ell  ant do es no t co  ntend that CALCRIM No. 22
                        Moreo
                                                                                            h 208,.
                            in ad eq ua te . (S ee- Peo ple--v. Harrison (2005) 35_ Ca i.4t
                        was
                                                                                          in hope
                                                         on on a witness who testified
                        253-254 [pinpoint instructi
                                                                                              , of
                                  cy  wa s .du pli cat ive of th e given pattern instructions
                        of lenien
                                                                                          that
                              h th e de fe nd an t cit ed no  authority for the argument
                        w hic
                        they were inadequate].)




                                                                  m
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                     Because an "earwitness" identification inst
                                                                   ruction would
               have been duplicative of CALCR I M No. 226,
                                                               there was a tactics
               reason for defense counsel to not request
                                                           the type of "earwitness"
              identification instruction appellant asserts
                                                             was necessary. (See
              Fernandez, 216 CaI.App.4th at p. 565.} Accordin
                                                                  gly, there was no
              deficient performance.
                    There was also no prejudice. The "earwitn
                                                                  ess"
              identification instruction appei lant contends
                                                               was necessary
             merely would have provided thejury with
                                                           more overlapping
             factors on how to evaluate Biassingame and
                                                             Gibson's testimonies
             about the voice they heard coming from ,appella
                                                                nt's apartment.
            (See AOB 55-57 [proposing a list of instruct
                                                            ions that could have
             been given].) But as previously discussed, the
                                                               jury already had
            an instruction--CALCRIM No. 226—guidin
                                                           g them in their
            evaluation of those testimonies.

                  Without acknowledging this instruction, appe
                                                                   llant claims
           thejury's verdict indicates it rejected Gibson's
                                                            test   imony that she
            heard appellant tell her to call for police. (AO
                                                             B 58-59.) He also
           argues that with the instruction, thejury would
                                                                have been more
           t ikely to believe Gibson. {AOB 58-59.) Both poin
                                                                ts are
           speculative. The verdict alone does not indicate
                                                                whether thejury
           accepted Gibson's testimony; thejury could hav
                                                               e believed her,.
           but not believed appellant's story that he killed Den
                                                                   ton only in
          self-defense. Moreover, there is no concrete basi
                                                            s for the




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                                                                                      ed
                                                       instruction would have render
                     assertion that a duplicative
                                                                                        able
                        ibs on mo re cre dib le in thejury's mind. There is no reason
                     G
                                                                                       ble
                                                        ld have reached a more favora
                     probability that thejury wou
                                                         requested an "earwitness"
                     verdict if defense counsel had
                                                         supra, 466 U.S. at p. 694.)
                     i nstruction. (See Strickland,
                                                              ow prejudicial deficient
                             Because appellant cannot sh
                                                 counsel with regard to an
                     performance by his defense
                                                                                 of
                                                   second ineffective assistance
                     "earwitness" instruction, his
                                                          ed.
                      counsel claim must be reject
                                                                       prosecutorial error claim;
                         I V. Appellant forfeited his
                                                                          s no prosecutor i a t error
                                 but i n any event there wa
                                                                                         nt and any
                       -                       g-c_I~iri~ rebuttal argume                                     ~-   -   --
                                        tia  l err   or   wa s   ha  rm le ss ; and the ineffective
                                 poten
                                                                                         -- - - _- -
       - - - - - - - - -  - - - -a s~s Tst anc e-~cl ~1- m #~~ i-l~- ~s-we I-I-'1 - - --
---- -
                                                                           utor committed prejudicial
                                   Appellant argues the prosec
                                                                                                     ense
                                                                    argument,"sandbagging" def
                         error in her closing rebuttal
                                                                                                         OB
                                 sel by  "sa v[i ngJ   all co   mm   ent on the physical evidence"(A
                         coun
                                                                                                       reply"
                                                                      that was "immune to defense
                         74)for her. rebuttal argument
                                                                                                      utor's
                                                                l did not object during the prosec
                        (AOB 7'1). Defense counse
                                                                                                           e
                                  tal  arg  ume nt,   whi  ch   app   ellant admits constitutes forfeitur
                          rebut

                                                                 re app description of
                              ~~ Prosecutorial "error" is a mo
                                                       is no evidence the prosecutor
                       appellant's claim since there                                    v.
                                                         rn fi tted misconduct. (people
                       i ntentiona I ly or knowingly com
                                                        -667; see ABA House.of
                       Centeno(2014)60 Cal.4th 659, 666
                                                           9-70, 2010).[adopting
                       Delegates, Resolution 100B .(August        guish between
                                                       rts to distin
                       resolution urging appellate cou
                                                     sconduct"j.)
                       prosecutorial "error" and "mi




                                                                ra
                                                                .
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         of the claim. (AFB 76.} Appellant asserts howe
                                                            ver, the lack of
        an objection constitutes ineffective assistance of couns
                                                                  el. (AOB
        76-77.) These arguments are meritl~ss.

                Notwithstanding appellant's concession that this clai
                                                                          m is
        forfeited, there was a Iso no error because the prose
                                                              cutor's
        rebutta f argument was responsive to defense couns
                                                              el's reliance
        on appellant's testimony to bolster the self-defense theor
                                                                     y.
        Contrary to the case appellant primarily relies on,
                                                              in which the
       rebuttal argument was 10 times longer than the initia
                                                                 l closing
       argument, the prosecutor's rebuttal here was shorter
                                                                 than the
       initial closing argument. In any event, any error
                                                             was harmless
       because the alleged error was limited to argument, whic
                                                                     h the
       court instructed thejury was not evidence. Appel
                                                            lant's
       ineffective assistance claim also fails because he
                                                            cannot show
       deficient performance or prejudice.

           A.    Closing arguments
            The prosecutor began her closing argument by revi
                                                                     ewing
      the evidence of what happened outside appellant's
                                                             apartment
      before, during, and after appellant killed Denton, such
                                                                 as the
      video surveillance and the testimonies of appellant'
                                                             s neighbors,
      Blassingame and Gibson. (4RT 397-405.) She then
                                                              discussed the
     flight instruction; how appellant left his apartmen
                                                            t the morning
     after killing Denton and visited his ex-girlfriend, Dors
                                                                ey; and the
     i mportance and cred ibi lity of Dorsey's testimony. (4RT
                                                                 405-408.}




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                                                                                                                   w
                                                                     Denton's body was.found and ho
                             The prosecutor recapRed how
                                                                                                              lure to
                                                                   she argued that appellant's fai
                             appellant was arrested, and
                                                                                                                   ed
                                   nti on aft er his arr est tha  t he acted in self-defense discredit
                             me
                                                                      08-411.) She reiterated the
                              his self-defense theory. (4RT~4
                                                                                                                w 15
                                                                      d to Denton's autopsy, and ho
                             testimony and evidence relate
                                                                      's head were potentially fatal.
                              to 17 of the 22 blows to Denton
                                                                      r explained thejury instructions
                             (4RT 411-412.) The prosecuto
                                                                      ments of murder and the
                              related to the degrees and ele
                                                                                                               RT
                                                                    ant's self-defense theories. (4
                               i nstructions related to appell
                                                                                                               ree
                                                                    pellant was guilty of first deg
                              412-41.7.) She argued thatap
                                                                        llowing:(1)the duration of the
                               murder based in part on the.fo
                                                                                                                     ~
                                           app ell ant s  a s~e~ tim~ q--~ l~a- t--~-e--aEc-c-id~r~ta~ ~ v r i n nPr
                              fight;(2)
                                                                                                                                - - - --- - -
                                                                                      ~~-h-s~99c~~~~d-a~p~l-lan-t- - - ~- - - -
- - - - - -- - - - - - - - - -nffDento~n'st~r~ktop -d-t,~-r-frig ~I~i-g-~~ ~~-
                                                                    n why Denfion's body was found
                               fabricated the story to explai
                                                                         s in the chest; (3) video
                                without a shirt and with staple
                                                                                                                       y
                                                                          leaving his apartment on Januar
                                surveillance showing appellant
                                                                           aned himself of the blood from
                                1, which suggested appellant cle
                                                                    fact that appellant locked his
                                the night before; and (4) the
                                                                          (4RT 417-418,)
                                 apartment door before leaving.
                                                                               ant's version of events, as
                                        Defense counsel retold appell
                                                                                                                   s
                                                                        ony,. including - that Denton wa
                                 explained in appellant's testim
                                                                         w him outside the liquor store and
                                 using drugs when appellant sa
                                                                                                                   nted
                                                                       o started when appellant confro
                                 that the fight between the tw
                                                                         cellphones. (4RT 420-422.)
                                 Denton about the two missing




                                                                      62
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^-.




              Counsel gave a blow-by-blow acc
                                                  ount of how Denton attacked
              appel{ant, similar to appellant's
                                                  testimony, and emphasized that
             appellant was "throwing everythin
                                                    g at this young man who will
             not stop attacking him"and that he
                                                     was "struggling to survive."
            (4RT 422-423.) He described all
                                            of      appellant's defensive
             responses to Demon's advances,
                                                 including throwing canned goods
             at Denton, stapling Denton, biting
                                                   Denton, and hitting Demon's
             head with an iron. (4RT 422-423.)
                                                    Defense counsel then argued
            appellant committed ajustifiable
                                                  homicide by acting in self-
            defense because "[t]hat's what all
                                                  the evidence show[ed]." (4RT
            424-425.) Counsel noted and exp
                                              lained the specificjury
            instructions retatedto his self-defe
                                                   nse theories, circumstantial
           evidence, and the prosecutor's bur
                                                  den of proof. (4RT 427-432.)
                  He then reviewed all the eviden
                                                     ce, other than appellant's
           testimony,that supported appellant
                                                  's self-defense theories,
           including: Blassingame and Gibson
                                             's tes    timonies about the voices
           they heard come from appellant's apa
                                                    rtment; Dorsey's testirnany
           about the injury she saw on appe{lant
                                                    's head when he visited her;
          testimony from (Jfficer Ochoa that
                                               he looked through a drawer,
          which counsel characterized as "compr
                                                    omise[ing] the scene"; -how
          Demon`s autopsy revealed an initial
                                              pos     sible positive test for
          drugs and a high blood alcohol conten
                                                   t level and; and how the
          blood near the door of the apartment
                                                   showed appellant was
         trying to get Denton out of the apartm
                                                   ent, not keep him in. (4RT




                                         63
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                                                                                                                   imony
                                       )  De  fe  ns e  co un se l  ag  ai n reviewed appellant's test
                           432-435.
                                                                                                             ated his
                                ut wh   y  an  d   ho  w  he  act  ed inself-defense, and reiter
                           a bo
                                                                                                           435-437.)
                                                                 acted inself-defense. (4RT
                           argument that appellant
                                                                                                                      nse
                                             tip  le  ti  me s des  cri  bed   the case as one of self-defe
                           Counsel mul
                                                                                                          the
                                                                437, 438}, and noted it was
                          (see, e.g., 4RT 424, 431,
                                                                                                           self-defense
                                                                 ove appellant did not act in
                            prosecutor's burden to pr
                                                                                                            the
                                                                 .his argument he noted that
                          (4RT 437..) At the end of
                                                                                                                y have
                                   cut  or   wo ul  d "tr  y to  an  swer any questions that I ma
                            prose
                            brought up." (4RT 438.)
                                                  al. , th e  pro sec   uto r  be   ga n by informing thejury that
                                    f n rebutt
                                                                                                                        nse
                                          ar  gu  me nt   wa  s "i r~ reb  utt   a 1 to anything that the defe
                            her fi na   I
_
-                                                                                                          '~ ~QRT 4'~~_
                                ght   ha  ve  bo   ug  ht  up   t  a rfe~i-rregd~a~d-r-es-s-i-r~
                             mi
                                                                               ~
                                                                              i-  1-e ~vt c~e nce -ai d-a    -~~ ~d -hat- - - - - - _ - _ - -- - _ - -
                                         ie d scu~~~d ~ircrrmstant
 -- - - - - - - - - - - - - 440.r .SF
                                                                                                           of the
                                                                    e counsel's interpretation
                            she disagreed with defens
                                                                                                                         )
                                               sh  ow in  g  ap pe ll  an t act   ed in self-defense.(4RT 440.
                             evidence     as
                                                                                                                      ied to
                                                                             at "nothing" appellant testif
                                     The prosecutor argued th
                                                                                                             we have in
                                                                    to the actual evidence that
                            "made any sense relative
                                                                                                                         e
                                            th e  phy  sic  al evi  den  ce,   th  e photographic evidence, th
                             this case;
                                                                                                                    s
                                     evi   den ce.  "  (4  RT  441  .)   The prosecutor supported thi
                             video
                                                                                                                  ent with
                                 gu me   nt  by   dis  cus sin  g  ho  w the evidence was inconsist
                             ar
                                                                                                              luding: no
                                                                   to his fight with Denton, inc
                              appellant's testimony as
                                             th  e tw   o ce ll ph on  es  ap pe  ll  ant claimed Denton took;
                              one found
                                                                                                                      od
                                      sur  vei  lla nce   sh  ow ed    app  ellant was not covered in blo
                              video
                                                                                                                elf some
                                   n   he   lef t his   ap ar tm  en  t, indicating he cleaned hims
                              w he




                                                                           64
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            time after killing Denton; the posi
                                                    tioning of appellant and
            Denton's bodies while Denton purpor
                                                ted       ly choked him with the
            iron's cord did not make sense; the
                                                sec     ondary drug testing of
            Denton was negative for methamphe
                                                      tamine; appellant said the
            lights were off in the apartment, whi
                                                      ch contradicted his
            testimony that he was looking for clo
                                                      thes for Denton; appel Cant's
           claim that he ripped off Denton`s tan
                                                      k top after stapling Denton's
           chest was inconsistent with the fact
                                                    that the tank top was not
           ripped and that the. staples were stil
                                                  l   in Denton's chest when his
           body was found; appellant's explanati
                                                      on for the blood on the door
           did not comport with the amount of
                                                    blood found; and there was
           no damage to the apartment walls to sup
                                                         port appellant's
          testimony that Denton punched the wal
                                                       ls. (4RT 441-452.
                She also noted that appellant's time{i
                                                           ne of events was
          i nconsistent with the video survei I
                                                  lance, such as the fact that he
          said the fight began after Denton ree
                                                    ntered the apartment, but
          the video showed him reentering at 10:
                                                      30 p.m. and Blassingame
         did not hear any fighting until an hou afte
                                               r     r that. (4RT 446, 450._)
         The prosecutor concluded her rebutt
                                                   al argument by discussing
     ~   voluntary manslaughter and arguin
                                                  g that appellant's killing was
         murder, not manslaughter. (4RT 454-45
                                                       6.) She also twice
         emphasized that the "physical eviden
                                                   ce [was] completely
         inconsistent with [appellant's] trial tes
                                                     timony." (4RT 454, 456.)




                                          65
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                                                            ect during or after the
                         Defense counsel did not obj
                 prose  cutor's rebuttal argument.
                                                                        osecutorial error
                       B.        Appell-ant forfeited his pr
                                claim.
                                                                                                 ,
                                                                  secutorial [error] for appeal
                          "To preserve a claim of pro
                                                                                            the basis
                     ppe  l Ian t] .m us t  mak  e_  a  tim  ely objection, make known
                 [a
                                                                                           ~ury."
                                                           e trial court to admonish the
                  of his objection, and ask th
                                                                                                on
                         ple  v.  Br  ow n (2 00  3)  31    Ca I.4th 518, 553; People v. Pars
                 (Peo
                                                                                          s. to this
                    20  08 ) 44   Ca1 .4t h  33 2,  359   .) There are three exception
                  (
                                                                                             d have
                                                             uest for admonishment woul
                   rule:_ ('I) the objection or req
                                                                                             to cure
                                                           shment would be insufficient
                   been futile,(2) the admoni
                                                                                     uled the
                   the error,or #                 '-a-I-era-r~-+~-r~~-iate~y_a~ce~r
                                                                                           request an
                   obj  ect ion ,-I eau i-r ig- a-p pcU  a~t ~-it~a~~.a.n.~pp~~.u~ty_ _to
- - - - --~- - - --
                                                                                           5, 462.)
                                                         v. Panah (2005) 35 Cal.4th 39
                   admonishment. (People
                                                                                                      it
                                of the  se exc  ept  ion   s to app ly, appellant must show that
                    For one
                                                           . (lbid.)
                    is supported by the record
                                                                                                    yet
                                                                     ense counsel did not object,_
                             A ppellant concedes that def
                                                                                         (AOB 76.)
                                                        of these exceptions applies.
                    does not assert that one
                                                                                               (AOB 76
                           , as   app ell ant   ac kn   ow le dg es, this claim is forfeited.
                    Thus
                                                                                               e basis it
                         y fai lin g  to tim  ely  obj   ect  to the unfair argument on th
                   ["B
                                                                                              ue on
                                                             nsel waived a meritorious iss
                     was improper rebuttal, cou
                                                                                              h 159,
                                                           v. Bryden(1998)63 Cal.App.4t
                     a ppeal."]; see also People
                                                                                               object to
                          ["[  Def  end  ant ] ac kn   ow  le dg es that his counsel did not
                     184
                                                                                          utorial
                         s reb  utt  al ar gu  me nt   ; thus, any argument of prosec
                     thi
                     m isconduct is waived."].)



                                                             ..
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             Appellant also maintains that defense coun
                                                            sel's failure to
       object constituted ineffective assistance of coun
                                                         sel. (A0B 75-76.)
       but as described post, in Section 1V.E, this
                                                      argument also must be
      rejected. There was no error, and thus
                                               there was a tactical
      reason for not objecting; moreover, no prej
                                                  udic   e can be shown.
     (See Thompson, supra, 49 Ca 1.4th at p. 122; Fern
                                                           andez, supra,
      216 Ca I.App.4th at p. 565.)

          C.    The prosecutor's rebuttal argument was
                shorter than her initial closing argument
                                                           and
                was responsive to the self-defense the
                                                       ory
                asserted in defense counsel's closing
               argument
           Appellant argues the prosecutor "sandbagged"
                                                              defense
     counsel by giving "an artfully slender opening arg
                                                        ume    nt that,
     primarify addressed consciousness of gui It evid
                                                        ence"(AOB 71),
     and then saved her argument "attack[ing] any
                                                        basis for a
    voluntary manslaughter conviction"(AOB 68)
                                                       anti I her rebuttal
    closing argument.
         "When attacking the prosecutor's remarks to the
                                                           jury, the
    defendant must show that, in the context of the whol
                                                         e argument
    and the instructions, there was a reasonable like
                                                         lihood thejury
    understood or applied the complained-of commen
                                                        ts in an
    i mproper or erroneous manner." (People v. Centeno(201
                                                                 4) 60
   Cai.4th 659, 667, citations, quotation marks, and brac
                                                              kets
   omitted.) "In conducting this inquiry,[the Cour
                                                   t]'dol    es] not
   lightly infer' that thejury drew the most dam
                                                  aging rather than



                                     67
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                                                                                    s."
                                                  g from the prosecutor's statement
                     the feast damaging meanin
                                                    .4th 894,970, citation omitted,
                     (People v. Frye (799.8) 18 Cal
                                                                                  45
                                                   und in People v. Doolin(2009)
                      disapproved on another gro
                    Ca I.4th 390, 421, fn. 22.)
                                                                  nts, in particular, section
                            With regard to closing argume
                                                                                                counsel,
                                                         s the prosecutor and defense
                    7093, subdivision (e), permit
                                                                                                jury.
                                                      argue the case to the court and
                    at the close of evidence, to
                                                                                                      se
                                                          to open the argument and to clo
                    The prosecutor has the right
                                                           (e).) "Rebutta I argument-must
                    the argument. (§ 7093, subd.
                                                                                                   ense
                                                       rly respond to arguments by def
                     permit the prosecutor to fai
                                                                                                       utor
                                                          Cal.App.4th at p. 184.) A prosec
                     counsel." (Bryden, supra, 63
                                                                                               y~nC~•~p                           __
                                                 ts   in  re~  u            ~rr e--~a-i -~I
                     thus can make comm       en
                                                                                                                                   --- -
- ------                                   f~n ~ecoa rrs e~l =    -~r-- e= bas ed ors ~lae-r--e~~~d."_ — _ - =_ -_ - - - - - - - -
         - - - - - - to argu mend-ofcte
                                                                                                  owed,
                                                        .2d 536, 560.) What is not.all
                    (People v. Hil!(1967)66 Cal
                                                                                                  ed by a
                                                      " initial closing argument follow
                     however, is a "perfunctory
                                                                                                   inson
                       ubs tan tia lly longer reb utt  al argument. (See Peop/e v. Rob
                     s
                                                                                                  utor
                                                      , 505.) Such a tactic by a prosec
                    (1995) 31 Cal.App.4th 494
                                                         e reply." (lbid.)
                     "preclude[s] effective defens
                                                                     prosecutor's rebuttal
                             For example, in Robinson, the
                                                                                                       nt,
                         gu me  nt  wa s 10 tim es lon  ger than his initial closing argume
                      ar
                                                                                                       ed
                                                         of reporter's transcript as compar
                      constituting some 35 pages
                                                            e initial closing argument.
                      to the three-and-one-half pag
                                                                                                   d that
                                                         p.4th at p. 505.) Robinson hel
                     (Robinson, supra, 31 Cal.Ap
                                                            prosecutor's withholding of
                      this tactic, in addition to the




                                                                 ::
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        exculpatory evidence and prejudicial questioning
                                                              of a particular
        witness, constituted prosecutorial error.. (/d.
                                                          at pp. 502-505.)
              Appellant relies primarily on Robinson for his
                                                                 prosecutorial
       error claim here. (See, e.g., AOB 71-72.) Robinson
                                                               is
       distinguishable for several reasons. First, contrary
                                                                to appellant's
       contention (A0B 72[claiming the initial closing
                                                            argument was
       shorter than the rebuttal]), the prosecutor`s rebuttal
                                                                argument
      (19 transcript pages) was shorter than her initi
                                                       al    closing
      argument(23 transcript pages) by four pages. {com
                                                               pare 4RT
      396-418 with 4RT 439-457.) This contrasts significan
                                                                 tly with
      Robinson, where the rebuttal argument was ~Otimes
                                                                 /onge~than
      the initial closing argument. (Robinson, supra, 31
                                                              Ca I.App.4th
      at p. 505; see also Fernandez, supra, 216 Ca1.App.4th
                                                                at pp. 563-
      564[no Robinson error where the prosecutor's rebu
                                                             tta I argument
      was six pages shorter than the initial closing argu
                                                            ment].)
            Additionally, appellant overstates any al leged subs
                                                                     tantive
     si rni larities between the prosecutor's arguments here and
                                                                          those
     in Robinson. Appellant contends the prosecutor "for
                                                               the first
     time" raised arguments or highlighted evidence in the
                                                                 rebuttal
     argument, and lists 19 bullet points he claims the prosecut
                                                                          or
     waited for rebuttal to discuss. {AOB 64-68, 72-74.) Seve
                                                                    ral of
    these points actually were discussed by the prosecutor
                                                                 in her
    initial closing argument, such as: the video evidence (com
                                                                     pare
    4RT 397-405 with AOB 64); the details of Denton's injur
                                                                    ies




                                    .•
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                                                                     B 65); how Denton's clothing
                        (compare 4RT 411-412 with AO
                                                                                       port
                                                       video surveillance, did not com
                         before the fight, as shown by
                                                                                     k top
                                                     that he ripped off Denton's tan
                         w ith appellant's testimony
                                                      ;                 the inconsistency between the
                        (compare 4RT 417 with AOB 66)
                                                                                                              ped
                                                                  st and appellant's claim he rip
                         staples found in Denton's che
                                                                                               h
                                                            ton's.chest(compare 4RT 417 wit
                         the tank top after.stapl ing~ Den
                               67, 73} ; that Den ton lef t app ellant's apartment twice before
                         AOB
                                                                                             was
                                                              h A0B 73); and ~Denton's body
                         the fight(compare 4RT 399 wit
                                                             hout a shirt, and with staples in
                         found with bite marks and wit
                                                             S with AOB 73).
                         the chest(compare 4RT 417-41
                                                                              points appellant highlights
                                  To the extent any of the other
                                                                                                                                    _
                                               by  t   e _pr  os          ~tn-trey- i-rti~-i-a-1-c-1-
                           were -not raised
                                                                                                                                 -- - - -
                                             i
                                           fa- r -re spo nse --~ ~-t t~e -~( ~eo r~-   posed-i-n-a pe[-larat'~---- - - - - - - -
---   - - - - - - - -- - - ~h~yv+i~re-`'~r
                                                                supra, 216 Cal.- App.4th at p.
                          closing. argument." (Fernandez,
                                                               nsel's closing argument was tha
                                                                                               t
                                 Th e th em e of def ens e cou
                          564.)
                                                                                        , 431,
                                                      self-defense. (See, e.g., 4RT 424
                          appellant killed Denton in
                                                                                        on
                                                       theory, counsel relied primarily
                          437,. 438.)- To support that
                                                                                        with
                                                       what occurred during the fight
                          a ppe!la~t's testimony as to
                                                          then argued that the other
                          Denton in the apartment, and
                                                           's story. (See, e.g., 4RT 422-423,
                           evidence corroborated appellant
                                                             utor pointed to various pieces of
                           432-435.) fn rebuttal, the prosec
                                                                  in the record, that showed
                           evidence, all of which were
                                                             testimony. (See, e.g., 4RT 454
                            inconsistencies with appellant's
                               he physical evidence [was]
                                                          completely inconsistent with
                          ["T


                                                                                                                                            ~ -

                                                                        70
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         [appellant's] trial testimony."].)
                                               In doing so, she used the
         evidence to try to discredit the pri
                                                mary basis--appellant's
         testimony—for the self-defense the
                                                ory asserted in defense
         counse{'s argument. Attempting
                                        to sho       w inconsistencies between
        the main evidentiary basis of def
                                          ens    e counsel's theory and the
        remainder of the evidence is a per
                                               missible and fair response.
              Contrary to appellant's assertion (A
                                                       OB 74), the prosecutor
        discussed the physical evidence in
                                               both her initial and rebuttal    f




        closing arguments. .Robinson error
                                                does not.occur simply because
       the prosecutor discussed some pie
                                         ces      of evidence in her rebuttal
       that she did not mention or equall
                                              y emphasize in her initial
       argument. Doing so is permissible
                                               and necessary so that the
       prosecutor can fairly respond to def
                                               ense counsel's closing
       argument. (See Fernandez, supra,
                                               216 Cal.App.4th at p. 564';
       Bryden, supra, 63 Ca I.App.4th at
                                           p. 184; Hill, supra,66 Ca 1.2d at
      p. 560.) Moreover, both defense cou
                                              nsel. and the prosecutor
      informed thejury that the prosecuto
                                               r would be responding to new
      points counsel made in his closing arg
                                                 ument. (4RT 438, 439-440.)
            Finally, because this is the only pro
                                                    secutorial error claim
      raised by appellant, this is not a cas
                                              e of cumulative prosecutorial
     error like that in Robinson, in which
                                               the court found error both
     before and du-ring tria 1. (See People
                                               v. Reyes(201.6) 246
     Cal.App.4th 62, 74-75 [finding no cum
                                               ulative prosecutorial error




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                                                                              ed
                   tin gui shi ng Ro bi ns on be cause the court there.revers
           and dis
                                                                     .)
                                         ces of prosecutorial error]
           based on multiple instan
                                                                               e,
                                                 binson is thus misplaced her
                 A ppellant's reliance on Ro
                                     or claim I:acks      merit.
           a nd his prosecutorial err
                                                           was harmless
                 D.    f n any event, any error
                                                                                  nted to
                                                     prosecutor's remarks amou
                   Even assuming that the
                                                                               ds this
                                            prejudiced. Appellant conten
           error, appellant was not
                                                                                   77.)
                      err or  of fed era l con  sti tutional dimension." (AOB
y          "was an
                                                                               on only.
                 pro sec uto ria l err or  vio lates the federal Constituti
           But
                                                                            s that it
              he n it "c om pr is es a  pat tern of conduct so egregiou
           w
                                                                                         na
                          tri al wi th su  ch  unf  air nes s as to make the convictio
                    the __`
            infects__                                                                                   __ _
                                                 pl e v. Gionis~'1              ~t~~~,
                    of du  e  pro ces s."  (P eo
            denial                                                                                 --
                                        io n ma  rk  s an dc ta ti on orni~ted~~Qn~~ ----- - - - -
            1 214, internal quot     at
                                                                              less it is
                                               s is the error prejudicial un
            under those circumstance
                                                                                      6 U.S.
                         be yo nd  a  re as on ab le  do ubt. (Chapman; supra, 38
             harmless
                                                                                      0,
                     ; se e Pe op le v. Katz en be rg er(2009) 178 Ca I.App.4th 'I 26
            at p. 24
             1269.)
                                                    rial misconduct is cause for
                   But generally, "[pjrosecuto
                                                                               more
                      on ly wh  en  it is re as on ably probable that a result
             reversal
                                                                              secutor]
                     le to [ap pel lan t] wo ul d  have occurred had the [pro
             favorab
                                              t attacked by [appellant]."
                                                                           (People v.
             refrained from the commen
                                                                                       on
                                         24        5, quotation marks and citati
             Milner(1988) 45 Cal.3d 227,
                                     another gr          ound i n People v. Sanchez
             omitted, disapproved on
                                        fn. 13       ; see also Watson, supra, 46
             (2016)63 Cal.4th 665, 686,



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         Cal.2d at p. 836.E Thus, when the
                                               misconduct does not result in a
        fundamentally unfair trial, the
                                            error is one of state law. (Parso
                                                                               n,
        supra, 44 Cal.4th at p. 359.)
                 Here, the Watson standard app
                                                 lies because the a{leged
        prosecutorial error did not render
                                              the trial "fundaments I ly
        unfair." (Gionis, supra,9 Cai.4th
                                              at p. 1215.) The alleged error
       was limited to the prosecutor's reb
                                              uttal closing argument and
       was not part of pattern of conduc
                                            t affecting the entire tria t. (See
       ibid.)
                Regardless, the,a!leged error was
                                                    harm less under either
      the Watson or Chapman standard.
                                               The court instructed thejury
      that what the attorneys said in the
                                              ir closing arguments was not
      evidence. (1 CT 142; 4RT 463.) Bec
                                              ausejurors are presumed to
      follow admonitions given to them
                                            by the trial court, any prejudice
      from the prosecutor's comments
                                           was.offset by this instruction.
     {Bryden, supra,63 Ca1.App.4
                                 th at      p. 184.) Indeed,jurors
     genera i ly treat com rnents by prosec
                                             utors as words of an advocate
     who attempts to persuade. (Peopl
                                           e v. flair(1992} 2 Ca I.4th 629,
     663, fn. 8.) Defense counsel and the
                                              prosecutor also informed the
    jury that the prosecutor's rebuttal wou
                                               ld include arguments in
     response to defense counsel`s closin
                                            g argument, thereby making
    them aware of the purpose of the reb
                                              utta 1. {4RT 438, 439-440.)
    Moreover, as d iscussed ante, in Sec
                                         tio   ns i.C, I I.D, and I i f.B,
    overwhelming evidence supported the
                                       jury's verdict.




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                                                                                              or.
                                 co rd in gl y, ap pe ll an  t ca nnot show prejudicial err
                              Ac
                                                                decision to not object
                            E. Defense counsel's
                                                                       gument was not
                                   during the rebuttal ar
                                                                          counsel
                                   i neffective assistance of
                                    e!la nt  ad di ti on s!ly  co nt ends that defense counsel
                              A pp
                                                                                          e following:
                            id ed  ine ffe cti ve as si st an  ce by not doing one of th
                       prov
                                                                                                    sur-
                                          e  pro sec uto r's   reb utt al argument, requesting a
                       objecting to th
                                                          ving for amistrial. (   - AOB 75.) As
                       rebuttal argument, or mo
                                                                                                istance,
                                 ed  ant e, in  Se ct io n I I.F , to establish ineffective ass
                       describ
                                                                                         judice.
                         ppe lla nt  mu st  sh  ow  def  icient performance and pre
                       a
                                                                                      t cannot show
                                                        U.S. at p. 688.) Appellan
                       (Strickland, supra, 466
                         ~:     ~,A~~                                                   __                           ---
                                                                              .C , th e pr osecutor did not
                                  _A s di sc us se d  ante, in Section (V
- --- - - - -- - _ _ _ _ _ __ ~ _                                                          s a fa i r response
                               n m it Ro bi  ns on  er ro r because her rebutta 1 wa
                          cor
                                                                                                          l told.
                                              nse l's  clo  sin g ar gu me nt. And defense counse
                          to defense cou
                                                                                                         to
                                          at  th e pr os ec  ut or wa  s going to use the rebuttal
                           thejury th
                                                                  ring his argument. ~(4R
                                                                                                T 438.)
                                     s iss ues  he   rai sed   du
                           addres
                                                                                              the scope of
                             ec  au se  de fe ns e co un se  l indicated he understood
                           B
                                                                                                          any
                                            os ec ut or co  ul d do  in th e rebuttal,- and without
                           what the pr
                                                                                                      tical
                                       th  e pr os ec ut or   in he r rebuttal, there was a tac
                           error by
                                                                                             tal, or move for a
                               as on  for co  un se l no t  to  object, seek a sur-rebut
                            re
                                                                                                                 ,
                                                Fe  rn an de  z,  2~ 6 Ca l. Ap p.4th at p. 565; Thompson
                            m istrial. See
                                                                                              deficient
                                                             722.) Thus, there was no
                            supra, 49 Cal.4th at p.
                          performance.




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                 Appel lant also cannot show pre
                                                  judice. He argues that in
        rebuttal, the prosecutor accused
                                            appellant of lying and misstated
        appellant's testimony, but defense
                                              coun~ei had no opportunity to
        respond to such accusations. (AOB
                                                79-81.) However, defense
       counsel did have such an opportuni
                                               ty—his closing argument; and
       he used his argument to bolster app
                                              ellant's credibility. He
       substantially and repeatedly highli
                                               ghted appellant's testimony
       during his closing argument. (See,
                                              e.g., 4RT 420-425, 435-437.)
       A sur-rebuttal argument wouf.d
                                           have simply been repetitive of
      defense counsel's closing argument,
                                               in which he tried using the
      evidence to corroborate appellant's
                                             testimony. Moreover, the
      inconsistencies between appellant
                                            's testimony and the evidence
      that the prosecutor noted i n her reb
                                              utta I were a I I i n the record
     prior to the arguments and thus ava
                                             ilable for thejury to evaluate
     without the prosecutor noting the
                                            m. Even an objection that
     curta i 1ed the prosecutor's argument
                                              wou Id not have prevented
     thejury from assessing those inc
                                      ons    istencies. There is also no
     prejudice for the reasons discussed
                                            ante, in Sections I.C, f(.D,
     I II.B, and IV.D.
             Without a showing of deficient per
                                                for  mance or prejudice,
    appellant's third and final ineffect
                                           ive assistance of counsel claim
    fails.




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                                 CONCLUSION
                    e rea son s des cri bed abo ve, respondent respectfully
             For th
                                  ent be affirmed.
       requests that thejudgm



                                     Respectfu(ly submitted,
       Dated: October 30, 2018
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                                                                      a
                                     Attorney General of Californi
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                                      Chief assistant Attorney Ge
                                      LaN~E E. WINTERS
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                                      Senior Assistant Attorney Ge
                                      PAu~ M. R4ADARMEL,.1 R.
                                                                 ey Genera(
                                      Supervising Deputy Attorn




                                      CHARLES .1. SAR4SY
                                      Deputy Attorney Genera
                                      Attorneys for Respondent

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-~ .              DECLARATION OF ELECTRONIC SERVICE AND
                                                                             SERVICE BY U.S. MAIL
           Case Name: People v. Michael Campbell No.:
                                                                        BZ88428
           I declare:

          I am employed in the Office ofthe Attorney general, which
                                                                         is the office ofa member of the
          California State Bar, at which member's direction this service
                                                                          is made. I am 18 years ofage or
          older and not a party to this matter. I am familiar with the
                                                                       business practice at the Office ofthe
          Attorney General for collecting and processing electronic and
                                                                          physical correspondence. In
          accordance with that practice, correspondence placed in the
                                                                        internal mail collection system at the
          Office ofthe Attorney General is deposited with the United
                                                                        States Postal Service with postage
         thereon fully prepaid that same day in the ordinary course
                                                                      of business. Correspondence that is
         submitted electronically~is transmitted using the TrueFiling
                                                                       electronic filing system. Participants
         who axe registered with TrueFiling will be served electronical
                                                                         ly. Participants in this case who
         are not registered with TrueFiling will receive hard copies
                                                                      ofsaid correspondence through the
         mail via the United States Postal Service or a commercial
                                                                     carrier.
         On October 30, 2018, I electronically served the attached[RES
                                                                           PONDENT'S BRIEF] by
        transmitting a true copy via this Court's TrueFiling system.
                                                                       Because one or more ofthe
        participants in this case have not registered with the Court's
                                                                       TrueFiling system or are unable to
        receive electronic correspondence, on October 30, 2018. I
                                                                    placed a true copy thereof enclosed in
        a sealed envelope in the internal mail collection system at
                                                                    the Office ofthe Attorney General at
        300 South Spring Street, Suite 1702, Los Angeles, CA 9001
                                                                       3, addressed as follows:
        The Hon. Curtis B. Rappe, Judge
        Los .Angeles County Superior Court
        210 .West Temple Street
        Los Angeles, CA 90012-3210

       On October 30, 2018, I served the attached RESPONDENT'S
                                                               BRIEF by transmitting a true
       copy via electronic mail to:

       Gail Harper. Attorney for Appellant; and
       Deann Rivard, Deputy District Attorney, Los Angeles Count
                                                                 y     District Attorney's Office
       The one copy for the California Appellate Project were place
                                                                    d in the box for the daily messenger
       run system established between this Office and(CAP)in Los
                                                                    Angeles for same day, personal
       service

   I declare under penalty ofperjury under the laws ofthe State
                                                                 of California the foregoing is true
   and correct and that this declaration was executed on Octob
                                                               er 30, 2018, at Los Angeles,
   California.

                        D. Arciniega                                     /s/D. Arciniega
                         Declarant                                          Signature
  (,A201860U632
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                                            CE
                     CERTIFICATE OF COMPLIAN
                                                  DENT'S BRIEF uses a
               certify that the attached RESPON
                                          and. contains 14,.091 words.
        13 point Century Schoolbook font

                                   XAVIER BECERRA
        Dated: October 30, 2018
                                   Attorney General of California




                                   CHARLES .1. SAROSY
                                   Deputy Attorney~General
                                   Attorneys for Respondent




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         IN THE COURT OF APPEAL OF THE
                                             STATE OF CALIFORNIA

              SECOND APPELLATE DISTRICT', DIVISION
                                                           FOUR
       PEOPLE OF THE STATE OF CALIFORI~TIA
                                               ,

            Plaintiff and Respondent,
                                                    j 2 Crim. B288428

            vs.
                                                    )
                                                     Los Angeles County
      MICHAEL CAMPBELL,
                                                   ) Superior Court
                                                     No. BA442781
           Defendant and Appellant.
                                                   )


               APPEAL FROM THE JUDGMENT OF THE
           SUPET~IOR COURT OF THE STATE 4F CAL
                                               IFORNIA
                 FOR THE COUNTY OF LOS ANGELES

                  HONORABLE CURTIS B. RAPPE,JUDGE

                  APPELLANT'S OPENING BRIEF ~ ~~~

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    ~, :~s~C ~s~ ~-~ 1~             Telephone. (415)291-8469
                                    State Bar No. 104510

                                   Attorr~.ey for Appellant
                                   by appointment of the Court of
                                   Appeal
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                                                               . ,.~-T~'
                                                          ~,,~h~b ~
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               SECOND APPELLATE DIST
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        PEOPLE OF THE STATE OF
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             Plaintiff and Respondent,
                                                      ) 2 Grim. B288428
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                                                     )
       MICHAEL CAMPBELL,                               Los Angeles County
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            Defendant and Appellant.                   No. BA442781
                                                    }
                                                    }

                APPEAL FROM THE JUDG
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            SUPERIOR COURT OF THE
                                  STATE OF CALIFORNIA
                 FOR THE COUNTY OF LO
                                      S ANGELES

                   HONORABLE CURTIS B. RA
                                              PPE,JUDGE

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                                                    IEF ~ ~~~
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                                    by appointment.of the Court
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                         STATEMENT- OF APPEALABILITY
                This appeal is from a final judgment
                                                        following a jury trial
         and is authorized by Penal Codel sec
                                                  tion 1237.
                            STATEMENT OF THE CASE
               On February 9, 2018, the prosecutor file
                                                          d an amended
        information charging appellant, Mic
                                                hael Campbell, with one
        count of murder(§187,subd.(a)) and
                                                  alleging that Campbell
        personally used a deadly and danger
                                                 ous weapon - a clothing
       iron.(1Clerk's Transcript 109-110.)

              Trial commenced on February_ 7, 201
                                                      8.(CT 103;2
       Reporter's Transcript 1).

              On February 13,2018, Campbell entere
                                                        d a not guilty plea
      to the amended information. (1CT 112
                                                 .}
             On February 21,2418, a jury acquitted
                                                       Campbell of first
      degree murder,convicted him of sec
                                         ond      -degree murder, and
     found the weapons use allegation true
                                                ..(1CT 159-161;4RT 502-
     503.)

             On February 23,2018, the court senten
                                                      ced Campbell to 15


    'All references will be to th.e Penal Cod
                                             e unless otherwise indicated.
    ZHereinafter referred to as "~T".

    3Hereinafter referred to as "RT".

                                        1
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                                                                             al
                                                mposed a year for the person
                                                                                          'Y




               lif e fo r co un t on e  an d _i
      years to
                                                                           4RT
               ga ti on , for a to ta l of 16 ye ars to life.(1CT 165, 168;
      use alle

      525.}
                                        ly-fi    led. (1CT 171-172.)
              Notice of appeal was time




                                             2
                                                                                               , -
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                              STATEMENT OF THE FACT
                                                                 S
         PRaSECUTION CASE
                The Killing
                On December 31,2015, Mich
                                                 ael Campbell occupied Room
                                                                                    58
        at the Florence Hotel, a single
                                             resident occupancy("SRO"
                                                                        )hotel
        located of 310 E. 5th Street,
                                        in the skid row area of down
                                                                       town Los
        Angeles.(2RT'44-47, 60,93=
                                        94,102.) Surveillance video
                                                                      cameras are
       located throughout the int
                                     erior of the building.(2RT 100
                                                                      -101.}
              The video evidence shows
                                       tha       t, at 9:41 p.m. on New Year's
       Eve 2Q15,Campbell entered
                                        the front lobby entrance of the
                                                                          Florence
      Hotel, accompanied by Bri
                                     an Denton.(2RT 103-106.} Th
                                                                     ey were
      captured on video entering
                                 Ca      mpbell's third-floor room,Ro
                                                                          om 58, at
      9:42 p.m.(2RT 108-110.)Bri
                                 an      wallced out of the room, down
                                                                            the
      hallway out of sight, and th
                                 en re~turned~between 9:45 an
                                                               d 9:48 p.m.
    (2RT 110-111.) Brian again
                                left the room, greeted severa
                                                              l residents,
    stood near a stairwell, and
                                then returned to the room be
                                                              tween 10:25
    and 10:30 p.m.(2RT 112,124-1
                                   25.)
           Around 11:35 or 11:40 p.m.,
                                             Campbell's neig~.bor across th
                                                                               e
    hall,~ Wendell, was awakened
                                     by a disturbance in Campbell
                                                                      's room.
   (2RT 44-48,53, 95-96.) Wend
                               el    l heard a Iot of banging and
                                                                      slamming.
   (2RT 47,53.) Wendell's wall
                                 and the mirror hanging on if
                                                              we       re
    shaking.(2RT 48,53.)

         About 20 to 25 minutes after
                                             the noise woke Wendell,anoth
                                                                               er
   neighbor, Rose, came to Wend
                               ell's door and asked him to
                                                                   ca11911

                                         3
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                                                                                          d
                             ar  d "a  bu  nc  h  of  kn oc   king and bammng an
      because she had he
                                      mp  be  ll 's  ro   om    fo r  about 20 minutes.(2RT
                                   Ca
      fighting" coming from
                                 .) We  nd el  l  de ci  de  d  to call hotel.security
      48-49,54-55, 75-79,95
                                                                                    g" or
                      49 , 55 .) We  nd el  l co  uld stall hear "rumblin
      instead.(2RT
                                               g on  -in   Ca  mp  be  ll  's  room..(2RT 49.)He
                                 ing" go   in
      "wrestlin.g" or "fight                                                              ice, but
                            at  th e  sa  me  ti  me  so   meone yelling "help" tw
       heard a bang and                                                                       en            c
                                     s Ca  mp  be ll  's .v  oi  ce  yelling for help, or ev
       he could not tell if it wa                                                                           =~ -~~
                                             or  fe ma  le  . {2  RT   49  -5 0,53,57.)Rose also
                                  s male
       whether ~h.e voice wa                                                                it was
                               ng  fr  om  Ca  mp  be  ll 's   room,but she believed
       heard a voice comi
                                   ng  ,"C  al l th  e  po li  ce ," in response to her
                                yi
        Campbell's voice sa
                                             wa ll  an  d  as  ki  ng   if he was okay.(2RT 77-
                                   mmon
        knocking on their co                                                                  reme
                                el l co  ns id  er ed   wh  at   -was happening an "ext
        78, 81-82,92:) Wend
                                      ho  #e 1 se e~ ri ~y :. .t wi ce .{ZRT 50,-55.) After
                                 ed
        emergency" and ~~
                                            tim e,  th  e fi gh  ti  ng  st  opped and Campbell's
                                    cond
         Wendell called the se
                                   n.(2RT 56-57, 79.)
         room was silent agai                                                                ,
                                   ar r- to ed an  d   kn  oc  ke  d Qn Campbell's door
                 Hotel security
                                                ec ur it y"  ,  bu t  wh   en   nobody answered,
                                    es as    "s
         announcing themselv
                                                                                          e security_
                               rs  wa lk  ed   aw  ay  . ~2   RT 50,55-56.) When th
          the sec~urify office                                                                     .
                                           or  of  Ca  mp  be  ll  's   ro  om,it was quiet inside
                                    e  do
          officers banged on th
                                                                                           ople
                           el  l to ld th  e se cu ri  ty  officers he had heard pe
         (2RT 50.) Wend
                                       room.(ZRT 56.)
           fighting in Campbell's
                                      e Killing
                  Events Following th                                                on
                                  ow  ed  Ca mp  be  ll  Ie ft the room at 8:13 a.m.
                Video footage sh
                                                                                 aring
                             RT 11 2- 11 5, 12 8- 12 9. )He appeared to be we
           January 1,2016.(2
                                                                                                           - ~'~;;
                                                       4
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          the same clothing from the night bef
                                              ore.(3RT 299.) He was recorded
         on video leaving through the front doo
                                                r.(2RT 112-115.) He did not
         return to the hotel.(2RT 115.)

                4n January 5,2016 at 8:24 a.m., hotel
                                                      sec   urity officer Omar
        Hernandez found Brian`s body while
                                                 conducting a welfare check at
        Room 58.(2RT 52, 70, 116,135-136, 144
                                                  .) Hernandez opened the door
        with a master key, then closed the doo
                                                 r when he saw the body
        inside. {2RT 65,68,65-66, 68,135-13
                                              6.) Sometime after $:24 a.m., the
       police received a call regarding a suspic
                                                   ious death and went to
       Campbell's apartment, where officers
                                                met with Hernandez. (2RT 59-
       62.~ Initially the officers believed the bod
                                                   y on the floor in Campbell's
       room was Campbell himself.(2RT d2,
                                                66.) The body's face was pale
      and bloodied, and here were injuries
                                               to the face and head.(2RT 66-
      67.}

              The window in the room was closed, but
                                                           an officer opened it
      and, while waiting for the detectives
                                              to arrive, left it open to clear
     out the odor of the decaying body.(2RT
                                                 62-64, 69, 71-72.) The room
     had a small closet filled with clothes.(2R
                                                 T 63-64.) There was a lot of
     debris on the floor and throughout the roo
                                                      m.(2RT 64.)
             Brian's body was lying supine on the floo
                                                          r of the ten foot by
     twelve foot room that contained a closet,
                                                 a twin bed, a dresser, two
    tables, and a sink.(2RT 62-~5,3RT 329.
                                              ):The officers did not go
    through Brian's pockets or touch the bod
                                                y at all.(2RT 70-71.) Brian's
    face and head had multiple obvious blu
                                               nt force injuries.(2RT 66.)

                                        ~~
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                       ob se rv ed   bl oo d sm  ea rs an d spatter on the dresser
      Investigators
                                                                                 s
               s ne ar Br ia n' s he ad .(3  RT   248.)The rug.under Brian wa
      drawer
                        d. {3  RT  24 7- 24 8: ) Th e ar ea  of the bedspread adjacent
      soaked in bloo
                                                                              bloody
            ian' s he ad  wa  s al so so ak  ed in blood.(3RT 258-259:) A
      to Br
                                                                                    an
                    bl oody  cl  othi ng .ir on  wi th Brian's blood on them were
      towel and
                          se ve ra l it em s of  clot hi ng , boxes and blankets.(3RT
       the bed among
                                                                             on the door
             56 , 26 0- 26 1, 29 4- 29 7. ) Mu ltiple blood smears were
       255-2
                                                                               258.)
                   ba g  ha ng  in g from    th e interior door hanclle.(3RT
       and on a
                                                                                       that
                         , spa tte r, an d   dr ie d bl oo d drips were on the side of
       Blood smears
                                                                              257-258,
              dr es se x in  th e ar ea  ad ja cent to the front daor.(3RT
       same
                                                                                 up on the
                  27 6. ) Ab lo  od -s  oa  ke d wh  ite tank top was wadded
       270,272-
                                                                                         e
                            r the :si nk .(3  RT  251 -25 2,. .254-255,337.)On top.of th
       floor area unde
                                  r wi th Bri ar~ '~ bl oo d Q~ it,(3RT 259,262-263,294-
        dresser was a stap     le
                                                                                  of
                   e  we  re  cig are tte bu tt s in the ashtray on a fable, one
        298.)Th er
                        ia n' s DN   A  on  it.(3  RT  25 2- 253,264,295 297.)Brian's
        which had Br
                                                                              196,.239-
             d al co ho l lev el.wa  s lat er determined to be .212.(3RT
        bloo
                    um pt  iv e tes ts sh ow  ed   th e presence of MDMA.and
        240.)Pres
                          mi  ne  in Bri an' s. bl oo d, bu t confirmatory testing was
         methampheta
                                             RT 195-196.}
         negative for those.,drugs.(3
                                                                                    ed in
                  ei gh bo r- Ro se  tes fii fie d sh e believed the person kill
                 N
                                                                                            d
                           om  wa  s  Ca  mp  be   ll hi ms el f, and that his girlfriend ha
         Campbell's ro
                                                                               iew that she _
              ed him. 4(2  RT  89 .)Ro  se    stated in a.recorded interv
         kill


                                                               drug
             pr os ec utor impeache d Rose with her two felony
         The
                                            6
                                                                                                   i
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          heard a female voice say "Give me
                                                  some money," and Campbell's
         voice respond "I ain't got no god
                                           dam    n~money."(3RT 282.) She also
         reported hearing a female voice
                                              saying "Michael, oh,let me go. Let
         me go."(3RT 281.)She then said she
                                                  heard Campbell say "No, you
        let me go."(3RT 281.)She also sai
                                               d she heard Campbell's voice say
        "Call the police" twice.(3RT 291.}
               The cause of Brian's death was
                                                   blunt force trauma; and the
        manner of deafh was homicide.(3
                                               RT 184,197, 225.)Fifteen to
       seventeen.of the blows were potent
                                               ially fatal.(3RT 224.}The coroner
       found staples and possible bite
                                            marks on Brian's body.(3RT 197-20
                                                                                  1,
       205.) There were bruises and abr
                                        asi    ons on Brian's wrists and hands,
      which could have been either def
                                       ensive       or offensive wounds,and
      abrasions on his flanks.(2RT 202-20
                                               3,308-309.) There were at least 22
     lacerations to Brian's head and fac
                                          e.{3RT 206-214.) The coroner
     could not say defuutively which
                                       of those injuries were inflicted
     before or after Brian died.(3RT 208
                                          -209.) There was a fracture to one
    of Brian's teeth.(3RT 214.) It was dif
                                           ficult to determine what some of
    Brian's injuries were, given the lev
                                         el of decomposition.(3RT
    213-214.)

           Dr. Miller testified that the injuri
                                                 es he detailed were consistent
    with the shape of the clothing iro
                                       n fo   und at the scene. He also
    indicated that all of the injuries suf
                                            fered by Brian were inflicted


   convictions.{2RT 91.)

                                        7
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                                                                                                               tf




                                                                                     .
             e he  di ed , in cl ud   in   g th  e staple and bite wounds
       befor
                                                                                          the Los
                      nu  ar y 5,  -20 16   , Br  ia  n Denton,Sr., reported to
              On Ja
                                                                                                on Mr.
                              at  hi  s so   n   wa  s  mi  ss  in g.(3RT 279-280.)Based_
       Angeles Police th
                                           hi  s so n'  s  ta tt oo s, th e police realized that the
       Demon's description of
                                                                                              280.)
                           _f ou nd   in    Ca  mp be  ll   `s  room was his son.(3RT
       body they had
                                 ar   y  5,  De  te  ct iv  e Pi  er ce  conducted a recorded
               Also on Janu
                                                                                       banging
                  w wi  th  Ro se  . Gi  bs   on  , who told him she heard
        intervie
                                                                                             0-281.}
                          ro om   58     h
                                        fi  ro   ug  h  #h ei r common wall.(3RT 28
        corning from
                                                                                                   let
                                 he   ar   d  a  wo  ma   n'  s  vo  ic e sayin,~ "Michael, oh,
        Rose also said she
                                                                                         ive me some
                    t me   go  ." (3   RT     28 1.  ) The woman also said,"G
         me go. Le
                                                                                              y."(3RT
                          Ca mp   be   ll   sa  id , "I   ai n' t got no goddamn mone
         money," and
                                                                                                    ight
                                at   on    Ne    w  ~C ea  r' s ev  e she stayed up until midn
         282.)I~ose said,th
                                                                                          urse of.the
                    om   wi th  a   fr ie   nd . (3 I~ ~'281.-282,} During,the co
         in her ro
                                                                                              s dead
                          se  re  pe  at   ed  ly  sa id   sh  e believed Campbell wa
         interview,Ro
                                           ed hun.(3RT 283.)
         and Angel Dorsey kill                                                                             ~    __
                                              G,  th e  po  li ce  in te rv ie we d-Angel Dorsey, _ _
                 On January 6,20~.
                                                                                                  that
                            -g ir lf ri  en  d. (2  RT    13 d-  13 8,144-1.45,149.)She said
          Campbell's ex
                                                                                    ll visited her
             Ja nu ar y  1, 20 16   , ea rl   y in the morning, Campbe
          on
                                                                                          ent and
                   nt  , lo ca te d   ar   ou  nd   th  e comer from his apartm
          apartme
                                                                                                   nt's
                              th e   st re  et  fr  om   th  e  Lo s.Angeles Police Departme
          directly across
                                                                                                   ed"
                                at   io n.  (2   RT   14 1-  14  2. ) Campbell seemed "excit
          Central Police St
                                                                                           Campbell
                     t,  bu t di  d   no   t se   em   in ebriated.(2RT 142,146.)
           and upse
                                                                                                  ght
                               de   ad   in   hi  s ap  ar  tm  en t. (2RT 143.) Dorsey thou
           said Brian was
                                                                                           Campbell
                     l  wa  s jo  ki  ng    an  d  wo   uld not open the door,so
           Campbel
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          started kicking the door, repeat
                                           ing that Brian was at his place
                                                                             and
         was dead.(2RT 143.) Dorsey let
                                             Campbell in because he looked
                                                                              like
         he needed help.(2RT 143-144.)
                                          Campbell told her that Brian die
                                                                              d
         during a fight.(2RT 145.)

               Campbell stayed at Dorsey's pla
                                                  ce for about four hours.(2RT
        146.) Dorsey did not observe an
                                          y injuries to Campbell's person
        except to his forehead.(2RT 147
                                          -148.) Campbell complained of a
        headache.(ZRT 146-147.)

              Campbell was arrested on the
                                               night of January 6, 2016.(3RT
       175-178,182-183.) At the time
                                     of
                                     his arrest, Campbell had bags an
                                                                       da
       backpack with him,but he did
                                    not attempt to flee.(3RT 179-18
                                                                    0,
       182.)

             After receiving his Miranda rig
                                              hts, Campbell provided a
      recorded statement to the police
                                       .5 {1CT 122-134;3RT 284-289.)
      Campbell admitted he knew Bri
                                    an,      that he and Brian had fought an
                                                                              d
      that Brian was dead.(1CT 128-12
                                         9.} When pressed for details,
                                                                       he
      said, "I got to be quiet on that."
                                        (3RT 128.) He further stated, wh
                                                                         en
     fold he was being arrested for
                                       murder, that he was the only wit
                                                                        ness,
     and also stated that his testimony
                                          was crucial.(3RT 129-131.) The
     video of the interview was played
                                          for the jury.(3RT 287.)
            The prosecutor presented no evi
                                               dence of motive.



    The recording was played for the
                                     jury but not reported.(3RT 284-
    289.)
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                                                                                                           p




      DEFENSE CASE
                                                                                              to
                       ll  te st if ie d th  at he   ha   d planned to go out alone
              Campbe
                                                                                 had been
            hb or ho od  ba rs on    Ne    w Years Eve, and that he
       neig
                                                                                        ll Left his
                  du ri ng  th e  da  y. (3   RT  317,351-352,372.) Campbe
       drinking
                                                                                               before
                         rc  ha se   so  me   it  em  s -i  nc  luding alcohol to drink
       residence to pu
                                  s  -a  nd    sa   w hi  s fr ie  nd Brian outside of a skid
       going out to the club
                                                                                          (3RT 318-
                    st or e sm  ok  in   g  me  th  am  phetamine from a pipe.
       row liquor
                                                                                                  buy
                         Br ia n  sa  id  he   wa   s hu   ng  ry and asked Campbell to
       320, 349,351.   )
                                th  in  g  to  dru ~.k k.(A  RT   31 9.) Campbell agreed,
        him food and some
                                                                                          9-320.)
                 d Br ia n pu  t  hi s  dr  ug   pa raphernalia .away.(3RT 31
        provide
                                                                                              cos",a
                       ug  ht  so  me    so  uk   cu  ps   and four cans of "Four Lo
        Campbell bo                                                                                   )
                                fo r  Br  ia n  an  d  st ar  te d ba ck'to his place.(3RT 320.
        malt-liquor drink,
                                                                                         s to
                  ke d if he  co  ul  d  ta g  al on  g. ~3I~T ~21.~ Qn the_ wall
        Brian as
                             de nc e  Br  ia n  dr  an k.  tw  o  of the four cans of"Four
         Campbell's resi
                                                                                        st, and
                .(3 RT   32 0- 32 1,  32  4. ) Br  ian always drank really fa
         Locos"
                                                                                            ~      _
                     to ld hi  m  to   sl  ow  do   wn   .(3RT 323-324.)
         Campbell
                                                                                                     ge
                              to  ok  Br  ia  n ba  ck   to  hi s  room so Brian could chan
                Campbell
                                      cl  ot he  s in to .so   me   of Ca mpbell's nicer clothing
         out of his "homeless"
                                               ub  s to ge  th er  .(3 RT  32 1- 323.). Campbell had
                                            cl
         in order to go out to the
                                                                                                   ward
                             r ye ar  s- an  d  ac  te  d as   a mentor or father figure to
         known Brian      fo
                                     ot hi  ng  an  d  a  DV   D   pl ay er.(3RT 322-323, 350,
          him,lending him cl
                                                                                              on, and
                     n ne  ve r to  ok   Ca  mp  be ll  's   things without permissi
          353.) Bria
                                                                                                      RT
                                th  em  . (3  RT   32 3.  ) Th  e  tw  o also drank together.(3
          always returned
          350.)
                                                         10
                                                                                                               k
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                ~arnpbell was looking throug
                                                  h his closet for clothes and sho
                                                                                   es
         when he noticed That Brian wa
                                       s     no longer in the room.(3RT 324
                                                                                -325,
         354.). Campbell could hear Brian
                                             out in the hall.(3RT 325.)Camp
                                                                                bell
         paused to look for his cell phon
                                          e in   order to call his children and sa
                                                                                     w
        that both of his cell phones we
                                         re missing.(3RT 326.) Ordinaril
                                                                           y.
        Campbell kept his cell phones
                                          on top of his dresser or his stereo
                                                                            .
       (3RT 327.) He l~n.ew Brian had
                                        taken them. (3RT 327.}
              Campbell opened his door, cal
                                              led to Brian, and Brian returned
       to his room,closing the door.(3
                                         RT 32~-328.) Campbell confronte
                                                                            d
       Brian about the cell phones, wh
                                        ich he observed bulging out of
       Brian's front pants pockets, de
                                       manding them back.(3RT 327-32
                                                                          8,
      355.) When Campbell tried to ret
                                         rieve his phones, Brian charged
                                                                            him
      and punched him in the forehe
                                       ad.(3RT 328.) After Brian punche
                                                                           d
      him, Campbell told him he was
                                        going to call the police, but he cou
                                                                             ld
     not get his phone away from Bri
                                        an.(3RT 328.) Brian blocked the
     door and charged Campbell,fh
                                       enhearhugged him and slamme
                                                                          d
     him to the ground,throwing bo
                                       dy punches.(3RT 328-330.) Brian
     was swearing at Campbell and
                                      saying he was going to kick
    Campbell's "oId ass".(3RT 329-33
                                        0.) Campbell did not know if Bri
                                                                            an
    was drunk or still high, but Bri
                                     an was angry, and - he was on to
                                                                       p of
    Campbell.(3RT 330.)

          Campbell was able to wriggle ou
                                              t from under Brian and get to
    his feet, but Brian prevented him
                                        from leaving the room.(3RT 330,
   374-375.) Campbell told Brian he
                                      was going to call the police, but

                                        11
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                                                                                                                 `~




                             .(3RT 330-331.) Bria                n charged Campbell
      Brian blocked the door
                                                                                             him
                           be  ll  st   ar  te d  th  ro  wi  ng cans offood to keep
      again, and Camp                                                                            from
                                  33 4.    )  Ca mp  be   ll   pi  ck ed up a closed stapler
      away.(3RT 331-332,
                                             wi th  if,  th   en  op  en   ed  it and stapled Brian's
                                    ia   n
      the dresser and hit Br
                                                                                                 hed
                             s ta nk     to  p, bu  t  Br  ia  n  pulled out a staple,laug
      chest over Brian'                                                                            6,
                                   a  ~ ~~Is~           l yo   u .g  ot  a1d man?"(3RT 332-33
       demonically,~a Sp
                                              th at  al

                                           ri  se  d an   d   te rr if ie d that Brian was not ..
                                      rp
      356.)Campbell was su                                                                                   ~        -~-
                                                                                              most
                          33  4. ) By     th  is po  in  t th  ey had been fighting al
       deterred.(3RT
                                                                                      peatedly
                uo us ly fo r ab  ou  t   te  n minutes, while Brian re
       contin
                                         bell.(3RT 334-335.)
       threatened to kill Camp
                                                         ng   tv  ge  t to   th e do or knob so he could
                                                      yi
                Whi.1e Campbell was tz
                                     s   ro   om  ,  Ca  mp   be  ll   tr ie d to grab Brian by the
        throw:Brian out_ of hi
                                                  :~ t b~  :#fi e  ta nk  .ti p ,i nstead.(3RT 336.).The
                                         ing hi
        back of rus pants,.seiz                                                                   8.)
                                nd   ca    me   of  f in   Ca  mp  be  ll's hand..(3RT 337-33
        tank top ripped      .a
                                                                                                       's
                                        ov   e, sa yi   ng   he   wa  s  go  ing to whoop Campbell
         Brian had put on a gl
                                                  ng   on    th e  wa ll  s  an d  on Carnpb~lt with his
                                         undi
         ass again,and was po
                                                                                                ll tried
                              Ca  mp    be   ll  wa   s  de  sp er  at  e.(3RT 337.)Campbe
         fists.(3RT 336.)                                                                             ;so
                                     bu    t  hi s  ta  nk   to  p  ca  me   off in Campbell's hand
         throwing Brian.out,
                                                RT    33 7-  33  8. ) Ca   mp be  ll dropped the shirt by
                                          .(3
         Campbell Lost his grip                                                                    or,
                                 ke   d   on    th e   wa ll   an  d  screamed for his neighb
          fihe sink and knoc                                                                            to
                                         ce  (3  RT    33 8-  33  9. ) At   that point it had been 10
          Rose, to call th.e poli
                                                                                             RT 339.)
                           nc  e Br  ia   n   ha d  en  te   re d Campbell's zoom.{3
           15 minutes si
                                      Ca     mp be  Il   ag   ai  n an  d   put him in a choke hold
                  Brian rushed
                                                 ht ar   m   ar  ou  nd   Ca  mp be ll's neck, cutting off
                                              ig
           from behind with his'r
                                                         12
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`             his air.(3RT 339, 357-358.)- Camp
                                                 bell repeatedly bit Brian on his
                                                                                      arm
             and elsewhere to break his hol
                                                d.6(3RT 340, 358-360.) While
             Campbell was on the floor, try
                                            ing to esc   ape out the door, Brian
             picked up a clothing Iran from
                                               the dresser, wrapped the cord
                                                                                 around
             Campbell's neck, and choked hi
                                                m from behind until Campbell
                                                                                  was
            .dizzy and breathless.(3RT 340
                                             -341, 361-362.) Campbell was sca
                                                                                  red
            because he realized that Brian
                                             was trying to kill hirn.(3RT 341.)
            Campbell tried to get his finger
                                             s un  der the cord to loosen it.(3RT
           341-342.) Campbell was able to
                                             grab the iron dangling at his left
                                                                                  side
           by the handle artd repeatedly str
                                               ike Brian in the head and the lef
                                                                                  t
           side of his face while Brian was
                                            beh   ind him until the tension in the
           cord eased up.(3RT 341-343, 361
                                               , 373-374, 377.) At no time did
          Campbell strike Brian with. the iro
                                                n while facing hirn, nor did he
          ever kneel over Brian and hit hi
                                             m with the iron while Brian was
          lying on his back.(3RT 373-374.)
                                             Campbell testified that the blood
          smear by the door resulted from
                                          Bri     an blocking tie door while
         wearing a bloody shirt, preventin
                                           g    Campbellfrom escaping.(3RT
         374-375.)

               Campbell crawled to the bed wit
                                                    h the cord still wrapped
         around his neck,shoved some clo
                                             thes aside, and passed or blacked


        Campbell testified on cross that he
                                              also bit Brian at other times
        during the fight, not just while he
                                             was being choked, and ghat he bit
        Brian wherever he could, notjus
                                          t in the shoulder and neck area.
       (3RT 359-360.)

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                                                                                                 d
                                 36 3,  37 7. ) Be  fo re   Ca mp bell passed out, he hear
      out.(3RT 343,361,
                          ng  lik e  a dr  un  k  pe  rs  on on the floor.{3RT 343.)
      Brian mumbli
                                           m. (3RT 343.}
      Campbell slept until8 a.
                                             ke   up   he   re me  mb  er ed   the fight with Brian.
               When .Campbell wo
                                ng  Br ia  n wa   s  as le ep , Ca mpbell called out ~o him,
      (3RT 343.) Thinki
                                                                                   en Campbell
                 hi m  to wa  ke    up   an d  leave.(3RT 343-344.) Wh
       telling
                                                                                              and
                        n' s le g  an  d  di sc  ov  er ed  he was dead,he panicked
       nudged Bria                                                                                        ~-
                               (3  RT   34 4,  36 4.  ) Ca  mp be  ll did not wash up or
       left the. building    .
                                      36 4. ) He    co  ul d  no t re ca ll about.what he wore,
        change clothes.(3RT
                                                                                               s
                            pu  t so  me ti  vn  g  or s #o  wear outside because it wa
        except that     he

        raining.(3RT 364.)                                                                           t
                                   ni  ed  wa  it in  g fo r  Br ia n to die before Campbell lef
                 Campbell. de
                                                                                           eatment.
                      or  wa it  in g- ~o  ma   t Ar  ia  n could not get medical tr
        the room;
                                                                                                 ng to
                              be   ll  wa  s  af ra  id  to ca ll the police,_ as he was "tyi
       (3RT 376.) Camp
                                                                                         Dorsey's
                      wh at  ha  d  ha  pp  en  ed  . (3RT 344-345.)He went to
         process"
                           ld he  r  die ha  d_  fo  ug ht  wi th.Brian._(3RT 345.) After
         house and to
                                                                                                   d
                                  pl ac  e,  Ca  mp  be ll  we  nt  out and bought drugs an
         leaving Dorsey's
                                                                                          d drunk
                    (3  RT  34  5, 35  2. ) Ca  mp  be  ll stayed high on meth an
         alcohol.
                                                                                                    6,
                               r  fiv e  da  ys  un  ti l th e po lice picked him up.(3RT 34
          continuously      fo
                                                                                                     he
                                   ll  tes tif ied _ he   di d no t know what happened to -t
         352,364.) Campbe
                                         li ev  ed  Br  ia n ha  d st ol en , but he thought he Ieft
          itivo cell phones be be
                                                                                               when he
                          ro  om  , or  th  at  he   mi  gh t  have taken one with him
          them in his
                 bu t he  co ul  d .n ot re  me  mber.(3RT 372-373.)
           left,
                                                                                            -not
                         in g hi s  in te rv  ie w  wi  th  the police Campbell was
                   Dur

                                                        14
                                                                                                          :,
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        himself.(3RT 346.) He was hallucinatin
                                               g     and very upset about Brian
        attacking him in his home.(3RT 346.)
                                                  Brian attempted to kill him,
        and when Brian would not stop attackin
                                                    g him, Campbell tried to get
        him off of him, tried to get him out of
                                                  his apartment, and tried to get
       others to call the police.(3RT 347.) Whe
                                                   n Campbell hit Brian with
       the iron, he felt he had no other option
                                                  s because he felt he was about
       to die.(3RT 347, 376.)

                Photographs taken of Campbell's bod
                                                       y on January 6,2016,
      showed bruises, scrapes and scratches on
                                                    his chest, back, arms and
      knees.(3RT 293-294,308-309, 365-370.
                                             ) Defense expert Dr. Ryan
      O'Connor determined the injuries to Cam
                                                   pbell were consistent with
      injuries that were six days old -suggesti
                                                   ng that they resulted from
      the fight with Brian.(3RT 309.)
      REBUTTAL
           Brian was living with his maternal gra
                                                      ndmother of the time he
     was killed.(3RT 294, 382.) Brian had rec
                                              eived a cell phone for
     Christmas 2015.(3RT 380.) Brian's biologic
                                                   al father had come to the
     grandmother's residence on December
                                              28,2015 and picked Brian up
    to visit with him in downtown Los Angele
                                                  s.(3RT 294.) Grandmother
    had spoken with both Brian and his father
                                                   by phone between 11 a.rn.
    - 1 :00 p.m. on New Year's Eve when the
                                              two were together.(3RT
    380-382.}

         Detective Shaxman photographed the blo
                                                       ody tank top found
   in Campbell's room, and.the top had
                                          no tears in it.(3RT 383-385.) He

                                     15
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                   otog ra ph bo th  sid es of th e shirt.(3RT 385.) No cell phones            . ~
      did not ph
                                                                                   ones
           e fo un d du ri ng a se ar ch of Campbell's room, axed no ce11 ph
       wer
                      on  Ca mp be  ll or  his pr op er ty at the time_ of his arrest.
       were located
                                                                                    the
          T  384 .) Fr om Ne  w  Ye ar 's Ev e until January 5, nobody called
      (3R
                                          rt Brian missing.(3RT 3$5.}
       police or anyone else to repo




                                                16
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                                    INTRODUCTION
               In a murder prosecution (Pen. Cod
                                                       e,~ 187,subd.(a)) resulting
        from a fight, the trial court prejud
                                              icially erred in failing to instruct,
        sua sponte, on voluntary manslaugh
                                               ter based on sudden quarrel or
        heat of passion as a lesser includ
                                            ec~~,incharged offense of the charge
                                                                                      d
       crime(CALCRIM No. 570), since
                                             substantial evidence supported
       such an instruction. The same evi
                                         den     ce of threat and fear of harm
       that supported a claim of unreas
                                           onable self-defense also permitted a
       manslaughter verdict based on
                                        sudden quarrel or heat of passion.
             The court instructed the jury it cou
                                                    ld consider Campbell's act
      of leaving his residence after the kil
                                           ling to be flight showing
     consciousness of guilt where there ~,:
                                          ~~s insufficient evidence of
     flight. The instruction lessened the
                                          prosecution's burden of proof
     and violated Campbell's 5th, 6th and
                                            14th Amendment rights.
            Campbell was deprived of his Sixth
                                                      Amendment right to the
     effective assistance of counsel becaus
                                               e trial counsel failed to request
     an instruction on "earwitness" identi
                                              fication where fihe only
    witnesses to the killing did not see
                                         the    event, but heard it through
    the walls of their hotel rooms, and
                                           there was a dispute as to who
    spoke the words at issue and what
                                           was said. The jury needed
    assistance in assessing the variables
                                             affecting the reliability of the
   earwitness identifications and did
                                        not get it.
          Wishing for a murder conviction, th.e
                                                    prosecutor engaged in
   prejudicial misconduct by sandbaggi
                                             ng the defense in closing

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                                                                             ence until
                 , om it ti ng ne arly all re fe rence to the physical evid
       argument
                               nt an d de pr iv in g Ca mp be ll of the opportunity to
       her rebu#tai argume
       address her argument..
                                                                                          e
                          --  wa s- de  pr iv ed of hi s Si  xth Amendment right to th
             - Campbell
                                                                               to object tv
                e as si st an ce of  co  un se l when trial counsel failed
       effectiv
                                                                                     cation
                      st ru ct io n, fa iled to  re qu est the earwitness identifi
       the flight in
                             fa il ed to  ob je ct to th e- pr os ecutor's misconduct.
       instruction, and




                                                    18
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                                      ARGUMENT
        f.     FAILURE TO INSTRUCT THE JURY ON
                                               SUDDEN
               QUARREL, HEAT OF PASSIO[V, PROVOC
                                                 ATION, AND
               VOLUNTARY MANSLAUGHTER REQUIR
                                                 ES
               REVERSAL OF CAMPBELL'S MURDER
                                               CONVICTION
              A.     Factual Background
              On the morning of February 16, 2018, outs
                                                           ide the jury's
       presence, the parties and the court memori
                                                  ali   zed their off-the-record
       discussion regarding jury instructions.(4R
                                                   T 388 - 393-394.) At one
       point the court stated:"Okay. Then we go
                                                   to 522,570, 571, b40.I
       think there were no objections to any of
                                                thos  e."(4RT 392.) No
      objections were stated.
             There were no proceedings between Februa
                                                      ry      16 and
      February 20.(1CT 136-137.)

             When the court instructed the jury on Februa
                                                            ry 20, he failed to
      give CALCRIM No.570, which informs
                                         the jur        y that the State must
     disprove heat of passion on adequate prov
                                               ocat    ion. After the jury
     was instructed and retired to deliberate,
                                               defe nse counsel advised the
     court that Campbell believed the court had fail
                                                       ed to give CALCRIM
     No. 571.(4RT 499.) The court stated he beli
                                                 eved "we took that out."
    (4RT 499.) Defense counsel replied,"I apol
                                               ogiz    e. It was my
    misunderstanding. His concern was we didn
                                                   't read 570. I told him
    we spoke about that yesterday and —"(4R
                                               T 499.) The court said,
   "Yeah,I think we took that one out."(4RT 499.
                                                 ) Def     ense counsel
    responded,"I apologize. I misunderstood Mr.
                                                      Campbell on that."

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      (4RT 499.)
              B.     S#andard of Review
                     tio ns- of ins tru cti ona l err or involve a trial court's ruling
             Allega
                                                                               e v. Licas
          an iss ue of la  w an d  are  the refore reviewed de novo..(Peopl
       on
                  Cal .4t h 36 2, 3b 6; Peo ple v. Wai dla(2000)22 Ca1.4th 690,733;
      (200 41
                                                                               an .(1993)
                                           .14th 155, 217;People v. Berrym
       People v. Alvarez.(1996} 14 Ca1
       6 Ca1.4th 104$,1089.)
                                                    to Instruct the
               C.     The Trial Court Was Required
                                                  LCRIM No. 570,
                      J ury in the Language of CA
                                                   Requested or
                      Whether or Not the Defense
                      Objected #o It
                                                      ct the jury in the language of
               The trial court agreed to instru
                                                                              en had
          AL CR  IM   No . 570 - an d ~t ob ody objected to it.(4RT 392.) Ev
        C
                                                                                      e
                  co un se l obj ect ed to  the cou rt giving CALCRIM No.570,th
        defense
                                                                              ople v.
                                             nte, to give.the= nstxuction.(Pe
        trial court was bound,sua spo
                                                                                  ound
              erm an (1 99 8) 19  Cal .4t h 142 , X53[superseded on another gr
        Brev
                                                                                 5)12
                                               evant here];People v. Barton (199
        by amendment of X1$9 not rel
        Ca1.4th 186,190.)
                                                      g of a human being with malice
                Murder is the unlawful killin
                                                                                t who
                                              tion 187,subd.(a).) A defendan
         aforethought.(Pen. Code sec
                                                                                  lice is
                                                lawful killing but who lacks ma
         commits an intentional and un
                                                                                     (a)
               y of vol  unt ary  ma ns la ug ht er .(Pen. Code section 192,subds.
         guilt
                                                                              erally, the
                                             supra, 19 Cal.4th 142, 153.) Gen
         and (b); People v. Breverman,
                                                                                     t
              nt to kzl l un la wf ul ly consti tut es malice; however,a defendan
         inte
                                                                                 d,
                                               ully kills lacks malice in limite
          who intentionally and unlawf
                                                 20

                                                                                                ~:
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        explicitly defined circumstances: either whe
                                                         n the defendant acts in a
        sudden quarrel or heat of passion, or whe
                                                       n the defendant kills in
        unreasonable self-defense, i.e., the unreason
                                                      able    but good faith belief
        in having to act in self-defense.(People v.
                                                      Rios (2000)23 Ca1.4th 450,
       459.) Because sudden quarrel, heat of pass
                                                  ion     and unreasonable
       self-defense reduce an intentional, unlawful
                                                         killing from murder to
       voluntary manslaughter by negating the ele
                                                  ment of       malice that
       otherwise inheres in such a homicide, voluntar
                                                           y manslaughter of
      these two forms is considered a lesser necessar
                                                          ily included offense of
      intentional murder.(Id. at p. 461.} A lesser
                                                      offense is necessarily
      included in a greater offense if either the stat
                                                       utor  y elements of the
      greater offense or the facts actually alleged in
                                                         the accusatory
      pleading include all of the elements of the less
                                                       er   offense,such that
     the greater cannot be com.~itted without also
                                                         committing the lesser.
    (People v. Birks (1998)19 Cal.4th 108, 117.)

           The obligation to instruct on lesser included
                                                              offenses applies
     regardless of the parties' requests or objections,
                                                        and    thus prevents
     the strategy,ignorance, or mistakes of either part
                                                            y from presenting
    the jury with an unwarranted all-or-nothing choi
                                                           ce, encourages a
    verdict no harsher or more lenient than the evid
                                                          ence merits, and
    protects the jury's truth-ascertainment function
                                                         .(People v. Breverman,
    supra, 19 Cal.4th 142, 154-155.)"Just as the pros
                                                        ecution has no
    legitimate interest in obtaitung a conviction of
                                                       a greater offense than
   that established by the evidence, a defendant
                                                      has no right to an

                                       21
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                                             sufficient to establish a lesser
       acquittal when that evidence is
                                                ra, at p. 155.)"In contrast, a trial
       included offense.:'(Breverman,sup
                s a.mo  re lim it ed dut  y to ins truct,sua sponte, on particular
       court ha
                                                s that the defendant is relying on
       defenses, arising 'only if it appear
                                                                                   a
          ch a def ens e or if the re is sub stantial evidence to support such
       su
                                                onsistent wzth the.defendant's
        defense and the defense is not inc
                                                                                     v.
                                                ton, supra, at ~. 195,.citing People                     .
        theory of the case."'(People v. Bar
                                                                                                    -`
                                        716.)
       Sedeno(1974)10 Ca1.3d 703, at p.
                                                            y_ to instruct on voluntary
                 A trial court has a sua sponte dut
                                                                                         ect
                                                   quarrel, heat of passion or unperf
        manslaughter based on sudden
                                                                                           it
                                                  either is~ "substantial enough to mer
        self-defense when evidence of
                der ati on" by   the  jur y. (Pe opl e_ v. Breverman, supra, 19. Ca1.4th 142,
        consi
                                                                                         _
                                                   ~2 ~a1.4~h.1$6, 201.)In a murder._
        153-16~;Peap-le v.$a~ton,~~r~,
                                                                                       ry
            ose cut ion , thi s du ty  inc lud  es the obligation to instruct an eve
        pr
                                                    included offense of voluntary
        supportable theory of the lesser
                                                  theory yr theories that have th.e
         manslaughter, not merely the
                                                                                           nly
           tro nge st evi den  tia ry sup  por t,  or on which the defendant has ope
         s
                                                        l9 Ca1.4th 142,155.}
         relied. {People v. Breverman,supra,
                                                             jury an justifiable homicide
                  At trial, the court instructed the
               aso nab le"  sel  f-d efe nse )[C  AL   ~RTM No.505]. and on the lesser
        ("re
                                                    voluntary manslaughter
         necessarily included offense of
                                                  [CALC:RIM No.571], but did not
        ("unreasonable" self-defense)
              tru ct on  a su  dd en  qua rre  l, hea  t of passion theory of voluntary
          ins
                                                                                            g to
                                                        J. The trial court erred by failin
          manslaughter[CALCRIM No.570
                                                   22
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        instruct,sua sponte, on a sudden .quarrel,
                                                     heat of passion theory of
        voluntary manslaughter, which was also
                                                     supported by the evidence.
              D.     The Error Prejudiced Campbeii
                    'I.     Standard for Assessing Prejudice
              The California Supreme Court.assesses prej
                                                               udice resulting                   ~'
       from the omission of aheat-of-passion volu
                                                        ntary manslaughter
       instruction at trial under the Watson standard
                                                         . {People v. Breverman,
       supra, 19 Cal.4th 142, 165.)

             Campbell submits the failure to instruct on
                                                             a lesser included
      offense should be evaluated under the federal
                                                          constitutional error
      the prejudice of which is subject to review
                                                     under the standard of
      Chapman v. California (1967)386 U.S. 18[87
                                                     S.Ct. 824, 17 L.Ed.2d 705.             -.
      In People v. Breverman,supra, 19 Cal.4th 142,
                                                      the California Supreme
      Court stated that the "very purpose of the
                                                   rule" requiring sua sponte
     instruction on lesser included offenses "is
                                                   to allow the jurors to
     convict of either the greater or the lesser offe
                                                      nse where the evidence
     might support either." (Id. at 178, fn. 25.)The
                                                        fact that the evidence
     may support conviction of the greater does not
                                                         resolve the question
     whether a juror would nonetheless have cho
                                                sen       the lesser if given
    that choice.(Ibid.)                    -'
          As the United States Supreme Court explaine
                                                      d in        Keeble v.
    United States (1973) 412 U.S. 205[93 S.Ct.1993,
                                                    36     L.Ed.2d 844]:
         [I]f the prosecution has not established beyond
                                                         a
         reasonable doubt every element ~of the offense
                                                        charged,


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                                                 on is offered, the jury
              and if no lesser offense instructi
                                                 urn a verdict of
              must, as a theoretical matter, ret
                                                itled to a lesser offense
              acquittal. But a defendant is ent
                                              any other —_precisely
              instruction in this context or
                                             posed to the substantial risk
              because he should not be ex
                                                erge from theory. Where
              that the jury's practice will div
                                               ense charged remains in
              one of the elements of the off
                                                 inly guilty of some
               doubt, but the defendant is pla
                                                 olve its doubts in favor of
               offense,the jury is Likely to res
               conviction.

                                         S~zpreme Court has offered
       (Id. at p. 212.) The California
                                       sis:
        substantially the same analy
                                                   are required because a
               Instructions on lesser offenses
                                                     er of fact no option other
               procedure which affords the tri
                                                    en the evidence shows
               than conviction or acquittal wh
                                                   some- crime but not .
               that`the defendant is guilty of
                                                     reases the risk that the
               n~eess l~ the vne charg~d~ inc
                                                      withstanding the
                defendant may be convicted not
                                                  not proved beyond a
                obligation to acquit if guilt i.s
                                                       which create that risk
                reasonable doubt. The pressures
                                                   e fact finding pxocess and
                thus.affect the reliability of_,th
                                                      e doubt standard.
                thereby undermine the reasonabl

                                                d 510,520, overr~uuled on other
        (People v. Geiger(1984)35 Ca1..3
                                                  19 Ca1.4th 108, at p. 136.)
         grounds in People v. Birks, supra,
                                                                                   of
                                                 appellant of the greater offense
         The fact that the jury convicted
                                                                                   r it
                                                  resolve the question of whethe
         second degree murder does not
                                                                                        e
              pre jud ici al err or to fail to ins truct on the lesser included offens
         was
                                                   n manslaughter.
         of sudden quarrel, heat of passio       _,
                                                          t has held,in capital cases,
                The United States Supreme Cour

                                                24
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         that the failure of a trial court to inst
                                                  ruct on lesser included offenses
         will leave the jury with an unwarrant
                                                     ed all-or-nothing ~h.oice,
        violating due process.(Beck v. Alabam
                                                     a (1980)447 U.S. 625,634,
        637-638[100 S.Ct. 2382,65 L.Ed.2d 392]
                                                      ; U.S. Const.,l4th amend.;see
        People v. Breverman,supra, 19 Cal.4th
                                                  142,166-167[summarizing
        Beck]. The California Supreme court
                                                 stated in Breverman that "[t]he
       Beck rule has never since been extend
                                                  ed beyond the capital context"
       and that subsequent decisions had con
                                                     strued Beck narrowly.(People
       v. Breverman,supra, l9 Cal.4th 142, 167.)
                                                      Breverman concluded that
      "the high court's decisions leave subs
                                             tant     ial doubt that the federal
      constitution confers any right to lesser
                                                     included offense instructions
      in noncapital cases" and that, fiherefor
                                                 e,"the rule requiring sua
      sponte instructions on all lesser necessari
                                                     ly included offenses
     supported by the evidence derives exclus
                                              ive        ly from California law."
    (Icl. at 168-1~►9.)

            The rule articulated in Beck v. Alabama
                                                         should apply equally to
     noncapital cases. (Vujosevic v. Rafferty
                                                (3d Cir. 1988) 844 F.2d 1023,
    1028, fn. 1.) The failure to instruct on nec
                                                     essarily included offenses
    violates a defendant's Sixth and Fourtee
                                                  nth Amendment rights to
    have ~h.e jury determine all material issu
                                                  es presented by the
    evidence. (Cf. Sullivan v. Louisiana (1993)
                                                508     U.S. 275, 277-278 [113
    S.Ct. 2078,124 L.Ed.2d 182J; In re Vljinship
                                                     (1970) 397 U.S. 358, 364 [90
   S.Ct. 10b8, 25 L.Ed.2d 368].) The pressures
                                                      of an improper
   all-or-nothing choice "affect the reliabi
                                                lity of the fact finding process

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                                                                                e v. _:         ~,- -
                                              sonable doubt standard."(Peopl
       and thereby undermine .the rea
                                                  ~,.
       Geiger, supra,.35 Cal.3d 510 520.}
                                                      to instruct on the lesser
              Because the trial court's failure
            ude d  off ens e of su dd en  qua rrel,heat of passion voluntary
       incl
                 ght er  vio lat ed app ellant 's fed eral constitutional rights to a
       manslau
                                                                                 ~h.e
                                             error should be reviewed under
       jury .trial and due process,. the :
                                                                                  . 18.
             les s-er ror sta  nda rd of  Ch ap man v. California, supra, 386 U.S
        harm
                                                               for Maiice, and
                       2. The Prosecutor's Case
                                                                     Weak;The
                               Therefore For Murder, Was
                                                                   QuarreM and Heat
                               Defense Case :for Sudden
                               of Passion Was Strong

                                                         felony murder rule, a
               Except in cases governed by the
              ide  is ~no f a mu rd er abs ent   malice aforethought,i.e., "the
       homic
                      reg ard  for hu ma n  }if e"} j." (~e opl~ v. Rios,supra,23 Ca1.4th
       wanton dis
                                                 negated as a matter of law where
       450, 460.) Malice aforethought is
                ici  de occ  urr ed "u po  n a su  dd  en quarrel or heat of passion"
       the hom
                                               son was actually obscured as the
       (~192(a)), i.e., "if the killer's rea
                                                 d by a 'provocation' sufficient to
        result of a strong passion arouse
               an  " 'or din  ary [pe rso n] of  ave  rage disposition ... to act rashly
        cause
                                                 reflection,.and from this passion
        or without dt~e deliberation and
                                                                                       ra,
                                                  tations.](People v. Breverman,sup
        rather than from judgment.'"[Ci
                . 4th 142  ,16 3.) He at of pas  sio  n may result from fear or terror
        19 Cal
                                                                                        ,
                                                ople v. Mitchell(1939} 14 Ca1.2d 237
         as well as anger or jealousy.(Pe
                                                   .45, 49.}
         252; People v. Logan (1917)175 CaI ,~


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              In deciding whether the provocation
                                                       was sufficient, the finder
        of fact must consider whether a person
                                                   of average disposition, in the
        same situation and knowing the same
                                               facts, would have reacted
       from passion rather than from judgme
                                              nt.(CALCRIM No.570; People
       v. Logan,supra,175 Ca145,49.) Conseq
                                              uently,the objective standard
       of heat-of-passion voluntary manslaugh
                                               ter compels examination of
       Campbell's situation.
             The evidence indicated that Campbell
                                                       was under the stress of
      being attacked suddenly by a person he
                                                had thought of as a trusted.
      friend or even a son.(3RT 322-323,350
                                             , 353.) Campbell had invited
      Brian into his room to lend him some
                                           clof    h.es so that they could go
      out together on New Yeaxs Eve.(3RT 321
                                                -323.) Campbell believed
     that while Brian was in Campbell's roo
                                            m      he stole.#wo cell phones.
    (3RT 326-328.) Campbell confronted Bri
                                              an about taking his cell
     phones and demanded them back.(3RT
                                              327-328,355.) Unexpectedly,
     Brian charged him and punched him in
                                              the forehead, then bear-
    hugged Campbell and slammed him to
                                             the ground,throwing body
    punches.(3RT 327-330.) Brian was angry,
                                               swearing at Campbell and
    saying he was going to kick Campbell's "ol
                                                   d ass".(3RT 329-330.}
          Campbell was able to wriggle out from und
                                                         er Brian and get to
    his feet, but Brian blocked the door, preven
                                                ting Campbell from
   leaving the room.(3RT 330-331, 374-37
                                           5.) Brian charged Campbell
   again, and Campbell started throwing
                                           things at him.(3RT 331-332.}
   Campbell picked up a closed stapler fro
                                            m the dresser and hit Brian

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                                                                                     tank            ~.
          th it, th en  op  en ed  it an  d  sta pled Brian's chest over Brian's
       wi
                       an  pul led   ou t a  sta ple  , la ug hed demonically, and said "Is
       top,but Bri
                                                                                   s
          at all yo u  got - ol d ma  n?  "(3  RT 332-336,35b.) Campbell wa
       th
                                                                                       By
                 ed  an d. ter rif ied -th at Bri  an   was not deterred.(3RT 334..)
       surpris
                                                                                        t ten
                                                  ng almost continuously for abou
       this point they had been fighti
                                                                                     .(3RT
           nut es, wh  il e  Bri an  rep  eat edly fihreatened to kill Campbell
        mi
                                                                                       ng the
              35. ) Ac  co rd in  g to  Ca  mp be  ll and his'neighbor Rose, duri
        334-3
                      be ll  kn  oc ke  d on   th e  wal l. an d screamed for Rose to call
        fight Camp
                                                 3~7.}
        the police.(3RT 291,338-339;
                                                            and put him in a choke hold
                Brian rushed Campbell again
                         , cut tin  g off  his  air .(3  RT  339 , 357-358.} Campbell bit
        from behi     nd
                                                                                       (3RT
                                                    e repeatedly to break his hold.
         Brian on his arm _and elsewher
                                                                                          sser,
              35 8- 3b   )
                        0;  Br ia n th  en  pi~ lce d  up a c~othin~ iron from ,the dre
         340,
                      the  co rd  ar  ou nd  .Ca  mpb  ell  's neck,. and _choked him from
         wrapped
                                                                                     341,361-
                                                dizzy and breathless.(3RT 340-
         behind until Campbell was
        362.)
                    mp be ll   ha d, at mo st , a fe w se conds and as little as a fraction
                 Ca
                                                                                   m. Rose
                                              after Brian started strangling,hi
         of a second in which to react
                                                                                   his
            ar d wh  at  sh e bel iev ed  wa s Campbell's voice coming from
         he
                      ing , "C al l the pol ice ," in re sponse to her knocking on their
         room,say
                                                                                     )
                                                 was okay.(2RT 77-78,81-82,92.
         common wall and asking if he
                                                                                    room,
            ei gh bo r We nd  el l he ar d the so  unds of a fight in Campbell's
         N
                       a "b an  g"  an d so me  on e yel lin g "help", but he could not tell.
          including
                                                                                     l level
                                                   53,56-57.)Brian's blood alcoho
          whose voice it was.(2RT 49-50,
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         was .212- supporting an argument
                                                that Brian was so drunk that his
        inhibitions were gone and he was
                                         out     of control.
               Finally, where "the People's own
                                                   evidence suggests that the
        killing may have been provoked or
                                              in honest response to perceived
       danger" the People musf also "pr
                                          ove beyond reasonable doubt that
       [heat of passion and adequate pro
                                         voc    ation] were lacking in order to
       establish the murder element of mal
                                             ice.[Citations.]"(People v. Rios,
       supra, applying Mullaney v. Wilbur(19
                                                75)421 U.S. 684,704[Due
      Process Clause requires the prosec
                                          ution to prove beyond a
      reasonable doubt the absence of the hea
                                                 t of passion on sudden
      provocation when the issue is proper
                                              ly presented in a homicide
      case."].) The coroner indicated the bru
                                               ises and abrasions on Brian's
      hands and wrists could have been off
                                           ens    ive or defensive, and that
     Brian had a high blood-alcohol level at
                                                the time he was killed.(2RT
     202-203,308-309.)Photographs taken
                                              of Campbell's body.on the day
     of his arrest showed bruises, scrapes and
                                                  scrat~h.es on his chest,
     back, arms and knees.(3RT 293-294, 30$
                                                -309,365-370.) Defense
    expert Dr. Ryan O'Connor determine
                                             d the injuries to Campbell were
    consistent with injuries that were six
                                             days old -suggesting that they
    resulted from the fight with Brian. {3R
                                              T 309.)
          Evidence of intent to kill was lacking
                                                   here. ti1Thy would.
    Campbell invite Brian to his residential
                                               hotel room with the intention
   of killing him? There. were people all aro
                                                und,just outside the door
   and in the adjacent rooms; discovery of
                                               the dead body was

                                     29
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                   e; the  ide  nti ty  of  the  pe rs on who rented the room was                    ~-
       inevitabl
                                                                                   e
                                                mpbell have to kill Brian? Th
       known. What motive did Ca
                                                                                         had a
                   or  off  ere d no  th  in g bu t th e insinuation that Campbell
       prosecut
                                                                                ence to
                                             ger Brian, without any evid
       sexual interest in the youn
                                                                                 d at least one
           pp or t it. Th is  wa  s  a su  dd  en and unexpected fight,.an
       su
                                                 as extremely intoxicated
        of the combatants -Brian -w
                       pro  sec uto  r co  ul d  no t ha ve  disproved sudden quarrel or
                The
                                   e. Th  er  e wa  s ev id en ce tha t Brian, a much younger
        heat of passion her
                                                                                   mpbell in
             n th an  Ca  mp be  ll , su  dd en  ly.and violently attacked Ca
        ma
                                                                                   and
                                                him,threatening to .kill him,
        his own home, swearing at
                           m  to  th e po  in t of  Ca mp be ll  nearly passing-out. Under
        strangling hi
                                                                                       bell was
               e cir cum  sta  nce s,  a  re as on ab le jury. could infer that Camp
         thes
                                                                                  by a
                                                 reason was thus.obscured,_
         aroused to_~assi~~,;and his
                               fic ien  t to pr  od uc e su ch  eff ects in a person of average
         provocation suf
                                                                                       and
               osi tio n. A   rat ion  al jur 3r co uld also find that.the intense
          disp
                       ou gh  t em  ot io  ns  ar ou se d  by the initial threat had not had
          highly wr
                                                                                  e iron-
                                                the time Campbell seized th
          time to cool or subside by
                                                                                      ruck Brian
              os e co  rd  Br ia n  wa  s  str ang ling Campbell with -then st
          wh
                        il he  .st  opp  ed  str ang lin g Ca mpbell. Finally, a jury could
           with it unt
                                                                                        om all of
                                                    efense claim,and conclude,fr
           disbelieve defendant's self-d
                                                                                      e his
               ev id en  ce , tha t def   end ant .killed intentionally, but whil
           the
                    nt   wa  s ob  sc ur  ed  du  e to pa ssion aroused by sufficient
           judgme
                                                                                        in &
                                                     at being attacked.[See 5 Witk
           provocation -fear and terror
                                                                                      &Epstein,
                 ein , Cal . Cr  im in  al  La  w (2 d ed.1989)§ 2936;1 Witkin
            Epst

                                                    30
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       Cal. Criminal Law (2d ed.1988)~ 511];People v. Mitchell,
                                                                  supra,l4
       Ca1.2d 237, 252; People v. Logan,supra, 175 Ca1.45,49.)

             On these facts, the prosecutor could not prove beyond
                                                                     a
       reasonable doubt that Campbell did not act pursuant
                                                               to a sudden
      quarrel or heat of passion. The failure to instruct on this
                                                                  lesser
      included offense was thus prejudicial under any stan
                                                              dard, and
      Campbell's conviction must be reversed.




                                     31
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                                                   NSIDER
       ti.      INSTRUCTING THE JURY tT C4ULD CO
                                                  SNESS OF
                APPELLANT'S FLIGHT AS C~NSClOU
                                               tClENT
                G UILT WHERE THERE WAS INSUFF
                                                  E
                EVIDENCE OF FLIGHT LESSENED TH
                                                 F AND
                PROSECUTION'S BURDEN CAF PROO
                                                 D 14th
                VtQLATED CAMPBELL'S.5th, fith AN
                AMENDMENT RIGHTS

                A.    Facts
                                                           flight in the language
                The court instructed the jury- regarding

       of CALCRIM No.372:
                                                         r the crime was
                If the defendant fled immediately afte
                                                           t he was aware
                committed, that conduct may show tha
                                                            endant fled,it is
                of his guilt. If you conclude that the def
                                                        importance of that
                up to you to decide the meaning and
                                                        defendant fled
                conduct. However, evidence that the
                cannot prove guilt by itself.

                                          did not object to the instruction.
       (1CT 148;4RT 477.) Defense counsel
                                                ed" because he left his
             The prosecutor argued Campbell "fl
                                                   to Angel Dorsey's residence
        room and walked around the corner
                                                     to report Brian's death.(4RT
        instead of walking to the police station
        405.}
                B.     Standard of Review
                                                            e a trial court's ruling
                Allegations of instructional error involv
                                                      iewed de novo.(People v.
        on an issue of Iaw and are therefore rev
                                                  v. Alvarez, supra, l4 Ca1.14th
        Waidla, supra, 22 Ca1.4th 690, 733;People
                                              Ca1.4th 1048,1089.)
        155,217;People v. Berryman, supra,6



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               C.     The Issue is Not Forfeited on Appeal
               The issue is not forfeited because defense coun
                                                                    sel failed to
        ob}ect to the giving of the instruction in the trial
                                                               court. Where trial
        counsel merely fails to object to f11e giving of
                                                           an instruction, the court
        may review the propriety of the instruction.(See
                                                               ~ 1259["The
       appellate court may ... review any instruction
                                                           given,refused or
       modified, even though no objection was mad
                                                        e thereto in the lower
       court, if the substantial rights of the defendant
                                                            were affected
       thereby."].)

             Furthermore, due process requires that counsel'
                                                                    s performance
      fulfill the right of the accused to "the reasonab
                                                        ly competent
      assistance of an attorney acting as his diligent and
                                                           cons     cientious
      advocate."(People v. Ledesma (1987)43 Cal.3d 171,
                                                               2~.5.)
      Consequently, a failure to object warrants reversal
                                                               for ineffective
     .assistance of counsel in the case where "the reco
                                                            rd on appeal
      affirmatively discloses that counsel had no rational
                                                            tactical purpose"
     in not objecting.(People v. Bradford(1997)14 Ca1.
                                                        4th 1005,1052.)
            This is such a case. No particular decision by trial coun
                                                                      sel to
     act or not to act in a particular manner can be rega
                                                          rded as "tactical"
    or "strategic" unless the decision was both "rationa
                                                             l and informed."
   (In re Marquez(1992) 1 Ca1.4th 584,606.)It is inco
                                                      ncei       vable that
    defense counsel believed the instruction could hav
                                                             e benefitted
    appellant i.n any way;therefore, no further inquiry
                                                             is required before
    this court can reliably adjudicate this issue.(See Peop
                                                            le v. ~lnz   alone

                                        33
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                                                                          failing to         = ~,
                                           al counsel ineffective for
       (2005)130 Ca1.App.4th 146, 159 [tri
                                          t of the Iaw]; People v. Rodriguez
      object to pxosecutor's missfiatemen
                                          ilure to assign misconduct
      (1994)8 Ca1.4th 1060,1125-1126[fa
                                           e of counsel].)
       constituted ineffective assistanc
                                                       the flight.instruction
              Defense counsel's failure to object to
                                             e of counsel under the Sixth and
       constituted ineffective assistanc
                                             could have been no tactical reason
       Fourteenth amendments. Tl~.ere
                                                n regarding jury instructions
       for failing to object. The discussio
          cur red out sid e the jur y's pre sen ce,so there was no tactical reason
       oc
                                               perceptions of the objection.
       based on concerns fox the jurors'
                                                   sible tacfi.cal purpose in defense
       Therefore, because there was no pos
                                                 ght instruction, the issue is not
       counsel's failure to object to the fli
        forfeited on appeal. ~       .-.
                                                         LCRIM Igo.
               D.     The Triat Court Erred in Giving CA
                                                         ufficient
                      372 Where the Record Showed Ins
                      Evidence of Flight
                                                    it may draw a particular
               Before the court can instruct a jury
                                          in the record which,if believed by
        inference; evidence must appear
                                              inference.(People v. Valdez(2004)
        the jury, will support the suggested
                                               s to make- that preliminary
        32 Cal.4th.73,137.) When a court fail
                                              sing a question of law to the jury.
        factual determination,it errs by pas
                                            588,597.)
        (People v. Hannon (1977 19 Ca1.3d
                                                     es giving a flight
                Section 1127c purportedly mandat
                                           ce of flight the prosecutor relies
         instruction where there is eviden


                                              34
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        upon as tending to show guilt. "Flight"
                                                      exisfs where there is evidence
        the defendant "departed the crime sce
                                                  ne under circumstances
        suggesting that his movement was mot
                                                     ivated by a consciousness of
        guilt."(People v. Bradford, supra, 14 Cal.
                                                  4th 1005,1055 [Citations and
       internal quotation marks omitted]; Peop
                                                     le v. Mendoza (2000)24
       Ca1.4th 130,179.}'[FJlight requires neit
                                                 her the physical act of running
       nor the reaching of a far-away haven.
                                            [Cit       ation.] Flight manifestly
       does require, however,a purpose to avo
                                                     id being observed or
      arrested.'"(People v. Bradford,supra, 14
                                                 Cal.4th 1005, at p.1055,
      quoting People v. Visciotti {1992)2 Cal.4th
                                                      1, 60.)
             It is error to give the flightinstruction
                                                         in the absence of any
      evidence from which a jury could reason
                                                     ably infer that the
      defendant left to avoid being observed or
                                                      arrested.(People v.
     Carrington (2009)47 Cal.4th 145, 188["An
                                                     instruction that permits the
     jury to draw an inference of guilt from part
                                                       icular facts is valid only if
     there is a rational connection between
                                               the fact proved and the fact
     inferred."]; People v. erandell(1988)46 ~a1
                                                     .3d 833,869-870[abrogated
     on other grounds in People v. Crayton (2002)
                                                       28 Cal.4th 346, 364-365.)
           A flight instruction should not be given
                                                         where,for example,
    the evidence merely shows the defendant
                                                     was arrested some time
    after the crime and miles away from the
                                                scene, since such evidence,
    standing alone, does not support an infere
                                                     nce of guilt:(People v.
    Watson (1977)75 Ca1.App.3d 384, 403.) "Me
                                                     re return to familiar
   environs from the scene of an alleged cri
                                                me does not warrant an

                                       35
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                                                                                           ~° ,,
                                          lt [citations], but the circumstances
      inference of consciousness of gui
                                                                                              1




                                         ne may sometimes do so.
      of departure from the crime sce
                                         06)38 Ca1.4th 72,- 126, italics
      [Citations.]" (People v. Jurado (20
       omitted.)
                                                     this case established that,
              The uncontroverted evidence in
                 fig ht, Cam pbe ll.did  not lea ve his room immediately, but fell
       after the
                                            (3RT 343,361,363,377.) While
       onto his bed and slept all night:
                                           8:13 the next morning after
       Campbell Left the apartment.at
                 ing  Bri an wa s dea d (2 RT  112 -11 5,128-129), he did not run or
       discover
                                            walked to his ex-girlfriend's
       flee from the scene;instead,he
                                                his place and immediately.across
       residence around the corner from
                                                d told her that Brian had died
        the street from a police station, an
                                                                                 t
                                             T 145-146.).He spent.the better par
        during a fight,(2RT 141-142;3R
                                             g.drunk and high, but he did not
        of a week after the killing gettin
                                                ,352,364.)The uniformed
        leave his neighborhood. (3RT 346
                                               pbell "did not attempt to
         arresting officer testified that Cam
                                               RT 179-180.)
        flee"when taken into custody.(3
                                                      CALCRIM No.372.(2RT
               Nevertheless the trial court gave
                                              M No.372 flight instruction is only
        185-176;1CT 104.)The CALCRI
                                               evidence the defendant fled after
        appropriate when there is actual
                 me wa s com mit ted . (Pe ople v. Mendoza, supra,24 Ca1.4th 130,
         the cri
                                                er grounds]; People v. Pensinger
         179[superseded by statute on oth
              1)52  CaI .3d 121 0, 124 4[ev ide nce indicating an accused left the
        (199
                                               dence of flight that necessarily
         scene and went home "is not evi

                                              36
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        supports an inference of consciousnes
                                                  s of guilt. [Citations.]"].)
               The instruction on flight should onl~
                                                         r be given if there is
        substantial evidence the defendant dep
                                                   arted the scene under
        circumstances suggesting the moveme
                                                  nt was motivated by a
       consciousness of guilt.(People v. Howard
                                                      (2008)42 Cal.4th 1000, 1020;
       People v. Smithey(1999)ZO Cal.4th 936
                                               , 982; People v. Bradford, supra,
       14 Cal.4th 1005,1055.)In People. v. Cran
                                                dell, supra, 46 Ca1.3d 833',869,
       the defendant left a house after homici
                                               des      were committed "for
      reasons other than fear of immediate
                                               apprehension and with the
      intention to return to dispose of the bod
                                                  ies." He contended his
      departure did not, as a matter of law,cons
                                                      titute flight, and did not
      justify giving the jury a flight instruction.
                                                      (Id. at p. 869.)The
     California Supreme Court agreed,findin
                                                   g error because the
     defendant's leaving could not be consid
                                                  ered to be flight "in the
     absence of any evidence from which a jur
                                                   y could reasonably infer
     that he left to avoid being observed or arre
                                                      sted." (Ibid.) The Court
    held the defendant's actions did not constitu
                                                        te flight because he "did
    not leave to avoid being observed (his presen
                                                        ce at the house on the
    morning following the murders was alread
                                                      y known to others and he
    did not expect the crimes to become known
                                                       before his intended
    return. He left to accomplish specific tasks
                                                   and with the intent of



   Abrogated on other grounds in People v. Cra
                                               yton (2002)28 Cal.4fh
   346, 364.

                                       37
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               ing   to  di sp os e of  the    bod ies . There is no evidence he ever          .~
       return
                            s int ent ; ind  eed ,. he   wa s  arr ested while refixrning an '~~
                                                                                             d
       wavered in       thi
                                                                                     ction on
           s th an  a  bl oc k fr  om  the   P.  house. Accordingly, the instru
       les
                                                given."(Id. at 869-870.)
       flight should not have been
                                                            flight instruction was given in
                For the same reasons,here the
               be ca  us e  Ca mp  be ll  di   d no t flee. After the fight was over,
       error
                    l fel l asl eep  an  d sle   pt th  ro ug h the night.(3RT 343;361,363,
        Campbel
                                                                                         When
                                                  ied to rouse Brian.(3RT 343-344.)
        377.) Upon awakening,he.tr
                                                                                      ing; he -"~;_.
           am pb el l dis   cov ere  d Bri   an  was dead,. he did not Leave runn
        C
                  ou   t of  his ap  ar tm en   t, ou  t of the building, and.to his ex-
        walked
                                                                                       er from
                                                   Her home.was around the corn
        girlfriend's home.(2RT 133.)
                                                                                             the
                 ce,  an  d  acr oss  th e . stre et fr  om the police station,increasing
        his pla
                                                                                        y
                                                  uld find hi.m once they inevitabl
         likelihood that_.the l ohce_ wo
                                                                                       hotel
                                                 RT 133.) Tenants and staff at the
         discovered Brian's body.(2
                                                                                          , 76,
                 Ca  mp  be  ll liv ed  in   ro  om  58  , where the body was.(ZRT 49
         knew
                          ll  dx d no  t at  te  mp t to fle e wh  en uniformed police officers.
         94.) Campbe
                                                    RT 179-180,.182.) These acts were
          stopped and arrested him.(3
                                                                                           t an
                fic ien t as  a ma  tt er of    La w to  constitute flight and to suppor
          insuf
         inference of guilt.
                                                      of law that before a jury can be
                "It is an elementary principle
               uct ed tha t it ma y dr  aw a  par ticular inference, evidence must
         instr
                                                                                  the
                                                ieved by the jury, will support
         appear in the record which,bel
                                                                                  .3d
                                            .]."(People v. Saddler(1979)24 Ca1
         suggested inference [citation
                 1; se e als o Peo ple v. Val dez , sup ra, 32 Ca1.4th 73,137.) The trial
         671, 68

                                                     38
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        court has a dufy not only to instruct
                                              on     relevant principles of law,
        but also must "refrain from instructing
                                                    on principles of law which
        not only are irrelevant to the issues rais
                                                     ed by the evidence but also
       have the effect of confusing the jury
                                             or     relieving it from making
       findings on relevant issues."(People
                                              v. Saddler, supra, 24 Cal.3d at
       681.) Here, the trial court's decision to
                                                   instruct the jury they could
       consider appellant's "flight" in deciding
                                                     his guilt in the absence of
      sufficient evidence justifying such an
                                               inference violated this duty.
             Campbell acknowledges flight instruct
                                                         ions have generally
      been upheld in California.(People v. Men
                                                   doza,supra, 24 Cal.4th 130,
      180-181;People v. Smithey,supra, 20 Ca1.
                                                   4th at 982-983.} However,a
      number of cases have found error in giv
                                                   ing the flight instruction.
     For example,in People v. Green (1980)27               1


                                                   Cal.3d 1,37, overruled on
     other grounds by People v.Martinez(1999}
                                                     20 Cal. 4th 225, 241, the
     court acknowledged prior cases warning
                                                    courts they should not
     confuse mere departurefrom the scene of
                                                    a crime with deliberate
    flight from the area.

           In People v. Watson,supra, 75 ~al.App.3
                                                       d 384,.the only
    evidence supporting flight was the fact the
                                                     defendant was arrested
    two days after the murder and several mil
                                                   es from where the victim's
    body was discovered. {Id. at 403.)In People
                                                    v. Fremont(1937)22
   Cal.App.2d 292,300, the court found error in
                                                      giving the flight
   instruction because there was simply no
                                               evidence of flight. The court
   cautioned "[n]o instruction should be giv
                                               en to the jury unless

                                      39
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                                                                                                    -~ ~~.
                                       cumstances of the case."                                        l:
       adapted to the evidence and cir
                                            ce of flight, the trial court's
             mere,given insufficient eviden
                                    M No.3.72 instruction vas error.
       decision to give the CALCRI
                                                       secution's Burden Of
             E.     CALCRIlVI 372 Lessened The Pro
                                                      6th and 14th
                    Proof and Violated Appellant's
                    Anriendmen# Rights

                                                    Fourteenth Amendment
             "The Due Process Clause of the
                                                                              the
         nie s sta tes the po  we r to dep rive the accused of liberty unless
       de
             cut ion  pr ov es be yo nd a rea son able doubt_ every element of the
       prose
                                                                                ing
                                           ifornia (1989)491 U.S. 263, 265, cit
       charged offense.(Carella v. Cal
                                                     8, 364.)
        ~n re Winship,supra,397 U.S. 35.
                                                              es "the prosecution of the
                Inst-xuctional error which reliev
                                                       sonable doubt each element of the
        burden- of proving beyond a rea
                  d  off ens  e  vio  lat es the  def  end ant`s.rights under both the
        char  ge
                                                                                       998)18
                                                   Constitutions."(People v. FIood (1
         United States and California
                                                                                            .)
              .4t h 470 , 479  -48  0;   see Car ell a v. California, supra,491 U.S. at 265
         Ca.l
                                                             late the Due Process Clause if
                "Mandatory presumptions vio
                                                                                          t of
                                                     rden of persuasion on an elemen
         they relieve the State of the bu
                                                      York(197 432 U.S. 197, 215;
         the offense.''(Patterson v. New
                                                      2 U.S. 510,520-524.) By contrast,
         Sandstrom v. Montana (1978)44
                                                                                              e
                 ssi   ve inf  ere  nce  s gen era lly  do not violate due process becaus
          pe rmi
                    sec uti  on   sti ll bea rs the  bu rd  en of persuading the jury that the
          the pro
                                                                                       ate facts
                                                    be inferred based on the predic
          suggested conclusion should
                ed  . (Es tel le v.  Mc  Gu ir e (19  91) 502 U.S.62, 78-79, citing i,ilster
          prov

        ,~                                         40
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        County Court v. Allen (1979)442 U.S. 140,157-
                                                         163.)
                 Nevertheless, a permissive inference violates
                                                                 th.e Due Process
        Clause if the suggested conclusion is not one
                                                         that reason and
       common sense justify in light of the proven
                                                      facts before the jury.
      (Francis v. Franklin (1985)471 U.S. 307,314-
                                                   315,    citing Ulster County
       Court, supra, 442 U.S., at 157-163.)

                The permissive inference created by CALCRI
                                                                 M No.372
       violated Campbell's federal due process righ
                                                      ts. The instruction told
      the juror it could infer from Campbell's depa
                                                     rture from his hotel
      room that he "fled" the scene and demonstr
                                                     ated consciousness of
      guilt as to tie charged offense..(People v. Mend
                                                      oza, supra,24 Cal.4th
      130,179-180.) That inference, which was inap
                                                   prop     riate because it
      was unsupported by the.evidence, lessened the
                                                          prosecution's
     burden to prove every element of the case bey
                                                         ond a reasonable
     doubt, and violated appellant's Fifth, Sixth and
                                                          14th. Amendment
     rights to trial by jury and due process.(In re Wins
                                                           hip,supra, 397 U.S.
     at 364.)

           An instruction that creates a "permissive inferenc
                                                                   e," that is, an
    inference the jury may choose to credit or rejec
                                                     t, viol  afes due process
    where "there is no rational way" the trier of fact
                                                          could make the
   "connection permitted by the inference."(Ulster
                                                         County Court v.
    Allen, supra,442 U.S. at 157.) Such an instruction unco
                                                             nstitutionally
   shifts the burden of proof because it cannot be said
                                                            with
   "'substantial assurance that the presumed fact
                                                 - is more likely than

                                        41
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                                                       which it is made to depend."'(Id.
       not to flow from the.proved fact on
                                                                                                  y=r




                                                        States(1969} 395 U.S. 6,36.)
       at 166 fn. 28, quoting Leary v. United
          eci fic all y,  it can no#  be  sai d wit h "substantial assurance" that guilt
       Sp
                                                      m flight.
       is more likely than not to,flow fro
                                                                 has put it: "[I]t is not
                 As the United States Supreme Court
                                                       conscious that he has done a
       universally true that a man who is
                                                         not in harmony with the
        wrong,'wi11 pursue a certain course
                                                        of having done an act which is
        conduct of a man who is conscious
                                                      it is a matter of common
        innocent,right, and proper,' since.
                                                        ly innocent do sornetunes fly
        knowledge that men who are entire
                                                           r of being apprehended as the
        from the scene of a crime through fea
            ilt y par -t ies, or fro m. an  unw ill ing ness to appear as witnesses. Nor
         gu
                                                         .inal law that'the wicked flee
        is it true as an accepted axiom of cx~
                                                        hteous are as bold as a lion."'
         when no man pursueth, but the rig
              ert  y v.  Uni  ted Sta tes (18 96) 162  U.S  . 499,511; see also, Wong Sun v.
       (Alb
                                                         ,fn. 10[Stating courts have
         United States (1963)371 U.S.471,483
                                             value in criminal trials of
        "consistently doubted the probative
                                               ne of an actual or supposed
        evidence that the accused.fled the sce
        crone."].)
                                                        afraid of being
                Campbell's statements indicate he was
                                             the question was what,if any,
         apprehended as a guilty party, but
                                             scene of a c~~ime can be probative
         crime was he guilty of?Fleeing the
                                                t prove what crime the person
         of a consciousness of guilt, but.canno
                                             the consciousness of guilt maybe
         fleeing committed; where, as here,

                                                 42
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        of one of several different crimes {first
                                                    or second degree murder or
        voluntary manslaughter),it does not
                                                  provide probative evidence
        that the accused is guilty of any one spec
                                                     ific crime.(People v. Nguyen
      (1993)21 Cal.App.4th 518,538-539;see,
                                            e.g.       , People v. Rankin (1992)9
       Cal.App.4th 430,435; People v. Williams {19
                                                       88)44 Ca1.3d 1127, 1143,
       fn. 9.) Finally, when used to evaluate whe
                                                     ther the record is sufficient
       to support a conviction, consciousness
                                                  of guilt evidence such as
      flight after crime cannot substitute for
                                                  the independent positive
      proof of the elements of the offense that
                                                    the Constitution requires.
     (See,e.g., People v. Blakeslee(1969)2 Ca1.Ap
                                                      p.3d 831,839; People v.
      Nguyen, supra,21 Cal.App.4~h 518,538-
                                                 539.) Campbell knew he had
      killed Brian, but he was concerned that
                                                  he was the only witness to
      what had happened in his room and that
                                                    he would be unfairly
     prosecuted for a crime when the homici
                                                  de was justifiable.(3RT 129-
     131.) Therefore, the flight instruction unfa
                                                    irly suggested Campbell
     knew he was guilty of murder and fled
                                                 to avoid arrest..
           The problems inherent in all flight inst
                                                       ructions are
     impermissibly exacerbated where,as her
                                                  e, those instructions lack
    evidentiary basis. Instructing the jury wit
                                                   h CALCRIM No. 372,in the
    absence of substantial evidence of flight,
                                               fall  s squarely under the
    Ulster definition of unconstitutional per
                                              missive inferences. As the
    suggested conclusion "was not one that rea
                                                    son and common sense
   justify in light of the proven facts before
                                                 the jury," it violated
   Campbell's right to due process of law.(Fra
                                                    ncis v. Franklin, supra,471

                                      43
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       U.S. at 314.)
                                                      ifornia Supreme Court in
               Campbell acknowledges the Cal

             e v. Men doz a, sup ra, 24  Cal .4t h 130,179, rejected the argument
       Peopl
                                                                                  lly
                                             on CALJIC No.2.52 unconstitutiona
       that.the former flight instructi
                                                                               is
           sen ed  the pro sec uti on' s burden of proof. However,lVlendoza
       les
                                            t case there was some_ evidence
       disting2ushable because in tha
                                                                               of
                                              there was insufficient evidence
       justifying the instruction. Here
                                                                               on
          gh t an d the ins tru cti on wa s notjustified by reason and comm
       fli
       sense.
                F.      The Error Was Prejudicial
                                                        federal constitutional
                The   error here implicated appellant's
                                                                                      6
              ts an  d  mu st  be  ju dg ed  un der Chapman v. California, supra, 38
        righ
                        sin ce  it can not  be   sh  ow n be yond a reasonable doubt that
        U.S. 18, Z~,
                                                                                     of the
                                                 convict Campbell in the absence.
        the jury would have voted to
                                                 viction must be reversed.
        erroneous.instruction, his con
                                                          der any standard. The
                  The error was not harmless un
                                                                                         .)
                                                     utor's dosing argrument.(4RT 405
         instruction figured in the prosec
                                                                                      t be
                                                  ough not constituting flight, migh
         While Campbell's conduct;th
                                                  ness of guilt, the nature of the
         seen as manifesting conscious
                  ide   wa s tha t it cou ld  ha  ve  been treated as anon-criminal act
          ho mic
                       nse ), or as a  kil ling  on  a spe ctrum of culpability(murder or
        (self-defe
                                                                                     bell
                                                   r overreached by charging Camp
          manslaughter). The prosecuto
                                                                                      re
            ith  fir st deg ree  mu rd  er . It is reasonably probable a verdict mo
          w
                           def  end ant   wo ul  d  ha ve res ulted had the instruction not
          favorable     to

                                                 44
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         been given.

               The prosecutor argued on closing:
               He fled. And where did he go to?

               To Angel Dorsey's, right around the
                                                       corner from him.
              Coincidentally, she lives -- how many
                                                         people live there
              -- she lives right across the street to
                                                      the police station.
              Instead of walking across the street
                                                      to the police station
              and saying oh, my god. Some guy
                                                    tried to rob me.I
             know hirn. We end up .getting int
                                                   o a huge melee. He
             tried to strangle me.I had to fight for
                                                        my life. Oh,he is
             dead in my room,will you go invest
                                                      igate so that you
             can get the evidence when it's fresh?

             What does he do?

            Oh, no, no,no, no, no. He goes to
            Angel Dorsey's and kicks on her doo
                                                r.
     (4RT 405.)

            It is undisputed that a fight took pla
                                                   ce in Campbell's room
     and that Brian was killed during the
                                             fight. However, Campbell's jury
     was never instructed it could consid
                                            er an absence of flight as an
     indication of innocence. To the contra
                                              ry, the flight instruction
    allowed the jury to infer from appell
                                            ant's walking away from his
    residence - an act that was insuffici
                                            ent as a matter of law to
    constitute flight -that he was consci
                                            ous of guilt, and therefore was
    guilty of the charged offense.

          The judgment must be reversed, eve
                                                  n under the "more likely


                                       45
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                                                                         46
                                        w error.(People v. Watson (1956}
       than not" standard for state Ia
                                                                       ly that
                                        requires appellant to show on
       Cal.2d 818, 83b.) Thzs standard
                                                                        s
                                       al court undermines this Court'
       the error conunitted by the tri
       confidence in the verdict..
                                                       rmless in California unless
               Trial error is usually deemed ha
                 a rea son abl e pro bab ili ty tha t if affected the verdict.(Id. at
       there is
                                                                                 y'in
                                            also affixmed that a "'probabilit
       836.)The Supreme Court has
           s con tex t do es no t me an  mo  re likely t11an not, but merely a
       thi
                                             an abstrac#possibility."(College
       reasonable chance, more than
                                                                                People v.
                                            (1994)8 Ca1.4th 704, 715, citing
        Hospital,Inc. v. Superior Court
                  sup ra, 46 Ca1 .2d  81 8,837  , an d Strickland v. Washington {1984)
        Watson,
                                             .)
        466 U.S. 688, 693-694, 697,. 698
                                                       that absent.the.improper and
               Here, it is reasonably probable
                 or te d fli ght ins trucia on, the jury would not have convicted
        unsupp
                                                                                ng of
                                           evidence did not support a findi
        Campbell of murder,~ as the
                                                                                      y
               e.(S ee  dis cus sio n at pa ge s 26-31 of this brief, supra.) The jur
         malic
                                                                                  of
                                              gree murder,but convicted him
         acquitted Campbell of first de
                                                                                st, a
                                             e the evidence supported, at mo
         second degree murder, wher
                                                                                       be
               lau ght er  con vic tio n. The ref ore, Campbell's conviction must
         mans
         reversed.




                                                 46
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        III.     CAMPBELL WAS DEPRIVED OF HIS
                                               SIXTH
                 AMENDMENT RIGHT TO THE EFFECT
                                                IVE
                 ASSISTANCE OF COUNSEL BECAUS
                                                E TRIAL
                 COUNSEL FAILED TO REQUEST AN INS
                                                   TRUCTION
                 ON "EARWITNESS" IDENTIFICATION

                A.     Facts

                Summarizing an off-the-record discussion
                                                             regarding jury
       instructions, the court stated: "315,I indicate
                                                        d I didn't think 315, the
       eyewitness identification instruction, was
                                                     necessary on this case
       because there doesn't seem to be any iss
                                                   ue about it."(4RT 389.)
      Defense counsel said nothing in respon
                                                 se to the court's statement,
      and did not request modification of the inst
                                                      ruction to address
     "earwitness" identifications.
               The only percipient witnesses to the kill
                                                         ing were Campbell's
     neighbors, Wendell and Rose. They wer
                                                 e not eyewitnesses,but
     "earwitnesses." Both testified to hearing
                                               the    sounds of a violent fight
     coming from Campbell's room.{2RT 44-49,
                                                     51, 53-55, 75-79,95-96.)
     Wendell testified he heard a bang and at
                                                 the same time someone
     yelling "help" twice, but he could nod tell
                                                   if it was Campbell's voice
    yelling for help, or even whether the voi
                                                ce was male or female.(2RT
    49-50,53,57.)Rose also heard a voice com
                                                 ing from Campbell's room,
    but she believed it was Campbell's voice
                                                saying,"Call the police," in
    response to her knocking on their common
                                                    wall and asking if he was
   okay.(2RT 77-78,81-82,92.)

         Rose also testified that before the body was
                                                           identified as Brian,

                                        47
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                                               .Campbell's room was Campbell
       she believed the person killed in
                                                 d killed him.(2RT 89;3RT 283.)
       himself, and that his girlfriend ha
                                               interview that she heard a female
       Rose stated in a recorded police
                                                                                "I
                                             y," and Campbell's voice respond
       voice say "Give me some mone
             got  no  go  dd am  n  mo ne y." (3 RT 280-2$2.)She also reported
       ain't
                                                 chael, oh,let me go..Let me go."
       hearing a female voice saying "Mi
                                            bell say "No, you let me go." (3RT
       She.then said she heard Camp
             281 .) Sh e als o sai d sh e hea rd Campbell's voice say "Call the
        280-
        police" twice.(3RT 291.)
                                                    on the wall between his unit
              Campbell testified that he banged
                e's uni t and scr eam ed for her to ca11 the police.(3RT 338-339,
        and Ros
        347.)
                                                           y that- as Brzan was attacking
                Defense-counsel argued to_ thefur
               bel l,  Ca mp be ll yel led "Ca  ll  the police" and "help". ~4RT 423,
        Camp
                                                                                      're
                                                 don't ye11 for the police- when you
        426,432.} He also argued,"You
           urd eri  ng  so me on e. Yo u yel l for  the police when you need help,
        m
                                                 e's, when you need to get out of a
        and it's your life or someone els
                                                                                    437.)
                                                call "Help,call the police."(4RT
        situation desperately you will
                                                         ieved at the time the police
                 The prosecutor argued Rose bel
                                                 was dead at the hands of his
        interviewed her that Campbell
                                                    t everything Rose said to the police
         girlfriend, Angel Dorsey, and tha
            as "fi lte red thr oug h tha t bel ief ."(4RT 402.)~Rose did not hear
         w
                                                 l did.(4RT 403.)The prosecutor
         anyone say "help", but Wendel
                                                    the police that she heard a female
         emphasized Rose's statement to

                                                .•
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        voice saying "Michael, oh,let me go. Let me
                                                          go," and Campbell say
       "No, you let me go." (4RT 403.}

              B.   The Law Pertaining to Ineffective Assistan
                                                                   ce
              A criminal defendant's constitutional righ
                                                         t to the assistan       ce of
       counsel for his defense includes the right
                                                  to effe    ctive assistance.
      (U.S. Const.,6th & 14th Amends.; Cal. Cons
                                                 t.,       art. 1, ~§ 7, 15;
      Strickland v. Washington (1984)466 U.S.668
                                                    ,685-686;People v. Cudjo
     (1993)6 Ca1.4th 585, 615.)

             An appellant's conviction will be reversed for
                                                                 ineffective
      assistance of counsel when(1)the trial atto
                                                    rney failed to perform in
     the manner expected of reasonably compet
                                                    ent counsel acting as a
     diligent advocate, and (2)there is a reasonab
                                                     le probability that a
     more favorable result would have been obta
                                                     ined in the absence of
     counsel's failure.(Strickland, supra,466 U.S. at
                                                         p. 687; Cudjo, supra,6
     Cal.4th 585, at p.615; see College Hospital, Inc.
                                                         v. Superior Court(1994)
    8 Cal.4th 704, 715[discussing "reasonable prob
                                                         ability" under the
     Watson standard]; People v. Howard (198 190
                                                    Ca1.App.3d 41,47-48 &
    fn.4[Strickland standard is more rigorous that
                                                     Watson and lies
    somewhere between the Chapman and Watson stan
                                                        dards].} Appellant
    bears the burden of proving ineffective assi
                                                 stance of counsel by a
    preponderance of the evidence.(People v. Fost
                                                     er (1992)6 Cal.App.4th
   1,11.)

         The right to effective assistance of counsel incl
                                                               udes the
   expectation that counsel "will make a rational
                                                     and informed decision

                                       49
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                                                                                                    v


                                                                                                  :tea
                                                                                                  .
        n str ate gy an d  tac tic s fo un de d on adequate investigation and
       o
                                                 v. Ledesma, supra,43 Cal.3d 171,
       preparation. jCitations.]"(People
             "Co uns  el' s firs t _du ty is to inv estigate the facts of his client's
       215.)
                                                                                       ;
                                                licable to those facts."(Id. at p: 222
       case.and to research the law app
                                                   412,425.,) The nature of the
       seePeople v. Pope (19.79)23 CaI.3d
                     on tha t mu  st  be  und ert  ake n de pends on the circumstances
       investigati
                                                   estgate any available and viable
       of each case, but counsel must inv
              se.(Pe  opl e v. Led  esm a, sup ra, 43  CaI.3d at p. 222; Strickland,
        defen
       supra,466 U.S. at p.691.)
                                                             he fazls to request necessary
               Trial counsel is ineffective when
                 tru cti  ons . (Se  e Peo ple  v.  Loz a (20 12)207 Ca1.App.4th 332,348
       jury ins
                                                     istance by failing to request
       [counsel rendered ineffective ass
              fic at~  an to  a~d  i~g  mod . a~e tti n.g .instruction that instructed that
        modi
                                                         " as perpetrator,and by failing to
        cider and abettor is "equally guilty
                                                     instruction when jury sought
        object to court's referral to same
                  ati on; jur y's  que sti on  ind  ica ted  that it did.not understand that
        clari fic
                                                                                            h
                                                        's intent as cider or.abettor, whic
        prosecutor had to prove defendant
            s cru cia  l iss ue] ; Peo ple v.  Hus sai  n(2 14)231 Ca1.App.4th 261,270,
        wa
                                                     counsel rendered ineffective
       [in.prosecution for grand theft,
                                                    instruction on claim of-right defense;
         assistance by failing to request
                                                          on for failure to request
         there was no satisfactory explanati
                                                       core of defendant's defense, and
         instruction as claim of right was
                                                        charges and struggled with intent
         jury acquitted defendant of other
         element before convicting him].)

                                                  50
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                Reversal for inadequate counsel is warr
                                                           anted where there is
        no rational tactical reason for counsel's act
                                                        or omission.(People v.
        Fosselman (1983)33 Cal.3d 572, 581.) If the
                                                      record on appeal reveals
        an explanation for the challenged aspect of
                                                        the attorney's
       representation, "the reviewing court mus
                                                  t determine whether the
       'explanation demonstrates that counsel was
                                                        reasonably competent
       and acting as a conscientious, diligent advo
                                                      cate."(People v. Cudjo,
       supra,6 Ca1.4th 585,at p. 623_[quotation omit
                                                        ted].) On the other
      hand, where the record illuminates no expl
                                                 anat     ion.for counsel's
      behavior, the appellate court will reject the
                                                      ineffective assistance
      claim "unless counsel was asked for an expl
                                                      anation and failed to
      provide one, or unless there simply could
                                                be      no satisfactory
      explanation ...." (Ibid.)

           C.     Trial Counsel Was Ineffective For Failing
                                                             to Request a
                  Modified Version of CALCRIM No.315 or
                                                              Other
                  Appropriate Instruction to Assist the Jwry
                                                             in
                  Evaluating the "Earwitness" Testimony Pres
                                                                ented by
                  The Prosecutor

                  1.    Trial Counsel Failed to Request a Necessary
                        Earwitness Identification Instruction To Hel
                                                                     p
                        The Jury Assess Rose's Crucial Testimony
                                                                  That
                        She Heard Campbell Yelling for Her to Ca11
                                                                    The
                        Police

          The prosecutor presented two witnesses to the
                                                              events that
    transpired in Campbell's room —neighbors Wen
                                                        dell and Rose.
    Neither of them saw what happened,but bot
                                                   h of them heard the

                                       51
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                                                                                               ~ ~
                                              Campbell's room yelling for help
       sounds of a fight and someone in
                                              in effect, "earwitnesses". The
       and to call the police. They were,
                                            to argue that it was not Campbell
       prosecutor used their testimony
               s yel lin g for hel p, but Brian, and. to suggest Campbell had
       who wa
                                           murder:
       engaged in a species of torture
                     By the way,"Call the police."
                                                         t you can
                    There are many different ways tha
                                              that a taunt from the
              surmise what that meant. Was
                                                ice", as he laid there
              defendant to [Brian],"call the pol
              disabled?
                                                     d to suggest that
                      The physical evidence would ten
               as the reasonable conclusion.

       (4RT 450.)
                                                          testimony to argue in support
                The defense used_ the earwitness
                                                  s yelling "help" and "call the
        of self-defense that Campbell wa
                                                                                        ,
                                                   m with deadly force.(4IZT 423,426
        police" as Brian was attacking hi
            -43  3, 437 .) Thu s, the  ide nti fication of Campbell as the speaker
        432
                                                       ~h.e jury needed instructional
        was crucial to the defense case, and
                                                   tion as to what or whom Rose,in
        assistance in making a determina
             tic ula r, hea rd.  The re. cou ld  be no satisfactory.explanation for
        par
                      req ues t the ins tru cti on, as Ros  e's identification of Campbell
        failure to
                                                   the police" was at th.e core of
         as ~h.e one who was yelling "call
         Campbell's defense.
                                                      to give an instruction on
                The court has no sua sponte duty

                                                52
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              eyewitness testimony.(People v. Rich~rrdson
                                                            (1978)83 Cal.App.3d 853,
             863, disapproved on other grounds by Peop
                                                            le v. Saddler, supra, 24
             Cal.3d 671,682.) An instruction relating
                                                        eyewitness identification to
             reasonable doubt,including any relevant
                                                         "pinpoint" factors, must be
             given by the trial court on request "[w]he
                                                         n an eyewitness
            identification of the defendant is a key ele
                                                         men   t of the prosecution's
            case but is not substantially corroborated
                                                       by     evidence giving it
            independent reliability." (People v. YVrighf
                                                        (1988)45 Cal.3d 1126,
           1143-1144, quoting People v. McDonald(19
                                                         84)37 Cal.3d 351,377,
           overruled on other grounds in People v. Men
                                                          doza(2000)23 Ca1.4th
           896,914; People v. Fudge(1994)7 Ca1.4th 1075
                                                           ,1110; People v. Palmer
          (1984)154 Cal.App.3d 79,89[error to refu
                                                        se defendant's requested
           instruction on eyewitness testimonyj.)

                 Where there is earwitness testimony and a conf
                                                                lict     as to the
          identity of the speaker,}urors should be giv
                                                          en some guidance on
          how to determine whether a voice identifi
                                                        cation is reliable.(See
          People v. Wright,supra, 45 Cal.3d 1126,1138-11
                                                            39["model instruction,
          with appropriate modifications to take into acc
                                                              ount the evidence
          presented at trial, will usually provide sufficie
                                                            nt guidance on
         eyewitness identification factors."].)

                Campbell was prosecuted for murder based in
                                                                    part on the
         earwitness identifications made by Wendell an
                                                          d TZose. Because the
         parties disagreed on the identity of the person
                                                          yelling "call the
         police" and "help" during the fight, it follows
                                                         that Campbell was

                                           53
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           itl ed to ins tru  cti on on  fac tor s to be considered in evaluating the
       ent
                                                       on testimony,just as he would
       reliability of earwitness identificati
                                                    ction on eyewitness identification,
       have been entitled to a jury instru
                                                      s trial counsel's duty to request
       had this case depended on it. It wa
                                                       do it.
       such an instruction, yet he failed.to
                                                             ation can be faulty because of
                Speaker recognition and identific
                                                       airment, sickness, and fatigue;
        several factors, such as hearing imp
                                                    r distortions from stress and
        deliberate impersonation; speake
                iy; noi se; list ene r exp ect ati ons ; attenti.onal memory deficits; and
        anxief
                                                     s Speaker Identification, 1 Psychol.
        other factors..(Yarmey, Earwitnes
                                                         probable that listeners
        Pub.Poly & L. 792, 795(1995).) It is
                                                      identification as a function of
        themselves maybe inconsistent in
                                                         motivation, and _training.
         changes in their physiological state,
                                                        ty, E: T.. Perceptual
       (Hollien, H., Majewski, W.,&Doher
                                                       mal,Stress and Disguise
         Identification of Voices Under Nor
                                                         netics, 10, 139-148(1982).)
         Speaking Conditions, Journal of Pho
                                                              with recorclings of familiar
                 Hollien's team presented subjects
                                                        ediately tested them by asking
         and unfamiliar voices and #hen imm
                                                         ched the.one they had heard.(Id.
         them whether a series of voices mat
                                                        en a normal tone of voice was
          at p.141.)The study found that wh
                                                        to a stressed or disguised
          used in the recording(as opposed
                                                         ar voices with 98% accuracy
          voice),144 subjects identified famili
                                                     unfamiliar voices to only around
          whereas accuracy dropped with
                                                        time befween fhe initial exposure
          40%,even with almost no Lapse in

                                                 54
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-~.
              and the identification.(Hollien et al., supra,
                                                               note 142, at 142.) Contrary
              to what most people would expect,fewer tha
                                                                 n half of the sub}ects
              were able to identify a previously unfamili
                                                          ar     voice they had heard
             only a brief time before. These results confir
                                                            m     our intuitions that
             people are generally good at recognizing fami
                                                                 liar voices.(Ibid.)
                    Because voice identification testimony is like
                                                                      ly even more
             problematic than eyewitness testimony, ther
                                                               e is no excuse for trial
             counsel's failure to request an instruction that
                                                                 could have assisted
            the jurors by giving them a framework for det
                                                                 ermining how to
            reconcile the inconsistencies in Rose's stat
                                                          ements regarding the
             voices)she heard in Campbell's room. Upo
                                                       n request;the court
            should have given the jury concrete guidance
                                                         on the factors they
            should consider.

                  An appropriate instruction here might be as foll
                                                                         ows:
                        A prosecution witness has identified the voic
                                                                        e of
                 the defendant as being the person who said cert
                                                                    ain
                 things during the killing that resulted in def
                                                                endant
                 being charged with a crime. Both the prosecut
                                                                   ion and
                the defense have relied upon the "earwitness"
                testimony in support of their respective cases. In
                deciding whether the voice identifications wer
                                                                  e
                accurate, you should ask yourselves the followin
                                                                     g
                questions:

                       How well could the witness hear the speaker?
                You should consider factors like background nois
                                                                 e, the
                distance between the speaker and the witness,
                                                              and
                similar circumstances.


                                             55
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                                                       ion to the
                   Was the witness paying close attent
                                                      ress
             voice? Did the witness ever waver or exp
             uncertainty about the identification?
                                                        the
                   How familiar was the witness with
                                                 ntify- it?
             defendant's voice when asked to ide
                                                            iliar with
                    If the wifness was.not previously fam
                                                      witness have to
             th.e voice, how much exposure did the
                                                     fy it?
             the voice before being_ asked to identi
                                                       nes    s exposed
                    C)n-how many occasions was the wit
             to the voice?
                                                            ness's
                   How much time passed between the wit
                                                    ng asked to
             original exposure to the voice and bei
             identify it?
                                                             speaker's
                    If the witness gave a description of the
                                                       to the voice of
              voice, how similar was that.description
              the defendant?
                                                          fy the
                    Was th.e witness ever asked to identi
              speaker before trial?
                                                              ng voices,
                     Is the witness experienced at identifyi
                                                      ness is particularly
              or is there other evidence that the wit
              good at identifying voices?
                                                         ce or speech
                    Did the speaker have an~ unusual voi
                                                  her speech easier to
              mannerisms that wou.Id make his or
              identify?
                                                          her voice, or
                   Did the speaker try to disguise his or
                                                       ntification
              vas the speaker under stress, making ide
              more difficult?
                                           56
                                                                                          i
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                      Was there other evidence, besides the
                                                            defendant's
               voice, that suggested that the defendant
                                                        was the
               speaker?

                     Were there any other circumstances that
                                                              would
               have made identification more or less
                                                     accurate?

                     You must consider all the evidence an
                                                           d be
              convinced beyond a reasonable doubt tha
                                                       t it was the
              defendant who committed the crime. Oth
                                                      erwise, you
              must find the defendant not guilty.

       The Supreme Court in People v. Hall(1980}
                                                        28 CaI.3d 143, declared:
              Under the case law,it is error to refuse
                                                       to give an
              instruction requested by a defendant whi
                                                         ch'directs
              attention to evidence from ... which a rea
                                                         sonable doubt
             of guilt could be engendered'[citation].
                                                       This applies
             with equal force to a refusal to give a req
                                                         uested
             instruction which deals with identificati
                                                        on in the context
             of reasonable doubt.

     (People v. Hall, supra, at pp. 158-159 [cit
                                                 ations omitted](overruled on
     other grounds in People v. Newman (1999)
                                                   21 Cal.4th 413.)
            If the trial court did not approve of the pro
                                                             posed instruction,
     the court was obligated to modify it, not
                                                  to refuse it outright. In Hall,
     the court noted the defendant's proposed
                                                  instruction was identical to
    one found too long and argumentative in
                                                  People.v. Guzman (1975)47
    Cal.App.3d 380, and further noted "some of
                                                        the factors highlighted
    by the instruction have no application to
                                                 the present case.[Fn.
    omitted.)"(People v. Hall,supra,28 Ca1.3d
                                                  143,159.) However, Hall
    went on:"Although the trial court did not
                                                  err in refusing to give the

                                        57
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                                               not have refused to tailor the
            instruction as written, it should
                                                 e."(~-Iall, supra, at p. 159.)
            instruction to the facts of this cas
                                                     to request any instruction on
                   Trial counsel, however,failed
                                                                                  ical
                                              the jury was left without an analyt
            earwitness identification, and
                                                  testimony. Campbell's trial
            framework for.evaluating Rose's
                                                form in i-he manner expected of
             attorney, therefore,failed to per
                                             l acting as a diligent,advocate.
             reasonably_ competent counse
                                            ra, 466 U.S. 668,687.)
            (Strickland v. Washington, sup
                                                                   ty that a
                          2.      There- is a Reasonable Probabili
                                                                -Have Been
                                  M ore Favorable Result Would
                                                                 unsel's
                                  Obtained in The Absence of Co
~-                                                                 on
                                  Failure to Request the Instructi

                                                          ty that a more favorable result
                    There is a _reasonable probabili
                                                      ab$ence of cou.nsel's failure.
             would have been obtained in the
                                                ,687.)
            (Strickland, supra,466 U.S. 668
                                                           in thzs case arose out of a
                    The evidence shows the lci-lling
                                                                                           s
                                                  ercation between two men, which wa
             sudden quarrel anc~ violent alt
                                                                                       ve
               ver hea rd by  tw o ear wit nes ses . The prosecutor offered no moti
             o
                                                                                       ely
                                                 an, on the other hand, was extrem
             for Campbell to kill Brian. Bri
                                                                                         .
                                                     y have been high on
             intoxicated with alcohol, and ma
                et ha mp he ta mi ne as wel l. Ev en if he was only drunk, he was so
              m
                                                      e control and judgment must have
              drunk(.212 BAC)that his unpuls
                                                       s that the jury rejected Rose's
              been sevexely impaired. It appear
                                                                                             ,
                  ial  tes tim ony tha t Ca mp be ll  was yelling for her to call the police
              cruc
                                                     ll's self-defense and wnreasonable
              because the jury rejected Campbe
                                                    58
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                                               of second-degree murder
      self-defense claims and convicted him
      instead.
                                                     witness identification
             Had the jurors been instructed on ear
                                             e had some context in which to
      factors, they would,for example, hav
                                              ught she- heard a woman's
      understand why Rose might have tho
                                               m stress and anxiety). Instead,
      voice (possible speaker distortions fro
                                            uld evaluate her testimony.
      they were left to guess how they sho
                                                 e probability that Campbell
             On these facts there is a reasonabl
                                             ted of manslaughter had trial
       would have been acquitted or convic
                                              witness identificatzon
       counsel requested an appropriate ear
                                                t therefore be reversed.
       instruction. Campbell's conviction mus




                                          59
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         IV.   PROSECUTORIAL MISCONDUCT DURING CLO
                                                     SfNG
               ARGUMENT DENIED CAMPBELL HIS
               CONSTITUTIONAL RIGHTS TO DUE PROCESS
                                                      AND A
               FAIR TRIAL, AND DEFENSE COUNSEL'S FAILUR
                                                        E TO
               OBJECT DENIED HIM EFFECTIVE ASSISTANC
                                                     E OF
               COUNSEL

               A.    Relevant Proceedings

                     1.    Prosecutor's Opening Argument
               In her opening argument the prosecutor summar
                                                                ized the
       testimony of the witnesses(4RT 397-404,408-409),
                                                          then argued
       Campbell "fled" his apartment(4RT 405); Dorsey saw
                                                               no injuries on
       Campbell(4RT 407); Campbell was tired following
                                                           his arrest and
       never said anything about self-defense or a robbery
                                                          (4RT 409-410);
       Campbell showed consciousness of guilt by making
                                                           false and .
      misleading statements to the police about where he
                                                          lived (4RT 409-
      410); and that Campbell was guilty because he told
                                                         the police, when
      asked what happened to Brian,"I got to be quiet abou
                                                            t that" and "I
      am the only witness."(4RT 410-411.) The prosecutor
                                                             also
      emphasized the coroner's report that Campbell stru
                                                          ck Brian 22 times
      with the iron.(4RT 411-412.}
           After discussing the law of homicide(4RT 412-
                                                           416), the
     prosecutor urged the jury to find first-degree murder
                                                             because (1)
     Campbell could not give a reasonable explanation for
                                                             how Brian
     ended up bare chested (4RT 417);(2) Brian had stap
                                                        les in his chest
    (4RT 418);(3) Brian had bite marks on the upper part
                                                           of his body


                                     .i`


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        (4RT 417-418);(4)neighbor Wendel
                                         l hea     rd noises of a fight going on
        for 30 minutes, but when security kno
                                                cked on the door the room was
        silent(4RT 418);(5} when Campbell
                                               walked out of the hotel the next.
        morning it did not look as though
                                             he had any blood on him,so the
       prosecutor surmised Campbell had
                                        cle      aned himself up to hide the
       killing(4RT 418);(6) Campbell loc
                                           ked the door before leaving
       Brian's body in his room,suggestin
                                             g consciousness of guilt(4RT
      -418);(~ Campbell never returned
                                          to his room after that, also
      suggesting consciousness of guilt(4RT
                                                418);(8) Campbell went to
      Angel Dorse~s house,suggesting con
                                               sciousness of ,guilt(4RT 418);
     (9)Campbell did not report the killing
                                               to the police, suggesting
      consciousness of guilt(4RT 418); and
                                              (10) Campbell told the police
      he was the only witness.(4RT 418.)

                 2.      Defense Closing Argument
           Campbell presented a case for self-def
                                                     ense.(4RT 419-439.)
     Defense counsel argued that Campbe
                                         ll's testimony he invited Brian
     to go out to the clubs with him for Ne
                                             w Year's Eve and went
    through his closet for some clothes for
                                              Brian to wear was supported
    by the array of clothes found laid out
                                             on Campbell's bed.(4RT 421.)
    When Campbell noticed hi.s cell phones
                                           wer     e missing,he confronted
    Brian, and Brian attacked him.(4RT 422.
                                               E Brian picked Campbell up
    and threw him to the floor.(4RT 422.) Cam
                                                pbell was trapped in his
   room and tried to reach the door while str
                                                 uggling with Brian,
   accounting for the blood smear on the doo
                                                r.(4RT 422.)

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                  pb el l gr ab  be d Bri an fr om be hind and tried to throw him,
             Cam
                                                                               ted
                                             process.(4RT 422.) Campbell no
       ripping Brian's tank top in the
                   nk to p its elf wa s no t in evi dence,and that the prosecutor
       that the ta
                                                                              e it for
                                           top so the jury could not examin
       relied on photographs ofthe
                                                                                 room
           _d amag e Ca mp  be ll  des cri bed .(4RT 422.)Photographs of the
       the
                     mp be  ll  th re w eve ryt hin g he had at Brian in a desperate
       indicated Ca
                                          422.)
       attempt to stop the attack.(4RT
                                              a choke hold, Campbell bit him;
              When Brian got Campbell in
                                                                            an
                                       en strangled him with the cord of
       but Brian taunted him and th
                                                                           to call
                                        t point Campbell yelled for Rose
       electric iron.{4RT 423.) At tha
               ice as he sw un g wil dly at Brian with the iron, killing him.
       the pol
       (4RT 423-424.)
                                                             ctions,on homicide and burden
                 After discussing the jury instru
                  f (4 RT   424 -43 0), . de fe ns e co unsel asked tie jury to examine
        of proo
                           r's  th eo  ry tha  t Ca mp be  ll  inv ited Brian back to his room
        th.e prosecuto
                                                                                           ses,
           or  de  r to mu  rd er   hi  m. (4  RT  431.) After 30 minutes of fight noi
        in
                          s, "C  al l the   pol ice ," bu  t the  prosecutor wanted the jury
        someone       say
                                                                                         d Rose
                                                   of the other sounds'tNendell an
        to ignore the struggle and all
                 .{4  RT  431 .)  Ca  mp be  ll  nei the  r hid the body nor attempted to
         heard
                          his  ro  om  , bu  t ins tea d  we  nt to his girlfariend's house and
         scrub.down
                                                                                           gued
            ay ed  the  re for  five   yr  six  da ys.(4RT 431.)Defense counsel ar
         st
                                                        seise.(4RT 431.)
         the prosecutor's theory made no
                             nd  el  l an  d Ro  se  tes tif ied th ey heard a fight.(4RT 432.)
                  Both We
                                                                                          voice
             te r 20  to 25  mi  nu te  s of  fig ht noises, Rose heard Campbell's
          Af

                                                   62
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       saying, "Call the police", and she wen# to Wend
                                                         ell`s room and asked
       him to call.(4RT 432.) The prosecutor wanted
                                                        the jury to believe that
       Campbell murdered Brian and then asked Rose
                                                          to call the police.
      (4RT 432-433.)In reality, Campbell was yelling
                                                          out of desperation
       because Brian was attacking him.(4RT 433.)
             Defense counsel stated the prosecutor would
                                                               argue in rebuttal
      about how Brian lived with his grandmother,
                                                       but the grandmother
      was in Ventura and had not heard from Bria
                                                      n in days, but did not
      file a missing person report.(4RT 433.) Brian
                                                      went to Los Angeles
      notjust because he wanted to visit his father
                                                      on skid row, but to
     "hang out" in the neighborhood.(4RT 433.
                                              )
           Defense counsel pointed out how sloppy the
                                                            police were
     when they entered Campbell's room.(4RT X33-
                                                       434.)
           Defense counsel argued that the wounds on
                                                           Brian's knuckles
     were firorn hitting the walls and hitting Campbell
                                                         , and that there
     were no defensive wounds on Brian's forearms
                                                       .(4RT 434.) Campbell
    bit Brian in a desperate attempt to fight him off.
                                                      (4RT 434.)
           Defense counsel pointed out that Brian had a bloo
                                                               d alcohol
    level of.212 -three times the legal limit.(4RT 434.
                                                        ) A presumptive
    test indicated Brian was high on methamphetam
                                                     ine and ecstasy.
   (4RT 434.)The subsequent test that negating thos
                                                        e findings was not
    produced by the prosecutor.(4RT 434-435.)

         Defense counsel referred to Detective Sharman' test
                                                        s     imony
   about fhe blood in front of the room and argued
                                                   it was important

                                     Gic3
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                                                                                         ,. ,
                                           t Campbell was attempting to get
       because it confirmed the fact tha
                                                                                            7




                                          .(4RT 435.) Campbell had no other
       out, or get Brian out of his room
                                            because Brian was in a rage and
       choice than to bite and hit Brian,
                                         th.(4RT 436.).The injuries- were to th.e
       was trying to choke him to dea
                                            was strangling Campbell and could
       front of Brian's head because he
                                           7.) Campbell yelled for the police as
       not block the blows.(4RT 436-43
                                                                               ar
                                           Campbell had been murdering Bri
       this was going on.(4RT 437.)If
           wo ul d not ha ve ask ed an yo ne to summon the police.(4RT 437.)
        he
                                                    ll had injuries that were
               The coroner indicated that Campbe
                                              .(4RT 437.)
        inflicted six days prior to his arrest
                     3.     Prosecutor's Rebuttal Argument
                                                     ment about circumstantial
              T'he prosecutor began with ari argu
                                           cussed the jury instruction on
        evidence.(4RT 440,442.)She dis
                                           -441.):
        credibility of witnesses.(4RT 440
                                                      erred to "the physical
               For the first time,.the prosecutor ref
                                 Y



                                             ce, the video evidence".(4RT 441.)
        evidence,the photographic eviden
                                          r called the jury's attention to
        For the first time, the prosecuto
                                           examination that he did not know
        Campbell's testimony on cross-
                                            ded "because the lights were out
         where the missing cell phone lan
                                              RT 441.) The prosecutor argued:
         and we had the stereo lit up...."(4
                                                           just when he's
                       That little comment that came out
                                                    a question that threw
                talking and the judge asked him
                                                     ndow. Never
                everything that he said out the wi
                                                   didn't match it, but
                                 4



                mind how.the physical evidence
                wait, the lights were out?


                                                 64

                                                                                            :~_
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                      You were looking for clothes? For [Br
                                                            ian] to wear
               in the dark?

                     The botfom line is the defendant did
                                                           not tell the
              truth about that night when he testifie
                                                      d. He didn't talk
              about that night in his interview. He
                                                    had to be quiet on
              that.

      (4RT 442,445 ["...the defendant was
                                                looking in the closet of the
      room that didn't have any lights on
                                            for (Brian) to find clothes ....],
      450["We talked already about his odd
                                                answer on the stand about it
      being dark."J.)

             The prosecutor returned to her argume
                                                   nt    about consciousness
      of guilt and hiding evidence, making
                                             more detailed arguments about
     hew Campbell must have cleaned him
                                        sel      f up before he left the hotel,
     and how he left Brian's body to "rot".
                                           (4RT 443-444.)
            The prosecutor reserved for "rebuttal
                                                    " argument all of the
     details about the injuries Campbell infl
                                             icted on Brian. For the first
     time, the prosecutor argued:

                  ...I mean,realistically speaking, nev
                                                         er mind the
           fact that if you're hitting somebody acr
                                                    oss the body
           holding an iron you're only going to be
                                                     able to hit
          certain portions, certainly not the side of
                                                      the top of the.
          head and all the different areas on bot
                                                   h sides, and that
          somebody would actually stay there for
                                                     it when they
          were getting.hit like that if they had the
                                                     ability to move
          away.

                And if[Brian] was actually strangling
                                                         the
          defendant with: a cord to the point of diz
                                                     ziness and

                                     65
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                                               life was going to end,
             almost passing out, believing his                                                ~~
                                                side? He would be
             How on earth would~he be on his
                                             d thus not available to be
             behind him, pulling it tight, an
                                              makes sense. There is
             struck in such a manner. It just
             really no other way.

      (4IZT 443-444.)
                                                     argued for the firs# time
              During rebuttal the prosecutor
                                                                                 m.
                                           g. She stated that Brian Leff the roo
       regarding timing of the killin
                                                                                   out
                                             d testified.(4RT 446.} She pointed
       twice,not once as Campbell ha
          at Bri an we nt  bac  k to Cam pbe ll's room the second time at 10:25
       th
                                             akened by the sounds of a fight
       p.m., and that Wendell was aw
                                                                                      d
                                                und an hour later -which conflicte
       around 11:30 or 1.1:40 p.m. - aro
                                             t he confronted Brian about the
        with Campbell's testimony tha
                                             ly upon Brian's return.(4RT 446.)
        missing cell phones immediate
                                                      the first time that Campbell's
                The prosecutor also argued for
           sti mon y reg ard  ing ho  w Bri an  was dressed during the attack did
        te
                                                  ring a shirt when he walked into
        not add up,in that Brian was wea
                                                e, and that suddenly Brian was
        Campbell's room the second tim
                                                                                    o
           ear ing a tan k .
                           t  op dur ing the  fight.(4RT 447.)The prosecutor als
         w
                                                 ll's testimony -the tank top was
         argued that -contrary to Campbe
                                                tograph to prove it.(4RT 447,. 452.)
         not torn, and that she had a pho
                                                      first time -referring to fhe
                 The prosecutor argued for the
                                                                                     ed
                                             al evidence found at the scene show
         photographs -that the physic
                                                long-sleeved shirt he had been
         that Brian was not wearing the
                ing wh en    he wa s in the hal  lwa y, and .that he had a naked chest
          wear

                                               66
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         and bite marks on his arms.(4RT 449
                                                  .) The prosecutor asked,"If you
         are choking somebody out and you
                                                 r arm is around [sic], how do you
         get a bite mark on your hand?"(4RT
                                                  449.) The prosecutor also
        argued for the first time that if Bri
                                               an had been wearing the tank top,
        the staples would not have been
                                            embedded in his chest.(4RT 449.)
              T"he prosecutor also urged the jur
                                                    y,for the first time,to "[l]ook
        at the location of the iron blows on
                                                [Brian's] head in deciding
       defendant's story."(4R.T 449.} The
                                             prosecutor argued:
                    All of these pictures are worth tho
                                                        usands of
             words, but none of those thousands
                                                   of words were
             reflected in the defendant's testim
                                                 ony, because none of
            the evidence was explained approp
                                                 riately, consistently
            by the defendant where it would act
                                                   ually match up to
            the evidence at the scene that wa
                                               s not preserved
            because he locked the door and left
                                                  [Brian] to rot.

     (4RT 449.)

            The prosecutor did not mention the
                                                     cell phones in her
     opening argument, but in "rebuftal"
                                              she harped on them,asking the
     jury to consider what happened to
                                            the cell phones, referring to
     Detective Sharman's Testimony that
                                            no cell phones were found in
     Campbell's room.(4RT 450.)

           The prosecutor did not discuss the
                                                   physical evidence in her
    opening argument, but she devoted
                                            significant time on "rebuttal"
    referring to the photographs of the
                                        sce     ne.(4RT 450-454.)She talked
    about blood spatter and smear, and
                                       how        it did not match up with.
    Campbell's account of the fight.(4RT
                                             451-452.)She addressed the

                                      Chi
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                                                                                                  ;~-:~,
                                           which she never mentioned on
       glove on one of Brian's hands,
                                                                         45]..)
        pe ni ng an d wh ic h def ens e counsel did not address.(4RT
       o
                  pro sec uto r arg ued _ for the fir st time that Campbell lied
              The
                                                                             s
                                          ely after the fight because Brian'
       about falling asleep immediat
                                                                                 l
                 s on a cig are tte Cam pbe ll. must have smoked before he fel
       blood  wa

       asleep.(4RT 448; 453.)
                                                     ary manslaughter in passing
              ether than mentioning volunt
                                                                                                  { _.
           T 412 ), the pro sec  uto r  did no  t address the substance of the
       (4R
                 ght er iss ue  du ri ng  he r op en ing argument. On rebuttal, she
        manslau
                                                                               sed
                                              ary manslaughter conviction ba
        attacked any basis-for a volunt
           imp erf ect sel f-d efe nse .an d heat of passion.(4RT 454-456.)
        on
               B.      Standards of Review
                                                 ct
                       1. Prosecutorial Miscondu
                                                        onduct are reviewed under an
                Claims of prosecutorial misc
                                                                                      h 155,,
           us e of dis cre  tio n sta  nda  rd. (People v. Alvarez,supra,l4 Ca1.4t
        ab
                                                                                         ues
               Ho we ve  r,  thi s cas  e arg  uab ly presents a mixed question. Iss
        213.)
                       pu re  que  sti  ons  of la  w or  mi xed questions of law and fact
        presenting
                                                                                   er
             re vi ew ed  de  nov  o by   the  Court of Appeal..(People v. Crom
        are
                    Cai  .4t h 889  , 894  , 900 .) Mi xe  d questions aye those in which
        (2001)24
                                                                                       w is
                                                    ed or established, the rule of Ia
         the "'historical facts are admitt
                                                                                    levant]
           ndi spu ted  , an d the   iss  ue is whether the facts satisfy the [re
         u
                  ry [or  con sti  tut ion  al) sta nda  rd, or to put it another way,
         statuto
                                                                                    or is
                                                  lied to the established facts is
          whether the rule of law as app
                  lat ed' .” (Or  nel as   v. Uni ted  Sta tes {1996)517 U.S. 690,696-697,
          not vio

                                                  6$
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         quoting Pullman-Standard v. Swint(19
                                                 82)456 U.S. 273, 2$9, fn. 19;
        see also Townsend v. Sain (1963)372 U.S
                                                     . 293,309,fn.6[["mixed
        questions of fact and law ... require the
                                                  app   lication of a Iegal
        standard to the historical-fact determ
                                               inations"].)
                     2.     Ineffective Assistance of Counsel
              Campbell incorporates by reference his
                                                     dis       cussion of the Iaw
       of ineffective assistance of counsel set out
                                                       in Argument III., section
       B., at pages 49-51 of this brief.
             C.     The Prosecutor Sandbagged the Def
                                                         ense By
                    Saving Virtually Her Entire Closing Arg
                                                            ument
                    For Rebuttal

                   1.     Applicable Principles
            "'The applicable federal and state sta
                                                   nda      rds regarding
      prosecutorial misconduct are well establis
                                                      hed."'A prosecutor's ...
      intemperate behavior violates the federa
                                                 l Constitution when it
     comprises a pattern of conduct "so egregi
                                                     ous that it infects the trial
     with such unfairness as to make the con
                                               viction a denial of due
     process."'"[Citations.] Conduct by a pro    secutor that does not
     render a criminal trial fundamentally unf
                                                air is prosecutorial
    misconduct under state law only if it inv
                                               olves"'"the use of
    deceptive or reprehensible methods ~o att
                                                  empt to persuade either
    the court or the jury."'"[Citation.]'[Citatio    n.]"~(People v. Smithey,
    supra, 20 Cal.4th 936,960.)

         "A prosecutor has a duty to prosecute vig
                                                   oro        usly.'But, while


                                       r~
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                                                                                      It is        ~-
          ma  y str ike ha  rd bl  ow s, he  is not at liberty to strike foul _ones.
       he
                                                                                   d to
                                              om improper methods calculate
       as much his duty to refrain fr
                                                                                  e means
          od uc e a wr on gf ul   con vic tio n as it is to use every legitimat
       pr
               g  ab ou t a jus t one .'[Ci tat ion .]" :(People v. Pitts _(1990)223
       to brin
                                                                                       78,
       Ca1.App.3d 606,691,citing Ber
                                               ger_v. United States,(1934)295 U.S.
                                              ~a1.4th 800,820.)-
       88; see People v. Hill(1998)17
                       a pro sec  uto r's du  ty "to  se  e that those accused of crime
               "'It is
                                                                               ution far
                                         tation.] "The role of the prosec
       are afforded a fair trial." [Cz
                                                                                 on is
           ns ce nd s the obj ect ive of hi  gh scores of conviction; its functi
       tra
                  ser  ve as a  pub lic in st ru me nt of inquiry and, pursuant to
       rather to
                                             expose the facts." [Citation.]'
       the tenets of the decisions, to
            ati on. )"(Pe opl e v. Dag get t (19 90} 225 Cal.App.3d 751, 759.E
       [Cit
                                                        e Court has explained,the
                "As the United States Suprem
                                                                              govern
                                             ereignty whose obligation to
        prosecutor represents'a sov
                                                                              all; and
           par tia lly is as  co mp el li ng  as its obligation to govern at
        im
                     ere st, the ref ore , in a cri  min al prosecution is not that it
        whose int
                                                                                (People v.
                                             tice shall be done.'[Citation.]"
        shall win a case, but that jus
                                                                                       295
               sup ra, l7  Cal .4t h at 82  0, cit ing Berger v. United Sates, supra,
        Hill,
         U.S. at 88.)
                                                     ded," the parties "may argue
                "When the evidence is conclu
                                                                                 utor
             cas e to the  cou rt an  d jur  y."(~ 1093,subd.(e).) The prosec
         the
                      ht to op  en  the  ar gu me nt an d "the right to close." (Ibid.)
         has the rig
                                                                                 al ...
           nd "a   pro sec uto r is jus tified in making comments in rebutt
         A
                      fai rly res pon siv  e to ar gu ment of defense counsel and are
          which are
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~~~'           based on the record."(People v. Hill(196
                                                             66 Ca1.2d 536,560.)
               However,a prosecutor commits miscondu
                                                     ct        if he "sandbags `the
               defense by giving a perfunctory initial clos
                                                             ing argru.ment followed
               by a lengthy rebuttal:"Section 1093,subdivis
                                                               ion(e)... does not
               permit the prosecutor to give a perfunctory
                                                            .(three and one-half
              reporter transcript pages)opening argume
                                                           nt designed to preclude
              effective defense reply, and then give a 'rebutta
                                                                l'
              argument —immune from defense reply —10
                                                              times longer(35
              reporter transcript pages) than his opening
                                                             argument.[Citations.]"
             (People v. Robinson (1995)31 Cal.App.4th 494,
                                                           505.    )
                     In death penalty cases, the California Sup
                                                                  reme Court has
             called for "scrupulous regard for complete impa
                                                                rtiality and
             fairness", holding that the prosecution and the
                                                                defense should each
            "have an opportunity to rebut the argument
                                                       of       the other."(People v.
             Bandhauer (1967)66 Ca1.2d 524, at p. 531; see
                                                             also,People v. Hill,
            supra,66 Cal.2d at 564-565.) While this is not
                                                             a death penalty case,
            the principles of fairness to a defendant in a crim
                                                                inal trial still
            apply.

                          2.    The Prosecutor Improperly Sandbagged
                                the Defense in Rebuttal Argument

                 Here, the prosecutor gave an artfully slender ope
                                                                        ning
           argtunent that primarily addressed consciousnes
                                                                s of guilt evidence.
           She ~i.en gave a full closing argumentimmune
                                                              to defense reply.
                 Allowing the prosecutor to give such an openin
                                                                       g argument

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                                          ortunity to respond to her
       without providing Campbell an opp                                                      ; ~
                                      prosecution.an undue advantage
       rebuttal argument accorded the
                                        e. Section 1093 does not permit
       and prejudiced Campbell's defens
                                              order of argument to the
       the prosecutor to manipulate the
                t's det rim ent . Thi s wa s ess ent ially -.the type of sandbagging
       defendan
                                             en though the length of the
       denounced in Robinson,.supra,.ev
                                               shorter than the rebuttal
       opening argument was not much
                                            focused nearly exclusively on
       argument;here,the prosecutor
                                                                                  all
                                            in her opening argument, saving
        consciousness of guilt evidence
                                       al evidence for rebuttal.
       of her discussion of the physic
                                                 no opportunity to address
              More specifically, the defense had
                                      t:
       the prosecutor's arguments tha
                                                  not know where the cell
       ~
       •      Campbell lied when he said he did
                                                  ause the lights in the room.
              phone landed after he tossed it bec
               were off(4RT 441);
                                                 a lie because he said the
       •       Campbell's "story" is exposed as
                                                king in the closet for clothes
               lights. were off when he was loo
               for.Brian(4RT 442,445);
                                                     e and top of Brian's head
        •      Campbell could not have hit the sid
                                                  m across his body as
               with the iron if he was hitting hi
                                                -444);
               Campbell had tesfi.fied (4RT 443
                                                a position to be struck that
         ~     Brian would not have stayed in
                                                   RT 443-444);
               way had he been able to escape(4
                                                  wi~kh the cord as Campbell
        •      If Brian was strangling Campbell

                                              72

                                                                                                ~
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;---.
                        described, Brian could not have been in
                                                                    a position to be
                        struck on the side of the head(4RT 443-444)
                                                                       ;
                •       Brian left the room twice, not once as Cam
                                                                     pbell testified (4RT`
                       446);
                •      According to Wendell, the fight started
                                                                   about an hour after
                       Brian returned to Campbell'sroom;not
                                                                   immediately after
                      (4RT 446);
               •       Campbell's testimony about how Brian was
                                                                       dressed did not
                      add up(4RT 447);
               •      The tank top Brian was wearing was not
                                                                   ripped, as Campbell
                      claimed(4RT 447,452);
             •        The physical evidence showed that Brian
                                                                   was not wearing the
                      long-sleeved shirt he had been wearing
                                                               in the hallway when
                     he was killed, fihat his chest was bare and
                                                                   he had bite marks
                     on his arms(4RT 449);
            •        Brian could not have received a bite mark
                                                                   on his hand if he
                     was holding Campbell around the neck an
                                                            d strangling him as
                     Campbell had described (4RT 449);
            •       Had Brian been wearing the tank top at the
                                                                    time Campbell
                    used the stapler against him, the staples wou
                                                                    ld not have been
                    embedded in his chesf(4.RT 449);
           •        The jury should consider the location of the
                                                                    iron strikes in
                    evaluating Campbell's story(4RT 449);
           •       The photos were "worth thousands of words"
                                                                     , but those

                                              73
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                                               timony because Campbell
            words were not in Campbell's tes
                                             quately, and the evidence
            did not explain the evidence ade
                                           ll let Brian's body rot in his
            was destroyed because Campbe
            room(4RT 449);
                                             what.happened_ to the two ce11
      •      The jwry should speculate as to
                                             d taken, because one of the
             phones Campbell said Bran ha
                                                   e found in Campbell's
                detectives said no cell phones wer
                                                                                        =_..._
                room(4RT 450);
                                                  od spatter and smear did
       •        According to the photographs, blo
                                             account of the fight(4RT 451-
                not match up with Campbell's
                452);
                                                   glove found on one of
       •        There was no explanation for the
                Brian's hands(4RT 451);
                                                   immediately after the.fight
       •        Campbell lied about failing asleep
                                                   arette butt in the ash tray
                because Brian's DNA was on a cig
             (~R.T 448,453);
                                                 ary manslaughter conviction
       •        There was no basis for a volunt
                                                  or heat of passion(4RT 454-
                based on imperfect self-defense
                456.)
                                               ld fairly be characterized as
              None of the above comments cou
                                              nt. The prosecutor knew what
        rebuttal to Campbell's closing argume
                                         d her opening.argument.
        the evidence was when she offere
                                        ent on the physical evidence for
        Nonetheless, she saved all comm
                                       misconduct.(People v. Robinson,
        "rebuttal" argument. This was

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~`           supra, 31 Cal.App.4th 494,505.)

                     D.    The Misconduct Was Prejudici
                                                                 al
                     Error with respect to prosecuto
                                                     rial misconduct is evaluated
            under Chapman v. California, sup
                                               ra, 386 U.S. 18,87 S.Ct.824, 17
            L.Ed.2d 705, to the extent federa
                                                l constitutional rights are
            implicated, and People v. Watson
                                               , supra, 46 Ca1.2d 818, if only state
            law issues were involved.(Peopl
                                               e v. Adanandus(2007)157
           Cal.App.4fh 496,514.) Chapman
                                               is implicated if the prosecutor's
           conduct renders the trial so fundam
                                                 entally unfair that due process
           is violated.(People v. Gionis {1995)
                                               9 Cal.4th 1196,1214-1216; People
           v. Harris(1989)47 Cal.3d 1047,1084
                                                .) Watson applies where the
          prosecutor uses"'"'deceptive or
                                               reprehensible methods to attemp
                                                                                 t
          to persuade either the court or the
                                               jury.'"'"(People v. Gionis, supra,
          at p. 1215.)

                E.     Defense Counsel's Failure to Ob
                                                       ject to the
                       Prosecutor's Misconduct Qeni
                                                     ed .Gampbeli His
                       Sixth Amendment Right to Effect
                                                        ive Assistance
                       of Counsel

               Counsel provided ineffective assist
                                                       ance whin he failed to
         make a timely objection to the pro
                                            seeuto  r's improper rebuttal
         argument,or to request an opport
                                              unity to respond in surrebuttal, or
        to.move for a mistrial. By failing
                                             to do so, he provided ineffective
        assistance of counsel.




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                                                            ims of
                      1.      Standard For Evaluating.Cla
                                                           unsel
                              Ineffective Assistance of Co

                           inc orp  ora tes  by ref  ere nce his discussion of the Iaw
              Campbell
                                                                                  tion
                 cti ve ass ist anc e of co un se l set out in Argument III., sec
       of ineffe
                                     ef.
       B., at pages 49-51 of this bri
                      Z.       Trial Counsel Was inefiFective
                                                                                             to
                                                             or —defense counsel's failure
               The record establishes the err
                   a  pat  ent  ly im  pr   op er  .ta cti c, namely,the prosecutor's
       object to
                                                                                    sing
                                                  reserving the bulls of her clo
       sandbagging the defense by
                                                                                   esponse. A
           gu me nt  fo  r reb  utt al  an   d  thereby precluding defenser
       ar
                ab ly . ~or  npe  ten  t att   orn ey   would have preserved this
       reason
                                                                                             ion
                         iss  ue  for ,app   ell ate  re  vi  ew by making a timely object
       meritorious
                                                                                    App.3d 499,
            th e cor rec  t bas  is.  _(S ee. Peo ple v. Jackson(1986)187 Cal.
        on
                                                                                            ling
                     Chr  ist ina  P.  (1  98 5}  17 5  Ca  1.App.3d 115, 129-130.)By fai
        506;In re
                                                                                      improper
                                                    argumenf on the basis it was
        to timely object to the unfair
                                                      itorious issue on appeal.
        rebuttal, counsel waived a mer
                                                            viewing courts are generally
                 Campbell acknowledges re
                                                                                        e of
            uct  ant  to  rev  ers  e ba  se  d  on  a claim of ineffective assistanc
         rel
                                                                                         choices
                  l on   dir  ect  ap  pe  al  be ca us  e the review of an attorney's
         counse
                                                                                     .)
                                                  esma, supra,43 Ca1.3d 171,216
         is deferential.(People v. Led
                                                                ency "might be considered
                  If an attorney's clauned defici
                      al  str  ate gy"   or   mi  gh t  rep  resent an "informed tactical
         sound tri
                             re  vi ew   on   ap  pe al  is  lim ite d and the conviction maybe
          choice", then
                                                                                          ection.
               rm  ed  des  pit  e cou  nse  l's  cho  ice to waive making a vital obj
          affi

                                                    76
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"-`           (People v. Burnett(1999)71 Cal.App.4th
                                                            151,184; Strickland v.
               Washington,supra, 466 U.S. at 689; People
                                                             v. Bunyard {1988)45 Cal.3d
              1189, 1215.)

                     There- could be no possible tactical reason
                                                                      for,or advantage to
              the defense in allowing the prosecution
                                                         to present opening
              argument that primarily addressed consci
                                                              ousness of guilt evidence,
             but not the physical evidence, and to san
                                                            dbag the defense with
             rebuttal argument. Counsel must know the
                                                               law as it relates to the
             case he is trying.(People v. Zimmerman (19
                                                             80) 102 Cal.App.3d 647,
             657; People v. McCary(1485)166 Cal.App.3
                                                             d 1.)
                   Attorneys are sometimes reluctant to mak
                                                                     e objections to
            prosecutorial misconduct in front of the jury
                                                              . However,a request to
            respond to the prosecutor's argument on
                                                         the basis it was improper
            rebuttal or a motion for mistrial could hav
                                                            e been made at a sidebar
            outside the hearing of the jury."Since an ob}e
                                                           ctio      n ... would have
           been adjudicated outside the presence of
                                                        the jury, there could be no
           satisfactory tactical reason for not making
                                                         a potentially meritorious
           objection." (In re Hall(1981)30 Ca1.3d 408. Simi
                                                      )     larly, there was no
           possible tactical reason here.

                        3.     The Error Was Prejudicial
                 This was an error of federal constitutional dim
                                                                       ension
          mandating reversal. This error deprived Cam
                                                      pbe        ll of his rights to a
          fair trial, to due process and to a reliable det
                                                            ermination of guilt, all
          in violation of the Fifth, Sixth., and 14th Ame
                                                         ndments.               .

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                                                  red Campbell from replying
                The prosecutor's misconduct bar                                               _   y~


                                                n of the evidence. This.dealt a
       to the   prosecutor's detailed discussio
                                               the United States Supreme Court
       serious blow to the defense. As
             not ed, ar  gu me nt is the las t clear.chance to persuade the jury
       has
                                               of the defendant's guilt, and no
       there maybe reasonable doubt
                                               ld be more important than the
       aspect of defense advocacy. cou
              rtu nit y fina lly to mar sha l  the  evidence before submission to
       oppo
                                                  75)422 U.S. 853, 862.)
        the jury.(Herring v. New York(19
                                                          gging severely undermined
                The prosecutor's strategic sandba
              asp ect of  adv oca cy. Th e ina  bil ity of the defense to rebut the
        this
                                                                                    en
                                               issibly tilted what should have be
         prosecution's argument imperm
                                                  duct thus affected an impoxtant
         a level playing field.The miscon
                                                 and deprived Campbell of his
         strategical aspect of the defense
                                                 Fifth and Fourteenth Amendments
         rights to due process under the
                                               .
        to the United States Constitution
                                                    federal constitutional. error,
                Since.the misconduct involved
                                            on to prove beyond a reasonable
        the burden is on the prosecuti
                                                                                   e
            ub t tha t the err or did not con tribute to the jury's verdict.(Peopl
        do
                                                ,czting Chapman v. California, supra,
         v. Bolton (1979)23 Ca1.3d 208, 214
                                             g(1993)20 Ca1.App.4th 1066,
        386 U.S. 18, 24;People v. Herrin
                                                 able doubt" standard is the
        1976-1077.)The "beyond a reason
                                               of near.certitude."(Cf. Victor v.
         equivalent of a "subjective state
                                                                                     ,
                                                kson v. Virginia(1979)443 U.S. 307
         Nebraska 11994)511 U.S. 1, 15;Jac
                                               be met due to fhe difficulty of
         315.}This heavy burden cannot

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             calculating the precise effect of the pros
                                                        ecution's "rebuttal" on the
             jury.
                     During rebuttal argument,the prosecuto
                                                                 r accused Campbell
            of lying at least ten times.(4RT 441-442["..
                                                        .the judge asked him a
            question that threw everything that he said
                                                        out the window. Never
            mind how the physical evidence didn't
                                                    match it, but wait, the lights
__          were out?"J, 442["The bottom line is the def
                                                             endant did not tell the
            truth about that night when he testified.
                                                        He didn't talk about that
           night in his interview. He had to be quie
                                                       t on that."], 443[Campbell
           lied about how fhe injuries were inflicte
                                                      d on Brian],446 [Campbell
           lied about confronting Brian immediately
                                                          upon Brian returning to
           his room],447,449 [Campbell lied about
                                                       how Brian was dressed),
          447,452[Campbell lied about ripping the
                                                          tank top off of Brian],450
          [Campbell lied about the cell phones],451
                                                        -452[Campbell lied about
          how the fight occurred, as evidenced by
                                                     the blood smear and
          spatterj, 448, 453[Campbell lied about falling
                                                             asleep.immediately
          after the fight because Brian's blood was on
                                                           a cigarette Campbell
          must have smoked before falling asleep].
               The reference to the. lights being out when Cam
                                                                   pbell tossed
         the cell phone in the room was particularly
                                                          sneaky and unfair. The
         prosecutor had elicited that testimony while
                                                      cro     ss-examining
         Campbell about what had happened to his
                                                        two cell phones after the
        killing. Campbell testified that ~he did not kno
                                                            w what had happened
        to them,but he thought he had left them in
                                                        his room,or that he

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                                   i

                         ke n on  e of  th  em    wi th hi   m when he left.(3RT 372.)The                r'


      might have ta                                                                                      4



                                                                                    said,
          rt as ke  d  hi m  to re pe  at his    answer.(3RT 372.)Campbell
      cou
                       d ha  ve  pos sib  ly ta   ke n wi  th  me. The other one,I believe
      "One,I coul
                                                                                      use the ~
           -d ur  in   g the  scu ffl e, I do   n' t know where it landed, beca
      was
                      out ,. and   we  .h ad  t
                                              .  he  ste reo  lit up with —"(3RT 372.)The
      lights were    .
                                                                                   and the
                                               answer was non-responsive,
       prosecutor objected that the
                                                                                        d.id
             sus  tai  ned   he r obj ect ion   . (3 RT 372-373.). Defense counsel
       court
                                                                                             d
                   up   th e par tia ~ an  sw   er  on  redirect,so Campbell never ha
       not clear
                                                 w "the lights were out." The
       an opportunity to e~cplain ho
                                                                                        nt,
              cut or   sa ve d tha  t in co mp   le te answer for rebuttal argume
       prose
                      ju ry  to find   Ca mp be   ll  's en  ur e case to be a lie.because he
        urging the
                                                                                      a
          id th e ligh  ts  we re  ouf  .(4  RT    442["....the judge: asked him
        sa                                                                                                    '
                                                                                               r     ~
                  n tha t:th  re w ev  er yt hi   ng tha  t;he .said- out:~khe window.Neve
        quest io
                          e phy sic  al  ev id   en ce did  n't -m atch it, but what,the lights
        mind how th
        were out?"].)                  ~~
                                                     e prosecutor misstated
              Also in rebuttal argument, th
                                                                           erring to
                                           t biting Bxian. She argued, ref
        Campbell's testimony abou
                                                                                   and
                e ma rk s on Bri an' s  bo  dy ,"Y  ou have the photographs. Up
        the bit
                         arm, on  his. . rig ht che st, his hand. His hand.If you are
        down his lef   t
                                                                             do you
                                            your arm is around jsicj, how
        choking somebody out and
                                                                                     t
              bit e ma rk  on yo ur  ha   nd  ?" (4 RT 449.) The suggestion was tha
        get a
                                                                              he
                                              e he was being strangled, and
         Campbell only bit Bri~Ln whil
                                                                              e manner
                                              bite him on the hand given th.
         would not have been able to
                  h Ca mp be ll sai d  Br  ia n wa s strangling him. When cross-
         in whic

                                                     :~
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.~^            examining Campbell regarding
                                                    the fight, referring to the photos,
                                                                                          the
               prosecutor asked,"And so it's you
                                                      f testimony that he had a choke
               hod on you at each portion of his
                                                     arm that was bitten?"(3RT 359.}
              Campbell responded, consistent
                                                    with his testimony on direct, that
              he had bitten Brian "a lot" and tha
                                                     t he had also bitten Brian at other
              points during the fight in an effort
                                                   to   make Brian let him go, not just
              when Campbell was being choked
                                                     .(3RT 359.) On rebuttal the
             prosecutor ignored Campbell's tes
                                                     timony that he had bitten Brian
             many times at various points during
                                                       the fight and ~ told the jury that
             Campbell was lying about the man
                                                    ner in which he had been choked
            because he could not have bitten
                                                   Brian's hand if he had been
            strangled in the manner Campbell
                                                    described.(4RT 449.} Defense
            counsel could not address the pro
                                              sec     utor's distortions of
            Campbell`s testimony because the
                                                   prosecutor did not mention these
           "facts" until "rebuttal" argument.

                  The error here deprived defens
                                                      e counsel of the opportunity to
           rebut the prosecutor's improper bol
                                               ste     ring of her case. Therefore,
           the prosecution cannot prove bey
                                                  ond a reasonable doubt this error
          did not contribute to the jury's ver
                                                  dict, and reversal of Campbell's
          conviction is required.(Chapman v.
                                             Cal     ifornia, supra,386 U.S. 18, 24.)
          However,because there is a reason
                                                  able probability this error
          affected the verdict, reversal is req
                                                 uired even under the lesser
         standard of People v. Watson, supra,
                                             46 Cal.2d 818,836.



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                               CONCLUSION                                            r~ .
                                                                       be
                                         mpbell's conviction should
            For the foregoing reasons, Ca

       reversed.
                                             Respectfully,submitted,
       DATED:July 31,2018



                                             GAIL HARPER
                                             Attorney for Appellant
                                                 1




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                                                                                            i
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~~f~'~
   '_                            CERTIFICATE OF WORD COUN
                                                                       T
                        I, Gail Harper, counsel far app
                                                           ellant, certify pursuant to the
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                                                        GAIL HARPER
                                                        Attorney for Appellant




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                                                     uestions

     1.) Did this Court in( People v. Moye(2009)47 Ca1.4
                                                        th 537), establish a corroboration
    requirement as a condition precedent to giving instr
                                                            uctions on "Sudden Quarrel or Heat of
    Passion" where a defendant testifies to acting in Self
                                                         -Defense?

    2.) Axe Self-Defense and Heat ofPassion mutually exclu
                                                                sive defenses?

   3.) Is defense counsel ineffective under the Sixth Amen
                                                              dment ofthe United States Costititution
   where he fails to request an "Ear-Witness Identifica
                                                             tion"jury instruction when the identity of a
   speaker is crucial to the defense?


   4.) Initially the trial court was going to give the instructio
                                                                 n for CALCRIM 570,Sudden
  Quarrel or Heat of Passion thus impliedly finding "substan
                                                                      tial evidence" for giving the
  instruction. How then does the trial court conduct an "off-
                                                                    the-record" meeting before my arrival
  to court, and outside the presence oftrial court, without notif
                                                                      ying the defendant, Michael
  Campbell, about the withdrawal ofthese vital instructio
                                                              ns and then try and justify not giving
  them?


 5.) Because the trial court initially agreed to give CALCRI
                                                                    M 570 the Reviewing Court must
 presume the trial .court made the finding that "substantial
                                                                evidence" supported giving the
 CALCRIM 570, Sudden quarrel and Heat of Passion corre
                                                                      ct?

6.) Is not "substantial evidence" defined as evidence from whic
                                                                        h a jury composed ofreasonable
(persons) could conclude that the lesser offense(CALCRIM
                                                                      570), but not the greater (187(a)
Second Degree Murder)was committed?
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    7..) Is not trial court bound by law, in determining
                                                            whether "substantial evidence" supports a
    lesser offense, it is the trial courts duty to leave issue
                                                              s of witness credibility to the jury(People v.
    Breverman(1998) Ca1.4~' at 162;)( People v. Elize(199
                                                                   7)71 Ca1.App.4~'605,615} and doubts as
    to the sufficiency ofthe evidence to warrant instructio
                                                                 ns be resolved in favor ofthe defendant?
  (People v. Flannel (1979)25 Cal.~ rd 668,685;)(Peo
                                                            ple v. Wilson (1967)66 Ca1.2nd 749, 763.)




   8.) Isn't it criminal law, knowledge, and fact that in a
                                                                 prosecution for murder even though the
   defense of"Self-Defense" fails, as it might for excessive
                                                                   retaliation by the defendant, the jury
  might still find the original attack sufficient to constitute
                                                                   "provocation" which would preclude a
  finding of "malice aforethought" and reduce the crim
                                                                 e to "manslaughter?"




 9.) Isn't it the obligation and duty ofthe trial court to instr
                                                                   uct on every supportable theory ofthe
 lesser included offense of voluntary manslaughter, not mere
                                                                    ly the theory or theories that have the
 strongest evidentiary support, or upon which the defendant
                                                                    has openly relied? (People v.
 Breverman, supra, 19 Cal.4~' 142, 155.)


 10.) Does not the obligation to instruct on lesser included
                                                                  offenses apply regardless ofthe
parties' request or objections, and thus prevents the strategy,
                                                                     ignorance, or mistakes of either
party from presenting the jury with an unwarranted "all-or-
                                                                   nothing choice", encourages a.
verdict no harsher or more lenient than the evidence merits,
                                                                   and protects the jury's truth-
ascertainment function? (People v. Breverman, supra, 19
                                                                 Cal.4th 142, 154-155.)
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              11.) Was not the evidence ofthe victim,
                                                           Brian Denton's menacing behavior and
                                                                                                          his
     attempt at strangling me, his beating and
                                                 repeated attacks.on me slamming to the
                                                                                                floor, sufficient
     enough to permit a jury to conclude that a
                                                reas     onable person in my position could have
                                                                                                      reacted to
     his "provocation" during our sudden quar
                                                  reUfight over stolen items, and could a
                                                                                                reasonable
     person have reacted out in the "heat of pass
                                                  ion?'(People v. Barton(1995) 12 Ca1.4~'
                                                                                                   186, 190,
    201-202.)


    12.) Was not the victim's threating behavior
                                                    , repeated attacks and treats to kill me
                                                                                                immediately
    before the killing sufficient under California
                                                     law to require the trial court to give a
                                                                                                "Sudden
   Quarrel and Heat ofPassion" instruction sua
                                                     sponte?

   13.) Does not the "objective" standard of"He
                                                     at of Passion and Sudden Quarrel" or
                                                                                                 Voluntary
   Manslaughter compel examination of my case
                                              ?

  14.) Doesn't The People have to "prove bey
                                                 ond a reasonable doubt", that "heat of
                                                                                                passion and
  adequate provocation" were lacking in order
                                                  to establish the murder element o~"malice?
                                                                                                     "
 (People v.R.ios(2000)23 Cal.4`" 450, applying
                                                     (Mullaney v. Wilbur(1975)421 U.S.
                                                                                                 684,704)

  15.) Vas not the trial court bound,sua sponte,
                                                     to give CALCRIM 570 Sudden QuarreUHe
                                                                                                     at of
 Passion if the evidence was substantial, in othe
                                                     r words if the evidence was strong enough
                                                                                                     to
 persuade a reasonable jury. Opinion p. 14 citi
                                                 ng (People v. Moye,supra,47 Cal.4~' 537
                                                                                                  , 541.)

 16.) Seeing that my neighbor Rose's identificati
                                                      on of me as the one who was yelling thro
                                                                                                    ugh our
apartment walls for her to "call the police!!!" was
                                                       at the core of my defense, was not my
                                                                                                    trial
counsel ineffective for failing to request a modified
                                                         version of CALCRIM 315 or other
appropriate instruction to assist the jury in evaluati
                                                       ng the "Ear- Witness testimony" pres
                                                                                                    ented
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         by the prosecutor? Isn't trial counsel
                                                  ineffective when he fails to request nec
                                                                                             essary jury
         instructions?


        17.) Does not the criminal defendant's
                                                   constitutional right to the assistance
                                                                                            ofcounsel for his
        defense include the right to effective
                                                 assistance?

        18.) Why was the prosecution allowed
                                                  not to present evidence negating the
                                                                                            findings that the
       victim had a(BAC)Blood Alcohol Lev
                                         el of.212, three times the legal limi
                                                                                            t, and had a(PP)
       Presumptive Positive Testing indicati
                                                  ng that the victim was high on Met
                                                                                      hamphetamine and
       Ecstasy?


      19.) Why weren't the results of my DNA
                                                    Analysis reported to the trial court and
                                                                                                why did the
      prosecution, who requested and provided
                                              the      testing, hold back the results from the
                                                                                                  jurors?

      20.) Doesn't The People have to furnish
                                                  or provide all evidence in a trial whethe
                                                                                              r or not it helps
     or hurts the state's case? This being the resu
                                                     lts if my DNA testing which were neg
                                                                                                ative for any
     kind of drugs but were never produced
                                                during the trial and was withheld from
                                                                                            the jury.

     21.) Doesn't the prosecutor and The People
                                                     have to present evidence of a "motive"
                                                                                                 in a murder
     conviction? What was the "motive" in my
                                                   murder trial? The prosecutor never pro
                                                                                               duced a motive
    for the killing thus lacking a conviction
                                                 required to fulfill every "element" ofthe
                                                                                               charged crime.

    22.)Doesn't the law require that failure to inst
                                                      ruct the jury on Sudden Quarrel and
                                                                                               Heat Of
    Passion ,Provocation and Voluntary Mansla
                                                    ughter require reversal of my Second
                                                                                               Degree
    Murder conviction?
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                       STATEMENT OF APPEALABILITY

              This appeal is from a final judgment following a jury trial

       and is authorized by Penal Codel section 1237.

                          STATEMENT OF THE CASE

              On February 9, 2018, the prosecutor filed an amended

       information charging appellant, Michael Campbell, with one

       count of murder (§187, subd.(a)) and alleging that Campbell

       personally used a deadly and dangerous weapon - a clothing

       iron.(1Clerk's Transcript2 109-110.)

              Trial commenced on February 7, 2018.(CT 103; 2

       Reporter's Transcript3 l).

              On February 13, 2018, Campbell entered a not guilty plea

       to the amended information. (1CT 112.)

              On February 21,2018, a jury acquitted Campbell of first

       degree murder, convicted him of second-degree murder, and

      found the weapons use allegation true.(1CT 159-161; 4RT 502-

      503.)

              On February 23,2018, the court sentenced Campbell to 15



      'All references will be to the Penal Code unless otherwise indicated.

      2Hereinafter referred to as "CT".

      3Hereinafter referred to as "RT".
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       years t~ life. for count one and imposed a year for the persor~~l

       use allegation, for a total of 16 years to life.(1CT .165, 168; 4R~T

       525.)
               Notice of appeal was fiimely filed. (1CT I71-17Z.)




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                            STATEMENT OF THE FACTS
        PROSECUTION CASE
              The Killing
              On December 31, 2015, Michael Campbell occupied Room 58
       at the Florence Hotel, a single resident occupancy ("SRO") hotel

       located. at 310 E. 5th Street, in the skid row area of downtown Los

       Angeles.(2RT 44-47, 60,93-94, 102.) Surveillance video cameras are
       located throughout the interior of the building.(2RT 100-101.)

             The video evidence shows that, at 9:4:1 p.m. on New Year's

       Eve 2015, Campbell entered the front lobby entrance of the Florence

       Hotel, accompanied by Brian Denton.(2RT 103-10C.) They were

       captured on video entering Campbell's third-floor roorr~, Room 58, at

       9:42 p.m.(2RT 108-110.) Brian walked out of the room, down the
       hallway out of sight, and then returned between 9:45 and 9:48 p.m.

      (2RT 110-111.) Brian again left the room, greeted several residents,
       stood near a stairwell, and then returned to the room between 10:25

       and 10:30 p.m.(2RT 112, 124-125.)

             Around 11:35 or 11:40 p.m., Campbell's neighbor across the
       hall, Wendell, was awakened by a disturbance in Campbell's room.

      (2RT 44-48, 53, 95-96.) Wendell heard a lot of banging.and slamming.

      (2RT 47, 53.) Wendell's wall and the mirror hanging on it were

      shaking.(2RT 48, 53.)

            About. 20 to 25 minutes after the noise woke Wendell, another

      neighbor, Rose, came to Wendell's door and asked him to ca11911


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       bec:a~~s~ shy had heard "a bunch of knocking and bammng and

       fighting" corning from Campbell's. room for about 20 minutes.(2RT

       4$-49, 54-55, 7~-79, 95.) Wendell decided to call hokel security

       instead.(2RT 49,55.) Wendell could still hear "rumbling" or

       "wrestling" or "fighting" going on in Campbell's room.(2RT 49.) He
       heard a bang and at the same time someone yelling "help" twice, but

       he could not tell if it was Campbell's voice yelling for help, or even
       whether the voice was male or female.(2RT 49-5Q, 53, 57.) Rose also

       heard a voice coming from Campbell's room, but she believed it vas

       Campbell's voice saying,"Call the police," in response to her

       knocking on their common wall and asking if he was okay.(2RT 77-

       78, 81-52, 92.) Wendell considered what was happening an "extreme

       emergency" and calted ~t~~e~ security twice.(2R~'S0, 55.j After-
       Wendell called the second time, the fighting stopped and Campbell's

       room was silent again.(2RT 56-57, 79.)
             Hotel security arrived and knocked.on Campbell's door,

       announcing themselves as "security", but when nobody answered,

       the security officers walked away.(2RT 50, 55-56.) When the security

       officers banged on the door of Campbell's room, it was quiet inside.
       (2RT 50.) Wendell told the security officers he had heard people
       fighting in Campbell's room.(2RT 56.)
              Events Following the Killing
              Video footage showed Campbell left the room at 8:13 a.m. on

       January 1, 2016.(2RT 112-115, 128-129.) He appeared to be wearing

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       the same clothing from the night before.(3RT 299.) He vas recorded

       on video leaving through the front door.(2RT 112-11~.) He did not
       return to the hotel.(2RT 115.)

              On January 5, 2016 at 8:24 a.m., hotel security officer Omar
       Hernandez found Brian's body while conducting a welfare check at
       Room 58.(2RT 52, 70, 116, 135-136, 144.) Hernandez opened the door
       with a master key, then closed the door when he saw the body

       inside.(2RT 65, 68, 6~-66,68,135-136.) Sometime after 8:24 a.m., the

       pollee received a call regarding a suspicious death and went to
       Campbell's apartment, where officers met with Hernandez. (2RT 59-

       62.) Initially the officers believed the body on -the floor in Campbell's

       room was Campbell himself.(2RT b2, 66.) The body's face was pale

       and bloodied, and there were injuries to the face and head.{2RT 66-
      67.)

             The window in the room was closed, but an officer opened it
      and, while waiting for the detectives to arrive, left it open to clear

      out the odor of the decaying body.(2RT 62-64, 69, 71-72.) The room
      had a small closet filled with clothes.(2RT 63-64.) There was a lot of

      debris on the floor and throughout the room.(2RT 64.)

             Brian's body was lying supine on the floor of the ten foot by
      twelve foot room that contained a closet, a twin bed, a dresser, two

      tables, and a sink.(2RT b2-65, 3RT 329.) The officers did not go
      through Brian's pockets or touch the body at all.(2RT 70-71.) Brian's

      face and head had multiple obvious blunt force injuries.(2RT 66.)
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       Investigators obser~~ec~ hlc~~~d smears and spatter on the dresser

       drawers near Brian's head.(3RT 248.) T`he rug under Brian was
       soaked in blood.(3RT 247-248.) The area of the bedspread adjacent
                                                                        y
       to Brian's head was also_ soaked in blood.(3RT 258-259.) A blood
                                                                      on
       towel and bloody clothing iron with.Brian's blond on them were
       the bed among several items of clothing, boxes.and blankets.(3RT
       255-256, 260-261, 294297.) Multiple blood smears were on the door
       and on a bag hanging from the interior. door handle.(3RT 2~8.)
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       Blood smears, spatter, and dried:blood drips were on the side of
       same dresser in the area adjacent to fihe front door.{3RT 257-258,
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       270, 272-276.) Ablood-soaked white tank top was tivadded up on
       floor area under the sink.(3RT 251-252, 254-255, 337.) On top of the
       dresser was a stapler wife Brian's Mood on it.(3RT ~~9, 2~2-263, 29~-
       298.) There were cigarette butts in the ashtray on a table, one of
        which had Brian's DNA on it.(3RT 252-2~3, 264,.295,.297.) Brian's
        blood alcohol- level was Later determined to be .212..(3RT 196, 239-
        240.)Presumptive _tests showed the presence of MDMA and
        methamphetamine in Brian's blood, but confirmatory testing was
        negative for those drugs.(3RT 195-196.)
              Neighbor Rose testified she believed the person killed in

        Campbell's room was Campbell himself, and that his girlfriend had
        killed him. (2RT 89.) Rose stated in a recorded interview that she ,


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        The prosecutor impeached Rose with her two felony drug
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        heard a female voice say "Give me some money," and Campbell's

        voice respond "I ain't got no goddamn money."(3RT X82.) She also

       reported hearing a female voice saying "Michael, oh, tet me go. Let
       me go."(3RT 281.)She then said she heard Campbell say "No, you
       let me go."(3RT 281.) She also said she heard Campbell's voice say

       "Call the police" twice.(3RT 291.)
              The cause of Brian's death was blunt force trauma; and the

       mariner of death was homicide.(3RT 184, 197, 225:) Fifteen to

       seventeen of the blows were potentially fatal.(3RT 224.) The coroner
       found staples and possible bite marks on Brian's body.(3RT 197-201,

       205.) There were bruises and abrasions on Brian's wrists and hands,

       which could have been either defensive or offensive wounds, and

       abrasions on his flanks.(2RT 202-203, 308-309.) There were at least 22

       lacerations to Brian's head and face.(3RT 206-214.) The coroner

       could not say definitively which of those injuries were inflicted
       before or after Brian died.(3RT 208-209.) There was a fracture to one

      of Brian's teeth.(3RT 214.) It was difficult to determine what some of
      Brian's injuries were, given the level of decomposition.(3RT
      213-214.)

             Dr. Miller testified that the injuries he detailed were consistent

      with the shape of the clothing iron found at the scene. He also

      indicated that all of the injuries suffered by Brian were inflicted



      convictions.(2RT 91.)

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        bef~r~ he died, ineluding the staple and bite ~~~ounc~s.
              On January 5, 2016, Brian.Denton, Sr., reported to the Los
        Angeles Police that his son tiYas missing.(3RT 279-28Q.) Based on Mr.
       Demon's description of his son's tattoos, the police realized that the
        body they .had found in Carnebell's room.was his son.(3RT 280.)
              Also an January 5, Detective Pierce conducted a recorded
        interview with Rose Gibson, who told him she heard banging
        coming from room 58 through their common wall.(3RT 280-281.)
        Rose also said she heard a woman's voice saying, "~Iichael, oh, let
        me go. Let me go."(3RT 281.)The woman also said, "Give me some
        money," and Campbell said, "I ain't got no goddamn money."(3RT
        282.) Rose said that on Ne~v Year's Eve she stayed up until midnight
        in her room with a friend.(3I~~'2$1=282) F3uring the course of the
        interview, Rose repeatedly said she believed Campbell was.dead
        and Angel Dorsey killed hirn.(3RT 283.)
              On January 6, 201b, the police interviewed Angel Dorsey,

        Campbell's ex-girlfriend.(2RT 136-138,144-145, 1.49.) She .said that
        on January 1, 2016, early in the morning, Campbell visited her.
        apartment, located around the comer from his apartment and
        directly across the street from the Los Angeles Police Department's
        Central Police Station.(2RT 1~1-142.) Campbell seemed "excited"
        and upset, but did not seem inebriated.(2RT 142, 1.46.) Campbell
        said Brian was dead in his apartment.(2RT 143.) Dorsey thought
        Campbell was joking and would not open the door, so Campbell

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          started kicking the door, repeating that Brian was at his place and

          was dead.(2RT 143.) Dorsey let Campbell in because'he looked like

          he needed help.(2RT 143-144.) Campbell told her that Brian died
          during a fight.(2RT 145.)

                Campbell stayed at Dorsey's place for about four hours.(2RT
          146.) Dorsey did not observe any injuries to Campbell's person
          except to his forehead.(2RT 147-148.) Campbell complained of a

          headache.(2RT 146-147.)

                Campbell was arrested on the night of January 6, 2016.(3RT
       175-178, 182-183.) At the time of his arrest, Campbell had bags and a

       backpack with him, but he did not attempt to flee.(3RT 179-180,
       182.)

               After receiving his Miranda rights, Campbell provided a
       recorded statement to the police.5 (1CT 122-134; 3RT 284-289.)

       Campbell admitted he knew Brian, that he and Brian had foughfi and

       that. Brian was dead.(1CT 128-129.) When pressed for details, he

      said,"I got to be quiet on that.''(3RT 128.) He further stated, when
      told he was being arrested for murder, that he was the only witness,

      and also stated that his testimony was crucial.(3RT 129-131.) The
      video of the interview was played for the jury.(3RT 287.)

               The prosecutor presented no evidence of motive.


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      The recording was played for the jury but not reported.(3RT 284-
      289.)
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        DEFENSE CASE
                Campbell.testified that he had planned to go out alone to

       neighborhood bars on New Years.Eve, and that he had been
        drinking during the day.(3RT 317, 351-3~2, 372.j Campbell left his
        residence to purchase some items -including alcohol to drink before
        going out to the clubs -and saw his friend Brian outside of a skid
        row liquor store smoking methamphetaminefrom apipe.(3RT 318-
       320, 349, 351.) Brian said he was_ hungry and asked.Campbell to buy
        him food and something to drink.(3RT 319.) Campbell agreed,
        provided Brian put his drug paraphernalia away.(3RT 319-320.)
        Campbell bought some soup cups and four cans of "Four Locos", a
        malt-liquor drink,for Brian and started back to his place.(3RT 320.)
        Brian asked if he could tag along.(3RT 321.E Ort the walk to
        Campbell's residence Brian drank two of.the four cans of"Four
        Locos".(3RT 320-321,_ 324)Brian always drank really fast, and.
        Campbell told him to slow down.(3RT 323-324.)
                Campbell took Brian back to his room so Brian could change

        out of his "homeless" clothes into some of Campbell's nicer.clothing
        in order to go out to the clubs together.(3RT 321-323.) Campbell had
        known Brian for years and acted as a mentor or father figure toward
        him, lending him clothing and a DVD player.(3RT 322-323, 350,
        353.) Brian never took Campbell's things without permission, and
        always returned .them.(3RT 323.) The two also drank together.(3RT
        350.)

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              Campbell was looking through his closet for clothes and shoes
        when he noticed that Brian was no longer in the room.(3RT 324-325,

       354.) Campbell. could hear Brian out in the hall.(3RT 325.) Campbell
       paused to look for his cell phone in order to call his children and saw
       that both of his cell phones were missing.(3RT 3~6.) Ordinarily

       Campbell kept his cell phones on top of his dresser or his stereo.
      (3RT 327.) He knew Brian.had taken them. (3RT 327.)

             Campbell opened his door, called to Brian, and Brian returned
       to his room, closing the door.(3RT 327-328.) Campbell confronted

       Brian about the cell phones, which he observed bulging out of

       Brian's front pants pockets, demanding them back.(3RT 327-328,

       355.) When Campbell tried to retrieve his phones, Brian charged him

       and punched him in the forehead.(3RT 328.) After Brian punched
       him, Campbell told him he was going to call the police, but he could

       not get his phone away from .Brian.(3RT 328.) Brian blocked the

       door and charged Campbell,then bear-hugged him and slammed

       him to the ground,throwing body punches.(3RT 328-330.) Brian

       was swearing at Campbell and saying he was going to kick

      Campbell's "old ass".(3RT 329-330.) Campbell did not know if Brian
      was drunk or still high, but Brian was angry, and-he was on top of

      Campbell.(3RT 330.)

            Campbell was able to wriggle out from under Brian and get to
      his feet, but Brian prevented him from leaving the.room.(3RT 330,

      374-375.) Campbell told Brian he was going to call the police, but

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       Arian ~loc.ked the ~-1oor.(3RT 330-33.1,).Brian charged Campbell

       again,. and Campbell started throwing cans of rood to keep him
       away.(3RT 331-332, 334.) Campbell picked up a closed stapler from
       the dresser and hit Brian with it, then opened it and stapled Brian's
       chest over Brian's tank top, but Arian pulled out a staple, laughed
       demonically, and said "Is that all you. got old man?'`(3RT 332-336,
       356.) Campbell was surprised and terrified that Brian tivas not
       deterred.(3RT 334.) By this point they had. been fighting almost
       continuously.for about ten minutes, while Brian repeatedly
       threatened,to kill Campbell.(3RT 334-335.)
              While Campbell was trying to get to the door knob so he could

       throw Brian out of his room, Campbell tried to grab Brian by the
       back of his pants, seizing him by the tank top instead.{3RT X36.) The
       .tank top ripped and came off in Campbell's hand..(3RT 337-338..)
       Brian had put on a glove, saying he was going to whoop Campbell's
       ass again, and was pounding on the walls and on Campbell with his
       fists.(3RT 336.) Campbell was desperate.(3RT 337.) Campbell tried
       throwing Brian out, but his tank top came off in Campbell's hand,so
       Campbell lost his grip.(3RT 337-338.) Campbell dropped the shirt by
       the sink and knocked on the wall and screamed for his neighbor,
       Rose, to call the police.(3RT 338-339.) At that point it had been 10 to
        15 minutes since Brian had entered Campbell's room.(3RT 339.)
              Brian rushed Campbell again and put him in a choke hold

        from behind with his right arm around Campbell's neck, cutting off.

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        his air.(3RT 339, 3~7-358.) Campbell repeatedly bit Brian on his arm

       and elsewhere to break his hold.6(3RT 340, 358-360.) While

       Campbell was on the floor, trying to escape out the door, Brian
       picked up a clothing iron from the dresser, wrapped the cord around

       Campbell's neck, and choked him from behind until Campbell was
       dizzy and breathless.(3RT 340-341, 361-362.) Campbell was scared

       because he realized that Brian was trying to kill him.(3RT 341.)

       Carr~pbell tried to get his fingers under the cord to loosen it.(3RT

       341-342.) Campbell was able to grab the iron dangling at his left side
       by the handle and repeatedly strike Brian in the head and the left

       side of his face while Brian vas behind him until the tension in the

       cord eased up.(3RT 341-343, 361, 373-374, 377.) At no time did

       Campbell strike Brian with the iron while facing him, nor did he
       ever kneel over Brian and hit him with the iron while Brian was

       lying on his back.(3RT 373-374.) Campbell testified that the blood

      smear by the door resulted from Brian blocking the door while

       wearing a bloody shirt, preventing Campbell from escaping.(3RT

      374-375.)

             Campbell crawled to the bed with the cord still wrapped
      around his neck, shoved some clothes aside, and passed or blacked



      Campbell testified on cross that he also bit Brian at other times
      during the.fight, not just while he was being choked, and that he bit
      Brian wherever. he could, not dust in the shoulder and neck area.
     (3RT 359-360.)

                                         13
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        out..(3RT 343, 3e1,363,.3e7.) Betore Camp~eii gassed out, he heard

       Brian mumbling like a drunk person on the floor.(3RT 3~3.)
       Campbell slept until 8 a.m. (3RT 343.)
                                                                              .
              When Campbell woke up he remembered the fight with Brian

       (3RT 343.) Thinking Brian wTas asleep, Campbell called out to him,
        telling him to wake up and.leave..(3RT 343-344.) V1~'hen Campbell
        nudged Brian's leg and discovered he was dead,he panicked and
        left the building.(3RT 344, 364.) Campbell did not wash up or
        change clothes.(3RT 364.) He could not recall about what he wore,
        except that he put something o~ to wear _outside because it was
        raining.(3RT 364.)
              Campbell denied waiting for Brian to die before Campbell left
        the room, or waiting so that Brian could nat-gel xned~cal treatment.
                                                                           g to
       (3RT 376.) Campbell was afraid.to .call the police, as he was "tyin
        process" what had happened.{3RT 344-345.) He went to Dorsey's
        house and told her he had fought with Brian.(3RT 345.) After
        leaving Dorsey's place, Campbell went out.and bought drugs and
        alcohol.(3RT 345, 352.) Campbell stayed high on meth and drunk
        continuously for five. days until the. police picked him up.(3RT 346,
                                                                          the
        352,364.) Campbell testified he did not know what happened to
                                                                       he
        two cell phones be believed Brian had stolen, but he thought left
                                                                             he
        them in his room, or that he might have taken one with him when
        left, but he could not remember.(3RT 372-373.)
              During his interview with the police Campbell was not

                                           14
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        himself.(3RT 346.) He was hallucinating and very upset about Brian

       attacking him in his home.(3RT 346.) Brian attempted to kill him,

       and when Brian would not stop attacking him, Campbell tried to get

       him off of him, tried to get him out of his apartment, and tried to-get

       others to call the police.(3RT 347.) When Campbell hit Brian with

       the iron, he felt he had no other options because he felt he was about

       to die.(3RT 347, 376.)

             Photographs taken of Campbell's body on January 6, 2016,

       showed bruises, scrapes and scratches on his chest, back, arms and

       knees.(3RT 293-294, 308-309, 365-370.) Defense expert Dr. Ryan

       O'Connor determined the injuries to Campbell were consistent with

       injuries that were six days old -suggesting that they resulted from

       the fight with Brian.(3RT 309.)

       REBUTTAL
             Brian was living with his maternal grandmother at the time he
      was killed.(3RT 294, 382.) Brian had received a ce11 phone for
      Christmas 2015.(3RT 380.) Brian's biological father had come to the
      grandmother's residence on December 28, 2015 and picked Brian up
      to visit with,him in downtown Los Angeles.(3RT 294.) Grandmother
      had spoken with both Brian and his father by phone between 11 a.m.
      - 1 :00 p.m. on New Year's Eve when the two were together.(3RT
      380-382.)
            Detective Sharman photographed the bloody tank top found
      in Campbell's room, and the top had no tears in it.(3RT 383-385.) He

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       ciid not photograph bath sides of the shirt. (3IZT 38~.) Iti'o cell phones.

        were found during a search of Campbell's room, and no cell phones

        were located on Campbell or his property at the time of his arrest.
       (3RT 384.) From New Year's Eve until January 5, nobody called the
       police or anyone else to report Brian missing.(3RT 38~.)




                                           16
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                                  INTRODUCTION
              In a murder prosecution (Pen. Code, ~ 187, subd.(a)) resulting
       from a fight, the trial court prejudicially erred in failing to instruct,

       sua sponte, on voluntary manslaughter based on sudden quarrel or

       heat of passion as a lesser included uncharged offense of the charged

       crime(CALCRIM l~To. 570), since substantial evidence supported

       such an instruction. The same evidence of threat and fear of harm
       that supported a claim of unreasonable self-defense also permitted a
       manslaughter verdict based on sudden quarrel or heat of passion.

             The court instructed the jury it could consider Campbell's act

      of leaving his residence after the killing to be flight showing

      consciousness of guilt where there was insufficient evidence of

      flight. The instruction lessened the prosecution's burden of proof

      and violated Campbell's 5th, 6th and 14th Amendment rights.

             Campbell was deprived of his Sixth Amendment right to the
      effective assistance of counsel because trial counsel failed to request

      an instruction on "earwitness" identification where the only

      witnesses to the killing did not see the event, but heard it through
      the walls of their hotel rooms, and there was a dispute as to who

      spoke the words at issue and what was said. The jury needed

      assistance in assessing the variables affecting the reliability of the

      earwitness identifications and did not get it.

            Wishing for a murder conviction, the prosecutor engaged in
      prejudicial misconduct by sandbagging the defense in closing

                                          17
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        ar~ulynent, emitting nearly all reference t~ the pi~ti-5~cal ei~irience until

        her rebuttal argument and depriving Campbell of the opportunity to
        address her argument.
               Campbell. was deprived of his Sixth ~1m~ndment right to the

        effective assistance of counsel when trial counsel failed to object #o
        the flight instruction, failed to request the earwitness identification
        instruction, and failed to object to the prosecutor's misconduct.




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E   ~   ,y t   Case 2:20-cv-01530-JWH-SHK                  Document 1 Filed 02/14/20       Page 473 of 532 Page
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                                           CUURT ~OF AP-PEAL 0~' THE STATE 0~' :CALF
                                                                                                 FORMA
                                                           SECQIU~7 A~'FELI~~E DISTRICT



                          PEOPLE ~JF '~I~E ~TAT~ 0~' CALIFORNIA,
                                                                                      }          MAR ~ ~- ZO~a
                                                                                      ~'
                                                                     PLAT NT ~ FF',
                                     ~~S.                                             ~ N4. BA4927~1-03

                         41 ~. I~iIGII~hAEL ~AMFBEL~.,

                                                                     D~FEND~INT


                              APPAL FRAM THE SUPER~QR COURT C?~' SOS :,~N~ELES
                                                                                                               'COQ~~`Y
                                               ,~ON~ ~URTIS B. R~P~E, JUDGE PRESIDING

                                                  RE`PC?R~'ER'S TRANSC~IPT €~N APPEAL

                                                FEBRUARY ~~i, 20, 21 AND 23r 2Q18


                                                                                  ~
                        APP~ARAI~IIC~~

                        FC?R THE F~.AIhI'TIFF-RESPOND~N~                  XAVIER B~~ERRR
                                                                          STATE A~'Tf~RNEY GEN~~tAL
                                                                          30~ SOUTH ~PFtING STREET
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                                                                          SOS ANG~I.~S, CA 90013


                       FOR D~.FENDA~IT-APPELLANT:':.                     'IN PR4PRIA P~RS~~IA




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                                                                     MARY LU ~lUFtPH~, ASR NCB. 5~."7$
                                                                     Q~`FICIAL ~ REPC?RTEFi
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                                                                               388

         1    CASE NUMBER:                  BA992781-01
        2     CASE NAME:                    PEOPLE VS. MICHAEL CAMPBELL
        3     LOS ANGELES, CA               FEBRUARY 16, 2018
        4     DEPARTMENT 103               HON. CURTIS B. RAPPE, JUDGE
        5     REPORTER:                    BROOKE A. BRUBAKER, CSR N0. 9920
        "6    TIME:                        A.M. SESSION
        7

        8    APPEARANCES:

        9        DEFENDANT MICHAEL CAMPBELL, PRESENT WITH COUNSEL,

    10       MICHAEL WALDINGER, DEPUTY ALTERNATE PUBLIC DEFENDER;

    11       DEANN RIVARD, DEPUTY DISTRICT ATTORNEY, REPRESENTING
                                                                  THE
    12       PEOPLE OF THE STATE OF CALIFORNIA.

    13

    19                       (THE FOLLOWING PROCEEDINGS WERE
    15                       HELD IN OPEN COURT OUTSIDE THE
    16                       PRESENCE OF THE JURORS:)
    17

    18                MS. RIVARD:     PEOPLE VS. MICHAEL CAMPBELL.
   19        BA942781.

   20                 MR. WALDINGER:     MICHAEL WALDINGER, DEPUTY
   21        ALTERNATE PUBLIC DEFENDER, ON BEHALF OF MR. CAMPB
                                                               ELL.
   22             MS. RIVARD:        AND DEPUTY DISTRICT ATTORNEY, DEANN
   23        RIVARD, FOR THE PEOPLE.

   24                       GOOD MORNING, YOUR HONOR.
   25             THE COURT:        GOOD MORNING.
   26

   27

   28


                                        ~ .~.....
.•   Case
     ~    2:20-cv-01530-JWH-SHK        Document 1 Filed 02/14/20   Page 475 of 532 Page
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             1

             2

             3                   I'M JUST GOING TO GO THROUGH THE

             4    INSTRUCTIONS AND GIVE YOU THE OPPORTUNITY TO INDICATE IF

             5   THERE IS ANYTHING YOU WANT TO PUT ON THE RECORD.

             6      ~            ON 20~, I ASKED THE DISTRICT ATTORNEY TO

             7   TAKE OUT EVERYTHING IN THE FIRST PARAGRAPH, EXCEPT THE

          8      FIRST SENTENCE, AND I DON'T BELIEVE ANYBODY HAD AN

          9      OBJECTION TO THAT.

         10                     I THINK 2001, NOBODY HAD AN OBJECTION T0.

         11                     2002, NO OBJECTION.

         12               MS. RIVARD:    YOUR HONOR, I WAS GOING TO CHANGE

         13      "HAVE BEEN" TO "WERE," JUST AFTER THE FIRST "YOU."

         19               THE COURT:    2007, I DON'T THINK ANY80DY HAD ANY

         15      CHANGES.
         16                     220, NO CHANGES.
         17                     222, 223, 224, 226, THEY'RE ALL FINE.
         1B                     252, IN THE LAST SENTENCE, MAKE
         19      "CONSTRUCTION" PLURAL.        I DON'T THINK ANYONE HAD ANY
        20       OTHER CHANGES ~N THAT ONE.
        21                      300, I THINK THAT WAS NO CONTROVERSY.
        22                      301 AND 302, NO ONE HAD ANY CONTROVERSY
        23       ABOUT.
        29
        25
        26

        27 ~~
        28                     316, 318, 332, 333, 356, 359,


                          OPYING RESTRICTED, SEC. 69954(D) CAL GOV CODE
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        1                  .._

        2
        3                        IF ANYONE WANTS TO ARGUE, I HAVE TO

        4    ISSUE --

        5             MR. WALDINGER:       WHICH ONE?

        6             THE COURT:      THAT'S THE FAILURE TO EXPLAIN -- THE
        7    DEFENDANT'S FAILURE TO EXPLAIN IN HIS TESTIMONY.

        8                        THE CASE LAW HAS MADE IT PRETTY CLEAR.       THE
     9       FAILURE TO EXPLAIN HAS Td BE EITHER COMPLETE OR ALMOST A

    10       RIDICULOUS EXPLANATION.          CERTAINLY, THERE IS A JURY
    11      ISSUE THERE, SO I DON'T THINK THERE IS A MATTER THAT,

    12      WELL, I SAY IT IS SO RIDICULOUS THAT I CAN TAKE IT AWAY

    13      FROM THE JURY.

    19                           ALSO, 362, 370, 371, 372, I DON'T THINK

    15      ANYONE HAD ANY ISSUE WITH.

    16           ~               500, I DON'T RECALL ANYONE HAVING ANY ISSUE
   17                                                                   -- --- -.
            WITH THAT.

   18                            505 --

   19

   20                                                              ___ , _
                                                                             _ _ -- --- __
   21                                                              -
   22

   23                THE CURT:        JUST TO RECAPITULATE THE DISCUSSION WE
   29       HAD, HERE, CERTAINLY IF THE DEFENDANT -- YOUR ARGUMENT,

   25       ~N CHAMBERS WAS THAT YOU FELT THAT THERE WAS AN ESTES_

   26       ~tOBBERY. ~~ `J r c~ t~-~ ?1~~ ~iN '~`~. c.~1~l,~1~~~~1~ ~'F~~~

   27       ~        MR. WALDINGER:       YOUR HONOR, THAT WAS 506. ~o~p~'
   28                THE COURT:      OH, WAS THAT 506?     OKAY.


                      OPYING RESTRICTED, sic. 69954(n) Caw cov coD~
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        1                                                                 ~~
        2
        3
        9             THE COURT: _ OH, YEAH.     I WAS MIXING UP THAT 506
        5     DISCUSSION WE HAD.

        6                    AND I THINK, AGAIN, HERE, YOU HAVE A USE OF
        7     DEADLY FORCE, AND I DON'T THINK THAT THE MERE
                                                            PROTECTION
        8     OF PROPERTY ALLOWS THE JURY TO SET UP THEIR OWN
        9     REASONABLE FORCE STANDARD, RATHER THAN WHEN YOU CAN
                                                                  USE
    10        DEADLY FORCE, WHICH IS COVERED IN THE FIVE SERIES.
                                                                  SO I
    11        WON'T GIVE THAT ONE.

    12                      BUT YOU HAD AN OBJECTION.          -- OR NO
    13       OBJECTION -- 520, I THINK THERE WAS NO OBJECTION TO.
    14       OH, WE WERE GDING TO TAKE OUT THE REFERENCE TO "CAL

    15       CRIM," EXCEPT FOR THE INSTRUCTION NUMBER 521.
    16               MS. RIVARD:     YES, YOUR HONOR.
   17                THE CURT:     AND THEN IN 521, THE LAST SENTENCE,
   18        WHICH READS, "IF THE PEOPLE HAVE NOT MET THIS BURDEN,
   19        YOU MUST FIND THE DEFENDANT NOT GUILTY OF FIRST DEGREE
   2Q        MURDER, AND THE MURDER IS SECOND DEGREE MURDER."                  THAT
   21        ASSUMES THAT THEY'RE GOING TO FIND HIM GUILTY OF ONE
   22        TYPE OF MURDER. ~~5~ ._I THINK WHAT WE NEED TO DD IS
                                                 r



   23        1~FTER "IF THE PEOPLE HAVE NOT MET T~iIS BURDEN," COMMA,
   29        "~U.~~C.OU_ DECIDE THAT THE DEFENDANT COMMITTED MURDER,"
   25        COMMA                    -- E MURD~B~." ~~~~ ~'~~ ~~a` ~~~~`r'~l
                      "IT IS SECOND DEGRE
                                                                  b~ ~~L ~~..i~ C~~
   26                MS. RIVARD:    I WILL CHANGE THAT.
   27                THE COURT:    OKAY.   AND YOU HAD NO OBJECTION TO
   28        THAT, MR. WALDINGER?


        r-           "OPYING RESTRICTED, SEC. 69954(D) CAL GOV CODE
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                           ~    ~\

             1

             2           THE COURT:     OKAY.   THEN WE GO TO 522,
             3   690.

             4                   AND THEN 31.4.5, THE INTRODUCTORY SENTENCE

          5      BEFORE THE NUMBERED PARAGRAPHS, TICK OUT THE "OR SHE."

          6              MS. RIVARD:     YES, YOUR HONOR.

          7              THE COURT:     AND THEN 3550, I THINK THERE WAS NO

          8      OBJECTION TO THAT.

          9                     ,3.570, NO OBJECTION TO THAT. ~"

        10                      .ANYTHING ELSE WE NEED TO DISCUSS ON THE --

        11               MS. RIVARD:     AT THE COURT'S REQUEST, I AM GOING TO

        12       REMOVE 3590 FROM THE INSTRUCTION BOOKLET.           SO THE COURT

        13       CAN JUST READ THAT AFTER ANY VERDICT.

        14               THE COURT:     OH, YES.   YES.

        15               MS. RIVARD:     I WILL MAKE THOSE CHANGES AND EMAIL

        16       THEM DIRECTLY.

        17               THE COURT:     JUST A REMINDER, IF ANYBODY'S GOING TO

        18       USE POWERPOINT, HAVE A HARD COPY FOR THE CLERK TO MAKE

        19       IT AS A COURT EXHIBIT.

        20                      YOU USE POWERPOINT; RIGHT?

        21               MS. RIVARD:    I WILL USE A POWERPOINT IN BOTH MY A

        22       AND B ARGUMENT.       I WILL PROVIDE A COPY OF THE POWERPOINT

        23       TO MR. WALDTNGER ON TUESDAY AND TO THE COURT FOR THE

        24       COURT FILE.

        25               THE COURT:    AND WE'LL JUST MAKE THOSE COURT

        26       EXHIBITS.     AND MELODY IS NOT GOING TO BE HERE NEXT WEEK,

        27       SO- I F I FORGET, REMIND ME - WHOEVER IS IN HERE TO DO

        2B       THAT.


                          OPYING RESTRICTLrD, SEC. 69954(D) CAL GOV CODE
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                                                                                         393-394

                            1         MS. RIVARD:    YES, YOUR HONOR.
                         2           THE C0URT:     ALL RIGHT     HA VE A GOOD WEEKE N D, AN D
                         3      WE'LL SEE YOU TUESDAY.

                         9           MS. RIVARD:     THANK YOU.    YOU, AS WELL, YOUR HONOR.
                         5                  THANK YOU, EVERYBODY.

                         6           THE COURT:     THANK YOU.
                         7

                         8                  (PROCEEDINGS CONCLUDED UNTIL

                         9                  FEBRUARY 20, 2018.)

                        10
                        11                  (THE NEXT PAGE IS 399.E

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                                                                                            TOP                      ~                        ~            ~ILEC1
                                                                                                                                                  Superior Court of Celitomfa
                                                                                                                                                   • County of Los dngeles

                                                                                                                                                      ~Fg 20 2018
                                                                                                                                           Sherri R. C rter, E~ ~ 've ONicer/Clerk
                                                                                                                                            BY                             ~eAuh
 '                                       ~                                                                                     ~                            S. Cerda

                                  SUPERIOR COURT OF CALIFORNIA. COUNTY 4F LOS ANGELES                                                                             .

                          ~ G!3                                                        ~                                                          No.~~~       ~{~-~ p i
                                                                                                                                                     ............................
       Dept.No.......................                               •                                                                                   (Space below for filing
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                                                                          PEOPLE OF THE STATE OF CALIFORNIA
                                             v rveN
                   I NSTRUCTIONS             ~Rf~F~9'EO                                                 VS.
                                             iMITH'B'Ri11iVN-




                                                                                           1~1tC~~t           C'~m                                                                       .
                                  Consisting of                                                                           Defendant .

               .            ............~................
                                                  •
                                                                        . ................~.........:....~:~:p.~~
                                                                                   ~                ~            .....................
                                                                                                                         r
                                                                                                             Judge Presiding.
                                                                                                                                                                                    '.


                                  pages herein .                               ~

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      CRtM 122 09lQ5(Replaces 76C707A)                                                                                                                 '



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i       3                                         ID #:482                                                 00040
            •                 •                                          •




                                                      2U~.

      Members ofthe jury, I will now instruct you on the law that applies to this case.

     You must decide what the facts are. It is up to all of you, and you alone,to decide what
     happened, based only on the evidence that has been presented to you in this trial.

     Do not let bias, sympathy, prejudice,or public opinion influence your decision. Bias includes,
     but is not limited to, bias for or against the witnesses, attorneys, defendant or alleged victim,
     based on disability, gender, nationality, national origin, race or ethnicity, religion, gender
     identity, sexual orientation, age, or socioeconomic status.

     You must follow the law as I explain it to you,even if you disagree with it. If you believe that
     the attorneys'comments on the law conflict with my instructions, you must follow my
     instructions.

     Pay ,~arefuI attention to all ofthese instructions and consider them together. If I repeat any
     instruction or idea,do not conclude that it is more important than any other instruction or idea
     just because I repeated it.

      Some words or phrases used during this trial have legal meanings that are different from their
      meanings in everyday use. These words and,phrases will be specifically defined in these
      instructions. Please be sure to listen carefully and follow the definitions that I give you. Words
     .and phrases not specifically defined in these instructions are to be applied using their ordinary,
     everyday meanings.

     Some ofthese instructions may not apply,depending on your findings about the facts of the case.
     Do not assumejust because I give a particular instruction that I am suggesting anything about the
     facts. After you have decided what the facts are, follow the instructions that do apply to the facts
     as'you find them.                       .   ..          .,




                                                      201.

     Do not use the Internet or a dictionary in any way in connection with this case, either on your
     ovm or as a group. Do not investigate the facts or[he law or do any reseairch regarding this case,
     either on your own,or as a group. Do not conduct any tests or experiments, or visit the scene of
     any event involved in this case. If you happen to pass by the scene, do not stop or investigate.
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                                                 2oZ.

  You were given notebooks and may have taken notes during the trial. You may use your notes
  during deliberations. Your notes are for your own individual use to help you remember what
  happened during the trial. Please keep in mind that yow notes may be inaccurate or incomplete.

  Ifthere is a disagreement about the testimony at trial, you may ask that the court reporter's
  record be read to you. It is the record that must,guide your deliberations, not your notes. You
  must accept the court reporter's record as accurate.

  Please do not remove your notes from the jury room.

  At the end ofthe trial, your notes will be collected and destroyed.




                                                207.

 It is alleged that the crime occurred on December 31,2015. The People are not required to prove
 that the crime took place exactly on that day but only that it happened reasonably close to that
 day.




                                                220.
The fact that a criminal charge has been filed against the defendant is not evidence that
                                                                                          the
charge is true. You must not be biased against the defendantjust because he has been
                                                                                        arrested,
charged with a crime,or brought to trial.

A defendant in a criminal case is presumed to be innocent. This presumption requires
                                                                                     that the
People prove a defendant guilty beyond a reasonable doubt. Whenever I tell you the
                                                                                   People must
prove something, I mean they must prove it beyond a reasonable doubt.

Proof beyond a reasonable doubt is proofthat leaves you with an abiding convicti
                                                                                  on that the
charge is true. The evidence need not eliminate all possible doubt because everythi
                                                                                    ng in life is
open to some possible or imaginary doubt.

In deciding whether the People have proved their case beyond a reasonable
                                                                           doubt, you must
impartially compare and consider all the evidence that was received
                                                                    throughout the entire trial.
Unless the evidence proves the defendant guilty beyond a reasonable doubt, he is
                                                                                 entitled to an
acquittal and you must find him not guilty.




                                                2
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                                                 222.

"Evidence" is the sworn testimony of witnesses, the exhibits admitted into evidence, and
anything else I told you to consider as evidence.

 Nothing that the attorneys say is evidence. In their opening statements and closing arguments,
 the attorneys discuss the case, but their remarks are not evidence. Their questions are not
 evidence. Only the witnesses'answers are evidence. The attorneys' questions are significant only
 ifthey helped you to understand the witnesses' answers. Do not assume that something is true
 just because one ofthe attorneys asked a question that suggested it was true.

 During the trial, the attorneys may have objected to questions or moved to strike answers given
 by the witnesses. I ruled on the objections according to the law. If I sustained an objection, you
 must ignore the question. Ifthe witness was not permitted to answer,do not guess what the
 answer might have been or why I ruled as I did. IfI ordered testimony stricken from the record
 you must disregard it and must not consider that testimony for any purpose.

 You must disregazd anything you saw or heard when the court was not in session,even if it was
 done or said by one ofthe parties or witnesses.

 Uuring the trial, you were told that the People and the defense agreed, or stipulated, to certain
 facts. This means that they both accept those facts as true. Because there is no dispute about
 those facts you must also accept them as true.

 The court reporter has made a record ofeverything that was said during the trial. If you decide
 t}~at it is necessary, you may ask that the court reporter's record be read to you. You must accept
 the court reporter's record as accurate.



                                                223.

Facts may be proved by duect or circumstantial evidence or by a combination of both. Direct
evidence can prove a fact by itself. For example,if a witness testifies he saw it raining outside
before he came into the courthouse, that testimony is direct evidence that it was raining.
Cirewnstantial evidence also may be called indirect evidence. Circumstantial evidence does not
directly prove the fact to t~ decided, but is evidence ofanother fact or group offacts from which
you may logically and reasonably conclude the truth ofthe fact in question. For example,if a
witness testifies that he saw someone come inside wearing a raincoat covered with drops of
water, that testimony is circumstantial evidence because it may support a conclusion that it was
raining outside.

Both direct and circutnstantiaJ evidence are acceptable types ofevidence to prove or disprove the
elements ofa charge, including intent and mental state and acts necessary to a conviction, and
neither is necessarily more reliable than the other. Neither is entitled to any greater weight than
the other. You must decide whether a fact in issue has been proved based.on all the evidence.
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                                               224.

 Before you may rely on circumstantial evidence to conclude that a fact necessary to find the
 defendant guilty has been provcd, you must be convinced that the People have proved each fact
 essential to that conclusion beyond a reasonable doubt.

 Also, before you may rely on circumstantial evidence to find the defendant guilty, you must be
 convinced that the only reasonable conclusion supported by the circumstantial evidence is that the
 defendant is guilty. If you can draw two or more rcasonable conclusions from the circumstantial
 evidence, and one of those reasonable conclusions points to innocence and another to guilt, you
 must accept the one that points to innocence: However, when considering circumstantial evidence,
 you must accept only reasonable conclusions and reject any that are unreasonable.




                                               226.

You alone, mustjudge the credibility or believability ofthe witnesses. In deciding whether
testimony is true and accurate, use your common sense and experience. You mustjudge the
testimony ofeach witness by the same standards, setting aside any bias or prejudice you may
have. You may believe all, part, or none of any witness's testimony. Consider the testimony of
each witness and decide how much ofit you believe.

In evaluating a witness's testimony, you may consider anything that reasonably tends to prove or
disprove the truth or accuracy ofthat testimony. Among the factors that you may consider are:

       • How well could the witness see, hear, or otherwise perceive the things about which
         the witness testified?   _

       • How well was the witness able to remember and describe what happened?

       • What was the witness's behavior while testifying?

       • Did the witness understand the questions and answer them directly?

       • Was the witness's testimony influenced by a factor such as bias or prejudice, a
         personal relationship with someone involved in the case, or a personal interest in how
         the case is decided?

      • What was the witness's attitude about the case or about testifying?
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         • Did the witness make a statement in the past that is consistent or inconsistent with his
           or her testimony?

         • How reasonable is the testimony when you consider ail the other evidence in the
           case?

         • Did other evidence prove or disprove any fact about which the witness testified?

         • ,Did the witness admit to being untruthful?

         • Has the v~ritness been convicted ofa felony?

         • Has the witness engaged in other conduct that reflects on his or her believability?

  Do not automatically reject testimonyjust because ofinconsistencies or conflicts. Consider
  whether the differences are important.or not. People sometimes honestly forget things
                                                                                        or make
  mistakes about what they remember. Also,two people rriay witness the same event yet
                                                                                         see or
  hear it differently.

 If you do not believe a witness's testimony that he or she no longer remembers
                                                                                  something, that
 testimony is inconsistent with the witness's earlier statement on that subject
                                                                                .
 If you decide that a witness deliberately lied about something.significant in this case,
                                                                                          you should
 consider not believing anything that witness says. Or,if you think the witnes
                                                                                s lied about some
 things, but told the truth about others, you may simply accept the part that
                                                                              you think is true and
 ignore the rest.



                                                252.
The crime and other allegation charged in Count 1 require proofof the
                                                                      union,orjoint operation,
ofact and wrongful intent.

The following crime requires general criminal intent: Personal use
                                                                     ofa deadly weapon,the
enhancement charged as to Count 1. For you to find the allegation to
                                                                        be true, a person must not
only commit the prohibited act, but must do so with wrongful intent. A
                                                                           person acts with
wrongful intent when he intentionally does a prohibited act; howeve
                                                                      r;it is not required that he
intend to break the law. The act required is explained in the instruction
                                                                          for that crime.
The following'crirne requires a specifc intent or mental state: Murder as
                                                                         , charge
For you to find a person guilty ofthat crime,that person must not only intenti d in Count 1.
                                                                                 onally commit the
prohibited act, but must do so with a specific intent or mental state. The
                                                                           act and the specific
intent or mental state required are explained in the inshvctions for that
                                                                          crime or allegation.

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                                                 300.

 Neither side is required to call all witnesses who may have information about the case or to
 produce all physical evidence that might be relevant.




                                                 3Q1.

 The testimony ofonly one witness can prove any fact. Before you conclude that the testimony of
 one witness proves a fact, you should carefully review all the evidence.




                                                302.
 If you determine there is a cot~lict in the evidence, you must decide what evidence, if ar~y, to
 believe. Do not simply count the number of witnesses who agree or disagree on a point and
accept the testimony ofthe greater number of witnesses. On the other hand,do not disregard the
testimony ofany witness without a reason or because of prejudice or a desire to favor one side
                                                                                                  or
the other. What is important is whether the testimony or any other evidence convinces you,
                                                                                               not
just the number of witnesses who testify about a certain point.




                                                316.
If you find that a wiiness has been convicted ofa felony, you may consider that fact
                                                                                        only in
evaluating the credibility ofthe witness's testimony. The fact ofa conviction does not
                                                                                          necessarily
destroy or impair a witness's credibility. It is up to you to decide the weight ofthat fact
                                                                                            and
whether that fact makes the witness less believable.




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                                                  318.

  You have heard evidence ofstatements that a witness made before the trial. If you decide that the
  witness made those statements, you may use those statements in two ways:

         1.      To evaluate whether the witness's testimony in court is believable;

         AND

         2.      As evidence that the information in those earlier statements is true.




                                                  332.

 Witr~esses were allowed to testify as experts and to give opinions. You must consider the
 opinions, but you are not required to accept them as true or correct. The meaning and importance
 ofany opinion are for you to decide. In evaluating the believability ofan expert witness, follow
 the instructions about-the believability of witnesses generally. In addition,consider the expert's
 knowledge,skill, experience, training, and education, the reasons the expert gave for any
 opinion, and the facts or information on which the expert relied in reaching.that opinion. You
 must decide whether information on which the expert relied was true and accurate. You may
 disregard any opinion that you find unbelievable, unreasonable, or unsupported by the evidence.

 An expert witness may be asked a hypothetical question. A hypothetical question asks the
 witness to assume certain facts are true and to give an.opinion based on the assumed facts. It is
 up to you to decide whether an asswned fact has been proved. If you conclude that an assumed
 fact is not true, consider the effect ofthe expert's reliance on that fact in evaluating the expert's
 opinion.




                                                 333.

Witnesses, who were not testifying as experts, gave their opinions during the trial. You may but
are not required to accept those opinions as true or correct. You may give the opinions whatever
weight you think appropriate. Consider the extent ofthe witness's opportunity to perceive the
matters on which his or her opinion is based,the reasons the witness gave for any opinion, and
the facts or information on which the witness relied in forming that opinion. You must decide
whether information on which the witness relied was true and accurate. You may disregard all or
any part ofan opinion that you find unbelievable, unreasonable, or unsupported by the evidence.




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                                               358.

 You have heard evidence that the defendant made an oral or written statement before the trial.
 You must decide whether the defendant made any such statement, in whole or in part. If you
 decide that the defendant made such a statement,consider the statement,along with all the other
 evidence, in reaching your verdict. It is up to you to decide how much importance to give to the
 statement.

 Consider with caution any statement made by the defendant tending to show his guilt uriless the
 statement was vrrritten or otherwise recorded.




                                               359.

 The defendant may not be convicted ofany crime based on his out-of-court statement alone. You
 may rely on the defendant's out-ofcourt statements to convict him only if you first conclude that
 other evidence shows that the charged crime or a lesser included o~'ense was committed.

 That other evidencc may be slight and need only be enough to support a reasonable inference
 that a crime was committed.

 This requirement of other evidence does not apply to proving the identity ofthe person who
 committed the crime and the degree ofthe crime. Ifother evidence shows that the charged crime
 or a lesser included offense was committed,the identity ofthe person who committed it and the
 degree of the crime may be proved by the defendant's statement alone.

 You may not convict the defendant unless the People have proved his guilt beyond a reasonable
 doubt.



                                              362.

Ifthe defendant made a false or misleading statement before this trial relating to the charged
crime,knowing the statement was false or intending to mislead, that conduct may show he was
aware of his guilt ofthe crime and you may consider it in determining his guilt.

If you conclude that the defendant made the statement, it is up to you to decide its meaning and
importance. However,evidence that the defendant made such a statement cannot prove guilt by
itself.
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 The People are not required to prove that the defendant had a motive to commit the crime
 charged. In reaching your verdict you may, however,consider whether the defendant had a
 motive.

 Having a motive may be a factor tending to show that the defendant is guilty. Not having a
 motive may be a factor tending to show the defendant is not guilty.




                                                 371.

 Ifthe defendant tried to hide evidence, that conduct may show that he was aware ofhis guilt. If
 you conclude that the defendant made such an attempt, it is up to you to decide its meaning and
 importance. However,evidence ofsuch an attempt cannot prove guilt by itself.




                                                372.

 Ifthe defendant fled immediately after the crime was committed, that conduct may show that he
 was aware of his guilt. If you conclude that the defendant fled, it is up to you to decide the
 meaning and importance ofthat conduct. However,evidence that the defendant fled cannot
 prove guilt by itself.




                                                500.

Homicide is the killing ofone human being.by another. Murder and manslaughter are types of
homicide. The defendant is charged with murder. Manslaughter is a lesser offense to murder.

 A homicide can be lawful or unlawful. Ifa person kills with a legally~valid excuse or
justification, the killing is lawful and he or she -has not committed a crime. Ifthere is no legally
valid excuse or justification, the killing is unlawful and,depending on the circumstances, the
person is guilty ofeither murder or manslaughter. You must decide whether the killing in this
case was unlawful and,if so, what specific crime was committed. I.will now instruct you in
more detail on what is a legally permissible excuse orjustification for homicide. I will also
instruct you on the different types of muc~der or manslaughter.




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                                                  sos.
  The defendant is not guilty of murder or manslaughter if he wasjustified in killing someone in
  self-defense. The defendant acted in lawful self-defense if:

          1.     The defendant reasonably believed that he was in imminent danger of being killed
                 or suffering great bodily injury.

         2.      'Che defendant reasonably believed that the immediate use ofdeadly force was
                 necessary to defend against that danger.

         ~~

         3.      The defendant used no more force than was reasonably necessary to defend
                 against that danger.

 Beliefin future harm is not sufficient, no matter how great or how likely the harm is believed to
 be. The defendant must have believed there was imminent danger of death or great bodily injury
 to himself. Defendant's belief must have been reasonable and he must have acted only because
 ofthat belief. The defendant is only entitled to use that amount offorce that a reasonable person
 would believe is necessary in the same situation. Ifthe defendant used more force than was
 reasonable,the killing was notjustified.

 When deciding whether the defendant's beliefs were reasonable, consider all the circumstances
 as they were known to and appeared to the defendant and consider what a reasonable person in a
 similar situation with similar knowledge would have believed. If the defendant's beliefs were
 reasonable,the danger does not need to have actuaEly existed.

 A defendant is not required to retreat. He or she is entitled to stand his or her ground and defend
 himselfor herselfand, ifreasonably necessary, to pursue an assailant until the danger ofdeath or
 great bodily injury has passed. This is so even ifsafety could have been achieved by retreating.

 Great bodily injury means significant or substantial physical injury. It is an injury that is greater
 than minor or moderate harm.

The People have the burden ofproving beyond a reasonable doubt that the killing was not
justified. Ifthe People have not met this burden, you must find the defendant not guilty of
murder or manslaughter.




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                                                 s~~.
 A killing that would otherwise be murder is reduced to voluntary manslaughter ifthe defendant
 killed a person because he acted in imperfcct self-defense.

 If you conclude the defendant acted in complete self-defense, his action was lawful and you must
 find him not guilty ofany crime. The difference between complete self-defense and imperfect
 self-defense depends on whether the defendant's belief in the need to use deadly force was
 reasonable.

 The defendant acted in imperfect self-defense if:

         1.    -The defendant actually believed that he was in imminent danger of being killed or
               suffering great bodily injury;

        AND

        2.      The defendant actually believed that the immediate use of deadly force was
                necessary to defend against the danger;

        BUT

        3.      At least one ofthose beliefs was unreasonable.

 Beliefin future harm is not sufficient, no matter how great or how likely the harm is believed to
 be.

 In evaluating the defendant's beliefs, consider all the circumstances as they were known and
 appeared to the defendant.

A danger is imminent if, when the fatal wound occurred, the danger actually existed or the
defendant believed it existed. The danger must seem immediate and present, so that it must be
instantly dealt with. It may not be merely prospective or in the near future.

Great bodily injury means significant or substantial physical injury. It is an injury that is greater
than minor or moderate harm.

The Peopie have the burden of proving beyond a reasonable doubt that the defendant was not
acting in imperfect self-defense. If the People have not met this burden, you must find the
defendant not guilty of murder.
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                                                520.

 The defendant is charged with murder.

 To prove that the defendant is guilty ofthis crime, the People must prove that:

        1.      The defendant committed an act that caused the death of another person;

        2.      When the defendant acted, he had a state of mind called malice aforethought;

        O
        3.      ~e killed without lawfuljustification.

 There are two kinds of malice aforethought,express malice and implied malice. Proofofeither is
 sufficient to establish the state of mind required for murder.

 The defendant acted with express molice if he unlawfully intended to kill.

 1'he defendant acted with implied malice if:

        1.      He intentionally committed an act;

        2.     The natural and probable consequences of the act were dangerous to human life;

        3.     At the time he acted, he knew his act was dangerous to human life;

       O

        4.     He deliberately acted with conscious disregard for human life.

Malice aforethought does not require hatred or ill will toward the victim. It is a mental state that
must be formed before the act that causes death is cornrnitted. It does not require deliberation or
the passage ofany particular period oftime..                   ,

If you decide that the defendant committed murder, it is murder ofthe second degree, unless the
People have proved beyond a reasonable doubt that it is murder ofthe first degree as defined in
Instruction No. 521.



                                                521.

The defendant is guilty offirst degree murder ifthe People have proved that he acted willfully,
deliberately, and with premeditation. The defendant acted.willfully if he intended to kill. The
defendertt acted deliberately if he carefully weighed the considerations for and against his choice
and, knowing the consequences, decided to kill. The defendant acted with premeditation if he
decided to kill before completing the act that caused death.
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 The length of time the person spends considering whether to kill does not alone determine
 whether the killing is deliberate and premeditated. The amount oftime required for deliberation
 and premeditation may vary from person to person and according to the circumstances. A
 decision to kill made rashly, impulsively, or without careful consideration is not deliberate and
 premeditated. On the other hand, a cold, calculated decision to kill can be reached quickly. The
 testis the extent ofthe reflection,.not the length of time.

 The People have the burden of proving beyond a reasonable doubt that the killing was first
 degree murder rather than a lesser crime. Ifthe People have not met this.burden, but you decide
 that the defendant committed murder, it is second degree murder.




                                                522.

 Provocation may reduce a murder from first degree to second degree and may reduce a mwder to
 manslaughter. The weight and significance ofthe provocation, ifany,are for you to decide.

 If you conclude that the defendant committed murder but was provoked, consider the
 provocation in deciding whether the crime was first or second degree murder. Also,consider the
 provocation in deciding whether the defendant committed murder or manslaughter.




                                                6ao.
 You will be given verdict forms for guilty and not guilty offirst degree murder and second degree
 murder.

 You may consider these different kinds of homicide in whatever order you wish, but I can accept
 a verdict ofguilty or not guilty ofseconddegree murder only ifall ofyou have found the defendant
 not guilty offirst degree murder.

 To return a verdict of guilty or not guilty on a count, you must all agree on that decision.

 Follow these directions before you give me any completed and'signed final verdict form. Return
 the unused verdict form to me,unsigned.

1.If all of you agree that the People have proved beyond a reasonable doubt that the defendant is
guilty of first degree murder, complete and sign that verdict form. Do not complete or sign any
other verdict forms.

2.Ifall of you cannot agree whether the defendant is guilty offirst degree murder,inform me that
you cannot reach an agreement and do not complete or sign any verdict forms.
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 3. If all of you agree that the defend2~nt is not guilty of first degree murder but also agree that the
 defendant is guilty of second degree murder, complete and sign the form for not guilty of first
 degee murder and the form for guilty ofsecond degree murder. Do not complete or sign any other
 verdict forms.

  4.Ifall ofyou agree that the defendant is not guilty offirst degree murder but cannot agree whether
  the defendant is guilty ofsecond degree murder,complete and sign the form for not guilty offirst
 -deg~ee~~der-and-i~o~m-me-tba~-you~annot--ceach~u~ther_agceement~Da-aot-complete-o~sign-- - --- — - —
  any other verdict forms.

 5.Ifalt of you agree that the defendant is not guilty offirst degree murder and not guilty ofsecond
 degree murder, but also agree that the defendant is guilty ofvoluntary manslaughter,complete and
 sign the forms for not guilty offirst degree murder and not guilty ofsecond degree murder and the
 form for guilty ofvoluntary manslaughter. Do not complete or sign any other verdict forms.

 6.If all of you agree that the defendant is not guilty offirst degree murder and not guilty ofsecond
 degree murder, but cannot agree whether the defendant is guilty of voluntary manslaughter,
 complete and sign the forms for not guilty of first degree murder and not guilty ofsecond degree
 murder and inform me that you cannot reach further agreement. Do not complete or sign any other
 verdict forms.

 7. If all of you agree that the defendant is not guilty of first degree murder, not guilty of second
 degree murder, and not guilty of voluntary manslaughter,complete and sign the verdict forms for
 not guilty ofeach crime. Do not complete or sign any other verdict forms.



                                                3145.

 If you find the defendant guilty ofthe crime charged in Count 1, or the lesser crime ofvoluntary
 manslaughter, you must then decide whether the People have proved the additional allegation
 that the defendant personally used a deadly weapon in the commission ofthat crime.

 A deodly weapon is any object, instrument, or weapon that is inherently deadly or one that is
 used in such a way that it is capable ofcausing and likely to cause death or great bodily injury.

 In deciding whether an object is a deadly weapon,consider all the surrounding circumstances,
 including when and where the object was possessed and any other evidence.that indicates
 whether the object would be used for a dangerous, rather than a harmless, purpose.

Great bodily injury means significant or substantial physical injury. It is an injury that is greater
than minor or moderate harm.

Someone personally uses a deadly.weapon if be intentionally does any ofthe following:

        1.     Displays the weapon in a menacing manner;

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        OR

        2.      Hits someone with the weapon.

 The People have the burden of proving each allegation beyond a reasonable doubt. If the People
 have not met this burden, you must find that the allegation has not been proved.




                                               3550.

 When you go to the jury room,the first think you should do is choose a foreperson. The
 foreperson should see to it that your discussions are carried on in an organized way and that
 everyone has a fair chance to be heard.

 It is your duty to talk with one another and to deliberate in the jury room. You should try to
 agree on a verdict if you can. Each of you must decide the case for yourself, but only after you
 have discussed the evidence with the other jurors. Do not hesitate to change your mind if you
 become convinced that you are wrong. But do not change your mind just because otherjurors
 disagree with you.

 Keep an open rriind and openly exchange your thoughts and ideas about this case. Stating your
 opinions too strongly at the beginning or immediately announcing how you plan to vote may
 interfere with an open discussion. Please treat one another courteously. Your role is to be an
 unpartialjudge ofthe facts, not to act as an advocate for one side or the other.

 As I told you at the beginning ofthe trial, do not talk about the case or about any ofthe people or
 any subject involved in it with anyone,including, but not limited to, your spouse or other family,
 or friends, spiritual leaders or advisors, or therapists. You must discuss the case only in thejury
 room and only when alljurors are present. Do not discuss your deliberations with anyone. Do
 not communicate using: Facebook,Instagram,Twitter or any other social media during your
 deliberations.

It is very important that you not use the Internet in any way in connection with this case during
your deliberations.

During the trial, several items were received into evidence as exhibits. You may examine
whatever exhibits you think will help you in your deliberations. These exhibits will be sent into
thejury room with you when you begin to deliberate.

If you need to communicate with me while you are deliberating, send a note through the bailiff,
signed by the foreperson or by one or more members ofthe jury. To have a complete record of
this trial, it is important that you not communicate with me except_ by a written note. If you have
questions, I will tallc with the attorneys before I answer so it may take some time. You should
continue your deliberations while you wait.for my answer. I will answer any questions in
writing or orally here in open court.
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                 Do not reveal to me or anyone else how the vote stands on the question of guilt unless I ask you
                 to do so.

                 Your verdict on each count and any special findings must be unanimous. This means that, to
                 return a verdict, all of you must agree to it. Do not reach a decision by the flip ofa coin or by
                 any similar act.

                 It is not my role to tell you what yow verdict should be. Do not take anything I said or did during
                 the trial as an indication of what I think about the facts, the witnesses, or what your verdict
                 should be.

                 You must reach your verdict without any consideration of punishment.

                 You will be given verdict forms. As soon as all jurors have agreed on a verdict, the foreperson
                 must date and sign the appropriate verdict forms and notify the bailiff. Return any unsigned
                 verdict form.




                                                                3577.

                 To the alternatejuror: The jury will soon begin deliberating, but you are still an alternate jwor
                 and are bound by my earlier instructions about yow conduct.

                Do not talk about the case or about any ofthe people or any subject involved in it with anyone,
                not even your family or friends. Do not have any contact with the deliberatingjurors. Do not
                decide how you would vote if you were deliberating. Do not form or express an opinion about
                the issues in this case, unless you are substituted for one ofthe deliberating jurors.




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             versio o the instructions in your de iberations.

             You must decide what the facts are. It is up to all of you, and you alone, to decide what
             happened, based only on the evidence that has been presented to you in this trial.

             Do not let bias, sympathy, prejudice, or public opinion influence your decision. Bias includes,
             but is not limited to, bias for or against the witnesses, attorneys, defendant or alleged victim,
             based on disability, gender, nationality, national origin, race or ethnicity, religion, gender
             identity, sexual orientation, age, or socioeconomic status.

             You must follow the law as I explain it to you, even if you disagree with it. If you believe that
             the attorneys' comments on the law conflict with my instructions, you must follow my
             instructions.

            Pay careful attention to all of these instructions and consider them together. If I repeat any
            instruction or idea, do not conclude that it is more important than any other instruction or idea
            just because I repeated it.

             Some words or phrases used during this trial have legal meanings that are different from their
             meanings in everyday use. These words and phrases will be specifically defined in these
             instructions. Please be sure to listen carefully and follow the definitions that I give you. Words
             and phrases not specifically defined in these instructions are to be applied using them ordinary,
             everyday meanings.

             Some of these instructions may not apply, depending on your findings about the facts of the case.
             Do not assume just because I give a particular instruction that I am suggesting anything about the
             facts. After you have decided what the facts are, follow the instructions that do apply to the facts
             as you find them.




                                                                  201.

             Do not use the Internet or a dictionary in any way in connection with this case, either on your
             own or as a group. Do not investigate the facts or the law or do any research regarding this case,
             either on your own,or as a group. Do not conduct any tests or experiments, or visit the scene of
             any event involved in this case. If you happen ~to pass by the scene, do not stop or investigate.




                                                                    1
'~1~;~~ `~~ a        of ~'h~'~c ~~ nst~~~s ~ ~r,a~._b~ rr,~: `~~ ~a~.C~c~ 'gyro c~ _ . ~___~___
a~,~.b        _ . u~►v t`~a~   ~s :6 c~►4,a~,~~h~~~~ ~~~, no o  bu-a~.~d, o~~ _ 3~s , 36~. a.
 ~~1,`1,.   bccah=       cx~t . ~ ~4a►rcr ~S ~tinforn.~
                                                    ....w ,w. „~~
                                                               _.,~,_ . '~~a~          orr:~bbwns
                                                                          __.____~ .~~__._._~_._.~..   _?yam, '(1~~r           :J~
                                                                                                                 ~~ _ .._._.__
                                                                                                                           ~_    __ _.:._ _ a__ - -_ ....
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                                                 202.                                 ~                      ~~ ~.
             ei
  You h~~         given notebooks and may have taken notes during the trial. You may use your
  notes during deliberations. Your notes are for your own individual use to help you
                                                                                     remember
  what happened during the trial. Please keep in mind that your notes maybe inaccur
                                                                                     ate or
  incomplete.

 If there is a disagreement about the testimony at trial, you may ask that the court
                                                                                     reporter's
 record be read to you. It is the record that must guide your deliberations, not your
                                                                                      notes. You
 must accept the court reporter's record as accurate.

 Please do not remove your notes from the jury room.

 At the end of the trial, your notes will be collected and destroyed.




                                                207.

 It is alleged that the crime occurred on December 31,215. The People are not require
                                                                                         d to prove
 that the crime took place exactly on that day but only that it happened reasonably close
                                                                                          to that
 day.




                                                E~~Ia

The fact that a criminal charge has been filed against the defendant is not evidence
                                                                                     that the
charge is true. You must not be biased against the defendant just because he has been
                                                                                        arrested,
charged .with a crime, or brought to trial.

A defendant in a criminal case is presumed to be innocent. This presumption require
                                                                                     s that the
People prove~a defendant guilty beyond a reasonable doubt'. Whenever I tell yot~
                                                                                 the People must
prove something, I mean they mustprove it beyond a reasonable doubt.

Proof beyond a reasonable doubt is proof that leaves you with an abiding conviction
                                                                                    that the
charge is true. The evidence need not.eliminate all possible.doubt because everything
                                                                                      in life is
open to some possible or imaginary doubt.

In deciding whether the People have proved their case beyond a reasonable doubt,
                                                                                   you must
impartially compare and consider all the evidence -that was received throughout the
                                                                                    entire trial.
Unless the evidence proves the defendant guilty beyond a reasonable doubt, he is
                                                                                  entitled to an
acquittal and you must find him not guilty.
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                                                  222.

 "Evidence" is the sworn testimony of witnesses, the exhibits admitted into evidence,
                                                                                      and
 anything else I told you to consider as evidence.

  Nothing that the attorneys say is evidence. In their opening statements and closing
                                                                                      arguments,
 the attorneys discuss the case, but their remarks are not evidence. Their questions
                                                                                     are not
 evidence. Only the witnesses' answers are evidence. The attorneys' questions are
                                                                                    significant only
 if they helped you to understand the witnesses' answers. Do not assume that someth
                                                                                      ing is true
 just because one of the attorneys asked a question that suggested it was true.

 During the trial, the attorneys may have objected to questions or moved to strike answer
                                                                                             s given
 by the witnesses. I ruled on the objections according to the law. If I sustained an objecti
                                                                                             on, you
 must ignore the question. If the witness was not permitted to answer, do not guess
                                                                                       what the
 answer might have been or why I ruled as I did. If I ordered testimony stricken from
                                                                                         the record
 you must disregard it and must not consider that testimony for any purpose.

 You must disregard anything you saw or heard when the court was not in session, even
                                                                                      if it was
 done or said by one of the parties or witnesses.

 During the trial, you were told that the People and the defense agreed, or stipulated,
                                                                                        to certain
 facts. This means that they both accept those facts as true. Because there is no dispute
                                                                                          about
 those facts you must also accept them as true.

 The court reporter has made a record of everything that was said during the trial. If
                                                                                       you decide
 that it is necessary, you may ask that the court reporter's record be read to you. You
                                                                                        must accept
 the court reporter's record as accurate.




                                                223.

Facts maybe proved by direct or circumstantial evidence or by a combination of
                                                                                      both. Direct
 evzdence .can prove a fact by itself. For example,if a witness testifies he saw it raining
                                                                                            outside
before he came into the courthouse, that testimony is direct evidence that it was raining
                                                                                            .
Circumstantial evidence also maybe called indirect evidence. Circumstantial eviden
                                                                                         ce does not
directly prove the fact to be decided, but is evidence of another fact or group of facts
                                                                                          from _which
you may logically and reasonably conclude the truth of the fact in question. For exampl
                                                                                             e, if a
witness testifies that he saw someone come inside wearing a raincoat covered with
                                                                                        drops of
water, that testimony is circumstantial evidence because it may support a conclusion
                                                                                          that it was
raining outside.

Both direct and circumstantial evidence are acceptable types of evidence to prove or
                                                                                         disprove the
elements of a charge, including intent and mental state and acts necessary to a convict
                                                                                          ion, and
neither is necessarily more reliable than the other. Neither is entitled to any greater
                                                                                        weight than
the other. You must decide whether a fact in issue has been proved based on all the
                                                                                        evidence.
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                                                224.

 Before you may rely on circumstantial evidence to conclude that
                                                                   a fact necessary to find the
 defendant guilty has been proved, you must be convinced that the Peopl
                                                                        e have proved each fact
 essential to that conclusion beyond a reasonable doubt.

 Also, before you may rely on circumstantial evidence to find the defen
                                                                          dant guilty, you must be
 convinced that the only reasonable conclusion supported by the circum
                                                                       stantial evidence is that the
 defendant is guilty. If you can draw two or more reasonable conclu
                                                                     sions from the circumstantial
 evidence, and one of those reasonable conclusions points to innocence
                                                                          and another to guilt, you
 must accept the one that points to innocence. However, when consid
                                                                    ering circumstantial evidence,
 you must accept only reasonable conclusions and reject any that are unreas
                                                                            onable.




                                               226.

you alone, mustjudge the credibility or believability of the witnesses.
                                                                        In deciding whether
testimony is true and accurate, use your common sense and experience.
                                                                         You mustjudge the
testimony of each witness by the same standards, setting aside any bias
                                                                         or prejudice you may
have. You may believe a11, part, or none of any witness's testimony. Consi
                                                                            der the testimony of
each witness and decide how much of it you believe.

In evaluating a witness's testimony, you may consider anything that reaso
                                                                          nably tends to prove or
disprove the truth or accuracy of that testimony. Among the factors that
                                                                         you may consider axe:

      • How well could the witness see, hear, or otherwise perceive the
                                                                        things about which
        the witness testified?

      • How well was the witness able to remember and describe what happe
                                                                          ned?
      • What was the witness's behavior while testifying?

      • Did the witness understand the questions and.answer them direct
                                                                        ly?
      • Was the witness's testimony influenced by a factor such as bias
                                                                        or prejudice, a
        personal relationship with someone involved in the case, or a person
                                                                             al interest in how
        the case is decided?

      • What was the witness's attitude about the case or about testifying?



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         • Did the witness make a statement in the past that is consistent or inconsistent with his
           or her testimony?

         • How reasonable is the testimony when you consider all the other evidence in the
           case?

        • Did other evidence prove or disprove any fact about which the witness testified?

        • Did the witness admit to being untruthful?

        • Has the witness been convicted of a felony?

        • Has the witness engaged in other conduct that reflects on his or her believability?

 Do not automatically reject testimony just because of inconsistencies or conflicts. Consider
 whether the differences are important or not. People sometimes honestly forget things or make
 mistakes about what they remember. Also, two people may witness the same event yet see or
 hear it differently.

 If you do not believe a witness's testimony that he or she no longer remembers something, that
 testimony is inconsistent with the witness's earlier statement on that subject.

If you decide that a witness deliberately lied about something significant in this case, you should
consider not believing anything that witness says. Or,if you think the witness lied about some
things, but told the truth about others, you may simply accept the part that you think is true and
ignore the rest.




                                               252.


The crime and other a1le~ation charged in Count 1 require proof of the union, or joint operation,
of act and wrongful intent:

The following crime requires general criminal intent: Personal~use of a deadly weapon,the
enhancement charged as to Count 1. For you to find the allegation to be true, a person must not
only commit the prohibited act, but must do so with wrongful intent. A person acts with
wrongful intent when he intentionally does a prohibited act; however, it is not required that he
intend to break the law. The act required is explained in the instruction for that crime.

The following crime requires a specific intent or mental state: Murder, as charged in Count 1.
For you to find a person guilty of that crime, that person must not only intentionally commit the
prohibited_,act, but must do so with a specific intent or mental state. The act and the specific
intent or mental state required are explained in the instruction~for that crime or allegation.

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                                                  300.
  Neither side is required to call all witnesses who may have information
                                                                          about the case or to
  produce all physical evidence that might be relevant.




                                                 301.
  The testimony of only one witness can prove any fact. Before you concl
                                                                           ude that the testimony of
  one witness proves a fact, you should carefully review all the evidence.




                                                 302.
  If you determine there is a conflict in the evidence, you must decide what
                                                                             evidence, if any, to
  believe. Do not simply count the number of witnesses who agree or disagr
                                                                             ee on a point and
 accept the testimony of the greater number of witnesses. On the other
                                                                         hand, do not disregard the
 testimony of any witness without a reason or because of prejudice or a
                                                                          desire to favor one side or
 the other. What is important is whether the testimony or any other evide
                                                                           nce convinces you, not
 just the number of witnesses who testify about a certain point.



                                                315.

        have heard eyewitnEss testimony identifying the defendant. As with any
                                                                               other witness, you
 must      'de .whether an eyewitness gave truthful and accurate testimony:

In evaluating iden' cation testimony, consider the following questi
                                                                      ons:
• Did the witness know or ha      ontact with the defendant be      t e event?
• How well could the witness see the peril     tor?
• What were the circumstances affec' the witness's a ''t to observ
                                                                   e, such as lighting, weather
conditions, obstructions, distan ,and.duration of observation.

• How closely was tie witness paying attention?


                                                 G
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 • Was the witness under stress     en he or she    a e the observation?

 • Did the witne   giv a description an how does          at description compare to the defendant?          --
 • How much ti e passe between the event an the ~tim when the                    ess identified the defendant?

 • Was the wit ess asked t pick the perpetrator out':        gro p?
                                                                  ..
 • Did the wit ess ever fail   identify the d   ndant?                 ~~,~ ,,
                                                     ,~
  Did the wi~'ness ever Chan his o er mind about the identifi ion? ~
            t
• How certain was the witne when he or she made~an identification?
                                                     1
• Are the fitness and t e defen nt of different races`

• Was the itnes able to identify e defendant in a p otographic or physical line ?
                                                                                                                 -
• Were      re any other circumst       es affecting th       witness's ability to make an ccurate
identific ion?

The Peo le have the burden of proving be nd a rea nable doubt that it was the defendant who
commit ed the crime. If the People have not      is burden, you must find the defendant not
guilty.




                                                316.

If you find that a witness has been convicted of a felony, you may consider that fact only in
evaluating the credibility of the witness's testimony. The fact of a conviction does not necessarily
destroy or impair a witness's credibility. It is up to you to decide the weight of that fact and
whether that fact makes the witness less believable.




                                                318.

You have heard evidence of statements that a witness madebefore the trial. If you decide-that the
witness made those statements, you may use those statements in two ways:

       1.     To evaluate whether the witness's testimony in court is believable;

       AND

       2.     As evidence that the information in those earlier statements is true.

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                                                   332.

 Witnesses were allowed to testify as experts and to give opinions. You must consider the
 opinions, but you are not required to accept them as true or correct. The meaning and importan
                                                                                                    ce
 of any opinion are for you to decide. In evaluating the believability of an expert witness, follow
 the instructions about the believability of witnesses generally. In addition, consider the expert's
 knowledge, skill, experience, training, and education, the reasons the expert gave for any
 opinion, and the facts or information on which the expert relied in reaching that opinion. You
 must decide whether information on which the expert relied was true and accurate. You may
 disregard any opinion that you find unbelievable, unreasonable, or unsupported by the evidence
                                                                                                     .
 An expert witness may be asked a hypothetical question. A hypothetical question asks the
 witness to assume certain facts are true and to give an opinion based on the assumed facts. It
                                                                                                     is
 up to you to decide whether an assumed fact has been proved. If you conclude that an assumed
 fact is not true, consider the effect of the expert's reliance on that fact in evaluating the expert's
 opinion.




                                                  333.

Witnesses, who were not testifying as experts, gave their opinions during the trial. You may
                                                                                             but
are not required to accept those opinions as true or correct. You may give the opinions whateve
                                                                                                r
weight you think appropriate. Consider the extent of the witness's opportunity to perceive the
matters on which his or her opinion is based, the reasons the witness gave for any opinion, and
the facts or information on which the witness relied in forming that opinion. You must decide
whether information on which the witness relied -was true and accurate. you may disregard all
                                                                                                or
any part of an opinion that you find unbelievable, unreasonable, or unsupported by the evidence
                                                                                                 .



                                                 358.

You have heard evidence that the defendant made an oral or written statement before the trial.
You must decide whether the defendant made any such statement, in whole or in part. If.you
decide that.the defendant made such a statement, consider the statement, along with all the~othe
                                                                                                 r
evidence, in reaching your verdict. It is up to you to decide how much importance to give to
                                                                                             the
statement.

Consider with caution any statement made by the defendant tending to show his guilt unless
                                                                                           the
statement was written or otherwise recorded.




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                                                359.

 The defendant may not be convicted of any crime based on his out-of-court statement alone. You
 may rely on the defendant's out-of-court statements to convict him only if you first conclude that
 other evidence shows that the charged crime or a lesser included offense was committed.

 That other evidence may be slight and need only be enough to support a reasonable inference
 that a crime was committed.

 This requirement of other evidence does not apply to proving the identity of the person who.
 committed the crime and the degree of the crime. If other evidence shows that the charged crime
 or a lesser included offense was committed, the identity of the person who committed it and the
 degree of the crime may be proved by the defendant's statement alone.

 You may not convict the defendant unless the People have proved his guilt beyond a reasonable
 doubt.




                                               361.

If the defend t fail din his testimon~f to expl ' or deny evidence agai t him, an if he could
reasonably e expect d to have done o based on hat he knew, you m y consider hi failure to
explain or eny in ev ating that evi ence. Any su failure is not en gh by itself to rove
guilt. Th People musts 'll prove the defendant guilty yond a reaso ble doubt.

If the d endant failed to ex ain or eny, it is up to you to d 'de the eaning and import       e of
that fai re.



                                               362.

If the defendant. made a false or misleading statement before this trial relating to the charged
crime, knowing the statement was false or intending to mislead, that conduct may show he was
aware of his guilt of the crime and you may consider it in deternuning his guilt.

If you conclude that the defendant made the statement, it is up to you to decide its meaning and
importance. However,evidence that the defendant made such a statement cannot prove guilt by
itself.




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                                                 370.

 The People are not required to prove that the defendant had a motive to commit the crime
 charged. In reaching your verdict you may, however, consider whether the defendant had a
 motive.

 Having a motive may be a factor tending to show that the defendant is guilty. Not having a
 motive may be a factor tending to show the defendant is not guilty.




                                                371.

 If the defendant tried to hide.evidence, that conduct may show that he was aware of his guilt. If
 you conclude that the defendant made such an attempt, it is up to you to decide its meaning and
 importance. However,evidence of such an attempt cannot prove guilt by itself.




                                                372.

If the defendant fled immediately after the crime was committed, that conduct may show that he
was aware of his guilt. If you conclude that the defendant fled, it is up to you to decide the
meaning and importance of that conduct. However,evidence that the defendant fled cannot
prove guilt by itself.




                                               500.

Homicide is the l~illin . of one human bein b another, Murder_and_manslaughter are t~p~~;
homicide. The defendant is charged with murder. Mans1~aughter is a lesser offense to murder_._.

 A homicide can be lawful or unlawful.. ~f .~ersos.l~lls with ~ ~.e,~al~ v i excuse or
justification the~lling
                  lci    is_lawful and he or she has not committed_a crime. If there is no legally
valid excuse or justification, the killing is unlawful and, depending on the circumstances,.the
person is guilty ofeither murder or manslaughter. You must decide whether the killing in this
case was unlawful. and,if so, what specific crime was committed. I will now instruct you in
more detail on what is a legally permissible excuse or justification for homicide. I will also
instruct you on the different types of murder or manslaughter.




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                                                    505.

~   The defendant is not guilty of murder or manslaughter if he was justified in killing someone in
    self-defense. The defendant acted in lawful self-defense if:

            1.     The defendant reasonably believed that he was in imminent danger of being killed
                   or suffering great bodily injury.

           2.      The defendant reasonably believed that the immediate use of deadly force was
                   necessary to defend against that danger.

            AND

            3.     The defendant used no more force than was reasonably necessary to defend
                   against that danger.

    Belief in future harm is not sufficient, no matter how great or how likely the harm is believed to
    be. he d endant must have believed there was .imminent dan er of death or seat bodily inju
    to himself. Defendant's belief must have been reasonable and he must have- acted onl because
    of that belief. The defendant is only entitled to use that amount of force that a reasonable person
    would believe is necessary in the same situation. If the defendant used more force than was
    reasonable, the killing was not justified.

    When deciding whether the defendant's beliefs were reasonable, consider all the circumstances
    as they were known to and appeared to the defendant and consider what a reasonable person in a
    similar situation with similar knowledge would have believed. If the defendant's beliefs were
    reasonable, the danger does not need to have actually existed.

    A defendant is not re uired o r ea He or she is entitled to stand his or her round and defend
    himself or herself and, if reasonably necessar to ursue an assailant until the dan er of death or
    great bodily iniury has passed..a This is so even if safety could have been achieved by retreating..

    Great bodily injury means significant or substantial physical injury. It is an injury that is greater
    than minor or moderate harm.

    The Peo le -have the burden of rovin be and a reasonable doubt that the killin was not
~   justfed.a.,,If the~Peop~e ha.v~~.~ot met _this burden you must find .the defendant not guilt~of
    murder or mansla_u_ ter.




                                                      11
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                                                  347

The owner of personal                   use                    to~otect that property from imminent
harm.

Reasonable        means the amount off                a    sonable person in the same situation
would believe is nec      to protect the                  o imminent harm.

When deciding whether the defen       u          cable forc ,consider all the circumstances as
they were known to and appeared tot      e     ant and conside what a reasonable person in a
similar situation with similar knowle ge  ould  ha     lieved. If t defendant's beliefs were
reasonable, the danger does not nee to ave actually existe .

The People have the burden of pr v~{ig beyond a reasonable doubt that the defendant used more
force than was reasonable to pr ect property from imminent harm. If the People have not met
this burden, you must find the efendant not guilty of murder or manslaughter.




                                                  520.

The defendant is charged with murder.

To prove that the defendant is guilty of this crime, the People must prove that:

       1.      The defendant committed an act that caused the death of another person;

       2.      When the defendant acted, he had a state of mind called malice aforethought;

       AND

       3. ~    He killed without lawful justification.

There are two kinds of malice aforethought, express malice and implied malice:.Proof of either is
sufficient to establish the state of mind required for murder.

The defen nt acte with ex ress malice if he unlawfull intended to kill.

The defendant acted with implied malice if:                                                                   ~`
                                                                                                        ~~
       1.      He intentionally committed an act;

       2.      The natural and probable consequences
                                          ~.,~.                               - - to human
                                                            ~...,~.... -----dangerous
                                                     of the act_were                              life;
                                                                                      -~----~._,..~~,..6.._

       3.      At the time he acted, he knew his act was dangerous to human life;
                                                    12
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         AND

         4.      He deliberately acted with conscious disregard for human life.

 Malice aforethought does not require hatred or ill will toward the victim. It is a mental state that
 must be formed before the act that causes death is committed._ It does not require deliberation or
 the passage of any particular period of time.

 If .you decide that the defendant committed murder, it is murder of the second degree, unless the
 People have proved beyond a reasonable doubt that it is murder of the first degree as defined in
              No. 521.
 ~ ~1,5~~ ~~`^




                                                521.

The defendant is ~uilty of first degree murder if the Peo le have roved that he acted willfull
deliberately, and with_ remeditation. The defendant acted will ll . if he intended to 'll. The
defendant acted deliberately if he carefully weighed the considerations for and against his choice
and, knowing the consequences, decided to kill. The defendant acted with premeditation if he
decided to kill before completing the act that caused death.

The length of time the person spends considering whether to kill does not alone deternune
whether the killing is deliberate and premeditated. The amount of time required for deliberation
and premeditation may vary from person to person and according to the circumstances. A
decision to kill made rashly, impulsively, or without careful consideration is not deliberate and
premeditated. On the other hand, a cold, calculated decision to kill can be reached quickly. The
test is the extent of the reflection, not the length of time.

The People have the burden of proving beyond a reasonable doubt that the killing was first   b~~~~" ~e~`"~~
degree murder rather than a lesser crime. If the People have not met this burden you must find~~,~~~~~,~
                                                     he murder is second degree murder.




                                                522.

Provocation may reduce a murder from first degree to second degree and may reduce a murder to
manslaughter. The weight and significance of the provocation, if any, are for you to decide.

If you conclude that the defendant committed murder but was provoked, consider the
provocation in deciding whether the crime was first or second degree murder. Also, consider the
provocation in deciding whether the defendant committed murder or manslaughter.


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                                                                                         ~    Uti      ~

                                                  570.                                ~`            w`'             ✓1L
     A killin that would otherwise be murder is reduced to volunt manslau hter if the def                  ~S~ i6
~    killed someone because of a sudden uarrel or in the heat of assion.

     The defendant killed someone because of sudden quarre or in the heat of passion if: <i~ u ~ 6.~~~~ ~ o~

             1.     The defendant was provoked;          ~~'~ 5c =-- +N ~ ~L '^' r   o

            2.      As a result of the provocation, the defendant acted rashly and under the influence
                    of intense emotion that obscured his reasoning or judgment;

             • r

            3.      The provocation would have caused a person of average disposition to act rashly
                    and without due deliberation, that is, from passion rather than from judgment.

     Heat of passion does not require anger, rage, or any specific emotion. It can be any violent or
     intense emotion that causes a person to act without due deliberation and.reflection.

     In order for heat of passion to reduce a murder to voluntary manslaughter, the defendant must
     have acted under the direct and immediate influence of provocation as I have defined it. While
     no specific type of provocation is required, slight or remote provocation is not sufficient.
     Sufficient provocation may occur over a short or long period of time.

    It is not enough that the defendant simply was provoked. The defendant is not allowed to set up
    his own standard of conduct. In deciding whether the provocation was sufficient, consider
    whether a person of average disposition, in the same situation and knowing the same facts,
    would have reacted from passion rather than from judgment.

    The People have the burden of proving beyond a reasonable doubt that the defendant did not kill
    as the result of a sudden quarrel or in the heat of passion. If the People have not met this burden,
    you- must find the defendant not guilty of murder.                            .




                                                   571.

~     killin that would otherwise be murder is reduced to voluntar manslau titer if the defend t
    killed a person because he act ,d'    _ ct_s _ -_ _ ense.

    If you conclude the defendant acted in complete self-defense, his action was lawful and you must
    find him not guilty of any crime. The difference between complete self-defense and imperfect
    self-defense depends on whether the defendant's belief in the need to use deadly force was
    reasonable.

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    '~
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                                                                             7T.~     ~...f~   ~~)o SST ~ n~~c~ t



          The defendant acted in imPerfect self-defense if.                                    ~~~       co~vcr~`~
                                                                                                     ~
                  1.     The defendant actually believed that he was in imminent danger of being killed or
                         suffering great bodily injury;

                  AND

                 2.      The defendant actually believed that the immediate use of deadly force was
                         necessary to defend against the danger;



                 3.      At least one of those beliefs was unreasonable.

         Belief in future harm is not sufficient, no matter how great or how likely the harm is believed
                                                                                                         to
         be.

         In evaluating the defendant's beliefs, consider all the circumstances as they were known
                                                                                                  and
         appeared.to the defendant.

         A danger is imminent if when the fatal wound occurred the_ danger actually_ existed or the
~        defendant believed it existed._The danger must seem immediate and resent so that it must
                                                                                                    be
          nst~ ~__., de_ t vith t may not be merely prospective or in the near future.

         Great bodily injury means significant or substantial physical injury. It is an injury that is greater
         than minor or moderate harm.

     The People have the burden of proving beyond a reasonable doubt that the defendant was
                                                                                                not
     acting in imperfect self-defense. If the People have not met this burden, you must find the
     defendant not guilty of murder.




                                                         640.

     You will be given verdict forms for guilty and. not guilty of first degree murder and second
                                                                                                  degree
     murder.

    You may consider these different kinds of homicide in whatever order you wish, but I can
                                                                                                  accept
    a verdict of guilty or not guilty ofsecond degree murder only if all of you have found the defenda
                                                                                                       nt
    not guilty of first degree murder.

     To return a verdict of guilty or not guilty on a count, you must all agree on that decision.

    Follow these directions before you give me any completed and signed final verdict form.
                                                                                            Return
    the unused verdict form to me, unsigned.

    1. If all of you agree that the People have proved beyond a reasonable doubt that the defenda
                                                                                                 nt is
                                                         15
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                                              ID #:514


  guilty of _first degree murder, complete and sign that verdict form. Do not complete or sign any
  other verdict forms.

  2. If all of you cannot agree whether the defendant is guilty of first degree murder,inform me that
  you cannot reach an agreement and do not complete or sign any verdict forms.

 3. If all of you agree that the defendant is not guilty of first degree murder but also agree that the
 defendant is guilty of second degree murder, complete and sign the form for not guilty of first
 degree murder and the form for guilty ofsecond degree murder. Do not complete or sign any other
 verdict forms.

 4. If all of you agree that the defendant is not guilty offirst degree murder but cannot agree whether
 the defendant is guilty of second degree murder, complete and sign the form for not guilty of first
 degree murder and inform me that you cannot reach .further agreement. Do not complete or sign
 any other verdict forms.

 5.If all of you agree that the defendant is not guilty of first degree murder and not guilty of second
 degree murder,but also agree that the defendant is guilty of voluntary manslaughter,complete and
 sign the forms for not guilty of first degree murder and not guilty of second degree murder and the
 form for guilty of voluntary manslaughter. Do not complete or sign any other verdict forms.

6. If all of you agree that the defendant is not guilty of first degree murder and not guilty ofsecond
degree murder, but cannot agree whether the defendant is guilty of voluntary manslaughter,
complete and sign the forms for not guilty of first degree murder and not guilty of second degree
murder and inform me that you cannot reach further agreement. Do not complete or sign any other
verdict forms.

7. If all of you agree that the defendant is not guilty of first degree murder, not guilty of second
degree murder, and not guilty of voluntary manslaughter, complete and sign the verdict forms for
not guilty of each crime. Do not complete or sign any other verdict forms.




                                                3145.

If.you find the defendant guilty of the crime charged in Count 1, or the lesser crime of voluntary
manslaughter, you must then decide whether the People have proved the additional allegation
that the defendant personally used a deadly weapon in the commission of that crime.

A deadly weapon is any object, instrument, or weapon that is inherently deadly or one that is
used in such a way that it is capable of causing and likely to cause death or great bodily injury.

In deciding whether an object is a deadly weapon, consider all the surrounding circumstances,
including when and where the object was possessed and any other evidence that indicates
whether the object would be used for a dangerous, rather than a harmless, purpose.

Great bodily injury means significant or substantial physical injury. It is an injury that is greater
than minor or moderate harm.
                                                  16
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  Someone personally uses a deadly weapon if he           intentionally does any of the following:

         1.      Displays the weapon in a menacing manner;

         •
         '

         2.     Hits someone with the weapon.

 The People have the burden of proving each allegation beyond a reasonable doubt. If the People
 have not met this burden, you must find that the allegation has not been proved.




                                                3550.

 When you go to the jury room, the first thing you should do is choose a foreperson. The
 foreperson should see to it that your discussions are carried on in an organized way and that
 everyone has a fair chance to be heard.

 It is your duty to talk with one another and to deliberate in the jury room. You should try to
 agree on a verdict if you can. Each of you must decide the case for yourself, but only after you
 have discussed the evidence with the other jurors. Do not hesitate to change your mind if you
 become convinced that you are wrong. . But do not change your mind just because other jurors
 disagree with you.

Keep an open mind and openly exchange your thoughts and ideas about this case. Stating your
opinions too strongly at the beginning or immediately announcing how you plan to vote may
interfere with an open discussion. Please treat one another courteously. Your role is to be an
impartial judge of the facts, not to act as an advocate for one side or the other.

As I told you at the beginning of the trial, do not talk about the case or about any of the people or   .
any subject involved in it with anyone, including, but~not limited to, your spouse or other family,
or friends, spiritual leaders or advisors, or therapists. ~ You must discuss thecase only.in the jury
room and only when all jurors are present. Do not discuss your deliberations with anyone. Do
not communicate using: Facebook, Instagram, Twitter or any other social media during your
deliberations.

It is very important that you not use the Internet in any way in connection with this case during
your deliberations.

During the trial, several items were received into evidence as exhibits. You may examine
whatever exhibits _you think will help you in your deliberations. These exhibits will be sent into
the jury room with you when you begin to deliberate.

If you need to communicate with me while you are deliberating, send a note through the bailiff,
                                                 17
.,
     _   ;•   Case 2:20-cv-01530-JWH-SHK              Document 1 Filed 02/14/20             Page 516 of 532 Page
                                                           ID #:516


               signed by the foreperson or by one or more members of the jury. To have a
                                                                                              complete record of
               this trial, it is important that you not communicate with me except by a written
                                                                                                  note. If you have
               questions, I will talk with .the attorneys before I answer so it may take some tirr~~.
                                                                                                      You should
               continue your deliberations while you wait for my answer. I will answer.any
                                                                                                questions in
               writing or orally here in open court.

               Do not reveal to me or anyone else how the vote stands on the question of guilt
                                                                                               unless I ask you
               to do so.

               Your verdict on each count and any special findings must be unanimous. This
                                                                                                  means that, to
               return a verdict, all of you must agree to it. Do not reach a decision by the flip of
                                                                                                     a coin or by
               any similar act.

               It is not my role to tell you what your verdict should be. Do not take anything I said
                                                                                                       or did during
               the trial as an indication of what I think about the facts, the witnesses, or what your
                                                                                                       verdict
               should be.

               You must reach your verdict without any consideration of punishment.

              You will be given verdict forms. As soon as all jurors have agreed on a verdict,
                                                                                                the foreperson
              must date and sign the appropriate verdict forms and notify the bailiff. Return
                                                                                              any unsigned
              verdict form.




                                                              3577.

              To the alternate juror: The jury will soon begin deliberating, but you are still an
                                                                                                  alternate juror
              and are bound by my earlier instructions about your conduct.

              Do not talk about the case or about any of the people or any subject involved
                                                                                                in it with anyone,
              not even your family or friends. Do not have any contact with the deliberating
                                                                                                  jurors: Do not
              decide how you world vote if you were deliberating. Do not form.or expres
                                                                                               s an opinion about
              the issues in this case, unless you are substituted.for one of the deliberating jurors.




                                                               18
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                                        ID #:517




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Spa    a~ns
Case 2:20-cv-01530-JWH-SHK       Document 1 Filed 02/14/20       Page 518 of 532 Page
                                      ID #:518



                         PROOF OF ELECTRONIC SERVICE
                             AND SERVICE BY MAIL

        I am employed in the county of San Francisco, California; I am over the age
  of eighteen years and not a party of the within entitled cause; my business
  address is P. O. Box 330057, San Francisco, CA 94133.

         Documents submitted electronically are transmitted using the TrueFiling
  electronic filing system. Participants who are registered with TrueFiling will be
  served electronically. Participants in this case who are not registered with
  TrueFiling will receive hard copies through the mail via the United States Postal
  Service or a commercial carrier.

       On July 18, 2019,I electronically served the attached APPELLANT'S
 PETITION FOR REHEARING in People v. Campbell(B288428) by transmitting a
 true copy via this Court's TrueFiling system to the Los Angeles County District
 Attorney; the Department of Justice, Office of the Attorney General; and
 California Appellate Project, Los Angeles.

        On July 18, 2019,I served the same document by mail on:

 Michael Campbell BF6189         The Hon. Curtis B. Rappe        Michael Waldinger
 Wasco State Prison              c/o Clerk, Superior Court       Office of the APD
 P.O. Box 5500 B-5 217-A         111 North Hill Street           210 W Temple Street
 Wasco, CA 93280                 Los Angeles, CA 90012           18~' Floor
                                                                 Los Angeles, CA 90012

       I declare under penalty of perjury under the laws of the State of California the
 foregoing is true and correct and that this declaration was executed on July 18, 2019, at
 San Francisco, California.



                                       GAIL HARPER
   Case 2:20-cv-01530-JWH-SHK   Document 1 Filed 02/14/20   Page 519 of 532 Page
                                     ID #:519




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                          , ,~ rc~'mac
Case 2:20-cv-01530-JWH-SHK      Document 1 Filed 02/14/20     Page 520 of 532 Page
                                     ID #:520


                                 GAIL HARPER
                                  ATTORNEY AT LAW
                                    P.O. BOX 330057
                               SAN FRANCISCO, CA 94133
                                     (415) 291-8469
                                   FAX (4l5) 433-2230




                                                         July 18, 2019



Michael Campbell BF6189
P.~. Box 715071
Represa, CA 95671

Re:   People v. Michael Campbell
      Court of Appeal No. B288428

Dear Mr. Campbell:

       The Court of Appeal has affirmed your conviction. I have enclosed copies
of the Court's opinion and your petition for rehearing.

      I will prepare a petition for review for you.


                                                         Yours very truly,

                                                          ~~t-`Q ~--~--


                                                         GAIL HARPER

GH/gh
Encls: As described
Case 2:20-cv-01530-JWH-SHK       Document 1 Filed 02/14/20        Page 521 of 532 Page
                                      ID #:521



         "fled" to avoid arrest. These acts were insufficien t as a matter of law

         to constitute flight and to support an inference of guilt.

               As established above, the facts that Campbell left Demon's

        body in his room and did not contact the police are not evidence of

        "flight". Campbell was staying across the street from the local police

        station after leaving his apartment, and the police easily located him

        following a complaint that he was trespassing. The distinctions the

        Court of Appeal drew are insignificant.

               Accordingly, given insufficient evidence of flight, the trial

        court's decision to give the CALCRI~~1 I~~ o. 3.72 instruction was

        federal CunStitutiunal error. it is reasnna~iy probable that absent the

        improper and unsupported flight instruction, the jury tivould not

        have convicted him of murder, as the evidence did not support a

        finding of malice.(AOB pages 26-31.) The jury acquitted. Campbell of

        first degree murders but convicted him of second degree murder,

        w here the evidence ~s   ~orted, at most, a manslaughter conviction.

                                  CONCLUSION
              For the foregoing reasons, appellant respectfully requests that

       this Court grant review.

       DATED: August 1, 2019                          Respectfully submitted,



                                                     GAIL HARPER
                                                     Attorney for Appellant




                                          ~6
Case 2:20-cv-01530-JWH-SHK   Document 1 Filed 02/14/20   Page 522 of 532 Page
                                  ID #:522




                              EXHIBIT A
               Case 2:20-cv-01530-JWH-SHK                 Document 1 Filed 02/14/20                   Page 523 of 532 Page
                                                               ID #:523




                                  Petitroy~er
   ~~ar~~~                                                                            DECLARATION IN SUPPORT
                                                                                                OF REQUEST
                               Respondents)                                                     TO PROCEED
                                                                                           IiV FOR~tiIA PAUPERIS

        I, ~'
            1 ~1 a~~ ~~-~~~~j~~~                                  ,declare that I am the petitioner in the above entitle
                                                                                                                          d case;
   that in support of my motion to proceed without being required to prepay
                                                                              fees, costs or give security therefor, I state that
   because of my poverty I am unable to pay the costs of said proceeding or to give securit
                                                                                            y therefor; that I believe I am
   entitled to relief.


   1. Are you presently employed? ❑Yes                  i o


       a. If the answer is yes, state the amount of your salary or wages per month,
                                                                                    and give          the name and address of your
             employer.


       b. If the answer is no, state the date of last employment and the amount of the
                                                                                       salary
                                                                        and wages per month which
           you received. ~~~r~ `~c~ea3e~,''~~~ ~ ~~.-S ~"Ze~
                                                             ~~ir~ ~.~ 1~ t~~n~e~S ~~l_~~


  2. Have you received, within the past twelve months, any money from any of the followi
                                                                                                     ng sources?
      a. Business, profession or form of self-employment?             ❑Yes          110
      b. Rent payments, interest or dividends?                        ❑Yes       YJ No
      c. Pensions, annuities or life insurance payments?              ❑Yes ,IJ No
      d. Gifts or inheritances?                                       ❑Yes      ,LlNo
      e. Any other sources?                                           ❑Yes          No


     If the answer to any of the above is yes, describe eac11 source of money and state
                                                                                              the amount received from each
     during the past twelve months:

                                                         ~~~


     Do you own any cash, or do you have money in a checking or savings accoun
                                                                                          t? (Incl~ide naryfi~fids in prison nccourits)
     ❑ Yes        No


CV~69(OS/l3)             PET[T[ON FO[t WRIT OF HABE,~S CORPUS BY':~ PERSON'
                                                                           [`' STATE CUSTOUI'(2S U.S.C. 9 225-!)
                                                                                                                               Pagz 10 of I 1
             Case    2:20-cv-01530-JWH-SHK
             If the answ er is
                                                            Document 1 Filed 02/14/20                   Page 524 of 532 Page
                              yes, state the total value of the items owned:
                                                                 ID #:524



      4. Do you o~vn an}- real estate, stocks, bonds, notes
                                                            ,   automobiles, or other valuable property? (Excl
                                                                                                                          uding ordina,-y
            Householdftrrniil~irtgs ar~d dnt/ir~t~) ❑~~es
                                                              NO
            If the answer is yes, describe the property and state
                                                                    its approximate value:




     S.    List the persons ~vho are dependent upon you for
                                                                support, state }'our relationship to those perso
                                                                                                                ns, and indicate ho~v
           much you contribute totivard their support:          ~~~




          I declare (or certify, verity, or state) under penalty of periu
                                                                         ~ tha~le fore~oin~; is tr~e and correcA.
          Executed on       ~ • CCU - ;~-e+}~
                                  Dcite
                                                                                       at~u•e ofP~titio~iel•
                                                                                                                                            C
                                                            CERTIFICATE
          I hereby certify that the Petitioner herein has the sum
                                                                  of ~ ~.. ~j                                         on account to his credit
   at the F~ LSOM             STATIE PR iSeA!
                                                                                                               i nstitution `vhere he is
   confined. I further certify' that Petitioner likewise has the follo
                                                                        ~vin~ securities to his credit according to the
                                                                                                                        records ofsaid
  institution:




                                                                             T (~ ~o,~,                         /l~ccc~n~t~
                       Date                                                                                                            b~~~i'C~~~S~~
                                                                               ~lutl~ori~ed Officer of Institution/Title
                                                                                                                            of Office~—




CV-69(OS/ls)            PETITION FO[t WRIT OF HABEAS CORPI
                                                           'S BY    A PERSOti f\STATE CUSTODY'(~s L.S.C.
                                                                                                               i~ 225 )             Pale I I or
               Case 2:20-cv-01530-JWH-SHK                Document 1 Filed 02/14/20                         Page 525 of 532 Page
                                                              ID #:525




           ~~~c~,~~.1 C~,~b~~~l
                                  Petiti ~iei•

                                                                                         DECL~R~TION IN SUPPORT
                                                                                                   OF REQUEST
                               Respondertt(s)                                                      TO PROCEED
                                                                                              IiV FORrL1A PA UPERIS

          I~ ~~Ch~~~~ ~rnpb~~~                                     ,declare th~it I am the petitioner in the
                                                                                                             above entitled case;
    that in support of my motion to proceed without being
                                                            required to prepay fees, costs or give security
                                                                                                             therefor, I state that
    because of my poverty I am unable to pay the costs of said
                                                               proceeding or to give security therefor; that
                                                                                                              I believe I ant
    entitled to relief.


    1. Are you presently employed? ❑Yes


        a. IEthe answer is yes, state the amount of your salar
                                                               y or       ~-vages per month, and give the name and
                                                                                                                              address of your
               employer.


        b. If the answer is no, state the date of last employment
                                                                        and the amount of the salary and ~va;es per
                                                                                                                               month which
               you received. ~~5 ~ ~.c+~.:r1~ ~~ • ~,
                                                     ~ ~ .> >~5db~`~~~                          ~ Vic= ~5~


  2. Have you received, within the past twelve months, any
                                                                     money from any of the fol(o~ving sources?
       a. Business, profession or form ofself-employment?
                                                                        ❑Yes       ~'o
       b. Rent payments, interest or dividends?
                                                                        ❑ Y'es    ~No
       c. Pensions, annuities or life insurance payments?
                                                                        ❑Yes ~No
      d. Gifts or inheritances?
                                                                        ~ Yes     ,~1 No
      e. Any other sources?
                                                                       ❑Yes           No


      If the answer to any of the above is yes, describe each
                                                                  source of money and state tl~e amount recei
                                                                                                                           ved from each
      during the past twelve months:




3. Do you own an cash, or do you have money in a
                                                 checking or               savings account? (Ificlude naryfunds in
                                                                                                                   prison accounts)
    0 Yes          No


CV-69(0~/l3)            PETITION FOR ~VRIT OF H ~BE,~S CO RP
                                                               L'S B1'~ PER50\ L\ ST~1"fE CUSTOfJI'(23
                                                                                                         L.S.C. 9 225-!)
                                                                                                                                     P.~gr l0 of
              Case    2:20-cv-01530-JWH-SHK
              If the answ er is yzs, S[:1C~ [I7Z COC1I V1I11~ OtDocument        1ed: Filed 02/14/20
                                                                [I12 1C2II1S O~Yn                          Page 526 of 532 Page
                                                                                           y,J
                                                                          ID #:526


      ~. Do you o~vn any real estate, stocks, bond
                                                        s, notes, automobiles, or other valu
                                                                                                  able propert~~? (Exdudi,~g orrli
                                                                                                                                        nnry
            {~otrseholdfiu-nishiyigi an~~l cloth«r~) ❑~~es
                                                              _    110
            If the answer is yes, describe the propert}
                                                             rand state its approximate val~~e:
                                                                                                     ~_~



     5. List the persons who are dependent upon
                                                you for              support, state your relationship to thos
                                                                                                                 e persons, and indicate ho~v
            much you contribute toward their support:




         I declare (or certify, verily, or state) under pena
                                                                  lty of perjury that~foregoin~ is true
                                                                                                             and correct.
        Executed on           ~ • ~ e - Ze,7_-~;,
                                                                                     -        ~                                `,
                                    Date
                                                                                         ~nnture ofP~titiolier



                                                                  CERTIFICATE
       I hereby certify that the Petitioner herein has the
                                                                   sum of ~ ~ - ~5
                                                                                                                          on account to his credit
   at the     ~'c~ LSvM          S~R~"E ~~iS~~
                                                                                                                          institution where he is
   confined. I furthzr certify that Petitioner likewise
                                                              has the folio vin; securities to his credit acco
                                                                                                                 rding to the rzcords of
   institution:                                                                                                                                said




              r -~-~
                       Date
                                                                                  ~«d~orized Officer of Iiistitirtiori/Tit    E
                                                                                                                            le of Officer




CV-69(0/13)              PETITION FOR 1VR[T OF HABEAS
                                                         CORPCS B5' ~1 PERSON [~ STATE
                                                                                          CUSTODI'(2S l,'.5.C. 9 2'_S~j
                                                                                                                                       Paz I I of
      Case 2:20-cv-01530-JWH-SHK                   Document 1 Filed 02/14/20 Page 527 of 532 Page
Date\Time: 1 /6/2020 12:42:14 PM                        IDCDCR
                                                           #:527        Verified:
Institution: FSP
                                                Inmate Statement Report                                    ~   ~~'~"'
 Start Date:       7/5/2019              Revalidation Cycle:               All
 End Date:         1/6/2020              Housing Unit:                     All
 InmatelGroup#: BF6189




                                          "f"~1~ y~•~~xa~nt !n1   1 t~~c°~ I~ ~,(Yy~1~k;~T


                                                         ~ — b - x2v
                                                                                                                        D
                                   ~~~    ~d~        ~       +~~T...       ....~.,~~._..~..~...   ,,....
         Case 2:20-cv-01530-JWH-SHK                           Document 1 Filed 02/14/20 Page 528 of 532 Page
Gate\T?me: 1 /6/2020 12:42:14 PM                                    IDCDCR
                                                                       #:528        Verified: ~`
Institution: FSP
                                                            Inmate Statement Report             }- 1~
 CDCR#                    Inmate/Group Name                 Institution                           Unit                     CelllBed
 BF6189                   CAMPBELL, MICHAEL                 FSP                                  A 003A4                   006001

 Current Available Balance:                        $0.15

     n     i       Li
 Transaction
 Date        Institution           Transaction Type                  Source Doc#                             Receipt#/Check#               Amount        Account Balance
                                                    "No information was found for the given criteria."*

 n
Encumbrance Type                      Transaction Date                                            Amount
                                                    "'No information was found for the given criteria."'

Obligation List

                                                                                                                              Sum of Tx for Date
Obligation Type               Court Case#              Original Owed Balance                                                    Range for Oblg           Current Balance
                                                   '"No information was found for the given criteria."'

Restitution List

                                                                                                                                    Sum of Tx for Date
Restitution             Court Case#       Status                   Original Owed Balance Interest Accrued                             Range for Oblg     Current Balance
RESTITUTION             BA442781          Active                                             $400.00                       $0.00                $0.00            $400.00
FINE
DIRECT                  BA442781          Active                                        $10,086.74                         $0.00                $0.00          $9,821.78
ORDER




                                                           '9"e.4< :^r~!"?~d?4w ~n3^'°^`~".,?p,4'"~7"~~F1 W ~°~Sf~' "°`'
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                                           0                    4v~~+.=r~~ sµ~s~~-_
Case 2:20-cv-01530-JWH-SHK    Document 1 Filed 02/14/20     Page 529 of 532 Page
                                   ID #:529

                             PROOF OF SERVICE BY MAIL
   I   Michael Campbell
                         , AM A RESIDENT OF FOL
                                                 SOM STATE PRISON IN THE
   C OUNTY OF SACRAMENTO, STATE OF CALIFO
                                          RNIA. I AM OVER THE AGE OF
   YEARS,AND AN AM NOT A PARTY TO THI                                 18
                                      S ACTI0IV.
   MY PRISON NUMBER IS: BF-6189

   MY PRISON ADDRESS IS: P.O. BOX 95a, Folsom
                                             , CA 9563.
  ON ~~           ~~~`           2020 I SERVED A COPY OF THE
  DOCUMENT:                                                        FOLLOWING

       FEDERAL WRIT OF HABEAS CORPUS

  ON THE FOLLOWING PARTIES BY PLACIN
                                      G THE DOCUMENTS INTO A
  ENVELOPE WITH POSTAGE FULLY PAI                              SEALED
                                  D, INTO THE UNITED STATES MAI
  DEPOSIT BOX SO PROVIDED AT FOLSON                             L, I~1 A
                                      I STATE PRISON (MAILBOX
  REPRESA, CALIFORNIA,AND ADDRESSED                              RULE),
                                    AS FOLLOWS:
  UNITED STATE DISTRICT COURT
      OFFICE OF THE CLERK
  U.S. COURTHOUSE~ _'26~ ..~b ~                 ~-~rr`~~~- ~~-~ ~ur~`~T'S ~ ~~~
  LOS ANGELES, CA 90012




THERE IS DELIVERY SERVICE BY THE
                                    UNITED STATES MAIL AT THE
ADDRESSED, AND/OR THERE IS REGULA                             PLACE SO
                                     R COMMUNICATION BY MAIL
THE PLACE OF MAILING A1VD THE PLA                             BETWEEN
                                  CE SO ADDRESSED.
I DECLARE UNDER THE PENALTY OF
                               PERJURY THAT THE FOREGOING
AND CORRECT.                                              IS TRUE

EXECUTED ~~o~v~ ~t~'`           . 20 20. AT REPRESA, CALIFORNIA.



                                             y/tom
                                             Signature
 Case 2:20-cv-01530-JWH-SHK    Document 1 Filed 02/14/20       Page 530 of 532 Page
                                    ID #:530

                              PROOF OF SERVICE BY MAIL
    I   Michael Campbell
                            , AM A RESIDENT OF
                                                FOLSOM STATE PRISON IN
    COUNTY OF SACRAMENTO, STATE                                        THE
                                   OF CALIFORNIA. I ANI OVER
    YEARS, AND AN AM IVOT A PARTY                            THE AGE OF 18
                                   TO THIS ACTION.
    MY PRISON NUMBER IS: BF-6189

    MY PRISON ADDRESS IS: P.O, BOX 950
                                      , Folsom, CA 95~b3.
   ON ~ ~~ ~'          <h
                     ~~           20?~ I SERVED A COPY OF 1HE
   DOCUMENT:                                                            FOLLOVVING

        FEDERAL WRIT OF HABEAS CORPUS

  ON THE FOLLOWIVG PARTIES BY
                                   PLACING THE DOCUMENTS INT
  ENVELOPE WITH POSTAGE FUL                                    O A SEALED
                               LY PAID, INTO THE UNITED STA
  DEPOSIT BOX SO PROVIDED                                   TES NIA!L, I~1 A
                               AT FOLSONI STATE PRISON
  REPRESA, CALIFORiVIA, AND ADDR                         (MAILBOX RULE),
                                 ESSED AS FOLLOWS:
   UNITED STATE DISTRICT COURT
        OFFICE OF THE CLERK
   U.S. COURTHOUSE~~5 ~-                 ~T ~     ~ti_ ~•_~~~-- ~S ^ ~y
   LOS ANGELES, CA 90012




 THERE IS DELIVERY SERVICE BY
                              THE UNITED STATES MAIL AT
 ADDRESSED, AND/OR THERE IS                             THE PLACE SO
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THE PLACE OF MAILING AND THE                           MAIL BETWEEN
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